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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: ALL
                  Provider Type Referral Type                              Provider Outreach Referrals              Clients Contacted
                                                                                  Referrals   Clients
                                                                      Referrals   Not         Assigned          Contacted     Letters
                                                                      Processed Attempted For                   By Phone      Mailed
                                                                                  Per Policy Outreach
                                   Missed Appointment                     725          46          679               271           408
                                   Follow-up Lead Testing                  3            0           3                 1             2
                                   Transportation Assistance               0            0           0                 0             0
                  Medical          Scheduling Assistance                   2            1           1                 1             0
                                   Other                                   15           7           8                 4              4
                                   Updated Client Info                     0            0           0                 0              0
                                   Total                                  745          54          691               277           414
                                   Missed Appointment                    1,078         21         1,057              421           636
                                   Follow-up Lead Testing*                 0            0           0                 0              0
                                   Transportation Assistance                0           0            0                0              0
                  Dental
                                   Scheduling Assistance                   23           4           19                7             12
                                   Other                                    4           0            4                2              2
                                   Total                                 1,105         25         1,080              430           650
                                   Missed Appointment                       0           0            0                0              0
                                   Follow Up Lead Testing                   0           0            0                0              0
                                   Transportation Assistance                0           0            0                0              0
                  Orthodontic
                                   Scheduling Assistance                    0           0            0                0              0
                                   Other                                    0           0            0                0              0
                                   Total                                    0           0            0                0              0
                                   Missed Appointment                       0           0            0                0              0
                                   Follow-up Lead Testing                   0           0            0                0              0
                  Case             Transportation Assistance                0           0            0                0              0
                  Management       Scheduling Assistance                    0           0            0                0              0
                                   Other / Update Patient Address           0           0            0                0              0
                                   Total                                    0           0            0                0              0
                                   Missed Appointment                       0           0            0                0              0
                                   Follow-up Lead Testing                   2           0            2                0              2
                                   Transportation Assistance                0           0            0                0              0
                  Other
                                   Scheduling Assistance                    0           0            0                0              0
                                   Other                                    0           0            0                0              0
                                   Total                                    2           0            2                0              2
                  Total                                                  1,852         79         1,773              707          1,066

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old
                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals
                                                                      Not Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 1
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                   Referrals   Clients
                                                                      Referrals    Not         Assigned         Contacted      Letters
                                                                      Processed    Attempted For                By Phone       Mailed
                                                                                   Per Policy Outreach
                                  Missed Appointment                       95            0           95               31            64
                                  Follow-up Lead Testing                    0            0            0                0             0
                                  Transportation Assistance                 0            0           0                 0             0
                  Medical         Scheduling Assistance                     0            0           0                 0             0
                                  Other                                     0            0           0                 0             0
                                  Updated Client Info                       0            0           0                 0             0
                                  Total                                     95           0           95               31            64
                                  Missed Appointment                       234           1          233               85            148
                                  Follow-up Lead Testing                     0           0            0               0              0
                                  Transportation Assistance                  0           0            0               0              0
                  Dental
                                  Scheduling Assistance                      0           0            0               0              0
                                  Other                                      0           0            0               0              0
                                  Total                                    234           1          233              85             148
                                  Missed Appointment                         0           0            0               0              0
                                  Follow-up Lead Testing                     0           0            0               0              0
                                  Transportation Assistance                  0           0            0               0              0
                  Orthodontic
                                  Scheduling Assistance                      0           0            0               0              0
                                  Other                                      0           0            0               0              0
                                  Total                                      0           0            0               0              0
                                  Missed Appointment                         0           0            0               0              0
                                  Follow-up Lead Testing                     0           0            0               0              0
                                  Transportation Assistance                  0           0            0               0              0
                  Case Management
                                  Scheduling Assistance                      0           0            0               0              0
                                  Other                                      0           0            0               0              0
                                  Total                                      0           0            0               0              0
                                  Missed Appointment                         0           0            0               0              0
                                  Follow-up Lead Testing                     0           0            0               0              0
                                  Transportation Assistance                  0           0            0               0              0
                  Other
                                  Scheduling Assistance                      0           0            0               0              0
                                  Other                                      0           0            0               0              0
                                  Total                                      0           0            0               0              0
                  Total                                                    329           1          328              116            212

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 2
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                    Referrals     Clients
                                                                      Referrals     Not           Assigned      Contacted      Letters
                                                                      Processed     Attempted     For           By Phone       Mailed
                                                                                    Per Policy    Outreach
                                  Missed Appointment                       34             2            32             12            20
                                  Follow-up Lead Testing                    0             0             0             0             0
                                  Transportation Assistance                 0             0             0             0             0
                  Medical         Scheduling Assistance                     0             0             0             0             0
                                  Other                                     0             0             0             0             0
                                  Updated Client Info                       0             0             0             0             0
                                  Total                                    34             2            32             12            20
                                  Missed Appointment                       42             0            42             20            22
                                  Follow-up Lead Testing                    0             0             0             0             0
                                  Transportation Assistance                 0             0             0             0             0
                  Dental
                                  Scheduling Assistance                     0             0             0             0             0
                                  Other                                     0             0             0             0             0
                                  Total                                    42             0            42             20            22
                                  Missed Appointment                        0             0             0              0             0
                                  Follow-up Lead Testing                    0             0             0              0             0
                                  Transportation Assistance                 0             0             0              0             0
                  Orthodontic
                                  Scheduling Assistance                     0             0             0              0             0
                                  Other                                     0             0             0              0             0
                                  Total                                     0             0             0              0             0
                                  Missed Appointment                        0             0             0              0             0
                                  Follow-up Lead Testing                    0             0             0              0             0
                                  Transportation Assistance                 0             0             0              0             0
                  Case Management
                                  Scheduling Assistance                     0             0             0              0             0
                                  Other                                     0             0             0              0             0
                                  Total                                     0             0             0              0             0
                                  Missed Appointment                        0             0             0              0             0
                                  Follow-up Lead Testing                    0             0             0              0             0
                                  Transportation Assistance                 0             0             0              0             0
                  Other
                                  Scheduling Assistance                     0             0             0              0             0
                                  Other                                     0             0             0              0             0
                                  Total                                     0             0             0              0             0
                  Total                                                    76             2            74             32            42

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 3
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                    Referrals     Clients
                                                                      Referrals     Not           Assigned      Contacted      Letters
                                                                      Processed     Attempted     For           By Phone       Mailed
                                                                                    Per Policy    Outreach
                                  Missed Appointment                       38            0              38            13            25
                                  Follow-up Lead Testing                    0            0               0             0             0
                                  Transportation Assistance                 0            0               0            0             0
                  Medical         Scheduling Assistance                     1            1               0            0             0
                                  Other                                    11            6               5            2             3
                                  Updated Client Info                       0            0               0            0             0
                                  Total                                    50            7              43            15            28
                                  Missed Appointment                        2             0              2             1              1
                                  Follow-up Lead Testing                    0             0              0             0              0
                                  Transportation Assistance                 0             0              0             0              0
                  Dental
                                  Scheduling Assistance                     0             0              0             0              0
                                  Other                                     0             0              0             0              0
                                  Total                                     2             0              2             1              1
                                  Missed Appointment                        0             0              0             0              0
                                  Follow-up Lead Testing                    0             0              0             0              0
                                  Transportation Assistance                 0             0              0             0              0
                  Orthodontic
                                  Scheduling Assistance                     0             0              0             0              0
                                  Other                                     0             0              0             0              0
                                  Total                                     0             0              0             0              0
                                  Missed Appointment                        0             0              0             0              0
                                  Follow-up Lead Testing                    0             0              0             0              0
                                  Transportation Assistance                 0             0              0             0              0
                  Case Management
                                  Scheduling Assistance                     0             0              0             0              0
                                  Other                                     0             0              0             0              0
                                  Total                                     0             0              0             0              0
                                  Missed Appointment                        0             0              0             0             0
                                  Follow-up Lead Testing                    0             0              0             0             0
                                  Transportation Assistance                 0             0              0            0             0
                  Other
                                  Scheduling Assistance                     0             0              0             0             0
                                  Other                                     0             0              0             0             0
                                  Total                                     0             0              0             0             0
                  Total                                                    52             7             45            16            29

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old
                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 4
                  Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                                  Referrals   Clients
                                                                      Referrals   Not         Assigned          Contacted      Letters
                                                                      Processed   Attempted For                 By Phone       Mailed
                                                                                  Per Policy Outreach
                                  Missed Appointment                       16           1           15                3             12
                                  Follow-up Lead Testing                    0           0            0                0             0
                                  Transportation Assistance                 0           0            0                0             0
                  Medical         Scheduling Assistance                     0           0            0                0             0
                                  Other                                     0           0            0                0             0
                                  Updated Client Info                       0           0            0                0             0
                                  Total                                    16           1           15                3             12
                                  Missed Appointment                       63           0           63                20            43
                                  Follow-up Lead Testing                    0           0            0                0             0
                                  Transportation Assistance                 0           0            0                0             0
                  Dental
                                  Scheduling Assistance                     1           0            1                0             1
                                  Other                                     0           0            0                0             0
                                  Total                                    64           0           64                20            44
                                  Missed Appointment                        0           0            0                0              0
                                  Follow-up Lead Testing                    0           0            0                 0             0
                                  Transportation Assistance                 0           0            0                 0             0
                  Orthodontic
                                  Scheduling Assistance                     0           0            0                 0             0
                                  Other                                     0           0            0                 0             0
                                  Total                                     0           0            0                 0             0
                                  Missed Appointment                        0           0            0                 0             0
                                  Follow-up Lead Testing                    0           0            0                 0             0
                                  Transportation Assistance                 0           0            0                 0             0
                  Case Management
                                  Scheduling Assistance                     0           0            0                 0             0
                                  Other                                     0           0            0                 0             0
                                  Total                                     0           0            0                 0             0
                                  Missed Appointment                        0           0            0                 0             0
                                  Follow-up Lead Testing                    0           0            0                 0             0
                                  Transportation Assistance                 0           0            0                 0             0
                  Other
                                  Scheduling Assistance                     0           0            0                 0             0
                                  Other                                     0           0            0                 0             0
                                  Total                                     0           0            0                 0             0
                  Total                                                    80           1           79                23            56

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 5
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                   Referrals   Clients
                                                                      Referrals    Not         Assigned         Contacted      Letters
                                                                      Processed    Attempted For                By Phone       Mailed
                                                                                   Per Policy Outreach
                                  Missed Appointment                        2            0           2                1               1
                                  Follow-up Lead Testing                    0            0           0                0               0
                                  Transportation Assistance                 0            0           0                0               0
                  Medical         Scheduling Assistance                     0            0           0                0               0
                                  Other                                     0            0           0                0               0
                                  Updated Client Info                       0            0           0                0               0
                                  Total                                     2            0           2                1               1
                                  Missed Appointment                        3            0           3                1               2
                                  Follow-up Lead Testing                    0            0           0                0               0
                                  Transportation Assistance                 0            0           0                0               0
                  Dental
                                  Scheduling Assistance                     0            0           0                0               0
                                  Other                                     0            0           0                0               0
                                  Total                                     3            0           3                1               2
                                  Missed Appointment                        0            0           0                0               0
                                  Follow-up Lead Testing                    0            0           0                0               0
                                  Transportation Assistance                 0            0           0                0               0
                  Orthodontic
                                  Scheduling Assistance                     0            0           0                0               0
                                  Other                                     0            0           0                0               0
                                  Total                                     0            0           0                0               0
                                  Missed Appointment                        0            0           0                0               0
                                  Follow-up Lead Testing                    0            0           0                0               0
                                  Transportation Assistance                 0            0           0                0               0
                  Case Management
                                  Scheduling Assistance                     0            0           0                0               0
                                  Other                                     0            0           0                0               0
                                  Total                                     0            0           0                0               0
                                  Missed Appointment                        0            0           0                0               0
                                  Follow-up Lead Testing                    0            0           0                0               0
                                  Transportation Assistance                 0            0           0                0               0
                  Other
                                  Scheduling Assistance                     0            0           0                0               0
                                  Other                                     0            0           0                0               0
                                  Total                                     0            0           0                0               0
                  Total                                                     5            0           5                2               3

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 6
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                    Referrals     Clients
                                                                      Referrals     Not           Assigned      Contacted      Letters
                                                                      Processed     Attempted     For           By Phone       Mailed
                                                                                    Per Policy    Outreach
                                  Missed Appointment                       213           15           198             89            109
                                  Follow-up Lead Testing                    0            0              0             0              0
                                  Transportation Assistance                 0            0              0             0              0
                  Medical         Scheduling Assistance                     0            0              0             0              0
                                  Other                                     0            0              0             0              0
                                  Updated Client Info                        0           0              0             0              0
                                  Total                                    213           15           198             89            109
                                  Missed Appointment                        84            6            78             23             55
                                  Follow-up Lead Testing                     0           0              0             0              0
                                  Transportation Assistance                 0            0              0             0              0
                  Dental
                                  Scheduling Assistance                     4             0             4             2              2
                                  Other                                      0           0              0             0              0
                                  Total                                     88           6             82            25             57
                                  Missed Appointment                         0           0              0             0              0
                                  Follow-up Lead Testing                     0           0              0             0              0
                                  Transportation Assistance                  0           0              0             0              0
                  Orthodontic
                                  Scheduling Assistance                      0           0              0             0              0
                                  Other                                      0           0              0             0              0
                                  Total                                      0           0              0             0              0
                                  Missed Appointment                         0           0              0             0              0
                                  Follow-up Lead Testing                     0           0              0             0              0
                                  Transportation Assistance                  0           0              0             0              0
                  Case Management
                                  Scheduling Assistance                      0           0              0             0              0
                                  Other                                      0           0              0             0              0
                                  Total                                      0           0              0             0              0
                                  Missed Appointment                         0           0              0             0              0
                                  Follow-up Lead Testing                     1           0              1             0              1
                                  Transportation Assistance                  0           0              0             0              0
                  Other
                                  Scheduling Assistance                      0           0              0             0              0
                                  Other                                      0           0              0             0              0
                                  Total                                      1            0             1             0              1
                  Total                                                    302           21           281            114            167

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 7
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                   Referrals   Clients
                                                                      Referrals    Not         Assigned         Contacted      Letters
                                                                      Processed    Attempted For                By Phone       Mailed
                                                                                   Per Policy Outreach
                                  Missed Appointment                       47            4           43               19            24
                                  Follow-up Lead Testing                    1            0           1                 0             1
                                  Transportation Assistance                 0            0            0               0             0
                  Medical         Scheduling Assistance                     0            0            0               0             0
                                  Other                                     1            1            0               0             0
                                  Updated Client Info                       0            0            0               0              0
                                  Total                                     49           5           44               19            25
                                  Missed Appointment                       107          12           95               60            35
                                  Follow-up Lead Testing                     0           0            0                0             0
                                  Transportation Assistance                 0            0            0               0              0
                  Dental
                                  Scheduling Assistance                     16           3           13               5             8
                                  Other                                      2           0            2                1             1
                                  Total                                    125          15          110               66            44
                                  Missed Appointment                        0            0            0                0              0
                                  Follow-up Lead Testing                     0           0            0                0              0
                                  Transportation Assistance                 0            0            0                0              0
                  Orthodontic
                                  Scheduling Assistance                      0           0            0                0              0
                                  Other                                      0           0            0                0              0
                                  Total                                      0           0            0                0              0
                                  Missed Appointment                         0           0            0                0              0
                                  Follow-up Lead Testing                     0           0            0                0              0
                                  Transportation Assistance                  0           0            0                0              0
                  Case Management
                                  Scheduling Assistance                      0           0            0                0              0
                                  Other                                      0           0            0                0              0
                                  Total                                      0           0            0                0              0
                                  Missed Appointment                         0           0            0                0             0
                                  Follow-up Lead Testing                     0           0            0                0             0
                                  Transportation Assistance                  0           0            0                0             0
                  Other
                                  Scheduling Assistance                      0           0            0                0             0
                                  Other                                      0           0            0                0             0
                                  Total                                      0           0            0                0             0
                  Total                                                    174          20          154               85            69

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                  Report ID                                           EB 201
                  Report Name                                         Texas Health Steps – Provider Outreach Referral Type
                  Report Period                                       06/01/2017 - 06/30/2017




                  Health Service Region: 8
                  Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                   Referrals   Clients
                                                                      Referrals    Not         Assigned         Contacted      Letters
                                                                      Processed    Attempted For                By Phone       Mailed
                                                                                   Per Policy Outreach
                                  Missed Appointment                       44            2           42               17            25
                                  Follow-up Lead Testing                    1            0            1                0             1
                                  Transportation Assistance                 0            0            0                0             0
                  Medical         Scheduling Assistance                     0            0            0                0             0
                                  Other                                     1            0            1                1             0
                                  Updated Client Info                       0            0            0                0             0
                                  Total                                    46            2           44               18            26
                                  Missed Appointment                       63            0           63               23            40
                                  Follow-up Lead Testing                    0            0            0                0             0
                                  Transportation Assistance                 0            0            0                0             0
                  Dental
                                  Scheduling Assistance                     1            0            1                0             1
                                  Other                                     1            0            1                1             0
                                  Total                                    65            0           65               24            41
                                  Missed Appointment                        0            0            0                0             0
                                  Follow-up Lead Testing                    0            0            0                0             0
                                  Transportation Assistance                 0            0            0                0             0
                  Orthodontic
                                  Scheduling Assistance                     0            0            0                0             0
                                  Other                                     0            0            0                0             0
                                  Total                                     0            0            0                0             0
                                  Missed Appointment                        0            0            0                0             0
                                  Follow-up Lead Testing                    0            0            0                0             0
                                  Transportation Assistance                 0            0            0                0             0
                  Case Management
                                  Scheduling Assistance                     0            0            0                0             0
                                  Other                                     0            0            0                0             0
                                  Total                                     0            0            0                0             0
                                  Missed Appointment                        0            0            0                0             0
                                  Follow-up Lead Testing                    1            0            1                0             1
                                  Transportation Assistance                 0            0            0                0             0
                  Other
                                  Scheduling Assistance                     0            0            0                0             0
                                  Other                                     0            0            0                0             0
                                  Total                                     1            0            1                0             1
                  Total                                                    112           2          110               42            68

                  Report Purpose
                  Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
                  Report Label                                       Description
                                                                     The provider type as self-identified by the Texas Health Steps
                  Provider Type
                                                                     provider.
                  Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
                  Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
                  Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
                  Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
                  Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
                  Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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              Report ID                                           EB 201
              Report Name                                         Texas Health Steps – Provider Outreach Referral Type
              Report Period                                       06/01/2017 - 06/30/2017




              Health Service Region: 9
              Provider Type       Referral Type                         Provider Outreach Referrals              Clients Contacted
                                                                                Referrals     Clients
                                                                  Referrals     Not           Assigned       Contacted     Letters
                                                                  Processed     Attempted     For            By Phone      Mailed
                                                                                Per Policy    Outreach
                                    Missed Appointment                  6            0              6              3             3
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Medical               Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Updated Client Info                 0            0              0              0             0
                                    Total                               6            0              6              3             3
                                    Missed Appointment                 250           1            249             90            159
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Dental
                                    Scheduling Assistance               1            1              0              0             0
                                    Other                               1            0              1              0             1
                                    Total                              252           2            250             90            160
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Orthodontic
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Case Management
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Other
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
              Total                                                    258           2            256             93            163

              Report Purpose
              Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
              Report Label                                       Description
                                                                 The provider type as self-identified by the Texas Health Steps
              Provider Type
                                                                 provider.
              Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
              Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                  The number of Texas Health Steps provider referrals not assigned
                                                                  for outreach per policy. Reasons may include:
                                                                  • Client is over 21 years of age
                                                                  • Client is no longer Medicaid eligible at the time the referral was
              Referrals Not Attempted Per Policy
                                                                  received (except Orthodontic referrals)
                                                                  • Client is insured by the Children’s Health Insurance Program
                                                                  (CHIP)
                                                                  • The missed appointment is greater than 90 days old

                                                                  The number of Texas Health Steps provider referrals assigned for
                                                                  outreach.
              Clients Assigned For Outreach
                                                                  [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                  Attempted Per Policy]
                                                                  The number of clients successfully contacted by phone during the
                                                                  outreach attempt in the calendar month.
              Contacted By Phone
                                                                  [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                  Mailed]
                                                                  The number of clients mailed an outreach letter in the calendar
                                                                  month.
              Letter Mailed
                                                                  [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                  Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       06/01/2017 - 06/30/2017




               Health Service Region: 10
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed   Attempted For                 By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       86          21           65                24            41
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Medical         Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Updated Client Info                       0           0            0                 0             0
                               Total                                    86          21           65                24            41
                               Missed Appointment                        3           0            3                 1             2
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Dental
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     3           0            3                 1             2
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
               Total                                                    89          21           68                25            43

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       06/01/2017 - 06/30/2017




               Health Service Region: 11
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       141           1          140               59            81
                               Follow-up Lead Testing                    1            0           1                 1             0
                               Transportation Assistance                 0            0           0                0             0
               Medical         Scheduling Assistance                     1            0           1                1             0
                               Other                                     2            0           2                1             1
                               Updated Client Info                       0            0           0                0              0
                               Total                                    145           1          144               62            82
                               Missed Appointment                       221           1          220               97            123
                               Follow-up Lead Testing                    0            0           0                0              0
                               Transportation Assistance                 0            0           0                0              0
               Dental
                               Scheduling Assistance                     0            0           0                0              0
                               Other                                     0            0           0                0              0
                               Total                                    221           1          220              97             123
                               Missed Appointment                        0            0           0                0              0
                               Follow-up Lead Testing                    0            0           0                0              0
                               Transportation Assistance                 0            0           0                0              0
               Orthodontic
                               Scheduling Assistance                     0            0           0                0              0
                               Other                                     0            0           0                0              0
                               Total                                     0            0           0                0              0
                               Missed Appointment                        0            0           0                0              0
                               Follow-up Lead Testing                    0            0           0                0              0
                               Transportation Assistance                 0            0           0                0              0
               Case Management
                               Scheduling Assistance                     0            0           0                0              0
                               Other                                     0            0           0                0              0
                               Total                                     0            0           0                0              0
                               Missed Appointment                        0            0           0                0              0
                               Follow-up Lead Testing                    0            0           0                0              0
                               Transportation Assistance                 0            0           0                0              0
               Other
                               Scheduling Assistance                     0            0           0                0              0
                               Other                                     0            0           0                0              0
                               Total                                     0            0           0                0              0
               Total                                                    366           2          364              159            205

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                              EB 201
               Report Name                                            Texas Health Steps – Provider Outreach Referral Type
               Report Period                                          06/01/2017 - 06/30/2017




               Health Service Region: NA
               Provider Type       Referral Type                           Provider Outreach Referrals              Clients Contacted
                                                                                  Referrals   Clients
                                                                      Referrals   Not         Assigned          Contacted      Letters
                                                                      Processed   Attempted For                 By Phone       Mailed
                                                                                  Per Policy Outreach
                               Missed Appointment                          3            0           3                  0             3
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Medical         Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Updated Client Info                         0            0           0                  0             0
                               Total                                       3            0           3                  0             3
                               Missed Appointment                          6            0           6                  0             6
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Dental
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       6            0           6                  0             6
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Orthodontic
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Case Management
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Other
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
               Total                                                       9            0           9                  0             9

               Report Purpose
               Region labeled NA Displays a summary of Texas Health Steps provider referrals received and the client response to
               outreach effort that could not be positively allocated to one of the 11 official Service Areas.
               Report Label                                             Description
                                                                        The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                        provider.
               Referral Type                                          The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                    The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
               Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
               Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
               Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: ALL
               Provider Type Referral Type                               Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                                Missed Appointment                      571          60          511              198           313
                                Follow-up Lead Testing                   3            0           3                0             3
                                Transportation Assistance                0            0           0                0             0
               Medical          Scheduling Assistance                    2            0           2                1             1
                                Other                                    3            1            2                1             1
                                Updated Client Info                      0            0           0                0             0
                                Total                                   579          61          518              200           318
                                Missed Appointment                      588          22          566              275           291
                                Follow-up Lead Testing                   0            0           0                0             0
                                Transportation Assistance                0            0           0                0             0
               Dental
                                Scheduling Assistance                    33           6           27               12            15
                                Other                                     6           1            5                5             0
                                Total                                   627          29          598              292           306
                                Missed Appointment                       0            0           0                0             0
                                Follow Up Lead Testing                   0            0           0                0             0
                                Transportation Assistance                0            0           0                0             0
               Orthodontic
                                Scheduling Assistance                     0           0            0                0             0
                                Other                                     0           0            0                0             0
                                Total                                     0           0            0                0             0
                                Missed Appointment                        0           0            0                0             0
                                Follow-up Lead Testing                    0           0            0                0             0
               Case             Transportation Assistance                 0           0            0                0             0
               Management       Scheduling Assistance                     0           0            0                0             0
                                Other / Update Patient Address            0           0            0                0             0
                                Total                                     0           0            0                0             0
                                Missed Appointment                        0           0            0                0             0
                                Follow-up Lead Testing                    2           0            2                0             2
                                Transportation Assistance                 0           0            0                0             0
               Other
                                Scheduling Assistance                     0           0            0                0             0
                                Other                                     0           0            0                0             0
                                Total                                     2           0            2                0             2
               Total                                                   1,208         90         1,118             492           626

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old
                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals
                                                                   Not Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 1
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed Attempted For                   By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                      53            1           52                19            33
                               Follow-up Lead Testing                   0            0            0                 0             0
                               Transportation Assistance                0            0           0                  0             0
               Medical         Scheduling Assistance                    0            0           0                  0             0
                               Other                                    0            0           0                  0             0
                               Updated Client Info                      0            0           0                  0             0
                               Total                                    53           1           52                19            33
                               Missed Appointment                      151           0          151                65             86
                               Follow-up Lead Testing                    0           0            0                0              0
                               Transportation Assistance                 0           0            0                0              0
               Dental
                               Scheduling Assistance                     0           0            0                0              0
                               Other                                     0           0            0                0              0
                               Total                                   151           0          151                65            86
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
               Total                                                   204           1          203                84            119

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 2
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       21             1             20            2             18
                               Follow-up Lead Testing                    0             0              0            0             0
                               Transportation Assistance                 0             0              0            0             0
               Medical         Scheduling Assistance                     0             0              0            0             0
                               Other                                     0             0              0            0             0
                               Updated Client Info                       0             0              0            0             0
                               Total                                    21             1             20            2             18
                               Missed Appointment                       29             0             29            18            11
                               Follow-up Lead Testing                    0             0              0            0             0
                               Transportation Assistance                 0             0              0            0             0
               Dental
                               Scheduling Assistance                     0             0              0            0             0
                               Other                                     0             0              0            0             0
                               Total                                    29             0             29            18            11
                               Missed Appointment                        0             0              0             0             0
                               Follow-up Lead Testing                    0             0              0             0             0
                               Transportation Assistance                 0             0              0             0             0
               Orthodontic
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     0             0              0             0             0
                               Missed Appointment                        0             0              0             0             0
                               Follow-up Lead Testing                    0             0              0             0             0
                               Transportation Assistance                 0             0              0             0             0
               Case Management
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     0             0              0             0             0
                               Missed Appointment                        0             0              0             0             0
                               Follow-up Lead Testing                    0             0              0             0             0
                               Transportation Assistance                 0             0              0             0             0
               Other
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     0             0              0             0             0
               Total                                                    50             1             49            20            29

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 3
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       30            1              29            14            15
                               Follow-up Lead Testing                    0            0               0             0             0
                               Transportation Assistance                 0            0               0            0             0
               Medical         Scheduling Assistance                     0            0               0            0             0
                               Other                                     1            0               1            0             1
                               Updated Client Info                       0            0               0            0             0
                               Total                                    31            1              30            14            16
                               Missed Appointment                        8             0              8            3               5
                               Follow-up Lead Testing                    0             0              0            0               0
                               Transportation Assistance                 0             0              0            0               0
               Dental
                               Scheduling Assistance                     0             0              0            0               0
                               Other                                     0             0              0            0               0
                               Total                                     8             0              8            3               5
                               Missed Appointment                        0             0              0             0              0
                               Follow-up Lead Testing                    0             0              0             0              0
                               Transportation Assistance                 0             0              0             0              0
               Orthodontic
                               Scheduling Assistance                     0             0              0             0              0
                               Other                                     0             0              0             0              0
                               Total                                     0             0              0             0              0
                               Missed Appointment                        0             0              0             0              0
                               Follow-up Lead Testing                    0             0              0             0              0
                               Transportation Assistance                 0             0              0             0              0
               Case Management
                               Scheduling Assistance                     0             0              0             0              0
                               Other                                     0             0              0             0              0
                               Total                                     0             0              0             0              0
                               Missed Appointment                        0             0              0             0             0
                               Follow-up Lead Testing                    1             0              1             0             1
                               Transportation Assistance                 0             0              0            0             0
               Other
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     1             0              1             0             1
               Total                                                    40             1             39            17            22

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old
                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 4
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                        19           5           14                8              6
                               Follow-up Lead Testing                     0           0            0                0              0
                               Transportation Assistance                  0           0            0                0              0
               Medical         Scheduling Assistance                      0           0            0                0              0
                               Other                                      0           0            0                0              0
                               Updated Client Info                        0           0            0                0              0
                               Total                                     19           5           14                8              6
                               Missed Appointment                         6           0            6                3              3
                               Follow-up Lead Testing                     0           0            0               0               0
                               Transportation Assistance                  0           0            0               0               0
               Dental
                               Scheduling Assistance                      0           0            0               0               0
                               Other                                      0           0            0               0               0
                               Total                                      6           0            6               3               3
                               Missed Appointment                         0           0            0               0               0
                               Follow-up Lead Testing                     0           0            0               0               0
                               Transportation Assistance                  0           0            0               0               0
               Orthodontic
                               Scheduling Assistance                      0           0            0               0               0
                               Other                                      0           0            0               0               0
                               Total                                      0           0            0               0               0
                               Missed Appointment                         0           0            0               0               0
                               Follow-up Lead Testing                     0           0            0               0               0
                               Transportation Assistance                  0           0            0               0               0
               Case Management
                               Scheduling Assistance                      0           0            0               0               0
                               Other                                      0           0            0               0               0
                               Total                                      0           0            0               0               0
                               Missed Appointment                         0           0            0               0               0
                               Follow-up Lead Testing                     0           0            0               0               0
                               Transportation Assistance                  0           0            0               0               0
               Other
                               Scheduling Assistance                      0           0            0               0               0
                               Other                                      0           0            0               0               0
                               Total                                      0           0            0               0               0
               Total                                                     25           5           20               11              9

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 5
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                        4            0           4                2               2
                               Follow-up Lead Testing                    1            0           1                0               1
                               Transportation Assistance                 0            0           0                0               0
               Medical         Scheduling Assistance                     0            0           0                0               0
                               Other                                     1            1           0                0               0
                               Updated Client Info                       0            0           0                0               0
                               Total                                     6            1           5                2               3
                               Missed Appointment                        0            0           0                 0              0
                               Follow-up Lead Testing                    0            0           0                 0              0
                               Transportation Assistance                 0            0           0                 0              0
               Dental
                               Scheduling Assistance                     0            0           0                 0              0
                               Other                                     0            0           0                 0              0
                               Total                                     0            0           0                 0              0
                               Missed Appointment                        0            0           0                 0              0
                               Follow-up Lead Testing                    0            0           0                 0              0
                               Transportation Assistance                 0            0           0                 0              0
               Orthodontic
                               Scheduling Assistance                     0            0           0                 0              0
                               Other                                     0            0           0                 0              0
                               Total                                     0            0           0                 0              0
                               Missed Appointment                        0            0           0                 0              0
                               Follow-up Lead Testing                    0            0           0                 0              0
                               Transportation Assistance                 0            0           0                 0              0
               Case Management
                               Scheduling Assistance                     0            0           0                 0              0
                               Other                                     0            0           0                 0              0
                               Total                                     0            0           0                 0              0
                               Missed Appointment                        0            0           0                 0              0
                               Follow-up Lead Testing                    0            0           0                 0              0
                               Transportation Assistance                 0            0           0                 0              0
               Other
                               Scheduling Assistance                     0            0           0                 0              0
                               Other                                     0            0           0                 0              0
                               Total                                     0            0           0                 0              0
               Total                                                     6            1           5                 2              3

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 6
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       141           4             137            53            84
                               Follow-up Lead Testing                    1            0              1             0             1
                               Transportation Assistance                 0            0              0             0             0
               Medical         Scheduling Assistance                     2            0              2             1             1
                               Other                                      1           0              1             1             0
                               Updated Client Info                        0           0               0            0              0
                               Total                                    145           4             141            55            86
                               Missed Appointment                        53           9              44            22            22
                               Follow-up Lead Testing                     0           0              0             0             0
                               Transportation Assistance                  0           0               0            0              0
               Dental
                               Scheduling Assistance                      3            2              1             1             0
                               Other                                      1           0               1            1              0
                               Total                                     57           11             46            24            22
                               Missed Appointment                         0            0              0             0             0
                               Follow-up Lead Testing                     0            0              0             0             0
                               Transportation Assistance                  0            0              0             0             0
               Orthodontic
                               Scheduling Assistance                      0            0              0             0             0
                               Other                                      0            0              0             0             0
                               Total                                      0            0              0             0             0
                               Missed Appointment                         0            0              0             0             0
                               Follow-up Lead Testing                     0            0              0             0             0
                               Transportation Assistance                  0            0              0             0             0
               Case Management
                               Scheduling Assistance                      0            0              0             0             0
                               Other                                      0            0              0             0             0
                               Total                                      0            0              0             0             0
                               Missed Appointment                         0            0              0             0             0
                               Follow-up Lead Testing                     0            0              0             0             0
                               Transportation Assistance                  0            0              0             0             0
               Other
                               Scheduling Assistance                      0            0              0             0             0
                               Other                                      0            0              0             0             0
                               Total                                      0            0              0             0             0
               Total                                                    202           15            187            79            108

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 7
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       30            0           30               17            13
                               Follow-up Lead Testing                    0            0           0                 0             0
                               Transportation Assistance                 0            0            0               0             0
               Medical         Scheduling Assistance                     0            0            0               0             0
                               Other                                     0            0            0               0             0
                               Updated Client Info                       0            0            0                0             0
                               Total                                    30            0           30               17            13
                               Missed Appointment                       94            6           88               48            40
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Dental
                               Scheduling Assistance                    27            3           24               10            14
                               Other                                     5            1            4                4             0
                               Total                                    126          10          116               62            54
                               Missed Appointment                        0            0            0                0              0
                               Follow-up Lead Testing                    0            0            0                0              0
                               Transportation Assistance                 0            0            0                0              0
               Orthodontic
                               Scheduling Assistance                     0            0            0                0              0
                               Other                                     0            0            0                0              0
                               Total                                     0            0            0                0              0
                               Missed Appointment                        0            0            0                0              0
                               Follow-up Lead Testing                    0            0            0                0              0
                               Transportation Assistance                 0            0            0                0              0
               Case Management
                               Scheduling Assistance                     0            0            0                0              0
                               Other                                     0            0            0                0              0
                               Total                                     0            0            0                0              0
                               Missed Appointment                        0            0            0                0             0
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Other
                               Scheduling Assistance                     0            0            0                0             0
                               Other                                     0            0            0                0             0
                               Total                                     0            0            0                0             0
               Total                                                    156          10          146               79            67

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 8
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       88           30           58               26            32
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Medical         Scheduling Assistance                     0            0            0                0             0
                               Other                                     0            0            0                0             0
                               Updated Client Info                       0            0            0                0             0
                               Total                                    88           30           58               26            32
                               Missed Appointment                       52            2           50               28            22
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Dental
                               Scheduling Assistance                     2            0            2                1             1
                               Other                                     0            0            0                0             0
                               Total                                    54            2           52               29            23
                               Missed Appointment                        0            0            0                0             0
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Orthodontic
                               Scheduling Assistance                     0            0            0                0             0
                               Other                                     0            0            0                0             0
                               Total                                     0            0            0                0             0
                               Missed Appointment                        0            0            0                0             0
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Case Management
                               Scheduling Assistance                     0            0            0                0             0
                               Other                                     0            0            0                0             0
                               Total                                     0            0            0                0             0
                               Missed Appointment                        0            0            0                0             0
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Other
                               Scheduling Assistance                     0            0            0                0             0
                               Other                                     0            0            0                0             0
                               Total                                     0            0            0                0             0
               Total                                                    142          32          110               55            55

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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                                  121721


              Report ID                                          EB 201
              Report Name                                        Texas Health Steps – Provider Outreach Referral Type
              Report Period                                      07/01/2017 - 07/31/2017




              Health Service Region: 9
              Provider Type       Referral Type                      Provider Outreach Referrals              Clients Contacted
                                                                            Referrals   Clients
                                                                 Referrals  Not         Assigned          Contacted     Letters
                                                                 Processed Attempted For                  By Phone      Mailed
                                                                            Per Policy Outreach
                              Missed Appointment                      0           0           0                  0             0
                              Follow-up Lead Testing                  0           0           0                  0             0
                              Transportation Assistance               0           0           0                 0             0
              Medical         Scheduling Assistance                   0           0           0                  0             0
                              Other                                   0           0           0                  0             0
                              Updated Client Info                     0           0           0                  0             0
                              Total                                   0           0           0                  0             0
                              Missed Appointment                     138          0          138                71            67
                              Follow-up Lead Testing                  0           0           0                  0             0
                              Transportation Assistance               0           0           0                 0             0
              Dental
                              Scheduling Assistance                   1           1           0                  0             0
                              Other                                   0           0           0                  0             0
                              Total                                  139          1          138                71            67
                              Missed Appointment                      0           0           0                  0             0
                              Follow-up Lead Testing                  0           0           0                  0             0
                              Transportation Assistance               0           0           0                 0             0
              Orthodontic
                              Scheduling Assistance                   0           0           0                  0             0
                              Other                                   0           0           0                  0             0
                              Total                                   0           0           0                  0             0
                              Missed Appointment                      0           0           0                  0             0
                              Follow-up Lead Testing                  0           0           0                  0             0
                              Transportation Assistance               0           0           0                 0             0
              Case Management
                              Scheduling Assistance                   0           0           0                  0             0
                              Other                                   0           0           0                  0             0
                              Total                                   0           0           0                  0             0
                              Missed Appointment                      0           0           0                  0             0
                              Follow-up Lead Testing                  1           0           1                  0             1
                              Transportation Assistance               0           0           0                 0             0
              Other
                              Scheduling Assistance                   0           0           0                  0             0
                              Other                                   0           0           0                  0             0
                              Total                                   1           0           1                  0             1
              Total                                                  140          1          139                71            68

              Report Purpose
              Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
              Report Label                                      Description
                                                                The provider type as self-identified by the Texas Health Steps
              Provider Type
                                                                provider.
              Referral Type                                      The outreach referral selected by the Texas Health Steps provider.
              Referrals Processed                                The number of referrals processed in a calendar month.

                                                                 The number of Texas Health Steps provider referrals not assigned
                                                                 for outreach per policy. Reasons may include:
                                                                 • Client is over 21 years of age
                                                                 • Client is no longer Medicaid eligible at the time the referral was
              Referrals Not Attempted Per Policy
                                                                 received (except Orthodontic referrals)
                                                                 • Client is insured by the Children’s Health Insurance Program
                                                                 (CHIP)
                                                                 • The missed appointment is greater than 90 days old

                                                                 The number of Texas Health Steps provider referrals assigned for
                                                                 outreach.
              Clients Assigned For Outreach
                                                                 [Client Assigned For Outreach = Referrals Processed - Referrals
                                                                 Not Attempted Per Policy]
                                                                 The number of clients successfully contacted by phone during the
                                                                 outreach attempt in the calendar month.
              Contacted By Phone
                                                                 [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                 Mailed]
                                                                 The number of clients mailed an outreach letter in the calendar
                                                                 month.
              Letter Mailed
                                                                 [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                 Phone]




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                                  121722


               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 10
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed   Attempted For                 By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       67          15           52                13            39
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Medical         Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Updated Client Info                       0           0            0                 0             0
                               Total                                    67          15           52                13            39
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Dental
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
               Total                                                    67          15           52                13            39

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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                                  121723


               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       07/01/2017 - 07/31/2017




               Health Service Region: 11
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       117           3          114               44            70
                               Follow-up Lead Testing                    1            0           1                 0             1
                               Transportation Assistance                 0            0           0                0             0
               Medical         Scheduling Assistance                     0            0           0                0             0
                               Other                                      0           0           0                0             0
                               Updated Client Info                        0           0            0               0              0
                               Total                                    118           3          115               44            71
                               Missed Appointment                        51           5           46               15             31
                               Follow-up Lead Testing                    0            0           0                 0             0
                               Transportation Assistance                 0            0           0                0              0
               Dental
                               Scheduling Assistance                      0           0           0                0              0
                               Other                                      0           0            0               0              0
                               Total                                     51           5           46               15            31
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Orthodontic
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Case Management
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Other
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
               Total                                                    169           8          161               59            102

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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                                  121724


               Report ID                                              EB 201
               Report Name                                            Texas Health Steps – Provider Outreach Referral Type
               Report Period                                          07/01/2017 - 07/31/2017




               Health Service Region: NA
               Provider Type       Referral Type                            Provider Outreach Referrals              Clients Contacted
                                                                                   Referrals   Clients
                                                                      Referrals    Not         Assigned          Contacted     Letters
                                                                      Processed    Attempted For                 By Phone      Mailed
                                                                                   Per Policy Outreach
                               Missed Appointment                           1            0           1                 0             1
                               Follow-up Lead Testing                       0            0           0                 0             0
                               Transportation Assistance                    0            0           0                 0             0
               Medical         Scheduling Assistance                        0            0           0                 0             0
                               Other                                        0            0           0                 0             0
                               Updated Client Info                          0            0           0                 0             0
                               Total                                        1            0           1                 0             1
                               Missed Appointment                           6            0           6                 2             4
                               Follow-up Lead Testing                       0            0           0                 0             0
                               Transportation Assistance                    0            0           0                 0             0
               Dental
                               Scheduling Assistance                        0            0           0                 0             0
                               Other                                        0            0           0                 0             0
                               Total                                        6            0           6                 2             4
                               Missed Appointment                           0            0           0                 0             0
                               Follow-up Lead Testing                       0            0           0                 0             0
                               Transportation Assistance                    0            0           0                 0             0
               Orthodontic
                               Scheduling Assistance                        0            0           0                 0             0
                               Other                                        0            0           0                 0             0
                               Total                                        0            0           0                 0             0
                               Missed Appointment                           0            0           0                 0             0
                               Follow-up Lead Testing                       0            0           0                 0             0
                               Transportation Assistance                    0            0           0                 0             0
               Case Management
                               Scheduling Assistance                        0            0           0                 0             0
                               Other                                        0            0           0                 0             0
                               Total                                        0            0           0                 0             0
                               Missed Appointment                           0            0           0                 0             0
                               Follow-up Lead Testing                       0            0           0                 0             0
                               Transportation Assistance                    0            0           0                 0             0
               Other
                               Scheduling Assistance                        0            0           0                 0             0
                               Other                                        0            0           0                 0             0
                               Total                                        0            0           0                 0             0
               Total                                                        7            0           7                 2             5

               Report Purpose
               Region labeled NA Displays a summary of Texas Health Steps provider referrals received and the client response to
               outreach effort that could not be positively allocated to one of the 11 official Service Areas.
               Report Label                                             Description
                                                                        The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                        provider.
               Referral Type                                          The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                    The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
               Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
               Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
               Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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                                  121725


               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: ALL
               Provider Type Referral Type                               Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted     Letters
                                                                   Processed    Attempted For                By Phone      Mailed
                                                                                Per Policy Outreach
                                Missed Appointment                      547          28          519              212           307
                                Follow-up Lead Testing                    1           0            1               0             1
                                Transportation Assistance                0            0           0                0             0
               Medical          Scheduling Assistance                    10           0           10               2             8
                                Other                                    12           1           11               9             2
                                Updated Client Info                      0            0           0                0             0
                                Total                                   570          29          541              223           318
                                Missed Appointment                      689          71          618              259           359
                                Follow-up Lead Testing                   0            0           0                0             0
                                Transportation Assistance                0            0            0               0             0
               Dental
                                Scheduling Assistance                    19           2           17               9             8
                                Other                                     6           0            6               5             1
                                Total                                   714          73          641              273           368
                                Missed Appointment                        0           0            0               0             0
                                Follow Up Lead Testing                    0           0            0               0             0
                                Transportation Assistance                 0           0            0               0             0
               Orthodontic
                                Scheduling Assistance                     0           0            0               0             0
                                Other                                     0           0            0               0             0
                                Total                                     0           0            0               0             0
                                Missed Appointment                        0           0            0               0             0
                                Follow-up Lead Testing                    0           0            0               0             0
               Case             Transportation Assistance                 0           0            0               0             0
               Management       Scheduling Assistance                     0           0            0               0             0
                                Other / Update Patient Address            0           0            0               0             0
                                Total                                     0           0            0               0             0
                                Missed Appointment                        0           0            0               0             0
                                Follow-up Lead Testing                    4           0            4               2             2
                                Transportation Assistance                 0           0            0               0             0
               Other
                                Scheduling Assistance                     0           0            0               0             0
                                Other                                     0           0            0               0             0
                                Total                                     4           0            4               2             2
               Total                                                   1,288        102         1,186             498           688

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old
                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals
                                                                   Not Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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                                  121726


               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 1
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed Attempted For                   By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       65           0           65                24            41
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                0            0           0                  0             0
               Medical         Scheduling Assistance                     0           0           0                  0             0
                               Other                                     0           0           0                  0             0
                               Updated Client Info                       0           0           0                  0             0
                               Total                                    65           0           65                24            41
                               Missed Appointment                      182           0          182                77            105
                               Follow-up Lead Testing                    0           0            0                0              0
                               Transportation Assistance                 0           0            0                0              0
               Dental
                               Scheduling Assistance                     0           0            0                0              0
                               Other                                     0           0            0                0              0
                               Total                                   182           0          182               77             105
                               Missed Appointment                        0           0            0                0              0
                               Follow-up Lead Testing                    0           0            0                0              0
                               Transportation Assistance                 0           0            0                0              0
               Orthodontic
                               Scheduling Assistance                     0           0            0                0              0
                               Other                                     0           0            0                0              0
                               Total                                     0           0            0                0              0
                               Missed Appointment                        0           0            0                0              0
                               Follow-up Lead Testing                    0           0            0                0              0
                               Transportation Assistance                 0           0            0                0              0
               Case Management
                               Scheduling Assistance                     0           0            0                0              0
                               Other                                     0           0            0                0              0
                               Total                                     0           0            0                0              0
                               Missed Appointment                        0           0            0                0              0
                               Follow-up Lead Testing                    0           0            0                0              0
                               Transportation Assistance                 0           0            0                0              0
               Other
                               Scheduling Assistance                     0           0            0                0              0
                               Other                                     0           0            0                0              0
                               Total                                     0           0            0                0              0
               Total                                                   247           0          247               101            146

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 2
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       37             1             36            19            17
                               Follow-up Lead Testing                    0             0              0            0             0
                               Transportation Assistance                 0             0              0            0             0
               Medical         Scheduling Assistance                     0             0              0            0             0
                               Other                                     0             0              0            0             0
                               Updated Client Info                       0             0              0            0             0
                               Total                                    37             1             36            19            17
                               Missed Appointment                       32             0             32             9            23
                               Follow-up Lead Testing                    0             0              0            0             0
                               Transportation Assistance                 0             0              0            0             0
               Dental
                               Scheduling Assistance                     0             0              0            0             0
                               Other                                     0             0              0            0             0
                               Total                                    32             0             32            9             23
                               Missed Appointment                        0             0              0            0              0
                               Follow-up Lead Testing                    0             0              0            0              0
                               Transportation Assistance                 0             0              0            0              0
               Orthodontic
                               Scheduling Assistance                     0             0              0            0              0
                               Other                                     0             0              0            0              0
                               Total                                     0             0              0            0              0
                               Missed Appointment                        0             0              0            0              0
                               Follow-up Lead Testing                    0             0              0            0              0
                               Transportation Assistance                 0             0              0            0              0
               Case Management
                               Scheduling Assistance                     0             0              0            0              0
                               Other                                     0             0              0            0              0
                               Total                                     0             0              0            0              0
                               Missed Appointment                        0             0              0            0              0
                               Follow-up Lead Testing                    0             0              0            0              0
                               Transportation Assistance                 0             0              0            0              0
               Other
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     0             0              0             0             0
               Total                                                    69             1             68            28            40

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old
                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 3
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       57             9             48            16            32
                               Follow-up Lead Testing                    0             0              0             0             0
                               Transportation Assistance                 0            0               0            0             0
               Medical         Scheduling Assistance                     0            0               0            0             0
                               Other                                     6            1               5            4             1
                               Updated Client Info                       0            0               0            0             0
                               Total                                    63            10             53            20            33
                               Missed Appointment                        6             1              5             1              4
                               Follow-up Lead Testing                    0             0              0             0              0
                               Transportation Assistance                 0             0              0             0              0
               Dental
                               Scheduling Assistance                     0             0              0             0              0
                               Other                                     0             0              0             0              0
                               Total                                     6             1              5             1              4
                               Missed Appointment                        0             0              0             0              0
                               Follow-up Lead Testing                    0             0              0             0              0
                               Transportation Assistance                 0             0              0             0              0
               Orthodontic
                               Scheduling Assistance                     0             0              0             0              0
                               Other                                     0             0              0             0              0
                               Total                                     0             0              0             0              0
                               Missed Appointment                        0             0              0             0              0
                               Follow-up Lead Testing                    0             0              0             0              0
                               Transportation Assistance                 0             0              0             0              0
               Case Management
                               Scheduling Assistance                     0             0              0             0              0
                               Other                                     0             0              0             0              0
                               Total                                     0             0              0             0              0
                               Missed Appointment                        0             0              0             0             0
                               Follow-up Lead Testing                    1             0              1             1             0
                               Transportation Assistance                 0            0               0            0             0
               Other
                               Scheduling Assistance                     0             0              0             0             0
                               Other                                     0             0              0             0             0
                               Total                                     1             0              1             1             0
               Total                                                    70            11             59            22            37

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old
                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 4
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed   Attempted For                 By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       27           4           23                 8            15
                               Follow-up Lead Testing                    0           0            0                 0            0
                               Transportation Assistance                 0           0            0                 0            0
               Medical         Scheduling Assistance                     0           0            0                 0            0
                               Other                                     0           0            0                 0            0
                               Updated Client Info                       0           0            0                 0            0
                               Total                                    27           4           23                 8            15
                               Missed Appointment                       51          13           38                21            17
                               Follow-up Lead Testing                    0           0            0                0             0
                               Transportation Assistance                 0           0            0                0             0
               Dental
                               Scheduling Assistance                     0           0            0                0             0
                               Other                                     0           0            0                0              0
                               Total                                    51          13           38                21            17
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
               Total                                                    78          17           61                29            32

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 5
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                        5            2           3                1               2
                               Follow-up Lead Testing                    0            0           0                0               0
                               Transportation Assistance                 0            0           0                0               0
               Medical         Scheduling Assistance                     0            0           0                0               0
                               Other                                     0            0           0                0               0
                               Updated Client Info                       0            0           0                0               0
                               Total                                     5            2           3                1               2
                               Missed Appointment                        4            0           4                0               4
                               Follow-up Lead Testing                    0            0           0                0               0
                               Transportation Assistance                 0            0           0                0               0
               Dental
                               Scheduling Assistance                     0            0           0                0               0
                               Other                                     0            0           0                0               0
                               Total                                     4            0           4                0               4
                               Missed Appointment                        0            0           0                0               0
                               Follow-up Lead Testing                    0            0           0                0               0
                               Transportation Assistance                 0            0           0                0               0
               Orthodontic
                               Scheduling Assistance                     0            0           0                0               0
                               Other                                     0            0           0                0               0
                               Total                                     0            0           0                0               0
                               Missed Appointment                        0            0           0                0               0
                               Follow-up Lead Testing                    0            0           0                0               0
                               Transportation Assistance                 0            0           0                0               0
               Case Management
                               Scheduling Assistance                     0            0           0                0               0
                               Other                                     0            0           0                0               0
                               Total                                     0            0           0                0               0
                               Missed Appointment                        0            0           0                0               0
                               Follow-up Lead Testing                    0            0           0                0               0
                               Transportation Assistance                 0            0           0                0               0
               Other
                               Scheduling Assistance                     0            0           0                0               0
                               Other                                     0            0           0                0               0
                               Total                                     0            0           0                0               0
               Total                                                     9            2           7                1               6

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 6
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                 Referrals     Clients
                                                                   Referrals     Not           Assigned      Contacted      Letters
                                                                   Processed     Attempted     For           By Phone       Mailed
                                                                                 Per Policy    Outreach
                               Missed Appointment                       105           1             104            41            63
                               Follow-up Lead Testing                    1            0              1             0             1
                               Transportation Assistance                 0            0              0             0             0
               Medical         Scheduling Assistance                     4            0              4             0             4
                               Other                                      4           0              4             3             1
                               Updated Client Info                        0           0               0            0              0
                               Total                                    114           1             113            44            69
                               Missed Appointment                        30           1              29             7            22
                               Follow-up Lead Testing                     0           0              0             0             0
                               Transportation Assistance                  0           0              0             0             0
               Dental
                               Scheduling Assistance                      0            0              0             0             0
                               Other                                      0            0              0            0             0
                               Total                                     30            1             29            7             22
                               Missed Appointment                         0            0              0            0             0
                               Follow-up Lead Testing                     0            0              0            0              0
                               Transportation Assistance                  0            0              0            0              0
               Orthodontic
                               Scheduling Assistance                      0            0              0            0              0
                               Other                                      0            0              0            0              0
                               Total                                      0            0              0            0              0
                               Missed Appointment                         0            0              0            0              0
                               Follow-up Lead Testing                     0            0              0            0              0
                               Transportation Assistance                  0            0              0            0              0
               Case Management
                               Scheduling Assistance                      0            0              0            0              0
                               Other                                      0            0              0            0              0
                               Total                                      0            0              0            0              0
                               Missed Appointment                         0            0              0            0              0
                               Follow-up Lead Testing                     0            0              0            0              0
                               Transportation Assistance                  0            0              0            0              0
               Other
                               Scheduling Assistance                      0            0              0            0              0
                               Other                                      0            0              0            0              0
                               Total                                      0            0              0             0             0
               Total                                                    144            2            142            51            91

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.
                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 7
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       16            0           16                7             9
                               Follow-up Lead Testing                    0            0           0                 0             0
                               Transportation Assistance                 0            0            0               0             0
               Medical         Scheduling Assistance                     1            0            1               1             0
                               Other                                     0            0            0               0             0
                               Updated Client Info                       0            0            0                0             0
                               Total                                     17           0           17                8             9
                               Missed Appointment                       99           38           61               23            38
                               Follow-up Lead Testing                    0            0            0                0             0
                               Transportation Assistance                 0            0            0                0             0
               Dental
                               Scheduling Assistance                    19            2           17               9             8
                               Other                                     5            0            5                5             0
                               Total                                    123          40           83               37            46
                               Missed Appointment                        0            0            0                0              0
                               Follow-up Lead Testing                    0            0            0                0              0
                               Transportation Assistance                 0            0            0                0              0
               Orthodontic
                               Scheduling Assistance                      0           0            0                0              0
                               Other                                      0           0            0                0              0
                               Total                                      0           0            0                0              0
                               Missed Appointment                         0           0            0                0              0
                               Follow-up Lead Testing                     0           0            0                0              0
                               Transportation Assistance                  0           0            0                0              0
               Case Management
                               Scheduling Assistance                      0           0            0                0              0
                               Other                                      0           0            0                0              0
                               Total                                      0           0            0                0              0
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Other
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
               Total                                                    140          40          100               45            55

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 8
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed   Attempted For                 By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       40           0           40                15            25
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Medical         Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Updated Client Info                       0           0            0                 0             0
                               Total                                    40           0           40                15            25
                               Missed Appointment                       56           0           56                23            33
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Dental
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                    56           0           56                23            33
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    3           0            3                 1             2
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     3           0            3                 1             2
               Total                                                    99           0           99                39            60

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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              Report ID                                           EB 201
              Report Name                                         Texas Health Steps – Provider Outreach Referral Type
              Report Period                                       08/01/2017 - 08/31/2017




              Health Service Region: 9
              Provider Type       Referral Type                         Provider Outreach Referrals              Clients Contacted
                                                                                Referrals     Clients
                                                                  Referrals     Not           Assigned       Contacted     Letters
                                                                  Processed     Attempted     For            By Phone      Mailed
                                                                                Per Policy    Outreach
                                    Missed Appointment                  1            0              1              0             1
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Medical               Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Updated Client Info                 0            0              0              0             0
                                    Total                               1            0              1              0             1
                                    Missed Appointment                 148           0            148             68            80
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Dental
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               1            0              1              0             1
                                    Total                              149           0            149             68            81
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Orthodontic
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Case Management
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
                                    Missed Appointment                  0            0              0              0             0
                                    Follow-up Lead Testing              0            0              0              0             0
                                    Transportation Assistance           0            0              0              0             0
              Other
                                    Scheduling Assistance               0            0              0              0             0
                                    Other                               0            0              0              0             0
                                    Total                               0            0              0              0             0
              Total                                                    150           0            150             68            82

              Report Purpose
              Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
              Report Label                                       Description
                                                                 The provider type as self-identified by the Texas Health Steps
              Provider Type
                                                                 provider.
              Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
              Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                  The number of Texas Health Steps provider referrals not assigned
                                                                  for outreach per policy. Reasons may include:
                                                                  • Client is over 21 years of age
                                                                  • Client is no longer Medicaid eligible at the time the referral was
              Referrals Not Attempted Per Policy
                                                                  received (except Orthodontic referrals)
                                                                  • Client is insured by the Children’s Health Insurance Program
                                                                  (CHIP)
                                                                  • The missed appointment is greater than 90 days old

                                                                  The number of Texas Health Steps provider referrals assigned for
                                                                  outreach.
              Clients Assigned For Outreach
                                                                  [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                  Attempted Per Policy]
                                                                  The number of clients successfully contacted by phone during the
                                                                  outreach attempt in the calendar month.
              Contacted By Phone
                                                                  [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                  Mailed]
                                                                  The number of clients mailed an outreach letter in the calendar
                                                                  month.
              Letter Mailed
                                                                  [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                  Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 10
               Provider Type       Referral Type                        Provider Outreach Referrals              Clients Contacted
                                                                               Referrals   Clients
                                                                   Referrals   Not         Assigned          Contacted      Letters
                                                                   Processed   Attempted For                 By Phone       Mailed
                                                                               Per Policy Outreach
                               Missed Appointment                       41          10           31                17            14
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Medical         Scheduling Assistance                     0           0            0                 0             0
                               Other                                     2           0            2                 2             0
                               Updated Client Info                       0           0            0                 0             0
                               Total                                    43          10           33                19            14
                               Missed Appointment                        2           0            2                 2             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Dental
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     2           0            2                 2             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Orthodontic
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Case Management
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
                               Missed Appointment                        0           0            0                 0             0
                               Follow-up Lead Testing                    0           0            0                 0             0
                               Transportation Assistance                 0           0            0                 0             0
               Other
                               Scheduling Assistance                     0           0            0                 0             0
                               Other                                     0           0            0                 0             0
                               Total                                     0           0            0                 0             0
               Total                                                    45          10           35                21            14

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                           EB 201
               Report Name                                         Texas Health Steps – Provider Outreach Referral Type
               Report Period                                       08/01/2017 - 08/31/2017




               Health Service Region: 11
               Provider Type       Referral Type                         Provider Outreach Referrals             Clients Contacted
                                                                                Referrals   Clients
                                                                   Referrals    Not         Assigned         Contacted      Letters
                                                                   Processed    Attempted For                By Phone       Mailed
                                                                                Per Policy Outreach
                               Missed Appointment                       151           1          150               64            86
                               Follow-up Lead Testing                    0            0           0                 0             0
                               Transportation Assistance                 0            0           0                0             0
               Medical         Scheduling Assistance                     5            0           5                1             4
                               Other                                      0           0           0                0             0
                               Updated Client Info                        0           0            0               0              0
                               Total                                    156           1          155               65            90
                               Missed Appointment                        73          18           55               26             29
                               Follow-up Lead Testing                    0            0           0                 0             0
                               Transportation Assistance                  0           0           0                0              0
               Dental
                               Scheduling Assistance                      0           0           0                0              0
                               Other                                      0           0            0               0              0
                               Total                                     73          18           55               26            29
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Orthodontic
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Case Management
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
                               Missed Appointment                         0           0            0                0             0
                               Follow-up Lead Testing                     0           0            0                0             0
                               Transportation Assistance                  0           0            0                0             0
               Other
                               Scheduling Assistance                      0           0            0                0             0
                               Other                                      0           0            0                0             0
                               Total                                      0           0            0                0             0
               Total                                                    229          19          210               91            119

               Report Purpose
               Displays a summary of Texas Health Steps provider referrals received and the client response to outreach effort
               Report Label                                       Description
                                                                  The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                  provider.
               Referral Type                                       The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                 The number of referrals processed in a calendar month.

                                                                   The number of Texas Health Steps provider referrals not assigned
                                                                   for outreach per policy. Reasons may include:
                                                                   • Client is over 21 years of age
                                                                   • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                   received (except Orthodontic referrals)
                                                                   • Client is insured by the Children’s Health Insurance Program
                                                                   (CHIP)
                                                                   • The missed appointment is greater than 90 days old

                                                                   The number of Texas Health Steps provider referrals assigned for
                                                                   outreach.
               Clients Assigned For Outreach
                                                                   [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                   Attempted Per Policy]
                                                                   The number of clients successfully contacted by phone during the
                                                                   outreach attempt in the calendar month.
               Contacted By Phone
                                                                   [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                   Mailed]
                                                                   The number of clients mailed an outreach letter in the calendar
                                                                   month.
               Letter Mailed
                                                                   [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                   Phone]




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               Report ID                                              EB 201
               Report Name                                            Texas Health Steps – Provider Outreach Referral Type
               Report Period                                          08/01/2017 - 08/31/2017




               Health Service Region: NA
               Provider Type       Referral Type                           Provider Outreach Referrals              Clients Contacted
                                                                                  Referrals   Clients
                                                                      Referrals   Not         Assigned          Contacted      Letters
                                                                      Processed   Attempted For                 By Phone       Mailed
                                                                                  Per Policy Outreach
                               Missed Appointment                          2            0           2                  0             2
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Medical         Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Updated Client Info                         0            0           0                  0             0
                               Total                                       2            0           2                  0             2
                               Missed Appointment                          6            0           6                  2             4
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Dental
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       6            0           6                  2             4
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Orthodontic
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Case Management
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
                               Missed Appointment                          0            0           0                  0             0
                               Follow-up Lead Testing                      0            0           0                  0             0
                               Transportation Assistance                   0            0           0                  0             0
               Other
                               Scheduling Assistance                       0            0           0                  0             0
                               Other                                       0            0           0                  0             0
                               Total                                       0            0           0                  0             0
               Total                                                       8            0           8                  2             6

               Report Purpose
               Region labeled NA Displays a summary of Texas Health Steps provider referrals received and the client response to
               outreach effort that could not be positively allocated to one of the 11 official Service Areas.
               Report Label                                             Description
                                                                        The provider type as self-identified by the Texas Health Steps
               Provider Type
                                                                        provider.
               Referral Type                                          The outreach referral selected by the Texas Health Steps provider.
               Referrals Processed                                    The number of referrals processed in a calendar month.

                                                                      The number of Texas Health Steps provider referrals not assigned
                                                                      for outreach per policy. Reasons may include:
                                                                      • Client is over 21 years of age
                                                                      • Client is no longer Medicaid eligible at the time the referral was
               Referrals Not Attempted Per Policy
                                                                      received (except Orthodontic referrals)
                                                                      • Client is insured by the Children’s Health Insurance Program
                                                                      (CHIP)
                                                                      • The missed appointment is greater than 90 days old

                                                                      The number of Texas Health Steps provider referrals assigned for
                                                                      outreach.
               Clients Assigned For Outreach
                                                                      [Client Assigned For Outreach = Referrals Processed - Referrals Not
                                                                      Attempted Per Policy]
                                                                      The number of clients successfully contacted by phone during the
                                                                      outreach attempt in the calendar month.
               Contacted By Phone
                                                                      [Contacted by Phone = Clients Assigned for Outreach - Letter
                                                                      Mailed]
                                                                      The number of clients mailed an outreach letter in the calendar
                                                                      month.
               Letter Mailed
                                                                      [Letter Mailed = Clients Assigned For Outreach - Contacted By
                                                                      Phone]




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 06/01/2017 - 06/30/2017




Region      Provider Type     Provider Name                                            Clients Referred
            Dental            -                                                                       1,105
            Medical           -                                                                         745
State Total Orthodontic       -                                                                           0
            Case Management   -                                                                           0
            Other             -                                                                           2
Total                                                                                                 1,852
            Dental            FAMILIA DENTAL                                                              6
            Medical           EL PASO KIDS KLINIC                                                         3
Region NA Orthodontic         -                                                                           0
            Case Management   -                                                                           0
            Other             -                                                                           0
Total                                                                                                     9
                              FAMILIA DENTAL                                                            232
            Dental            ROSENBERG FAMILY SMILES                                                     1
                              ST PAUL CHILDRENS DENTAL CLINIC                                             1
                              ANGELA HANNAWAY                                                             2
                              CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                 85
Region 01   Medical           MEDICAL CENTER OF DIMMIT                                                   2
                              SLATON CLINIC                                                              2
                              UMC@YSLETA                                                                 2
                              WALLACE MANN                                                               2
            Orthodontic       -                                                                          0
            Case Management   -                                                                          0
            Other             -                                                                          0
Total                                                                                                  329
            Dental            FAMILIA DENTAL                                                            42
                              COGDELL FAMILY CLINIC                                                     29
                              COPPELL PEDIATRICS ASSOC                                                   1
            Medical           IOWA PARK CLINIC                                                           2
Region 02                     SHACKELFORD COUNTY HEALTH CLINIC                                           1
                              WISE CLINICAL COMMUNITY HEALTH                                             1
            Orthodontic       -                                                                          0
            Case Management   -                                                                          0
            Other             -                                                                          0
Total                                                                                                   76
            Dental            FAMILIA DENTAL                                                             2
                              ATHENS WOMENS AND CHILDRENS CENTER                                         1
                              BUCKNER ELAM MEDICAL                                                       5
            Medical           CHILDREN'S CLINIC OF RICHARDSON                                           17
Region 03                     COPPELL PEDIATRICS ASSOC                                                  26
                              WISE CLINICAL COMMUNITY HEALTH                                             1
            Orthodontic       -                                                                          0
            Case Management   -                                                                          0
            Other             -                                                                          0
Total                                                                                                   52




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 06/01/2017 - 06/30/2017




Region      Provider Type     Provider Name                                            Clients Referred
                              BLU DENTAL OF AUSTIN                                                         1
                              KINDLE DENTAL                                                                5
            Dental
                              PARIS CHILDRENS DENTISTRY                                                   11
                              ST PAUL CHILDRENS DENTAL CLINIC                                             47
                              ATHENS WOMENS AND CHILDRENS CENTER                                          10
                              CROSSROADS FAMILY CARE                                                       1
Region 04                     ETMC FIRST PHYSICIANS CLINIC                                                 1
            Medical
                              KIM BURLINGHAM                                                               1
                              MEDICAL ARTS CLINIC                                                          2
                              ST PAUL CHILDRENS                                                            1
            Orthodontic       -                                                                            0
            Case Management   -                                                                            0
            Other             -                                                                            0
Total                                                                                                     80
            Dental            SILSBEE FAMILY DENTISTRY                                                     3
                              LITTLE JACKS PEDIATRICS                                                      1
            Medical
                              NANCY NGO                                                                    1
Region 05
            Orthodontic       -                                                                            0
            Case Management   -                                                                            0
            Other             -                                                                            0
Total                                                                                                      5
                              AAH SMILE                                                                    1
                              BOEHM DENTAL                                                                 1
                              GROWING SMILES CHILDRENS DENTAL CENTER                                       4
            Dental            MATRICE DENTAL                                                               3
                              ROSENBERG FAMILY SMILES                                                     64
                              SILSBEE FAMILY DENTISTRY                                                     1
                              SOUTHMORE DENTAL                                                            11
                              ST PAUL CHILDRENS DENTAL CLINIC                                              3
                              BEAR CREEK PEDIATRIC CLINIC                                                  2
                              BRAZOSPORT PEDIATRIC CLINIC                                                 64
Region 06
                              CARING HANDS PEDIATRICS                                                     34
                              MEMORIAL HERMANN MEDICAL GROUP                                              41
                              PEGGY WONGSA                                                                14
            Medical
                              TAYLOR PEDIATRICS                                                            1
                              TEXAS CHILDREN'S PEDIATRICS                                                  4
                              TEXAS CHILDRENS PEDIATRICS RIPLEY HOUSE                                     50
                              TRINA TAYLOR                                                                  3
            Orthodontic       -                                                                             0
            Case Management   -                                                                             0
            Other             TXCLPPP                                                                       1
Total                                                                                                     302




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 06/01/2017 - 06/30/2017




Region      Provider Type     Provider Name                                            Clients Referred
                              AMOR DENTAL CARE                                                            10
                              AUSTIN CHILDRENS DENTISTRY                                                   1
                              BLU DENTAL OF AUSTIN                                                        21
                              BRIGHT SMILES DENTAL                                                         2
                              CRESCENT DENTAL                                                              6
            Dental            HERITAGE DENTAL CARE                                                         2
                              LONE STAR PEDIATRIC DENTAL                                                  63
                              MANZANITA KIDS DENTISTRY                                                    13
                              NORTH PARK FAMILY DENTAL                                                     1
                              PLANET SMILE FAMILY DENTAL                                                   5
                              ST PAUL CHILDRENS DENTAL CLINIC                                              1
                              AMADO RAMIREZ JR                                                             1
                              BARBARA PIERCE MD                                                            1
Region 07                     BAYLOR SCOTT and WHITE CLINIC                                               18
                              CAROUSEL PEDIATRICS                                                          2
                              CHILDRENS UROLOGY                                                            4
                              FCHC MARLIN CLINIC                                                           1
            Medical           GABRIEL C MILLAR                                                             3
                              LONE STAR PEDIATRIC DENTAL                                                   1
                              PEDIATRIC DENTAL PROFESSIONALS                                               1
                              SCOTT & WHITE CLINIC ROCK PRAIRIE                                            1
                              SCOTT AND WHITE HOERSTER CLINIC                                              6
                              SETON FAMILY OF DOCTORS SMITHVILLE ANNEX
                                                                                                           10
                              Region 07 M
            Orthodontic       -                                                                             0
            Case Management   -                                                                             0
            Other             -                                                                             0
Total                                                                                                     174
                              DAVID VILLARREAL DDS                                                          8
            Dental
                              FAMILIA DENTAL                                                               57
                              BAYLOR SCOTT and WHITE CLINIC                                                 1
                              CHILD CARE ASSOCIATES                                                         1
                              COMMUNICARE HEALTH CENTER EAST CAMPUS                                        7
                              DEAN ZINCONE                                                                 4
                              KELLUM MEDICAL GROUP                                                         7
            Medical
Region 08                     NORTHEAST PEDIATRIC ASSOCIATES                                               4
                              NORTHEAST PEDIATRICS                                                         1
                              PEDIATRICS & ADOLESCENTS                                                    17
                              TEXAS CHILDRENS PEDIATRICS RIPLEY HOUSE                                      2
                              TXCLPP                                                                        2
            Orthodontic       -                                                                             0
            Case Management   -                                                                             0
            Other             TXCLPPP                                                                       1
Total                                                                                                     112




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Report ID                         EB 203
Report Name                       Texas Health Steps - Provider Outreach Referral Participation
Report Period                     06/01/2017 - 06/30/2017




Region      Provider Type         Provider Name                                               Clients Referred
                                  BLU DENTAL OF AUSTIN                                                             1
            Dental
                                  FAMILIA DENTAL                                                                 251
                                  EL PASO KIDS KLINIC                                                              1
            Medical
Region 09                         V NGUYEN NA M                                                                    5
            Orthodontic           -                                                                                0
            Case Management       -                                                                                0
            Other                 -                                                                                0
Total                                                                                                            258
            Dental                FAMILIA DENTAL                                                                   3
                                  EDUARDO COVARRUBIAS                                                              1
                                  EL PASO KIDS KLINIC                                                             54
            Medical               NEC PEDIATRICS                                                                   2
Region 10                         NORTHEAST CORNERSTONE PEDIATRICS                                                 1
                                  PEDIATRIC PARTNERS EL PASO                                                      28
            Orthodontic           -                                                                                0
            Case Management       -                                                                                0
            Other                 -                                                                                0
Total                                                                                                             89
                                  AAH SMILE                                                                       64
                                  ACCESS DENTAL                                                                    1
                                  DAVID VILLARREAL DDS                                                             3
            Dental                FAMILIA DENTAL                                                                   2
                                  GROWING SMILES CHILDRENS DENTAL CENTER                                         147
                                  WILLIAM J TINNELL                                                               4
                                  ARGENAL PEDIATRICS                                                             13
                                  LAREDO PEDIATRICS & NEONATOLOGY                                                57
Region 11                         PHARR KIDS CLINIC                                                              22
                                  RACHEL C VURBEFF                                                                8
            Medical               ROMEO F MONTALVO                                                                2
                                  ROSA GUZMAN MDPA                                                                7
                                  SERGIO PRECIADO/MISSION CHILDRENS CLINIC                                       35
                                  SOUTH PADRE ISLAND PEDIATRICS CENTER                                             1
            Orthodontic           -                                                                                0
            Case Management       -                                                                                0
            Other                 -                                                                                0
Total                                                                                                            366

Report Purpose
Displays a summary of providers participating in the Texas Health Steps Provider Outreach Referral Services and the
number of referrals Submitted
Report Label                     Description
Health Service Region (HSR)      DSHS Health Service Regions 1-11 including state totals
                                 Clients listed under the 'N/A' HSR either do not have a county assigned to them, or
                                 the county assigned to them is invalid.
Provider Type                    The Provider type as self-identified by the Texas Health Steps Provider
Provider Details                 The Provider Clinic or office name. Note: Dash indicates no referrals submitted by
                                 the provider type for the report period displayed
Clients Referred                 The Number of Clients referred by the Texas Health Steps Provider




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 07/01/2017 - 07/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
            Dental            -                                                                               627
            Medical           -                                                                               579
State Total Orthodontic       -                                                                                 0
            Case Management   -                                                                                 0
            Other             -                                                                                 2
Total                                                                                                       1,208
                              AAH SMILE                                                                         1
            Dental
                              FAMILIA DENTAL                                                                    5
            Medical           MEMORIAL HERMANN MEDICAL GROUP                                                    1
Region NA
            Orthodontic       -                                                                                 0
            Case Management   -                                                                                 0
            Other             -                                                                                 0
Total                                                                                                           7
                              F RICARDO MORENO                                                                  3
            Dental            FAMILIA DENTAL                                                                  147
                              LONE STAR PEDIATRIC DENTAL                                                        1
                              ANGELA HANNAWAY                                                                   3
                              CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                        48
Region 01   Medical
                              MEDICAL CENTER OF DIMMIT                                                          1
                              WALLACE MANN                                                                      1
            Orthodontic       -                                                                                 0
            Case Management   -                                                                                 0
            Other             -                                                                                 0
Total                                                                                                         204
            Dental            FAMILIA DENTAL                                                                   29
                              BRENT STEADMAN                                                                    2
            Medical           COGDELL FAMILY CLINIC                                                            18
Region 02                     WISE CLINICAL COMMUNITY HEALTH                                                    1
            Orthodontic       -                                                                                 0
            Case Management   -                                                                                 0
            Other             -                                                                                 0
Total                                                                                                          50
                              FAMILIA DENTAL                                                                    1
                              MARIA ELBA GARCIA-IBANCOUCHI                                                      4
            Dental
                              PARIS CHILDRENS DENTISTRY                                                         2
                              PERLA DENTAL OF ARLINGTON                                                         1
                              ASHLEY MENTA                                                                      1
                              ATHENS WOMENS AND CHILDRENS CENTER                                                1
                              CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                         1
                              CHILDRENS HEALTH PEDIATRIC GROUP                                                  2
Region 03
            Medical           CLINICAL CARE ASSOCIATES-COMMUNITY HEALTH CLINIC                                  1
                              COPPELL PEDIATRICS ASSOC                                                         21
                              KIDS WELLNESS CENTER                                                              1
                              MARIA ELBA GARCIA-IBANCOUCHI                                                      1
                              WISE CLINICAL COMMUNITY HEALTH                                                    2
            Orthodontic       -                                                                                 0
            Case Management   -                                                                                 0
            Other             TXCLPPP                                                                           1
Total                                                                                                          40




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 07/01/2017 - 07/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
            Dental            PARIS CHILDRENS DENTISTRY                                                        6
                              ATHENS WOMENS AND CHILDRENS CENTER                                              11
                              COMMUNICARE HEALTH CENTER EAST CAMPUS                                            1
            Medical
                              CROSSROADS FAMILY CARE                                                           1
Region 04
                              MEDICAL ARTS CLINIC                                                              6
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             -                                                                                0
Total                                                                                                         25
            Dental            -                                                                                0
                              CHILD BLOOD LEAD PROGRAM                                                         1
                              CROSSROADS FAMILY CARE                                                           2
            Medical
                              LITTLE JACKS PEDIATRICS                                                          2
Region 05
                              TRINA TAYLOR                                                                     1
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             -                                                                                0
Total                                                                                                          6
                              BLU DENTAL OF AUSTIN                                                             1
                              BOEHM DENTAL                                                                     6
            Dental            LONE STAR PEDIATRIC DENTAL                                                       1
                              ROSENBERG FAMILY SMILES                                                         41
                              SOUTHMORE DENTAL                                                                 8
                              BEAR CREEK PEDIATRIC CLINIC                                                      3
                              BRAZOSPORT PEDIATRIC CLINIC                                                     21
                              CARING FOR KIDS PEDIATRICS                                                       1
                              CARING HANDS PEDIATRICS                                                         27
                              GERALDINE WILSON                                                                 1
Region 06                     MEMORIAL HERMANN MEDICAL GROUP                                                  17
            Medical           NGUYEN THAI                                                                      4
                              PEGGY WONGSA                                                                     9
                              TAYLOR PEDIATRICS                                                                1
                              TEXAS CHILDREN'S PEDIATRICS                                                     17
                              TEXAS CHILDRENS PEDIATRICS RIPLEY HOUSE                                         16
                              THE CHILDRENS DOCTORS OF TEXAS                                                  27
                              TXCLPP                                                                           1
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             -                                                                                0
Total                                                                                                        202




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 07/01/2017 - 07/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
                              AMOR DENTAL CARE                                                                 4
                              AUSTIN CHILDRENS DENTISTRY                                                       3
                              BLU DENTAL OF AUSTIN                                                            37
                              FAMILIA DENTAL                                                                   2
            Dental
                              LONE STAR PEDIATRIC DENTAL                                                      63
                              MANZANITA KIDS DENTISTRY                                                        15
                              NORTH PARK FAMILY DENTAL                                                         1
                              PLANET SMILE FAMILY DENTAL                                                       1
                              BARBARA PIERCE MD                                                                1
Region 07                     BAYLOR SCOTT and WHITE CLINIC                                                   15
                              GABRIEL C MILLAR                                                                 6
                              LONE STAR PEDIATRIC DENTAL                                                       1
            Medical
                              MCLANE CHILDRENS BELTON PEDIATRICS                                               1
                              PEDIATRIC ASSOCIATES                                                             2
                              SETON FAMILY OF DOCTORS SMITHVILLE ANNEX                                         2
                              SETON LOCKHART FAMILY HEALTH CENTER                                              2
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             -                                                                                0
Total                                                                                                        156
                              BLU DENTAL OF AUSTIN                                                             1
                              COMMUNICARE HEALTH                                                               2
            Dental
                              DAVID VILLARREAL DDS                                                            10
                              FAMILIA DENTAL                                                                  41
                              ALAMO HEIGHTS PEDIATRICS                                                         1
                              COMMUNICARE HEALTH CENTER EAST CAMPUS                                           58
                              COPPELL PEDIATRICS ASSOC                                                         1
Region 08
            Medical           FREDERICK RHAME                                                                  1
                              KELLUM MEDICAL GROUP                                                             6
                              NORTHEAST PEDIATRIC ASSOCIATES                                                   2
                              PEDIATRICS & ADOLESCENTS                                                        19
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             -                                                                                0
Total                                                                                                        142
                              BLU DENTAL OF AUSTIN                                                             1
                              F RICARDO MORENO                                                                 1
            Dental
                              FAMILIA DENTAL                                                                 136
                              MACARTHUR PEDIATRICS                                                             1
Region 09
            Medical           -                                                                                0
            Orthodontic       -                                                                                0
            Case Management   -                                                                                0
            Other             TXCLPPP                                                                          1
Total                                                                                                        140




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Report ID                        EB 203
Report Name                      Texas Health Steps - Provider Outreach Referral Participation
Report Period                    07/01/2017 - 07/31/2017




Region      Provider Type        Provider Name                                                        Clients Referred
            Dental               -                                                                                      0
                                 ARGELIA WOO-TELLES                                                                     5
            Medical              EL PASO KIDS KLINIC                                                                   38
Region 10                        PEDIATRIC PARTNERS EL PASO                                                            24
            Orthodontic          -                                                                                      0
            Case Management      -                                                                                      0
            Other                -                                                                                      0
Total                                                                                                                  67
                                 AAH SMILE                                                                             26
            Dental               ROSA GUZMAN                                                                            1
                                 WILLIAM J TINNELL                                                                     24
                                 AMISTAD CHC                                                                           11
                                 CORPUS CHRISTI PEDIATRICS                                                              1
                                 LAREDO PEDIATRICS & NEONATOLOGY                                                       46
                                 PHARR KIDS CLINIC                                                                      7
Region 11   Medical              RACHEL C VURBEFF                                                                       6
                                 ROMEO F MONTALVO                                                                       1
                                 ROSA GUZMAN MDPA                                                                      12
                                 SERGIO PRECIADO/MISSION CHILDRENS CLINIC                                              33
                                 WILLIAM J TINNELL                                                                      1
            Orthodontic          -                                                                                      0
            Case Management      -                                                                                      0
            Other                -                                                                                      0
Total                                                                                                                 169

Report Purpose
Displays a summary of providers participating in the Texas Health Steps Provider Outreach Referral Services and the number
of referrals Submitted
Report Label                     Description
Health Service Region (HSR)      DSHS Health Service Regions 1-11 including state totals
                                 Clients listed under the 'N/A' HSR either do not have a county assigned to them, or the
                                 county assigned to them is invalid.
Provider Type                    The Provider type as self-identified by the Texas Health Steps Provider
Provider Details                 The Provider Clinic or office name. Note: Dash indicates no referrals submitted by the
                                 provider type for the report period displayed
Clients Referred                 The Number of Clients referred by the Texas Health Steps Provider




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 08/01/2017 - 08/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
            Dental            -                                                                            714
            Medical           -                                                                            570
State Total Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              4
Total                                                                                                    1,288
                              FAMILIA DENTAL                                                                 4
            Dental            LONE STAR PEDIATRIC DENTAL                                                     1
                              ROSENBERG FAMILY SMILES                                                        1
Region NA Medical             CHILDRENS HEALTH PEDIATRIC GROUP                                               2
          Orthodontic         -                                                                              0
          Case Management     -                                                                              0
          Other               -                                                                              0
Total                                                                                                        8
                              F RICARDO MORENO                                                               1
            Dental
                              FAMILIA DENTAL                                                               181
                              CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                     61
                              COGDELL FAMILY CLINIC                                                          1
            Medical
Region 01                     FAMILY CARE CENTER OF QUITMAN                                                  1
                              WALLACE MANN                                                                   2
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                      247
                              F RICARDO MORENO                                                               1
            Dental
                              FAMILIA DENTAL                                                                31
                              BRENT STEADMAN                                                                11
            Medical           COGDELL FAMILY CLINIC                                                         25
Region 02
                              DOCTORS MEDICAL CENER                                                          1
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                       69
                              LORENA MOLINA RIOJAS                                                           1
            Dental            MARIA ELBA GARCIA-IBANCOUCHI                                                   3
                              PARIS CHILDRENS DENTISTRY                                                      2
                              ANGELA HANNAWAY                                                                1
                              ASHLEY MENTA                                                                  14
                              ATHENS WOMENS AND CHILDRENS CENTER                                             1
                              CHILDRENS HEALTH PEDIATRIC GROUP                                              29
Region 03   Medical
                              CLINICAL CARE ASSOCIATES-COMMUNITY HEALTH CLINIC                              2
                              COPPELL PEDIATRICS ASSOC                                                     14
                              MARIA ELBA GARCIA-IBANCOUCHI                                                  1
                              TXCLPP                                                                        1
            Orthodontic       -                                                                             0
            Case Management   -                                                                             0
            Other             TXCLPPP                                                                       1
Total                                                                                                      70




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 08/01/2017 - 08/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
                              PARIS CHILDRENS DENTISTRY                                                     27
            Dental
                              ST PAUL CHILDRENS DENTAL CLINIC                                               24
                              ATHENS WOMENS AND CHILDRENS CENTER                                            11
                              CROSSROADS FAMILY CARE                                                         1
                              KARAH COKER                                                                    4
                              LAREDO PEDIATRICS & NEONATOLOGY                                                1
            Medical           MEDICAL ARTS CLINIC                                                            2
Region 04
                              PARIS CHILDRENS DENTISTRY                                                      1
                              SHARMAN MOORE                                                                  1
                              ST PAUL CHILDRENS                                                              4
                              THE CLINIC FOR CHILDREN                                                        2
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                       78
                              JOE R KENESON/JAMES LANDIS                                                     3
            Dental
                              SILSBEE FAMILY DENTISTRY                                                       1
                              ATHENS WOMENS AND CHILDRENS CENTER                                             1
            Medical           CROSSROADS FAMILY CARE                                                         1
Region 05
                              NANCY NGO                                                                      3
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                        9
                              LONE STAR PEDIATRIC DENTAL                                                     1
            Dental            ROSENBERG FAMILY SMILES                                                       25
                              SOUTHMORE DENTAL                                                               4
                              BRAZOSPORT PEDIATRIC CLINIC                                                   43
                              CARING HANDS PEDIATRICS                                                        3
                              KIDS WAY CLINIC                                                                3
                              LUV N CARE PEDIATRICS                                                          2
                              MEMORIAL HERMANN MEDICAL GROUP                                                 6
                              NGUYEN THAI                                                                    3
Region 06   Medical
                              PEGGY WONGSA                                                                  14
                              TAYLOR PEDIATRICS                                                              3
                              TEXAS CHILDREN'S PEDIATRICS                                                   15
                              TEXAS CHILDRENS PEDIATRICS RIPLEY HOUSE                                       20
                              THE CHILDRENS DOCTORS OF TEXAS                                                 1
                              TXCLPP                                                                         1
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                      144




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Report ID                     EB 203
Report Name                   Texas Health Steps - Provider Outreach Referral Participation
Report Period                 08/01/2017 - 08/31/2017




Region      Provider Type     Provider Name                                                   Clients Referred
                              AMOR DENTAL CARE                                                               8
                              BLU DENTAL OF AUSTIN                                                           8
                              FAMILIA DENTAL                                                                 1
            Dental            LONE STAR PEDIATRIC DENTAL                                                    93
                              MANZANITA KIDS DENTISTRY                                                       7
                              NORTH PARK FAMILY DENTAL                                                       5
                              SUNNY HILLS PEDIATRIC DENTISTRY                                                1
                              BARBARA PIERCE MD                                                              2
Region 07                     BAYLOR SCOTT and WHITE CLINIC                                                  4
                              CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                      1
            Medical           CHILDRENS UROLOGY                                                              5
                              GABRIEL C MILLAR                                                               2
                              LONE STAR PEDIATRIC DENTAL                                                     2
                              SETON FAMILY OF DOCTORS SMITHVILLE ANNEX                                       1
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0
Total                                                                                                      140
                              DAVID VILLARREAL DDS                                                          10
            Dental            FAMILIA DENTAL                                                                44
                              MR DENTIST                                                                     2
                              ALAMO HEIGHTS PEDIATRICS                                                       1
                              BROWNSVILLE PEDIATRICS                                                         1
                              CHILD CARE ASSOCIATES                                                          2
                              DEAN ZINCONE                                                                   4
                              FREDERICK RHAME                                                                2
                              GUADALUPE FAMILY HEALTH                                                        1
Region 08   Medical           KELLUM MEDICAL GROUP                                                           3
                              NORTHEAST PEDIATRIC ASSOCIATES                                                 3
                              PEDIATRIC ASSOCIATES                                                           2
                              PEDIATRICS & ADOLESCENTS                                                      18
                              ROSA GUZMAN MDPA                                                               1
                              SOUTH ALAMO MEDICAL GROUP                                                      1
                              SOUTHWEST CHILDRENS CENTER                                                     1
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             TXCLPPP                                                                        3
Total                                                                                                       99
                              F RICARDO MORENO                                                               1
            Dental
                              FAMILIA DENTAL                                                               148
            Medical           CATHY POWERS/HILLSIDE FAMLY HEALTH CLINIC                                      1
Region 09
            Orthodontic       -                                                                              0
            Case Management   -                                                                              0
            Other             -                                                                              0




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Report ID                        EB 203
Report Name                      Texas Health Steps - Provider Outreach Referral Participation
Report Period                    08/01/2017 - 08/31/2017




Region      Provider Type        Provider Name                                                    Clients Referred
Total                                                                                                          150
            Dental               FAMILIA DENTAL                                                                  2
                                 EL PASO KIDS KLINIC                                                            30
            Medical              EMILIA TALAMAS MD PA                                                            1
Region 10                        PEDIATRIC PARTNERS EL PASO                                                     12
            Orthodontic          -                                                                               0
            Case Management      -                                                                               0
            Other                -                                                                               0
Total                                                                                                           45
                                 AAH SMILE                                                                      25
                                 FAMILIA DENTAL                                                                  3
                                 LAREDO DENTAL CLINIC                                                            1
            Dental               LORENA MOLINA RIOJAS                                                           20
                                 ROSA GUZMAN                                                                     3
                                 SMILES FAMILY DENTISTRY                                                         5
                                 WILLIAM J TINNELL                                                              16
                                 AMISTAD CHC                                                                     2
Region 11
                                 BROWNSVILLE PEDIATRICS                                                          8
                                 LAREDO PEDIATRICS & NEONATOLOGY                                                91
            Medical
                                 ROSA GUZMAN MDPA                                                               20
                                 SERGIO PRECIADO/MISSION CHILDRENS CLINIC                                       33
                                 WILLIAM J TINNELL                                                               2
            Orthodontic          -                                                                               0
            Case Management      -                                                                               0
            Other                -                                                                               0
Total                                                                                                          229

Report Purpose
Displays a summary of providers participating in the Texas Health Steps Provider Outreach Referral Services and the
number of referrals Submitted
Report Label                     Description
Health Service Region (HSR)      DSHS Health Service Regions 1-11 including state totals
Provider Type                    The Provider type as self-identified by the Texas Health Steps Provider
Provider Details                 The Provider Clinic or office name. Note: Dash indicates no referrals submitted by
                                 the provider type for the report period displayed
Clients Referred                 The Number of Clients referred by the Texas Health Steps Provider




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Report ID                       EB 206
Report Name                     Extra Effort Referrals (H1093)
Report Period                   2017 Q4




Health Service Region: ALL
                                      Extra Effort Referrals                            Clients Contacted
                                                 Referrals Not
Extra Effort Referral Type      Processed                             Contacted By       Contacted By
                                                 Attempted Per                                          Letters Mailed
                                Referrals                             Phone              Home Visit
                                                 Policy
                      Jun-17            8                0                     5                 0               3
                       Jul-17           6                0                     6                 0               0
                      Aug-17            9                0                     6                 0               3
                        Total          23                0                    17                 0               6

Report Purpose
Displays a summary of Extra Effort Referral activities for the report period displayed.
Report Label                  Description
Extra Effort Referral Type    The Extra Effort Referral type as selected by HHSC
                              The number of Extra Effort Referrals processed during calendar month.
Processed Referrals
                                [Processed Referrals = Contacted By Phone + Contacted By Home Visit + Letters Mailed
                                + Referrals Not Attempted Per Policy]
                                The number of Extra Effort Referrals not assigned for outreach per policy. Reasons may
                                include:

Referrals Not Attempted Per     Client is not Medicaid eligible at the time the referral was received
Policy
                                Note: The Extra Effort Referrals submitted for a Healthcare Orientation (HCO) for a newly-
                                certified client are not entered for outreach and will not display in the “Referrals Not
                                Attempted Per Policy” data
                                The number of clients contacted by phone including inbound and outbound calls.
Contacted By Phone
                                [Contacted By Phone = Processed Referrals - Referrals Not Attempted Per Policy -
                                Contacted By Home Visit - Letters Mailed]
                                The number of clients contacted by a home visit attempt
Contacted By Home Visit
                                [Contacted By Home Visit = Processed Referrals - Referrals Not Attempted Per Policy -
                                Contacted By Phone - Letters Mailed]
                                The number of clients mailed outreach information
Letters Mailed
                                [Letters Mailed = Processed Referrals - Referrals Not Attempted Per Policy - Contacted
                                By Home Visit - Contacted By Phone]




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Report ID                                        EB 211
Report Name                                      Case Management Informing - Outreach Target List
Report Period                                    2017 Q4




Health Service Region : All                                                 Clients Contacted                                                         Outreach Outcomes
Target List Population                           Clients Assigned for Contacted By    Contacted By           Letters Mailed       Case Management Referred to     Scheduling       Assistance
                                                 Outreach             Phone           Home Visits                                 Education       Provider        Assistance       Locating
                                                                                                                                                                  Provided         Provider
                                       Jun-17            2,794               1,227               468                1,099               1,266            260             24             236
                                        Jul-17           2,696               1,043               583                1,070               1,120            197             16             181
                                       Aug-17            3,023               1,266               759                 998                1,329            229             14             215
                                         Total           8,513               3,536              1,810               3,167               3,715            686             54             632

Report Purpose
Displays a detail of Case Management informing Referrals for target list population groups.
Report Label                                 Description
                                                 Target population groups identified:
                                                 1. Pregnant Teen (Texas Health Steps teen - birth through age 20)
                                                 2. Parenting Teen (Texas Health Steps teen - birth through age 20)
Target List Population                           3. Children Leaving Conservatorship
                                                 4. Newly Certified SSI children
                                                 5. Newly Certified Foster Care Children
                                                 For a breakout of Target Population Groups, reference the EB 211 monthly deliverables.
Clients Assigned for Outreach                    The number of target population list clients assigned to outreach for enhanced Case Management informing
                                                 The number of clients contacted by phone during outreach
Contacted by Phone
                                                 [Contacted by Phone = Clients Assigned for Outreach – Contacted by Home Visit – Letters Mailed]
                                                 The number of clients contacted by a home visit as a result of the outreach attempt
Contacted by Home Visit
                                                 [Contacted by Home Visit = Clients Assigned for Outreach - Contacted by Phone – Letters Mailed]
                                                 The number of letters mailed to clients
Letters Mailed
                                                 [Letters Mailed = Clients Assigned for Outreach - Contacted by Phone – Contacted by Home Visit]
                                                 The number of inbound and outbound calls resulting in a Case Management provider referral

Referred to Provider                             [Referred to Provider = Clients Assigned for Outreach – Education Provided and No Case Management Needs - Declined Case Management]

                                                 [Referred to Provider = Scheduling Assistance Provided + Assisted with Locating Provider]
                                                 The number of clients who requested scheduling assistance with a Case Management provider
Scheduled Appointment
                                                 [Scheduling Assistance Provided = Referred to Provider - Assisted with Locating a Provider]
                                                 The number of clients receiving Case Management informing who requested assistance locating a provider over the phone
Assisted with Locating Provider
                                                 [Assisted with Locating Provider = Referred to Provider - Scheduling Assistance Provided]



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Report ID                             EB 216
Report Name                           Texas Health Steps – Community Presentations
Report Period                         2017 Q4




                                                    June                                  July                               August                                  Total
                                         Number of       Number of            Number of        Number of           Number of       Number of              Number of        Number of
Region
                                        Presentations    Attendees           Presentations     Attendees          Presentations    Attendees             Presentations     Attendees
Region 01                                    12             380                    8              413                   5             148                     25              941
Region 02                                    14             132                   13              208                  15             166                     42              506
Region 03                                    55             938                   37              366                  68            1,857                    160            3,161
Region 04                                     4              46                    2               61                   2              35                      8              142
Region 05                                     4              51                    3                8                   3              21                     10               80
Region 06                                    50             828                   44            70,641                 50             782                     144           72,251
Region 07                                     6              41                    8              216                   6             132                     20              389
Region 08                                    12             161                    7               74                   3              41                     22              276
Region 09                                     9             197                   11              216                  10             263                     30              676
Region 10                                    17             305                   10              155                  13             196                     40              656
Region 11                                     6              78                    9              341                   9             223                     24              642
Total                                        189           3,157                  152           72,699                 184           3,864                    525           79,720

Report Purpose
Displays the presentations given in the community by field outreach staff to community agency staff and recipients.
Report Label                           Description
Region                                 The Region where the presentations took place.
Number of Presentations                The number of presentations held in a region during the reporting period.
Number of Attendees                    The number of attendees / participants attending the presentations. Attendees include agency staff and clients.




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Report ID                EB 217
Report Name              Texas Health Steps – Community Contacts
Report Period            2017 Q4




                                    June                         July                       August                     Total
            Region        Number of     Number of    Number of       Number of      Number of   Number of    Number of     Number of
        Target Groups      Contacts     Attendees     Contacts        Attendees      Contacts    Attendees    Contacts      Attendees
Region 01
Community Agencies           215           500          141             940            281         3,833        637          5,273
State Agencies               18            86           17               65             21           52          56           203
ISDs / Schools                51            1            14               1             83          256         148           258
Head Starts                   0             0            6              252             2             4           8           256
Adolescent / Teens            1             3            4                5             18            3          23            11
Migrant                       0             0           13               2              6            11          19            13
Region 01 Total              285           590          195            1,265           411         4,159        891          6,014
Region 02
Community Agencies           152           702          142            1,125           197         5,912        491          7,739
State Agencies               25            40           16              30              39           74          80           144
ISDs / Schools                0             0            0               0               2            2           2             2
Head Starts                  12            25            3               3               2            2          17            30
Adolescent / Teens            1             1            0               0               6            3           7             4
Migrant                       0             0            1               1               1            1           2             2
Region 02 Total              190           768          162            1,159           247         5,994        599          7,921
Region 03
Community Agencies           596          4,331         405            3,257           667        46,598       1,668        54,186
State Agencies                74           251           68             221             60         230          202          702
ISDs / Schools                36            24           34            1,701           220        10,701        290         12,426
Head Starts                   3             3            0                0             3            3            6            6
Adolescent / Teens            16            50           12              17              3           4           31           71
Migrant                       1             1            8               14             0            0            9           15
Region 03 Total              726          4,660         527            5,210           953        57,536       2,206        67,406
Region 04
Community Agencies           176          1,592         113             198            220         2,536        509          4,326
State Agencies                50           106           54             119             45           94         149           319
ISDs / Schools                28            17            2              1              45          815          75           833
Head Starts                   0             0            12              1              0            0           12            1
Adolescent / Teens            1             1             2              2              3             3           6            6
Migrant                       0             0            0               0              0            0            0            0
Region 04 Total              255          1,716         183             321            313         3,448        751          5,485




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Report ID                EB 217
Report Name              Texas Health Steps – Community Contacts
Report Period            2017 Q4




                                    June                         July                       August                     Total
            Region        Number of     Number of    Number of       Number of      Number of   Number of    Number of     Number of
        Target Groups      Contacts     Attendees     Contacts        Attendees      Contacts    Attendees    Contacts      Attendees
Region 05
Community Agencies            58           186           75             249             51         307          184           742
State Agencies                43            87           34              52             28          48          105           187
ISDs / Schools                8             4             2               4              8          14           18            22
Head Starts                   2             2             1               1              6           4            9             7
Adolescent / Teens            6             6             5               6              1           1           12            13
Migrant                       0             0            0               0               0           0           0             0
Region 05 Total              117           285          117             312             94         374          328           971
Region 06
Community Agencies           441          2,436         529            2,476           363         5,842       1,333        10,754
State Agencies               127           556           94             425             70          211         291          1,192
ISDs / Schools                43            92           37             730             74         1,607        154          2,429
Head Starts                  37            125          28              79              43          177         108           381
Adolescent / Teens            64           229           24              72             21           27         109           328
Migrant                       4             4            1               1               0           0           5             5
Region 06 Total              716          3,442         713            3,783           571         7,864       2,000        15,089
Region 07
Community Agencies           268           799          251             624            268         2,485        787          3,908
State Agencies                50           117           51             128             45          127         146           372
ISDs / Schools                 7            13          171              82            230         3,908        408          4,003
Head Starts                  12             8           18               4             26           197          56           209
Adolescent / Teens            25            47           16              25             19           58          60           130
Migrant                       0             0            0               0              2            2            2            2
Region 07 Total              362           984          507             863            590         6,777       1,459         8,624




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Report ID                EB 217
Report Name              Texas Health Steps – Community Contacts
Report Period            2017 Q4




                                    June                         July                       August                     Total
            Region        Number of     Number of    Number of       Number of      Number of   Number of    Number of     Number of
        Target Groups      Contacts     Attendees     Contacts        Attendees      Contacts    Attendees    Contacts      Attendees
Region 08
Community Agencies           237           614          307            1,476           534         5,911       1,078         8,001
State Agencies                46           120           49              79             61          124         156           323
ISDs / Schools                0             0            10             115             39          368          49           483
Head Starts                   2             2            8              72              10           5           20            79
Adolescent / Teens            0             0            1               1               0           0            1             1
Migrant                       0             0            1               1              1            2           2             3
Region 08 Total              285           736          376            1,744           645         6,410       1,306         8,890
Region 09
Community Agencies           143          1,042          97             563            220         2,016        460          3,621
State Agencies               26             69           23              61             29           93          78           223
ISDs / Schools                0              0            0               0              4          144           4           144
Head Starts                  11            21            0               0              3            68          14            89
Adolescent / Teens            0              0            6             213              6           12          12           225
Migrant                       0             0            0               0               5           18           5            18
Region 09 Total              180          1,132         126             837            267         2,351        573          4,320
Region 10
Community Agencies            85           427           80             454            125         1,427        290          2,308
State Agencies                78           284           63             191             68          285         209           760
ISDs / Schools                26           189           17              21              4           3           47           213
Head Starts                   0             0           18              25              1            3           19            28
Adolescent / Teens            0             0            5               5              0            0            5             5
Migrant                      16            250           3               3             57           511          76           764
Region 10 Total              205          1,150         186             699            255         2,229        646          4,078




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Report ID                       EB 217
Report Name                     Texas Health Steps – Community Contacts
Report Period                   2017 Q4




                                            June                              July                       August                            Total
            Region                Number of     Number of         Number of       Number of      Number of   Number of           Number of     Number of
        Target Groups              Contacts     Attendees          Contacts        Attendees      Contacts    Attendees           Contacts      Attendees
Region 11
Community Agencies                    215             947            290            1,778            317            3,677            822            6,402
State Agencies                         66             164             66              90              95             607             227             861
ISDs / Schools                         58             156            356             117             222            4,292            636            4,565
Head Starts                           20              162             2                6               5               4              27             172
Adolescent / Teens                     0               0              0                0              19             103              19             103
Migrant                                9               1              9               43              18              67              36             111
Region 11 Total                       368            1,430           723            2,034            676            8,750           1,767          12,214
Total                                3,689          16,893          3,815          18,227           5,022          105,892         12,526         141,012

Report Purpose
Displays a summary of the community contacts made by field outreach staff to inform community agency staff and clients about the services available through
Texas Health Steps.
Report Label                  Description
Community Event or Contact    The name of the community event, meeting or health fair attended by field outreach staff or the name of the agency contacted
Agency Name                   by field outreach staff through a one-to-one contact.
Contact Date                  Date the community contact occurred.
Counties Served or            Displays the county the event occurred; or the county location of the agency and any surrounding counties served by the
Represented                   agency
                              Displays the names of the other community or state agencies in attendance at the event or meeting with whom field outreach
Agencies Attending
                              staff networked to provide Texas Health Steps information or offer future presentations.
                              The number of agencies the field outreach staff networked during the community outreach activity listed in this target group in
Number of Contacts
                              the corresponding EB 217 Monthly Report.
Number of Attendees           The number of agency staff and clients present at the event or meeting.
                                The target populations present at a community event or meeting; or the target population served by agency
                                • State Agency - state agencies networked with at an event, meeting or one-to-one contact. Foster Care Contacts are
                                included in this section.
                                • Community-Based Organization (CBO) - agencies that are networked with at an event, meeting or one-to-one contact
                                • Faith-Based Organizations (FBO) - agencies that are networked with at an event, meeting or one-to-one contact
Target Group(s) Present         • Women, Infants, and Children (WIC) - WIC offices or agencies networked at an event, meeting, or one-to-one contact
                                • ISD / School - ISDs or schools networked with at an event, meeting, or one-to-one contact
                                • Head Start - Head Start grantees or centers
                                • Adolescent / Teen - agency or event that specifically targets adolescents or teens, such as a teen center or youth program
                                • Migrant - activities targeting migrant / seasonal farm workers, such as a Migrant Health Fair
                                • Other - all other group populations




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Report ID                      EB 218
Report Name                    Texas Health Steps – Client Outreach
Report Period                  2017 Q4




                                                                        Medical Appointments             Dental Appointments
Health Service Region            Phone Calls         Home Visits
                                                                       Scheduled / Rescheduled         Scheduled / Rescheduled
                     Jun-17         68,999              7,864                    789                             1,176
                      Jul-17        64,468              9,142                    961                             1,207
                     Aug-17         76,108              5,652                    999                             1,386
                       Total        209,575             22,658                  2,749                            3,769

Report Purpose

To provide a summary of Texas Health Steps client outreach activities by call center and field outreach staff for the quarter.
For regional breakdowns, reference the EB 218 monthly deliverables.
Report Label                   Description
Health Service Region          DSHS Health Service Regions 1-11 including state totals
                               The number of outbound phone call attempts by call center and field outreach staff to Texas Health
Phone Calls
                               Steps clients from a target outreach list
                               The number of home visit attempts by field outreach staff to Texas Health Steps clients identified on
Home Visits
                               a target population outreach list
Medical Appointments           The total number of medical appointments scheduled or rescheduled by call center and field
Scheduled / Rescheduled        outreach staff
Dental Appointments            The total number of dental appointments scheduled or rescheduled by call center and field outreach
Scheduled / Rescheduled        staff




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Report ID                           EB 219
Report Name                         Texas Health Steps – Community Outreach
Report Period                       2017 Q4




Health Service                                                        ISDs /         Migrant
Region                   HHSC            WIC         Head Start                                      DFPS             ECI           Other
                                                                     Schools         Council
Jun-17                    279            170             109           305              31            128             27            2,982
Jul-17                    234            154             83            675              38             90             26            2,898
Aug-17                    242            213             165           742              69             92             35            3,917
Total                     755            537             357          1,722            138            310             88            9,797

Report Purpose
Displays the number of Texas Health Steps, Phone Calls, and Community Contacts & Events for the quarter.
For regional breakdowns, reference the EB 219 monthly deliverables.
Report Label                        Description
Health Service Region               DSHS Health Service Regions 1-11 including state totals
                                    The number of HHSC Office of Eligibility contacts made for report period in which HHSC is identified as a
HHSC
                                    target group present at the event or contacted.
                                    The number of WIC contacts made for report period in which WIC is identified as a target group present at
WIC
                                    the event or contacted
                                    The number of Head Start contacts made for report period in which Head Start is identified as a target
Head Start
                                    group present at the event or contacted
                                    The number of ISDs or School contacts made for report period in which an Independent School District or
ISDs / Schools
                                    individual school is identified as a target group present at the event or contacted
                                    The number of Migrant Council contacts made for report period in which Migrant Council is identified as a
Migrant Council
                                    target group present at the event or contacted
                                    The number of DFPS or Foster Care contacts made for report period in which DFPS or Foster Care is
DFPS
                                    identified as a target group present at the event or contacted
                                    The number of ECI contacts made for report period in which ECI is identified as a target group present at
ECI
                                    the event or contacted
                                    The number of other agencies including HHSC Area Agency on Aging, HHSC Local IDD Authority; HHSC
                                    Blind Children's Vocational Discovery and Development. Additional State agencies and community
Other
                                    contacts not specifically listed are included under CBO in the Texas Health Steps - Community Contact
                                    Report




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Report ID                       EB 222
Report Name                     Texas Health Steps – Staff
Report Period                   2017 Q4




                                      Jun-17               Jul-17              Aug-17                Total
Training Sessions Delivered             19                   34                  12                    65
Staff Trained                          709                  933                 645                  2,287
Avg. Texas Health Steps Staff
                                        286                  286                 291                  N/A
on Phones

Report Label                    Description

                                The number of instructor-led or computer-based training sessions provided to
                                Call Service Staff and Field Outreach staff on Texas Health Steps-related
Training Sessions Delivered
                                information. Call Center and Field Outreach staff are cross-trained on Medicaid
                                Managed Care and Texas Health Steps (THS) information.

                                The number of Call Center Staff and Field Outreach staff who received THS-
Staff Trained
                                related training during the report period.
                                The daily average number of full-time and part-time Call Center Staff logged into
Avg. Texas Health Steps Staff
                                phone queues who are fully trained to assist customers with THS phone calls
on Phones
                                (Inbound and Outbound).




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Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    Statewide




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                             25,740             4,514          17.5%           13,158           51.1%           8,403           32.6%           9,617           37.4%            5,655          22.0%           19,418          75.4%
Periodic Due (Medical)                     303,996            16,036           5.3%           71,999           23.7%           47,797          15.7%           23,749           7.8%           27,314           9.0%           152,081         50.0%
Periodic Due (Dental)                      480,134            17,539           3.7%           107,357          22.4%           59,437          12.4%           31,645           6.6%           21,678           4.5%           215,978         45.0%
Checkup Reminder (Medical)                  90,957             3,787           4.2%            4,087           4.5%            3,728            4.1%           3,121            3.4%            2,382           2.6%           13,204          14.5%
Checkup Reminder (Dental)                  191,079            12,855           6.7%           14,560           7.6%            11,660           6.1%           9,322            4.9%            7,029           3.7%           41,871          21.9%
Non-Participant                             7,177               393            5.5%             919            12.8%            807            11.2%            670             9.3%            529             7.4%            2,544          35.4%
Total                                     1,099,083           55,124           5.0%           212,080          19.3%          131,832          12.0%           78,124           7.1%           64,587           5.9%           445,096         40.5%
Oral Outreach:

Phone                                      179,128            17,772           9.9%           33,427           18.7%           26,287          14.7%           23,142          12.9%           18,816          10.5%           75,589          42.2%
Home Visit                                  2,183               122            5.6%             247            11.3%            235            10.8%            229            10.5%            172             7.9%             692           31.7%
Office Visit                                 374                48            12.8%              54            14.4%             47            12.6%             50            13.4%             40            10.7%             148           39.6%
Group Presentation                          1,078               160           14.8%             180            16.7%            201            18.6%            170            15.8%            150            13.9%             536           49.7%
Health Fair                                  882                125           14.2%             156            17.7%            134            15.2%            129            14.6%             99            11.2%             405           45.9%
Total                                      183,645            18,227           9.9%           34,064           18.5%           26,904          14.7%           23,720          12.9%           19,277          10.5%           77,370          42.1%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    01




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               743               92            12.4%             394            53.0%            217            29.2%            295            39.7%            141            19.0%             553           74.4%
Periodic Due (Medical)                        9,190             511            5.6%            1,673           18.2%           1,227           13.4%            584             6.4%            710             7.7%            3,719          40.5%
Periodic Due (Dental)                       14,738              460            3.1%            2,583           17.5%           1,377            9.3%            742             5.0%            514             3.5%            5,152          35.0%
Checkup Reminder (Medical)                    3,205             90             2.8%             121            3.8%             136             4.2%             83             2.6%             82             2.6%             417           13.0%
Checkup Reminder (Dental)                     7,128             355            5.0%             363            5.1%             310             4.3%            256             3.6%            213             3.0%            1,135          15.9%
Non-Participant                               372               14             3.8%              41            11.0%             36             9.7%             23             6.2%             18             4.8%             102           27.4%
Total                                       35,376             1,522           4.3%            5,175           14.6%           3,303            9.3%           1,983            5.6%            1,678           4.7%           11,078          31.3%
Oral Outreach:

Phone                                         5,450             522            9.6%             916            16.8%            794            14.6%            612            11.2%            486             8.9%            2,126          39.0%
Home Visit                                     72                9            12.5%              12            16.7%             12            16.7%              5             6.9%              6             8.3%             27            37.5%
Office Visit                                   5                 2            40.0%              1             20.0%             1             20.0%              1            20.0%              1            20.0%              2            40.0%
Group Presentation                            136               12             8.8%              10            7.4%              13             9.6%             15            11.0%              5             3.7%             35            25.7%
Health Fair                                   100               15            15.0%              12            12.0%             12            12.0%              5             5.0%              5             5.0%             32            32.0%
Total                                         5,763             560            9.7%             951            16.5%            832            14.4%            638            11.1%            503             8.7%            2,222          38.6%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121763

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121764

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    02




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               425               78            18.4%             250            58.8%            115            27.1%            209            49.2%             72            16.9%             350           82.4%
Periodic Due (Medical)                        5,419             306            5.6%             918            16.9%            688            12.7%            387             7.1%            465             8.6%            2,123          39.2%
Periodic Due (Dental)                         8,440             239            2.8%            1,652           19.6%            913            10.8%            466             5.5%            350             4.1%            3,318          39.3%
Checkup Reminder (Medical)                    1,937             55             2.8%              58            3.0%              67             3.5%             65             3.4%             59             3.0%             247           12.8%
Checkup Reminder (Dental)                     3,837             201            5.2%             258            6.7%             203             5.3%            188             4.9%            129             3.4%             763           19.9%
Non-Participant                               178                8             4.5%              14            7.9%              25            14.0%             16             9.0%             12             6.7%             59            33.1%
Total                                       20,236              887            4.4%            3,150           15.6%           2,011            9.9%           1,331            6.6%            1,087           5.4%            6,860          33.9%
Oral Outreach:

Phone                                         3,387             280            8.3%             558            16.5%            464            13.7%            418            12.3%            307             9.1%            1,317          38.9%
Home Visit                                     66                5             7.6%              8             12.1%             6              9.1%              5             7.6%             11            16.7%             20            30.3%
Office Visit                                   2                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Group Presentation                             57                7            12.3%              10            17.5%             12            21.1%             14            24.6%              8            14.0%             30            52.6%
Health Fair                                    15                2            13.3%              1             6.7%              1              6.7%              1             6.7%              0             0.0%              2            13.3%
Total                                         3,527             294            8.3%             577            16.4%            483            13.7%            438            12.4%            326             9.2%            1,369          38.8%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121765

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121766

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    03




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               6,301            1,101          17.5%            2,953           46.9%           2,023           32.1%           2,188           34.7%            1,377          21.9%            4,564          72.4%
Periodic Due (Medical)                      71,913             3,900           5.4%           15,549           21.6%           10,769          15.0%           5,607            7.8%            6,560           9.1%           34,163          47.5%
Periodic Due (Dental)                      112,614             4,672           4.1%           27,787           24.7%           14,997          13.3%           7,586            6.7%            5,334           4.7%           54,635          48.5%
Checkup Reminder (Medical)                  23,373              869            3.7%             876            3.7%             854             3.7%            758             3.2%            591             2.5%            3,064          13.1%
Checkup Reminder (Dental)                   40,697             3,218           7.9%            3,313           8.1%            2,759            6.8%           2,112            5.2%            1,644           4.0%            9,663          23.7%
Non-Participant                               1,501             93             6.2%             176            11.7%            169            11.3%            143             9.5%            126             8.4%             538           35.8%
Total                                      256,399            13,853           5.4%           50,654           19.8%           31,571          12.3%           18,394           7.2%           15,632           6.1%           106,627         41.6%
Oral Outreach:

Phone                                       42,762             4,333          10.1%            7,694           18.0%           6,316           14.8%           5,583           13.1%            4,616          10.8%           18,039          42.2%
Home Visit                                    563               26             4.6%              57            10.1%             60            10.7%             53             9.4%             35             6.2%             154           27.4%
Office Visit                                   80               10            12.5%              13            16.3%             9             11.3%             10            12.5%             18            22.5%             36            45.0%
Group Presentation                            100               19            19.0%              20            20.0%             19            19.0%             25            25.0%             16            16.0%             59            59.0%
Health Fair                                    26                6            23.1%              4             15.4%             4             15.4%              6            23.1%              4            15.4%             11            42.3%
Total                                       43,531             4,394          10.1%            7,788           17.9%           6,408           14.7%           5,677           13.0%            4,689          10.8%           18,299          42.0%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121767

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121768

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    04




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               946               201           21.2%             508            53.7%            264            27.9%            374            39.5%            197            20.8%             694           73.4%
Periodic Due (Medical)                      12,600              621            4.9%            2,527           20.1%           1,945           15.4%            943             7.5%            1,181           9.4%            5,822          46.2%
Periodic Due (Dental)                       19,613              516            2.6%            3,468           17.7%           2,292           11.7%           1,212            6.2%            798             4.1%            7,679          39.2%
Checkup Reminder (Medical)                    4,356             138            3.2%             168            3.9%             180             4.1%            138             3.2%            108             2.5%             592           13.6%
Checkup Reminder (Dental)                     9,322             443            4.8%             629            6.7%             436             4.7%            396             4.2%            308             3.3%            1,741          18.7%
Non-Participant                               352               13             3.7%              41            11.6%             44            12.5%             22             6.3%             21             6.0%             113           32.1%
Total                                       47,189             1,932           4.1%            7,341           15.6%           5,161           10.9%           3,085            6.5%            2,613           5.5%           16,641          35.3%
Oral Outreach:

Phone                                         6,781             590            8.7%            1,180           17.4%            916            13.5%            786            11.6%            655             9.7%            2,718          40.1%
Home Visit                                    128                5             3.9%              14            10.9%             19            14.8%             16            12.5%             10             7.8%             44            34.4%
Office Visit                                   30                4            13.3%              6             20.0%             4             13.3%              4            13.3%              4            13.3%             17            56.7%
Group Presentation                             35                3             8.6%              7             20.0%             4             11.4%              3             8.6%              3             8.6%             12            34.3%
Health Fair                                    90               14            15.6%              17            18.9%             24            26.7%             10            11.1%             16            17.8%             46            51.1%
Total                                         7,064             616            8.7%            1,224           17.3%            967            13.7%            819            11.6%            688             9.7%            2,837          40.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121769

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121770

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    05




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               759               107           14.1%             375            49.4%            243            32.0%            265            34.9%            153            20.2%             549           72.3%
Periodic Due (Medical)                        8,977             430            4.8%            1,763           19.6%           1,248           13.9%            583             6.5%            719             8.0%            3,802          42.4%
Periodic Due (Dental)                       13,983              428            3.1%            2,470           17.7%           1,577           11.3%            896             6.4%            590             4.2%            5,428          38.8%
Checkup Reminder (Medical)                    2,990             104            3.5%             109            3.6%             116             3.9%             95             3.2%             67             2.2%             385           12.9%
Checkup Reminder (Dental)                     6,469             333            5.1%             436            6.7%             424             6.6%            305             4.7%            226             3.5%            1,377          21.3%
Non-Participant                               230                8             3.5%              34            14.8%             16             7.0%             16             7.0%             19             8.3%             79            34.3%
Total                                       33,408             1,410           4.2%            5,187           15.5%           3,624           10.8%           2,160            6.5%            1,774           5.3%           11,620          34.8%
Oral Outreach:

Phone                                         5,593             521            9.3%             985            17.6%            772            13.8%            694            12.4%            595            10.6%            2,310          41.3%
Home Visit                                     54                5             9.3%              5             9.3%              2              3.7%              5             9.3%              6            11.1%             15            27.8%
Office Visit                                   9                 1            11.1%              1             11.1%             1             11.1%              0             0.0%              0             0.0%              1            11.1%
Group Presentation                             0                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Health Fair                                    5                 2            40.0%              3             60.0%             0              0.0%              3            60.0%              0             0.0%              3            60.0%
Total                                         5,661             529            9.3%             994            17.6%            775            13.7%            702            12.4%            601            10.6%            2,329          41.1%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 73 of 184 PageID #:
                                                                             121771

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 74 of 184 PageID #:
                                                                             121772

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    06




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               6,929            1,119          16.1%            3,347           48.3%           2,340           33.8%           2,552           36.8%            1,603          23.1%            5,211          75.2%
Periodic Due (Medical)                      75,636             4,189           5.5%           18,032           23.8%           12,090          16.0%           6,332            8.4%            7,304           9.7%           38,801          51.3%
Periodic Due (Dental)                      120,444             4,865           4.0%           25,490           21.2%           14,853          12.3%           8,530            7.1%            5,855           4.9%           53,696          44.6%
Checkup Reminder (Medical)                  21,952             1,034           4.7%            1,042           4.7%             938             4.3%            807             3.7%            597             2.7%            3,355          15.3%
Checkup Reminder (Dental)                   47,994             3,680           7.7%            3,730           7.8%            3,068            6.4%           2,536            5.3%            1,849           3.9%           11,017          23.0%
Non-Participant                               1,723             111            6.4%             224            13.0%            199            11.5%            181            10.5%            126             7.3%             614           35.6%
Total                                      274,678            14,998           5.5%           51,865           18.9%           33,488          12.2%           20,938           7.6%           17,334           6.3%           112,694         41.0%
Oral Outreach:

Phone                                       46,627             4,832          10.4%            9,143           19.6%           7,119           15.3%           6,520           14.0%            5,254          11.3%           20,503          44.0%
Home Visit                                    376               23             6.1%              41            10.9%             35             9.3%             38            10.1%             36             9.6%             120           31.9%
Office Visit                                   36                6            16.7%              4             11.1%             1              2.8%              7            19.4%              4            11.1%             14            38.9%
Group Presentation                            212               43            20.3%              44            20.8%             44            20.8%             33            15.6%             49            23.1%             128           60.4%
Health Fair                                    31                1             3.2%              8             25.8%             7             22.6%              2             6.5%              4            12.9%             18            58.1%
Total                                       47,282             4,905          10.4%            9,240           19.5%           7,206           15.2%           6,600           14.0%            5,347          11.3%           20,783          44.0%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 75 of 184 PageID #:
                                                                             121773

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 76 of 184 PageID #:
                                                                             121774

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    07




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               2,533             374           14.8%            1,253           49.5%            668            26.4%            920            36.3%            515            20.3%            1,826          72.1%
Periodic Due (Medical)                      27,359             1,359           5.0%            5,954           21.8%           3,963           14.5%           1,907            7.0%            2,377           8.7%           12,695          46.4%
Periodic Due (Dental)                       42,823             1,371           3.2%            8,548           20.0%           5,062           11.8%           2,618            6.1%            1,784           4.2%           17,688          41.3%
Checkup Reminder (Medical)                    8,461             331            3.9%             355            4.2%             329             3.9%            278             3.3%            220             2.6%            1,176          13.9%
Checkup Reminder (Dental)                   18,011             1,005           5.6%            1,322           7.3%            1,027            5.7%            805             4.5%            658             3.7%            3,741          20.8%
Non-Participant                               776               35             4.5%              98            12.6%             85            11.0%             76             9.8%             53             6.8%             283           36.5%
Total                                       99,963             4,475           4.5%           17,530           17.5%           11,134          11.1%           6,604            6.6%            5,607           5.6%           37,409          37.4%
Oral Outreach:

Phone                                       16,610             1,507           9.1%            2,949           17.8%           2,440           14.7%           2,125           12.8%            1,653          10.0%            6,871          41.4%
Home Visit                                    303               12             4.0%              30            9.9%              26             8.6%             41            13.5%             26             8.6%             101           33.3%
Office Visit                                   51                9            17.6%              10            19.6%             14            27.5%              9            17.6%              4             7.8%             29            56.9%
Group Presentation                            183               29            15.8%              35            19.1%             42            23.0%             36            19.7%             30            16.4%             106           57.9%
Health Fair                                   133               27            20.3%              35            26.3%             21            15.8%             29            21.8%             13             9.8%             70            52.6%
Total                                       17,280             1,584           9.2%            3,059           17.7%           2,543           14.7%           2,240           13.0%            1,726          10.0%            7,177          41.5%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 77 of 184 PageID #:
                                                                             121775

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 78 of 184 PageID #:
                                                                             121776

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    08




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               2,727             551           20.2%            1,423           52.2%            889            32.6%            908            33.3%            588            21.6%            2,059          75.5%
Periodic Due (Medical)                      31,805             1,546           4.9%            7,097           22.3%           4,411           13.9%           2,084            6.6%            2,430           7.6%           14,397          45.3%
Periodic Due (Dental)                       50,531             1,725           3.4%           10,928           21.6%           6,114           12.1%           3,399            6.7%            2,225           4.4%           22,196          43.9%
Checkup Reminder (Medical)                  10,249              346            3.4%             400            3.9%             404             3.9%            318             3.1%            207             2.0%            1,321          12.9%
Checkup Reminder (Dental)                   20,369             1,243           6.1%            1,487           7.3%            1,175            5.8%           1,042            5.1%            689             3.4%            4,322          21.2%
Non-Participant                               882               34             3.9%             115            13.0%             90            10.2%             80             9.1%             67             7.6%             310           35.1%
Total                                      116,563             5,445           4.7%           21,450           18.4%           13,083          11.2%           7,831            6.7%            6,206           5.3%           44,605          38.3%
Oral Outreach:

Phone                                       19,370             1,857           9.6%            3,618           18.7%           2,923           15.1%           2,313           11.9%            1,842           9.5%            8,161          42.1%
Home Visit                                    299               19             6.4%              35            11.7%             40            13.4%             22             7.4%             12             4.0%             90            30.1%
Office Visit                                   12                0             0.0%              0             0.0%              0              0.0%              3            25.0%              0             0.0%              3            25.0%
Group Presentation                             46                5            10.9%              7             15.2%             13            28.3%              6            13.0%             10            21.7%             27            58.7%
Health Fair                                    20                0             0.0%              3             15.0%             0              0.0%              5            25.0%              0             0.0%              8            40.0%
Total                                       19,747             1,881           9.5%            3,663           18.5%           2,976           15.1%           2,349           11.9%            1,864           9.4%            8,289          42.0%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 79 of 184 PageID #:
                                                                             121777

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 80 of 184 PageID #:
                                                                             121778

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    09




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               613               113           18.4%             324            52.9%            184            30.0%            224            36.5%            130            21.2%             463           75.5%
Periodic Due (Medical)                        6,277             313            5.0%            1,146           18.3%            764            12.2%            406             6.5%            470             7.5%            2,469          39.3%
Periodic Due (Dental)                         9,856             301            3.1%            1,833           18.6%            877             8.9%            473             4.8%            352             3.6%            3,487          35.4%
Checkup Reminder (Medical)                    2,039             77             3.8%              85            4.2%              52             2.6%             46             2.3%             45             2.2%             223           10.9%
Checkup Reminder (Dental)                     4,792             230            4.8%             309            6.4%             238             5.0%            162             3.4%            136             2.8%             831           17.3%
Non-Participant                               207                6             2.9%              11            5.3%              17             8.2%             12             5.8%             11             5.3%             46            22.2%
Total                                       23,784             1,040           4.4%            3,708           15.6%           2,132            9.0%           1,323            5.6%            1,144           4.8%            7,519          31.6%
Oral Outreach:

Phone                                         4,118             320            7.8%             752            18.3%            533            12.9%            502            12.2%            374             9.1%            1,652          40.1%
Home Visit                                     98                2             2.0%              14            14.3%             13            13.3%             18            18.4%              3             3.1%             37            37.8%
Office Visit                                   12                3            25.0%              4             33.3%             0              0.0%              0             0.0%              1             8.3%              5            41.7%
Group Presentation                             95               11            11.6%              15            15.8%             18            18.9%              3             3.2%             12            12.6%             39            41.1%
Health Fair                                   166               15             9.0%              25            15.1%             23            13.9%             26            15.7%             15             9.0%             72            43.4%
Total                                         4,489             351            7.8%             810            18.0%            587            13.1%            549            12.2%            405             9.0%            1,805          40.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121779

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121780

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    10




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               979               166           17.0%             522            53.3%            408            41.7%            373            38.1%            255            26.0%             774           79.1%
Periodic Due (Medical)                      12,074              577            4.8%            3,552           29.4%           2,279           18.9%            994             8.2%            1,105           9.2%            7,118          59.0%
Periodic Due (Dental)                       19,778              596            3.0%            4,814           24.3%           2,364           12.0%           1,209            6.1%            716             3.6%            8,919          45.1%
Checkup Reminder (Medical)                    2,960             162            5.5%             183            6.2%             169             5.7%            124             4.2%             95             3.2%             560           18.9%
Checkup Reminder (Dental)                     7,805             379            4.9%             544            7.0%             411             5.3%            310             4.0%            226             2.9%            1,464          18.8%
Non-Participant                               248               21             8.5%              38            15.3%             35            14.1%             26            10.5%             14             5.6%             96            38.7%
Total                                       43,844             1,901           4.3%            9,653           22.0%           5,666           12.9%           3,036            6.9%            2,411           5.5%           18,931          43.2%
Oral Outreach:

Phone                                         6,325             648           10.2%            1,318           20.8%            934            14.8%            836            13.2%            730            11.5%            2,784          44.0%
Home Visit                                     49                2             4.1%              6             12.2%             6             12.2%              6            12.2%              6            12.2%             19            38.8%
Office Visit                                  121                8             6.6%              12            9.9%              11             9.1%             13            10.7%              6             5.0%             33            27.3%
Group Presentation                             61                3             4.9%              8             13.1%             10            16.4%              7            11.5%              5             8.2%             25            41.0%
Health Fair                                   259               36            13.9%              41            15.8%             29            11.2%             38            14.7%             36            13.9%             120           46.3%
Total                                         6,815             697           10.2%            1,385           20.3%            990            14.5%            900            13.2%            783            11.5%            2,981          43.7%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                           Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 83 of 184 PageID #:
                                                                             121781

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121782

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    11




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               2,592             596           23.0%            1,743           67.2%           1,018           39.3%           1,281           49.4%            614            23.7%            2,282          88.0%
Periodic Due (Medical)                      41,822             2,234           5.3%           13,630           32.6%           8,323           19.9%           3,896            9.3%            3,966           9.5%           26,698          63.8%
Periodic Due (Dental)                       65,807             2,302           3.5%           17,589           26.7%           8,898           13.5%           4,472            6.8%            3,132           4.8%           33,408          50.8%
Checkup Reminder (Medical)                    9,199             569            6.2%             689            7.5%             475             5.2%            408             4.4%            311             3.4%            1,854          20.2%
Checkup Reminder (Dental)                   24,063             1,742           7.2%            2,141           8.9%            1,585            6.6%           1,198            5.0%            951             4.0%            5,753          23.9%
Non-Participant                               670               49             7.3%             122            18.2%             84            12.5%             71            10.6%             62             9.3%             291           43.4%
Total                                      144,153             7,492           5.2%           35,914           24.9%           20,383          14.1%           11,326           7.9%            9,036           6.3%           70,286          48.8%
Oral Outreach:

Phone                                       18,437             2,306          12.5%            4,190           22.7%           2,975           16.1%           2,710           14.7%            2,280          12.4%            8,877          48.1%
Home Visit                                    145               14             9.7%              22            15.2%             16            11.0%             18            12.4%             21            14.5%             60            41.4%
Office Visit                                   12                4            33.3%              2             16.7%             5             41.7%              3            25.0%              2            16.7%              7            58.3%
Group Presentation                            144               28            19.4%              24            16.7%             26            18.1%             27            18.8%             12             8.3%             74            51.4%
Health Fair                                    33                7            21.2%              7             21.2%             13            39.4%              4            12.1%              6            18.2%             23            69.7%
Total                                       18,771             2,359          12.6%            4,245           22.6%           3,035           16.2%           2,762           14.7%            2,321          12.4%            9,041          48.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121783

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121784

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            January 2017

Health Service Region                    99




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               193               16             8.3%              66            34.2%             34            17.6%             28            14.5%             10             5.2%             93            48.2%
Periodic Due (Medical)                        924               50             5.4%             158            17.1%             90             9.7%             26             2.8%             27             2.9%             274           29.7%
Periodic Due (Dental)                         1,507             64             4.2%             195            12.9%            113             7.5%             42             2.8%             28             1.9%             372           24.7%
Checkup Reminder (Medical)                    236               12             5.1%              1             0.4%              8              3.4%              1             0.4%              0             0.0%             10             4.2%
Checkup Reminder (Dental)                     592               26             4.4%              28            4.7%              24             4.1%             12             2.0%              0             0.0%             64            10.8%
Non-Participant                                38                1             2.6%              5             13.2%             7             18.4%              4            10.5%              0             0.0%             13            34.2%
Total                                         3,490             169            4.8%             453            13.0%            276             7.9%            113             3.2%             65             1.9%             826           23.7%
Oral Outreach:

Phone                                         3,668             56             1.5%             124            3.4%             101             2.8%             43             1.2%             24             0.7%             231            6.3%
Home Visit                                     30                0             0.0%              3             10.0%             0              0.0%              2             6.7%              0             0.0%              5            16.7%
Office Visit                                   4                 1            25.0%              1             25.0%             1             25.0%              0             0.0%              0             0.0%              1            25.0%
Group Presentation                             9                 0             0.0%              0             0.0%              0              0.0%              1            11.1%              0             0.0%              1            11.1%
Health Fair                                    4                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Total                                         3,715             57             1.5%             128            3.4%             102             2.7%             46             1.2%             24             0.6%             238            6.4%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121785

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121786

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    Statewide




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                             34,150             7,547          22.1%           13,883           40.7%           13,374          39.2%           8,940           26.2%            9,435          27.6%           24,693          72.3%
Periodic Due (Medical)                     276,299            19,399           7.0%           60,835           22.0%           51,729          18.7%           20,234           7.3%           29,916          10.8%           141,452         51.2%
Periodic Due (Dental)                      530,224            23,215           4.4%           109,120          20.6%           83,364          15.7%           30,165           5.7%           24,104           4.5%           242,438         45.7%
Checkup Reminder (Medical)                  89,236             4,850           5.4%            4,036           4.5%            4,159            4.7%           2,874            3.2%            2,467           2.8%           13,410          15.0%
Checkup Reminder (Dental)                  203,336            17,717           8.7%           14,156           7.0%            14,989           7.4%           9,152            4.5%            7,435           3.7%           45,119          22.2%
Non-Participant                             10,731              801            7.5%            1,259           11.7%           1,349           12.6%            956             8.9%            811             7.6%            3,830          35.7%
Total                                     1,143,976           73,529           6.4%           203,289          17.8%          168,964          14.8%           72,321           6.3%           74,168           6.5%           470,942         41.2%
Oral Outreach:

Phone                                      164,441            19,594          11.9%           28,362           17.2%           27,870          16.9%           18,938          11.5%           19,346          11.8%           70,024          42.6%
Home Visit                                  2,047               130            6.4%             147            7.2%             206            10.1%            183             8.9%            162             7.9%             551           26.9%
Office Visit                                 312                20             6.4%              48            15.4%             46            14.7%             32            10.3%             32            10.3%             121           38.8%
Group Presentation                          1,233               253           20.5%             223            18.1%            250            20.3%            207            16.8%            208            16.9%             642           52.1%
Health Fair                                 1,181               218           18.5%             204            17.3%            243            20.6%            198            16.8%            186            15.7%             654           55.4%
Total                                      169,214            20,215          11.9%           28,984           17.1%           28,615          16.9%           19,558          11.6%           19,934          11.8%           71,992          42.5%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121788

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    01




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               993               165           16.6%             389            39.2%            339            34.1%            255            25.7%            249            25.1%             683           68.8%
Periodic Due (Medical)                        8,487             604            7.1%            1,398           16.5%           1,306           15.4%            519             6.1%            819             9.7%            3,471          40.9%
Periodic Due (Dental)                       16,116              610            3.8%            2,862           17.8%           1,779           11.0%            739             4.6%            494             3.1%            5,811          36.1%
Checkup Reminder (Medical)                    2,907             144            5.0%             117            4.0%             102             3.5%             81             2.8%             66             2.3%             364           12.5%
Checkup Reminder (Dental)                     7,305             475            6.5%             387            5.3%             340             4.7%            287             3.9%            183             2.5%            1,183          16.2%
Non-Participant                               516               24             4.7%              56            10.9%             51             9.9%             34             6.6%             38             7.4%             159           30.8%
Total                                       36,324             2,022           5.6%            5,209           14.3%           3,917           10.8%           1,915            5.3%            1,849           5.1%           11,671          32.1%
Oral Outreach:

Phone                                         5,110             523           10.2%             826            16.2%            747            14.6%            536            10.5%            532            10.4%            2,043          40.0%
Home Visit                                     78               10            12.8%              8             10.3%             17            21.8%              8            10.3%              9            11.5%             33            42.3%
Office Visit                                   5                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              1            20.0%              1            20.0%
Group Presentation                            169               23            13.6%              16            9.5%              28            16.6%             14             8.3%             14             8.3%             60            35.5%
Health Fair                                    97               16            16.5%              14            14.4%             15            15.5%              8             8.2%              8             8.2%             34            35.1%
Total                                         5,459             572           10.5%             864            15.8%            807            14.8%            566            10.4%            564            10.3%            2,171          39.8%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121790

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    02




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               604               109           18.0%             260            43.0%            182            30.1%            180            29.8%            150            24.8%             419           69.4%
Periodic Due (Medical)                        5,114             383            7.5%             826            16.2%            885            17.3%            335             6.6%            511            10.0%            2,178          42.6%
Periodic Due (Dental)                         9,606             366            3.8%            1,751           18.2%           1,344           14.0%            536             5.6%            347             3.6%            3,909          40.7%
Checkup Reminder (Medical)                    1,976             79             4.0%              74            3.7%              91             4.6%             50             2.5%             57             2.9%             267           13.5%
Checkup Reminder (Dental)                     4,118             314            7.6%             245            5.9%             239             5.8%            173             4.2%            172             4.2%             810           19.7%
Non-Participant                               287               15             5.2%              25            8.7%              37            12.9%             25             8.7%             18             6.3%             90            31.4%
Total                                       21,705             1,266           5.8%            3,181           14.7%           2,778           12.8%           1,299            6.0%            1,255           5.8%            7,673          35.4%
Oral Outreach:

Phone                                         2,737             295           10.8%             426            15.6%            391            14.3%            267             9.8%            271             9.9%            1,017          37.2%
Home Visit                                    100                5             5.0%              10            10.0%             8              8.0%             11            11.0%             18            18.0%             35            35.0%
Office Visit                                   2                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Group Presentation                            102               23            22.5%              17            16.7%             12            11.8%              8             7.8%             17            16.7%             39            38.2%
Health Fair                                    7                 2            28.6%              2             28.6%             0              0.0%              3            42.9%              0             0.0%              3            42.9%
Total                                         2,948             325           11.0%             455            15.4%            411            13.9%            289             9.8%            306            10.4%            1,094          37.1%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121791

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    03




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               8,695            1,966          22.6%            3,238           37.2%           3,298           37.9%           2,217           25.5%            2,360          27.1%            6,110          70.3%
Periodic Due (Medical)                      65,063             4,316           6.6%           13,438           20.7%           11,606          17.8%           4,701            7.2%            7,073          10.9%           32,020          49.2%
Periodic Due (Dental)                      124,019             5,926           4.8%           27,757           22.4%           21,105          17.0%           7,149            5.8%            5,769           4.7%           60,599          48.9%
Checkup Reminder (Medical)                  21,612             1,045           4.8%             837            3.9%             982             4.5%            654             3.0%            555             2.6%            3,013          13.9%
Checkup Reminder (Dental)                   43,164             4,176           9.7%            3,207           7.4%            3,507            8.1%           2,022            4.7%            1,698           3.9%           10,282          23.8%
Non-Participant                               2,257             160            7.1%             268            11.9%            326            14.4%            197             8.7%            183             8.1%             865           38.3%
Total                                      264,810            17,589           6.6%           48,745           18.4%           40,824          15.4%           16,940           6.4%           17,638           6.7%           112,889         42.6%
Oral Outreach:

Phone                                       40,317             4,764          11.8%            7,103           17.6%           6,935           17.2%           4,781           11.9%            4,787          11.9%           17,465          43.3%
Home Visit                                    556               33             5.9%              41            7.4%              48             8.6%             52             9.4%             43             7.7%             142           25.5%
Office Visit                                   94                9             9.6%              23            24.5%             12            12.8%             14            14.9%              9             9.6%             42            44.7%
Group Presentation                            238               56            23.5%              55            23.1%             52            21.8%             45            18.9%             36            15.1%             136           57.1%
Health Fair                                    18                2            11.1%              4             22.2%             5             27.8%              3            16.7%              5            27.8%             12            66.7%
Total                                       41,223             4,864          11.8%            7,226           17.5%           7,052           17.1%           4,895           11.9%            4,880          11.8%           17,797          43.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121793

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    04




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               1,408             399           28.3%             607            43.1%            557            39.6%            342            24.3%            412            29.3%            1,028          73.0%
Periodic Due (Medical)                      11,706              775            6.6%            2,287           19.5%           2,079           17.8%            808             6.9%            1,227          10.5%            5,558          47.5%
Periodic Due (Dental)                       22,045              787            3.6%            3,623           16.4%           3,304           15.0%           1,228            5.6%            808             3.7%            8,871          40.2%
Checkup Reminder (Medical)                    4,085             192            4.7%             179            4.4%             180             4.4%            133             3.3%            111             2.7%             599           14.7%
Checkup Reminder (Dental)                     9,614             646            6.7%             548            5.7%             591             6.1%            397             4.1%            287             3.0%            1,808          18.8%
Non-Participant                               600               41             6.8%              66            11.0%             69            11.5%             52             8.7%             47             7.8%             200           33.3%
Total                                       49,458             2,840           5.7%            7,310           14.8%           6,780           13.7%           2,960            6.0%            2,892           5.8%           18,064          36.5%
Oral Outreach:

Phone                                         6,502             785           12.1%            1,021           15.7%           1,052           16.2%            604             9.3%            685            10.5%            2,590          39.8%
Home Visit                                    159               11             6.9%              11            6.9%              25            15.7%             13             8.2%             11             6.9%             50            31.4%
Office Visit                                   15                4            26.7%              3             20.0%             4             26.7%              1             6.7%              2            13.3%              7            46.7%
Group Presentation                             36                9            25.0%              7             19.4%             9             25.0%              8            22.2%              6            16.7%             20            55.6%
Health Fair                                    35               10            28.6%              5             14.3%             12            34.3%             11            31.4%              6            17.1%             26            74.3%
Total                                         6,747             819           12.1%            1,047           15.5%           1,102           16.3%            637             9.4%            710            10.5%            2,693          39.9%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                             121795

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121796

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    05




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               880               152           17.3%             360            40.9%            337            38.3%            214            24.3%            231            26.3%             610           69.3%
Periodic Due (Medical)                        8,218             563            6.9%            1,551           18.9%           1,294           15.7%            483             5.9%            780             9.5%            3,536          43.0%
Periodic Due (Dental)                       15,830              626            4.0%            2,686           17.0%           2,079           13.1%            844             5.3%            731             4.6%            6,255          39.5%
Checkup Reminder (Medical)                    3,045             144            4.7%             113            3.7%             114             3.7%             70             2.3%             53             1.7%             345           11.3%
Checkup Reminder (Dental)                     7,062             520            7.4%             518            7.3%             502             7.1%            316             4.5%            252             3.6%            1,569          22.2%
Non-Participant                               355               18             5.1%              36            10.1%             43            12.1%             32             9.0%             29             8.2%             123           34.6%
Total                                       35,390             2,023           5.7%            5,264           14.9%           4,369           12.3%           1,959            5.5%            2,076           5.9%           12,438          35.1%
Oral Outreach:

Phone                                         5,115             556           10.9%             802            15.7%            737            14.4%            537            10.5%            487             9.5%            1,995          39.0%
Home Visit                                     50                2             4.0%              1             2.0%              5             10.0%              3             6.0%              5            10.0%             14            28.0%
Office Visit                                   9                 0             0.0%              0             0.0%              3             33.3%              0             0.0%              1            11.1%              4            44.4%
Group Presentation                             10                1            10.0%              1             10.0%             4             40.0%              4            40.0%              1            10.0%              5            50.0%
Health Fair                                    7                 0             0.0%              0             0.0%              0              0.0%              1            14.3%              0             0.0%              1            14.3%
Total                                         5,191             559           10.8%             804            15.5%            749            14.4%            545            10.5%            494             9.5%            2,019          38.9%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121798

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    06




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               8,924            1,865          20.9%            3,517           39.4%           3,620           40.6%           2,292           25.7%            2,494          27.9%            6,496          72.8%
Periodic Due (Medical)                      68,088             4,674           6.9%           15,545           22.8%           12,938          19.0%           5,007            7.4%            7,599          11.2%           35,623          52.3%
Periodic Due (Dental)                      132,795             5,871           4.4%           26,059           19.6%           20,944          15.8%           7,955            6.0%            6,516           4.9%           60,390          45.5%
Checkup Reminder (Medical)                  22,012             1,166           5.3%            1,038           4.7%            1,070            4.9%            791             3.6%            615             2.8%            3,488          15.8%
Checkup Reminder (Dental)                   51,325             4,530           8.8%            3,676           7.2%            4,178            8.1%           2,475            4.8%            2,006           3.9%           12,184          23.7%
Non-Participant                               2,427             192            7.9%             270            11.1%            327            13.5%            225             9.3%            185             7.6%             883           36.4%
Total                                      285,571            18,298           6.4%           50,105           17.5%           43,077          15.1%           18,745           6.6%           19,415           6.8%           119,064         41.7%
Oral Outreach:

Phone                                       43,472             5,273          12.1%            7,770           17.9%           7,725           17.8%           5,249           12.1%            5,397          12.4%           19,177          44.1%
Home Visit                                    269               14             5.2%              16            5.9%              27            10.0%             14             5.2%             21             7.8%             62            23.0%
Office Visit                                   21                2             9.5%              2             9.5%              1              4.8%              2             9.5%              0             0.0%              5            23.8%
Group Presentation                            238               53            22.3%              55            23.1%             67            28.2%             47            19.7%             52            21.8%             152           63.9%
Health Fair                                   243               49            20.2%              41            16.9%             55            22.6%             48            19.8%             47            19.3%             149           61.3%
Total                                       44,243             5,391          12.2%            7,884           17.8%           7,875           17.8%           5,360           12.1%            5,517          12.5%           19,545          44.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121799

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121800

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    07




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               3,447             717           20.8%            1,384           40.2%           1,160           33.7%            919            26.7%            908            26.3%            2,434          70.6%
Periodic Due (Medical)                      24,877             1,764           7.1%            5,039           20.3%           4,211           16.9%           1,667            6.7%            2,607          10.5%           11,768          47.3%
Periodic Due (Dental)                       46,423             1,867           4.0%            8,395           18.1%           6,819           14.7%           2,441            5.3%            1,994           4.3%           19,318          41.6%
Checkup Reminder (Medical)                    8,043             380            4.7%             335            4.2%             336             4.2%            238             3.0%            233             2.9%            1,133          14.1%
Checkup Reminder (Dental)                   19,383             1,388           7.2%            1,214           6.3%            1,357            7.0%            842             4.3%            658             3.4%            4,007          20.7%
Non-Participant                               1,171             82             7.0%             140            12.0%            142            12.1%            120            10.2%             83             7.1%             418           35.7%
Total                                      103,344             6,198           6.0%           16,507           16.0%           14,025          13.6%           6,227            6.0%            6,483           6.3%           39,078          37.8%
Oral Outreach:

Phone                                       14,965             1,681          11.2%            2,411           16.1%           2,543           17.0%           1,748           11.7%            1,689          11.3%            6,264          41.9%
Home Visit                                    292               24             8.2%              23            7.9%              38            13.0%             25             8.6%             24             8.2%             82            28.1%
Office Visit                                   40                2             5.0%              8             20.0%             10            25.0%              3             7.5%              8            20.0%             22            55.0%
Group Presentation                             18                7            38.9%              0             0.0%              1              5.6%              3            16.7%              4            22.2%              7            38.9%
Health Fair                                   146               21            14.4%              24            16.4%             41            28.1%             19            13.0%             27            18.5%             91            62.3%
Total                                       15,461             1,735          11.2%            2,466           15.9%           2,633           17.0%           1,798           11.6%            1,752          11.3%            6,466          41.8%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121801

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121802

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    08




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               3,343             809           24.2%            1,322           39.5%           1,348           40.3%            824            24.6%            930            27.8%            2,410          72.1%
Periodic Due (Medical)                      29,196             2,020           6.9%            5,848           20.0%           5,051           17.3%           2,026            6.9%            2,992          10.2%           13,908          47.6%
Periodic Due (Dental)                       56,276             2,370           4.2%           11,154           19.8%           8,645           15.4%           3,230            5.7%            2,544           4.5%           25,096          44.6%
Checkup Reminder (Medical)                  10,571              520            4.9%             462            4.4%             446             4.2%            326             3.1%            295             2.8%            1,514          14.3%
Checkup Reminder (Dental)                   21,734             1,833           8.4%            1,448           6.7%            1,499            6.9%            921             4.2%            747             3.4%            4,551          20.9%
Non-Participant                               1,289             97             7.5%             164            12.7%            141            10.9%            107             8.3%             88             6.8%             435           33.7%
Total                                      122,409             7,649           6.2%           20,398           16.7%           17,130          14.0%           7,434            6.1%            7,596           6.2%           47,914          39.1%
Oral Outreach:

Phone                                       17,269             1,960          11.3%            2,873           16.6%           2,945           17.1%           1,964           11.4%            1,970          11.4%            7,350          42.6%
Home Visit                                    298               10             3.4%              16            5.4%              21             7.0%             31            10.4%             18             6.0%             72            24.2%
Office Visit                                   4                 1            25.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Group Presentation                             44               11            25.0%              11            25.0%             13            29.5%             10            22.7%              9            20.5%             30            68.2%
Health Fair                                   128               24            18.8%              26            20.3%             24            18.8%             22            17.2%             29            22.7%             77            60.2%
Total                                       17,743             2,006          11.3%            2,926           16.5%           3,003           16.9%           2,027           11.4%            2,026          11.4%            7,529          42.4%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121803

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121804

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    09




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               867               142           16.4%             365            42.1%            284            32.8%            241            27.8%            214            24.7%             613           70.7%
Periodic Due (Medical)                        5,712             428            7.5%             980            17.2%            825            14.4%            313             5.5%            559             9.8%            2,281          39.9%
Periodic Due (Dental)                       10,466              377            3.6%            1,735           16.6%           1,213           11.6%            497             4.7%            363             3.5%            3,767          36.0%
Checkup Reminder (Medical)                    1,940             63             3.2%              77            4.0%              68             3.5%             36             1.9%             44             2.3%             221           11.4%
Checkup Reminder (Dental)                     4,703             330            7.0%             251            5.3%             267             5.7%            139             3.0%            130             2.8%             783           16.6%
Non-Participant                               311               11             3.5%              24            7.7%              17             5.5%             14             4.5%             19             6.1%             70            22.5%
Total                                       23,999             1,351           5.6%            3,432           14.3%           2,674           11.1%           1,240            5.2%            1,329           5.5%            7,735          32.2%
Oral Outreach:

Phone                                         3,831             397           10.4%             611            15.9%            556            14.5%            405            10.6%            351             9.2%            1,479          38.6%
Home Visit                                     69                3             4.3%              5             7.2%              2              2.9%              5             7.2%              6             8.7%             15            21.7%
Office Visit                                   14                1             7.1%              1             7.1%              1              7.1%              1             7.1%              0             0.0%              3            21.4%
Group Presentation                            165               24            14.5%              16            9.7%              28            17.0%             27            16.4%             13             7.9%             69            41.8%
Health Fair                                    71               12            16.9%              13            18.3%             13            18.3%              8            11.3%              3             4.2%             31            43.7%
Total                                         4,150             437           10.5%             646            15.6%            600            14.5%            446            10.7%            373             9.0%            1,597          38.5%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121805

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121806

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    10




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               1,383             283           20.5%             553            40.0%            598            43.2%            376            27.2%            366            26.5%             998           72.2%
Periodic Due (Medical)                      11,080              804            7.3%            3,010           27.2%           2,398           21.6%            858             7.7%            1,259          11.4%            6,580          59.4%
Periodic Due (Dental)                       21,143              879            4.2%            4,675           22.1%           3,220           15.2%           1,124            5.3%            845             4.0%            9,669          45.7%
Checkup Reminder (Medical)                    2,984             241            8.1%             180            6.0%             175             5.9%            111             3.7%             80             2.7%             538           18.0%
Checkup Reminder (Dental)                     8,128             634            7.8%             559            6.9%             444             5.5%            292             3.6%            190             2.3%            1,459          18.0%
Non-Participant                               359               50            13.9%              40            11.1%             41            11.4%             33             9.2%             30             8.4%             127           35.4%
Total                                       45,077             2,891           6.4%            9,017           20.0%           6,876           15.3%           2,794            6.2%            2,770           6.1%           19,371          43.0%
Oral Outreach:

Phone                                         5,560             727           13.1%             992            17.8%           1,012           18.2%            686            12.3%            718            12.9%            2,489          44.8%
Home Visit                                     31                2             6.5%              4             12.9%             5             16.1%              8            25.8%              0             0.0%             15            48.4%
Office Visit                                   87                1             1.1%              11            12.6%             9             10.3%              8             9.2%              9            10.3%             30            34.5%
Group Presentation                             83               26            31.3%              20            24.1%             18            21.7%             18            21.7%             26            31.3%             59            71.1%
Health Fair                                   307               60            19.5%              50            16.3%             54            17.6%             59            19.2%             39            12.7%             158           51.5%
Total                                         6,068             816           13.4%            1,077           17.7%           1,098           18.1%            779            12.8%            792            13.1%            2,751          45.3%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121807

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121808

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    11




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               3,292             899           27.3%            1,807           54.9%           1,557           47.3%           1,032           31.3%            1,080          32.8%            2,718          82.6%
Periodic Due (Medical)                      37,561             2,949           7.9%           10,722           28.5%           8,966           23.9%           3,461            9.2%            4,411          11.7%           24,094          64.1%
Periodic Due (Dental)                       73,420             3,429           4.7%           18,087           24.6%           12,701          17.3%           4,347            5.9%            3,637           5.0%           38,086          51.9%
Checkup Reminder (Medical)                    9,759             861            8.8%             610            6.3%             585             6.0%            380             3.9%            349             3.6%            1,891          19.4%
Checkup Reminder (Dental)                   26,001             2,799          10.8%            2,061           7.9%            2,021            7.8%           1,259            4.8%            1,100           4.2%            6,356          24.4%
Non-Participant                               1,099             109            9.9%             161            14.6%            154            14.0%            115            10.5%             89             8.1%             446           40.6%
Total                                      151,132            11,046           7.3%           33,448           22.1%           25,984          17.2%           10,594           7.0%           10,666           7.1%           73,591          48.7%
Oral Outreach:

Phone                                       16,398             2,543          15.5%            3,391           20.7%           3,079           18.8%           2,100           12.8%            2,389          14.6%            7,835          47.8%
Home Visit                                    126               16            12.7%              10            7.9%              10             7.9%             13            10.3%              7             5.6%             29            23.0%
Office Visit                                   20                0             0.0%              0             0.0%              6             30.0%              3            15.0%              2            10.0%              7            35.0%
Group Presentation                            117               20            17.1%              20            17.1%             16            13.7%             23            19.7%             25            21.4%             59            50.4%
Health Fair                                   116               19            16.4%              25            21.6%             24            20.7%             16            13.8%             22            19.0%             72            62.1%
Total                                       16,777             2,598          15.5%            3,446           20.5%           3,135           18.7%           2,155           12.8%            2,445          14.6%            8,002          47.7%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121809

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




                                                                                                                 Exhibit 1 - Page 111 of 184
                                          Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 112 of 184 PageID #:
                                                                             121810

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            February 2017

Health Service Region                    99




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               314               41            13.1%              81            25.8%             94            29.9%             48            15.3%             41            13.1%             174           55.4%
Periodic Due (Medical)                        1,197             119            9.9%             191            16.0%            170            14.2%             56             4.7%             79             6.6%             435           36.3%
Periodic Due (Dental)                         2,085             107            5.1%             336            16.1%            211            10.1%             75             3.6%             56             2.7%             667           32.0%
Checkup Reminder (Medical)                    302               15             5.0%              14            4.6%              10             3.3%              4             1.3%              9             3.0%             37            12.3%
Checkup Reminder (Dental)                     799               72             9.0%              42            5.3%              44             5.5%             29             3.6%             12             1.5%             127           15.9%
Non-Participant                                60                2             3.3%              9             15.0%             1              1.7%              2             3.3%              2             3.3%             14            23.3%
Total                                         4,757             356            7.5%             673            14.1%            530            11.1%            214             4.5%            199             4.2%            1,454          30.6%
Oral Outreach:

Phone                                         3,165             90             2.8%             136            4.3%             148             4.7%             61             1.9%             70             2.2%             320           10.1%
Home Visit                                     19                0             0.0%              2             10.5%             0              0.0%              0             0.0%              0             0.0%              2            10.5%
Office Visit                                   1                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Group Presentation                             13                0             0.0%              5             38.5%             2             15.4%              0             0.0%              5            38.5%              6            46.2%
Health Fair                                    6                 3            50.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Total                                         3,204             93             2.9%             143            4.5%             150             4.7%             61             1.9%             75             2.3%             328           10.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                         Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 113 of 184 PageID #:
                                                                            121811

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




                                                                                                                 Exhibit 1 - Page 113 of 184
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                                                                             121812

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    Statewide




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                             31,413             3,011           9.6%           14,002           44.6%           9,925           31.6%           11,716          37.3%            6,375          20.3%           22,574          71.9%
Periodic Due (Medical)                     326,589            36,511          11.2%           83,536           25.6%           42,791          13.1%           43,527          13.3%           26,559           8.1%           169,726         52.0%
Periodic Due (Dental)                      505,289            21,644           4.3%           110,727          21.9%           63,751          12.6%           28,671           5.7%           26,487           5.2%           224,968         44.5%
Checkup Reminder (Medical)                  96,636             5,083           5.3%            4,928           5.1%            4,078            4.2%           3,300            3.4%            2,916           3.0%           15,082          15.6%
Checkup Reminder (Dental)                  203,285            17,183           8.5%           17,613           8.7%            12,919           6.4%           8,918            4.4%            9,050           4.5%           47,818          23.5%
Non-Participant                             11,177              872            7.8%            1,382           12.4%           1,247           11.2%            969             8.7%            921             8.2%            3,932          35.2%
Total                                     1,174,389           84,304           7.2%           232,188          19.8%          134,711          11.5%           97,101           8.3%           72,308           6.2%           484,100         41.2%
Oral Outreach:

Phone                                      177,121            18,983          10.7%           34,273           19.4%           26,416          14.9%           21,204          12.0%           20,068          11.3%           75,540          42.6%
Home Visit                                  2,342               155            6.6%             216            9.2%             231             9.9%            222             9.5%            156             6.7%             661           28.2%
Office Visit                                 370                37            10.0%              69            18.6%             65            17.6%             56            15.1%             38            10.3%             183           49.5%
Group Presentation                          1,560               303           19.4%             341            21.9%            301            19.3%            206            13.2%            251            16.1%             832           53.3%
Health Fair                                 1,048               163           15.6%             195            18.6%            146            13.9%            189            18.0%            172            16.4%             568           54.2%
Total                                      182,441            19,641          10.8%           35,094           19.2%           27,159          14.9%           21,877          12.0%           20,685          11.3%           77,784          42.6%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121813

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121814

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    01




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               988               75             7.6%             445            45.0%            295            29.9%            368            37.2%            221            22.4%             719           72.8%
Periodic Due (Medical)                      10,004             1,014          10.1%            2,071           20.7%           1,096           11.0%           1,144           11.4%            763             7.6%            4,326          43.2%
Periodic Due (Dental)                       15,683              533            3.4%            2,727           17.4%           1,562           10.0%            705             4.5%            566             3.6%            5,484          35.0%
Checkup Reminder (Medical)                    3,243             143            4.4%             109            3.4%             106             3.3%             96             3.0%             90             2.8%             399           12.3%
Checkup Reminder (Dental)                     6,965             454            6.5%             442            6.3%             360             5.2%            223             3.2%            195             2.8%            1,204          17.3%
Non-Participant                               550               41             7.5%              58            10.5%             51             9.3%             51             9.3%             40             7.3%             172           31.3%
Total                                       37,433             2,260           6.0%            5,852           15.6%           3,470            9.3%           2,587            6.9%            1,875           5.0%           12,304          32.9%
Oral Outreach:

Phone                                         5,706             518            9.1%            1,033           18.1%            790            13.8%            590            10.3%            582            10.2%            2,289          40.1%
Home Visit                                    131               11             8.4%              16            12.2%             18            13.7%             11             8.4%             10             7.6%             41            31.3%
Office Visit                                   3                 0             0.0%              1             33.3%             1             33.3%              0             0.0%              0             0.0%              1            33.3%
Group Presentation                            123               15            12.2%              15            12.2%             15            12.2%              9             7.3%             17            13.8%             46            37.4%
Health Fair                                    37                6            16.2%              9             24.3%             5             13.5%              6            16.2%              6            16.2%             19            51.4%
Total                                         6,000             550            9.2%            1,074           17.9%            829            13.8%            616            10.3%            615            10.3%            2,396          39.9%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121815

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121816

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    02




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               538               17             3.2%             244            45.4%            119            22.1%            212            39.4%             96            17.8%             374           69.5%
Periodic Due (Medical)                        6,113             598            9.8%            1,229           20.1%            699            11.4%            740            12.1%            472             7.7%            2,620          42.9%
Periodic Due (Dental)                         9,169             362            3.9%            1,684           18.4%           1,110           12.1%            406             4.4%            314             3.4%            3,443          37.6%
Checkup Reminder (Medical)                    2,026             74             3.7%              88            4.3%              70             3.5%             51             2.5%             65             3.2%             271           13.4%
Checkup Reminder (Dental)                     3,992             290            7.3%             287            7.2%             222             5.6%            123             3.1%            138             3.5%             756           18.9%
Non-Participant                               324               22             6.8%              43            13.3%             32             9.9%             22             6.8%             21             6.5%             106           32.7%
Total                                       22,162             1,363           6.2%            3,575           16.1%           2,252           10.2%           1,554            7.0%            1,106           5.0%            7,570          34.2%
Oral Outreach:

Phone                                         3,066             261            8.5%             548            17.9%            424            13.8%            321            10.5%            286             9.3%            1,179          38.5%
Home Visit                                     84                4             4.8%              10            11.9%             5              6.0%              9            10.7%              4             4.8%             24            28.6%
Office Visit                                   1                 0             0.0%              0             0.0%              0              0.0%              0             0.0%              0             0.0%              0             0.0%
Group Presentation                            137               24            17.5%              19            13.9%             20            14.6%             19            13.9%             19            13.9%             54            39.4%
Health Fair                                    81               12            14.8%              15            18.5%             10            12.3%              9            11.1%             10            12.3%             40            49.4%
Total                                         3,369             301            8.9%             592            17.6%            459            13.6%            358            10.6%            319             9.5%            1,297          38.5%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121817

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                          Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 120 of 184 PageID #:
                                                                             121818

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    03




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               8,337             997           12.0%            3,471           41.6%           2,648           31.8%           2,832           34.0%            1,750          21.0%            5,843          70.1%
Periodic Due (Medical)                      76,981             8,390          10.9%           18,566           24.1%           9,526           12.4%           10,174          13.2%            6,552           8.5%           38,663          50.2%
Periodic Due (Dental)                      118,685             5,567           4.7%           28,731           24.2%           15,473          13.0%           6,798            5.7%            6,749           5.7%           56,483          47.6%
Checkup Reminder (Medical)                  23,051             1,185           5.1%            1,154           5.0%             969             4.2%            750             3.3%            691             3.0%            3,534          15.3%
Checkup Reminder (Dental)                   44,542             4,210           9.5%            4,371           9.8%            3,079            6.9%           2,017            4.5%            2,084           4.7%           11,389          25.6%
Non-Participant                               2,392             176            7.4%             337            14.1%            277            11.6%            212             8.9%            210             8.8%             903           37.8%
Total                                      273,988            20,525           7.5%           56,630           20.7%           31,972          11.7%           22,783           8.3%           18,036           6.6%           116,815         42.6%
Oral Outreach:

Phone                                       43,253             4,865          11.2%            8,557           19.8%           6,700           15.5%           5,457           12.6%            5,289          12.2%           19,177          44.3%
Home Visit                                    610               45             7.4%              66            10.8%             60             9.8%             66            10.8%             50             8.2%             193           31.6%
Office Visit                                   72               13            18.1%              12            16.7%             7              9.7%             12            16.7%              6             8.3%             29            40.3%
Group Presentation                            220               48            21.8%              58            26.4%             57            25.9%             29            13.2%             38            17.3%             131           59.5%
Health Fair                                    53                6            11.3%              10            18.9%             8             15.1%              7            13.2%             16            30.2%             31            58.5%
Total                                       44,208             4,977          11.3%            8,703           19.7%           6,832           15.5%           5,571           12.6%            5,399          12.2%           19,561          44.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121819

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




                                                                                                                 Exhibit 1 - Page 121 of 184
                                          Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 122 of 184 PageID #:
                                                                             121820

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    04




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               1,197             129           10.8%             524            43.8%            340            28.4%            416            34.8%            228            19.0%             809           67.6%
Periodic Due (Medical)                      13,831             1,499          10.8%            3,274           23.7%           1,759           12.7%           1,763           12.7%            1,092           7.9%            6,753          48.8%
Periodic Due (Dental)                       21,581              733            3.4%            3,514           16.3%           2,669           12.4%           1,153            5.3%            912             4.2%            8,164          37.8%
Checkup Reminder (Medical)                    4,475             234            5.2%             198            4.4%             175             3.9%            146             3.3%            136             3.0%             653           14.6%
Checkup Reminder (Dental)                     9,734             608            6.2%             623            6.4%             548             5.6%            383             3.9%            359             3.7%            1,893          19.4%
Non-Participant                               507               37             7.3%              69            13.6%             62            12.2%             33             6.5%             39             7.7%             170           33.5%
Total                                       51,325             3,240           6.3%            8,202           16.0%           5,553           10.8%           3,894            7.6%            2,766           5.4%           18,442          35.9%
Oral Outreach:

Phone                                         6,699             684           10.2%            1,149           17.2%            889            13.3%            723            10.8%            671            10.0%            2,643          39.5%
Home Visit                                    132                6             4.5%              17            12.9%             8              6.1%              8             6.1%              6             4.5%             36            27.3%
Office Visit                                   24                2             8.3%              2             8.3%              8             33.3%              1             4.2%              5            20.8%             13            54.2%
Group Presentation                             36               10            27.8%              7             19.4%             4             11.1%              2             5.6%              7            19.4%             15            41.7%
Health Fair                                    16                4            25.0%              0             0.0%              3             18.8%              7            43.8%              3            18.8%             12            75.0%
Total                                         6,907             706           10.2%            1,175           17.0%            912            13.2%            741            10.7%            692            10.0%            2,719          39.4%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121821

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121822

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    05




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               825               53             6.4%             357            43.3%            249            30.2%            285            34.5%            142            17.2%             557           67.5%
Periodic Due (Medical)                        9,461             969           10.2%            2,110           22.3%           1,044           11.0%           1,104           11.7%            665             7.0%            4,243          44.8%
Periodic Due (Dental)                       14,886              601            4.0%            2,600           17.5%           1,629           10.9%            840             5.6%            700             4.7%            5,660          38.0%
Checkup Reminder (Medical)                    3,162             128            4.0%             137            4.3%              98             3.1%             74             2.3%             84             2.7%             387           12.2%
Checkup Reminder (Dental)                     6,625             522            7.9%             466            7.0%             381             5.8%            265             4.0%            267             4.0%            1,364          20.6%
Non-Participant                               365               26             7.1%              40            11.0%             36             9.9%             22             6.0%             25             6.8%             107           29.3%
Total                                       35,324             2,299           6.5%            5,710           16.2%           3,437            9.7%           2,590            7.3%            1,883           5.3%           12,318          34.9%
Oral Outreach:

Phone                                         5,370             542           10.1%             900            16.8%            722            13.4%            572            10.7%            519             9.7%            2,038          38.0%
Home Visit                                     60                1             1.7%              3             5.0%              6             10.0%              1             1.7%              1             1.7%             10            16.7%
Office Visit                                   6                 0             0.0%              4             66.7%             0              0.0%              1            16.7%              0             0.0%              5            83.3%
Group Presentation                             13                0             0.0%              0             0.0%              0              0.0%              1             7.7%              3            23.1%              4            30.8%
Health Fair                                    8                 0             0.0%              1             12.5%             0              0.0%              0             0.0%              3            37.5%              4            50.0%
Total                                         5,457             543           10.0%             908            16.6%            728            13.3%            575            10.5%            526             9.6%            2,061          37.8%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121823

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121824

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    06




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               8,119             661            8.1%            3,476           42.8%           2,561           31.5%           3,052           37.6%            1,530          18.8%            5,827          71.8%
Periodic Due (Medical)                      80,561             9,458          11.7%           21,112           26.2%           10,812          13.4%           11,070          13.7%            6,101           7.6%           42,608          52.9%
Periodic Due (Dental)                      123,808             5,567           4.5%           25,862           20.9%           15,608          12.6%           7,374            6.0%            7,288           5.9%           54,977          44.4%
Checkup Reminder (Medical)                  23,569             1,299           5.5%            1,311           5.6%            1,005            4.3%            842             3.6%            653             2.8%            3,779          16.0%
Checkup Reminder (Dental)                   51,544             4,625           9.0%            4,835           9.4%            3,424            6.6%           2,432            4.7%            2,611           5.1%           13,136          25.5%
Non-Participant                               2,654             189            7.1%             301            11.3%            284            10.7%            253             9.5%            217             8.2%             929           35.0%
Total                                      290,255            21,799           7.5%           56,897           19.6%           33,694          11.6%           25,023           8.6%           18,400           6.3%           121,256         41.8%
Oral Outreach:

Phone                                       46,563             5,149          11.1%            9,392           20.2%           7,266           15.6%           5,885           12.6%            5,285          11.4%           20,663          44.4%
Home Visit                                    376               17             4.5%              37            9.8%              42            11.2%             32             8.5%             23             6.1%             105           27.9%
Office Visit                                   11                1             9.1%              3             27.3%             1              9.1%              0             0.0%              4            36.4%              7            63.6%
Group Presentation                            544               117           21.5%             141            25.9%            108            19.9%             88            16.2%             97            17.8%             328           60.3%
Health Fair                                   167               33            19.8%              44            26.3%             31            18.6%             31            18.6%             27            16.2%             111           66.5%
Total                                       47,661             5,317          11.2%            9,617           20.2%           7,448           15.6%           6,036           12.7%            5,436          11.4%           21,214          44.5%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121825

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                          Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 128 of 184 PageID #:
                                                                             121826

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    07




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               3,064             295            9.6%            1,276           41.6%            850            27.7%           1,127           36.8%            616            20.1%            2,125          69.4%
Periodic Due (Medical)                      30,066             3,268          10.9%            7,127           23.7%           3,547           11.8%           3,954           13.2%            2,413           8.0%           14,730          49.0%
Periodic Due (Dental)                       45,788             1,751           3.8%            8,908           19.5%           5,452           11.9%           2,530            5.5%            2,197           4.8%           18,687          40.8%
Checkup Reminder (Medical)                    8,840             373            4.2%             403            4.6%             346             3.9%            292             3.3%            248             2.8%            1,278          14.5%
Checkup Reminder (Dental)                   19,023             1,409           7.4%            1,370           7.2%            1,117            5.9%            763             4.0%            746             3.9%            3,937          20.7%
Non-Participant                               1,257             103            8.2%             140            11.1%            139            11.1%            100             8.0%             96             7.6%             414           32.9%
Total                                      108,038             7,199           6.7%           19,224           17.8%           11,451          10.6%           8,766            8.1%            6,316           5.8%           41,171          38.1%
Oral Outreach:

Phone                                       16,659             1,624           9.7%            2,985           17.9%           2,428           14.6%           1,838           11.0%            1,835          11.0%            6,831          41.0%
Home Visit                                    356               20             5.6%              26            7.3%              41            11.5%             38            10.7%             24             6.7%             104           29.2%
Office Visit                                   60               10            16.7%              18            30.0%             10            16.7%             10            16.7%              4             6.7%             35            58.3%
Group Presentation                             23                8            34.8%              5             21.7%             6             26.1%              0             0.0%              5            21.7%             14            60.9%
Health Fair                                   104               13            12.5%              23            22.1%             14            13.5%             23            22.1%             24            23.1%             58            55.8%
Total                                       17,202             1,675           9.7%            3,057           17.8%           2,499           14.5%           1,909           11.1%            1,892          11.0%            7,042          40.9%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121827

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




                                                                                                                 Exhibit 1 - Page 129 of 184
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                                                                             121828

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    08




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               3,162             272            8.6%            1,469           46.5%            969            30.6%           1,257           39.8%            662            20.9%            2,308          73.0%
Periodic Due (Medical)                      34,185             3,727          10.9%            8,107           23.7%           4,039           11.8%           4,299           12.6%            2,889           8.5%           16,623          48.6%
Periodic Due (Dental)                       53,532             2,195           4.1%           11,187           20.9%           6,649           12.4%           3,138            5.9%            2,797           5.2%           23,258          43.4%
Checkup Reminder (Medical)                  11,227              518            4.6%             462            4.1%             421             3.7%            381             3.4%            386             3.4%            1,638          14.6%
Checkup Reminder (Dental)                   21,244             1,701           8.0%            1,659           7.8%            1,299            6.1%            949             4.5%            922             4.3%            4,742          22.3%
Non-Participant                               1,263             103            8.2%             151            12.0%            140            11.1%            101             8.0%            113             8.9%             435           34.4%
Total                                      124,613             8,516           6.8%           23,035           18.5%           13,517          10.8%           10,125           8.1%            7,769           6.2%           49,004          39.3%
Oral Outreach:

Phone                                       19,015             1,896          10.0%            3,780           19.9%           2,759           14.5%           2,209           11.6%            2,109          11.1%            8,086          42.5%
Home Visit                                    282               15             5.3%              19            6.7%              22             7.8%             33            11.7%             18             6.4%             71            25.2%
Office Visit                                   10                0             0.0%              0             0.0%              1             10.0%              3            30.0%              3            30.0%              6            60.0%
Group Presentation                             20                2            10.0%              7             35.0%             6             30.0%              1             5.0%              3            15.0%             14            70.0%
Health Fair                                    38                8            21.1%              4             10.5%             5             13.2%             11            28.9%             11            28.9%             26            68.4%
Total                                       19,365             1,921           9.9%            3,810           19.7%           2,793           14.4%           2,257           11.7%            2,144          11.1%            8,203          42.4%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121829

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121830

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    09




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               817               53             6.5%             365            44.7%            223            27.3%            274            33.5%            159            19.5%             562           68.8%
Periodic Due (Medical)                        7,021             751           10.7%            1,402           20.0%            685             9.8%            802            11.4%            516             7.3%            2,852          40.6%
Periodic Due (Dental)                       10,668              403            3.8%            1,892           17.7%            981             9.2%            433             4.1%            417             3.9%            3,684          34.5%
Checkup Reminder (Medical)                    2,169             68             3.1%              70            3.2%              71             3.3%             57             2.6%             57             2.6%             252           11.6%
Checkup Reminder (Dental)                     4,589             289            6.3%             309            6.7%             238             5.2%            156             3.4%            158             3.4%             851           18.5%
Non-Participant                               335               16             4.8%              25            7.5%              25             7.5%             19             5.7%             27             8.1%             89            26.6%
Total                                       25,599             1,580           6.2%            4,063           15.9%           2,223            8.7%           1,741            6.8%            1,334           5.2%            8,290          32.4%
Oral Outreach:

Phone                                         3,927             339            8.6%             665            16.9%            530            13.5%            419            10.7%            390             9.9%            1,498          38.1%
Home Visit                                    103                6             5.8%              11            10.7%             9              8.7%              8             7.8%              9             8.7%             29            28.2%
Office Visit                                   20                0             0.0%              4             20.0%             2             10.0%              4            20.0%              3            15.0%              9            45.0%
Group Presentation                            148               31            20.9%              29            19.6%             23            15.5%             10             6.8%             12             8.1%             64            43.2%
Health Fair                                    23                3            13.0%              6             26.1%             1              4.3%              2             8.7%              3            13.0%              9            39.1%
Total                                         4,221             379            9.0%             715            16.9%            565            13.4%            443            10.5%            417             9.9%            1,609          38.1%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121831

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)

Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121832

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    10




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               1,107             109            9.8%             525            47.4%            429            38.8%            431            38.9%            260            23.5%             810           73.2%
Periodic Due (Medical)                      12,913             1,548          12.0%            3,769           29.2%           1,984           15.4%           1,791           13.9%            1,129           8.7%            7,579          58.7%
Periodic Due (Dental)                       19,935              773            3.9%            4,870           24.4%           2,422           12.1%           1,005            5.0%            845             4.2%            8,922          44.8%
Checkup Reminder (Medical)                    3,371             221            6.6%             222            6.6%             189             5.6%            143             4.2%            125             3.7%             672           19.9%
Checkup Reminder (Dental)                     8,165             565            6.9%             643            7.9%             442             5.4%            286             3.5%            270             3.3%            1,618          19.8%
Non-Participant                               355               23             6.5%              56            15.8%             44            12.4%             36            10.1%             21             5.9%             132           37.2%
Total                                       45,846             3,239           7.1%           10,085           22.0%           5,510           12.0%           3,692            8.1%            2,650           5.8%           19,733          43.0%
Oral Outreach:

Phone                                         5,913             677           11.4%            1,257           21.3%            942            15.9%            726            12.3%            718            12.1%            2,632          44.5%
Home Visit                                     70               18            25.7%              4             5.7%              10            14.3%              7            10.0%              5             7.1%             20            28.6%
Office Visit                                  153               11             7.2%              24            15.7%             30            19.6%             24            15.7%             13             8.5%             72            47.1%
Group Presentation                            145               27            18.6%              33            22.8%             25            17.2%             18            12.4%             21            14.5%             76            52.4%
Health Fair                                   310               36            11.6%              52            16.8%             42            13.5%             59            19.0%             48            15.5%             165           53.2%
Total                                         6,591             769           11.7%            1,370           20.8%           1,049           15.9%            834            12.7%            805            12.2%            2,965          45.0%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121833

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121834

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    11




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               2,984             336           11.3%            1,757           58.9%           1,185           39.7%           1,398           46.8%            693            23.2%            2,485          83.3%
Periodic Due (Medical)                      44,158             5,142          11.6%           14,509           32.9%           7,516           17.0%           6,590           14.9%            3,928           8.9%           28,305          64.1%
Periodic Due (Dental)                       69,823             3,099           4.4%           18,509           26.5%           10,043          14.4%           4,232            6.1%            3,666           5.3%           35,724          51.2%
Checkup Reminder (Medical)                  11,203              836            7.5%             767            6.8%             620             5.5%            461             4.1%            378             3.4%            2,194          19.6%
Checkup Reminder (Dental)                   26,179             2,465           9.4%            2,581           9.9%            1,774            6.8%           1,310            5.0%            1,283           4.9%            6,838          26.1%
Non-Participant                               1,142             133           11.6%             161            14.1%            155            13.6%            120            10.5%            112             9.8%             472           41.3%
Total                                      155,489            12,011           7.7%           38,284           24.6%           21,293          13.7%           14,111           9.1%           10,060           6.5%           76,018          48.9%
Oral Outreach:

Phone                                       17,527             2,353          13.4%            3,878           22.1%           2,886           16.5%           2,389           13.6%            2,341          13.4%            8,266          47.2%
Home Visit                                    123               12             9.8%              7             5.7%              10             8.1%              8             6.5%              6             4.9%             27            22.0%
Office Visit                                   8                 0             0.0%              1             12.5%             4             50.0%              1            12.5%              0             0.0%              5            62.5%
Group Presentation                            137               21            15.3%              24            17.5%             35            25.5%             28            20.4%             27            19.7%             81            59.1%
Health Fair                                   207               41            19.8%              29            14.0%             26            12.6%             34            16.4%             20             9.7%             90            43.5%
Total                                       18,002             2,427          13.5%            3,939           21.9%           2,961           16.4%           2,460           13.7%            2,394          13.3%            8,469          47.0%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121835

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                                                             121836

Report ID                                EB233
Report Name                              Outreach Effectiveness Report for Medical and Dental Checkups (Frew Consent Decree Paragraph 61)

Report Quarter                           October 2017 - 4th Quarter (January 2017, February 2017, March 2017)

Report Period                            March 2017

Health Service Region                    99




               Activity Type             Number of            Number and % who        Number and % who received Number and % who received Number and % who received Number and % who received Total and % who received a
                                       Recipients with     received a checkup in the    a checkup in the activity a checkup 1 month after  a checkup 2 months after  a checkup 3 months after   checkup in the activity
                                        Activity Type     month before activity month           month                  activity month           activity month            activity month      month and up to 3 months
                                                                                                                                                                                                  after activity month


Letters:
Newly Certified                               275               14             5.1%              93            33.8%             57            20.7%             64            23.3%             18             6.5%             155           56.4%
Periodic Due (Medical)                        1,295             147           11.4%             260            20.1%             84             6.5%             96             7.4%             39             3.0%             424           32.7%
Periodic Due (Dental)                         1,731             60             3.5%             243            14.0%            153             8.8%             57             3.3%             36             2.1%             482           27.8%
Checkup Reminder (Medical)                    300                4             1.3%              7             2.3%              8              2.7%              7             2.3%              3             1.0%             25             8.3%
Checkup Reminder (Dental)                     683               45             6.6%              27            4.0%              35             5.1%             11             1.6%             17             2.5%             90            13.2%
Non-Participant                                33                3             9.1%              1             3.0%              2              6.1%              0             0.0%              0             0.0%              3             9.1%
Total                                         4,317             273            6.3%             631            14.6%            339             7.9%            235             5.4%            113             2.6%            1,179          27.3%
Oral Outreach:

Phone                                         3,423             75             2.2%             129            3.8%              80             2.3%             75             2.2%             43             1.3%             238            7.0%
Home Visit                                     15                0             0.0%              0             0.0%              0              0.0%              1             6.7%              0             0.0%              1             6.7%
Office Visit                                   2                 0             0.0%              0             0.0%              1             50.0%              0             0.0%              0             0.0%              1            50.0%
Group Presentation                             14                0             0.0%              3             21.4%             2             14.3%              1             7.1%              2            14.3%              5            35.7%
Health Fair                                    4                 1            25.0%              2             50.0%             1             25.0%              0             0.0%              1            25.0%              3            75.0%
Total                                         3,458             76             2.2%             134            3.9%              84             2.4%             77             2.2%             46             1.3%             248            7.2%


Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number and percent of Texas Health Steps recipients who received a medical and/or dental checkup after an activity type during a particular month.
Activity types include being sent a written offer of oral outreach (letter) or receiving different methods of oral outreach.

For those who were sent letters, the report includes the population of Texas Health Steps recipients who were newly-certified for Medicaid, due for a periodic medical or dental checkup, overdue for a periodic medical and/or dental checkup, or did
not receive medical or dental checkup in the past year.

For those Texas Health Steps recipients who received oral outreach, the report includes five methods of oral outreach - phone, home visit, office visit, group presentation, or health fair. Texas Health Steps recipients can receive one or more
methods of oral outreach.

The number and percent reported are for those Texas Health Steps recipients who received a medical and/or dental checkup the month prior to the month the activity type occurred, during the month the activity type occurred, and up to three
months after the month the activity type occurred. This report includes totals for the entire state and sub-totals for each Health Service Region. This report is produced quarterly. A separate report is produced for each activity month in the quarter
(see Report Quarter and Activity Month above).

Medicaid providers have 95 days from the date of service to submit a claim requesting payment. The processing time for a correct claim is up to 30 days. Managed care organizations have 30 days from the end of the month in which a claim was
adjudicated to submit an encounter to the encounter warehouse. The number and percent of Medicaid recipients who received a medical or dental checkup in the months following outreach reflect the number of claims and encounters filed on or
before the date data for the report is obtained, and may not inlcude all medical or dental checkups performed in the month reported.




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                                                                            121837

Report Label                           Description
Letters                                Includes clients who were mailed these outreach letters in the activity month:
                                       - Newly Certified Letter (H01)
                                       - Newly Certified Letter - HCO (H02)
                                       - Non-Participant Letter (H04)
                                       - Checkup Due Medical Letter (H10M), and Checkup Due Dental Letter (H10D)
                                       - Checkup Reminder Medical Letter (H11M), and Checkup Reminder Dental Letter (H11D)
Oral Outreach                          Includes clients who received oral outreach for Texas Health Steps (THSteps) by Phone (inbound and outbound), Home Visit, Office Visit, Group Presentation, and Health Fair in the activity month.


Number of Recipients with Activity     Count of clients for each outreach population who were mailed an outreach letter or received oral outreach in the activity month.
Type
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month prior to the activity
checkup in the month before activity   month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the activity month.
checkup in the activity month
Number and % who received a          Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the month after the activity
checkup 1 month after activity month month.


Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 2nd month after the activity
checkup 2 months after activity        month.
month
Number and % who received a            Count and percentage of clients for each outreach population who were mailed an outreach letter or received oral outreach and had a valid medical and/or dental checkup in the 3rd month after the activity
checkup 3 months after activity        month.
month
Total and % who received a checkup Unique count of clients and percentage of clients who received a checkup in the activity month and up to 3 months after the activity month. Clients with multiple checkups in the same month or across several
in the activity month and up to 3  months will be counted once.
months after activity month




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                                         121838
Report ID                                    EB234
Report Name                                  Texas Health Steps Outreach Report (Frew Consent Decree Paragraph 60)

Report Quarter                               October 2017 - 4th Quarter

Report Period                                May 2017, June 2017, July 2017




      Section                                                         Description                                                     May 2017             Jun 2017              Jul 2017           Grand Total
                       Number of Initial Written Offers of Outreach

a)                     4 Month Dental Letters Mailed                                                                                    20,602               19,412               17,292               57,306
                       Newly Certified Letters Mailed                                                                                   31,714               49,016               26,439               107,169
                       Total                                                                                                            52,316               68,428               43,731               164,475
b)                     Provider Outreach Referrals (see EB201 - THSteps - Provider Outreach Referrals Report)


c)                     Clients who did not respond to the initial written offer of outreach within 45 days                              51,976               67,915               43,363               163,254
                       Clients who did not receive oral outreach within 45 days of generating a dialer request or
d)
                       manual outbound call request                                                                                     4,285                4,888                 3,642                12,815
                       Clients who responded to the initial written offer of outreach within 45 days and type of outreach
                       requested

e)                     Home Visit                                                                                                         0                    0                     0                    0
                       Phone Call                                                                                                        193                  291                   228                  712
                       Total                                                                                                             193                  291                   228                  712
                       Clients who responded to the initial written offer of outreach within 45 days, who requested
                       outreach (from e above) and the number who received the requested outreach


f)                     Home Visit                                                                                                         0                    0                     0                    0
                       Phone Call                                                                                                        193                  291                   228                  712
                       Other (i.e. Office Visit, Group Meeting, and Health Fair)                                                          0                    0                     0                    0
                       Total                                                                                                             193                  291                   228                  712
                       Clients who responded to the initial written offer of outreach within 45 days, who requested
                       outreach (from e above) and the number who did not receive the requested outreach and why


g)                     Deceased                                                                                                            0                    0                    0                     0
                       Not Eligible for THSteps at time of Outreach Request                                                                0                    0                    0                     0
                       Unsuccessful Home Visit                                                                                             0                    0                    0                     0
                       Other (may include: General Info Request)                                                                           0                    0                    0                     0
                       Total                                                                                                               0                    0                    0                     0



Report Purpose
The purpose of this report is to demonstrate the effectiveness of outreach by displaying the number of Texas Health Steps clients who responded with a phone call after been sent a written offer of oral outreach
(letter), or received different methods of oral outreach. This report is produced every quarter for a 3 month period.
Report Label                               Description
a) Number of Initial Written Offers of     Number of the following outreach letters mailed in the 3 month period:
Outreach                                   - 4-Month Dental Letter (H05)
                                           - Newly Certified Letter (H01)
                                           - Newly Certified Letter - HCO (H02)
b) Provider Outreach Referrals             See EB201 - THSteps - Provider Outreach Referrals Report. The report shows number of Provider Outreach Referrals Processed, Successful Phone Calls, and Letters Mailed


c) Clients who did not respond to the Number of clients who were mailed one of the outreach letters below within the report period, and who did not call the Call Center within 45 days of the letter printed on
initial written offer of outreach within
                                      date.
45 days                               - 4-Month Dental Letter (H05)
                                      - Newly Certified Letter (H01)
                                      - Newly Certified Letter - HCO (H02)
d) Clients who did not receive oral   Number of clients who were mailed one of the outreach letters below within the report period, and the outbound phone call attempt was unsuccessful, and the client did not
outreach within 45 days of generating call the Call Center within 45 days of the outbound dialer request date or manual outbound call request date.
a dialer request or manual outbound - Provider Outreach Referral Letter (H18)
call request                          - Missed Appointment Letter (H13)
                                      - Extra Effort Referral Letter (H17)
                                      - Non-Participant Letter (H04)

e) Clients who responded to the initial Shows the number and type of oral outreach requested for the number of clients who were mailed one of the outreach letters below within the report period, and who called
written offer of outreach within 45     the Call Center within 45 days of the letter printed on date, and indicated the reason for the call is 'Received Letter'.
days and type of outreach requested - 4-Month Dental Letter (H05)
                                        - Newly Certified Letter (H01)
                                        - Newly Certified Letter - HCO (H02)

f) Clients who responded to the initial Shows the number of clients in e who received each type of outreach requested.
written offer of outreach within 45
days, who requested outreach (from e
above) and the number who received
the requested outreach

g) Clients who responded to the initial Shows the number of clients in e who did not receive the requested outreach and why.
written offer of outreach within 45     Other includes: Clients who did not have a valid THSteps call action documented in MAXeb for the home visit.
days, who requested outreach (from e
above) and the number who did not
receive the requested outreach and
why




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Report ID                                      EB 508
Report Name                                    THSteps Outbound Mail Report
Report Period                                  2017 Q4
Health Service Region                          All




                                                                                                  Health Service Region (HSR)
Mail Item                                      Outcome                                                                                                                              Total Mail   % Returned *
                                                             1         2        3       4       5        6        7       8                  9           10         11      n/a
Newly Certified Letter (H01)                   Sent          2,680     1,539 20,551    3,420   2,391 21,104      8,008   8,461                2,122      3,067      9,140      32      82,515      2.79%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --       2,303
HCO Letter (H02)                               Sent          1,605     1,079 13,647    2,196   1,640 12,358      5,269   4,977                1,223      2,100      4,408      10      50,512      3.13%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --       1,581
Pregnant Women Letter (H03)                    Sent          1,149       741   7,365   1,464   1,181    7,404    3,048   3,842                  889      1,254      4,101      12      32,450      4.06%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --       1,319
Non-Participant Letter (H04)                   Sent          1,540       773   7,147   1,770   1,226    8,033    3,793   3,931                  944      1,148      3,259      25      33,589      4.00%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --       1,345
4-Month Dental Letter (H05)                    Sent          1,759     1,008 13,647    2,264   1,548 13,815      5,156   5,794                1,380      2,068      6,588       8      55,035      3.25%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --       1,791
Checkup Due Letter (11 sub-groups) (H10)       Sent         72,479    43,489 549,299 99,100 70,393 587,006 213,935 251,256                   49,087     95,937    327,828   1,050   2,360,859      3.38%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --      79,882
Checkup Reminder Letter (7 sub-groups) (H11)   Sent         33,581    18,619 200,055 42,866 31,057 224,871 86,465 100,447                    21,321     35,000    108,760     752     903,794      4.24%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --      38,345
Total Mail                                     Sent        114,793    67,248 811,711 153,080 109,436 874,591 325,674 378,708                 76,966    140,574    464,084   1,889   3,518,754      3.60%
                                               Returned         --        --      --      --      --       --       --      --                   --         --         --      --     126,566

Report Label                                              Description
Mail Item                                                 All potential Mail Items (i.e. letters, packets) sent to THSteps clients
Outcome                                                   Result of mail request:
                                                          • Sent – Mailed via USPS
                                                          • Returned – Sent via USPS, but returned as undeliverable for reasons provided by the USPS ACS report.
Region                                                    Geographic populations identified by THSteps Program
                                                          Geographic populations identified by n/a represents letters mailed to clients without an assigned region
Total Mail                                                Total count of mail items per Mail Item/Outcome, Region and Report Period
% Returned                                                Percentage of Returns per Mail Items, Region and Report Period Returned is defined as Returned.
                                                          Calculation: Returned / Sent
                                                          * Note: Because returned mail could be from prior month's mailings, this calculation is just an approximation.




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Report ID                                   EB 508
Report Name                                 THSteps Outbound Mail Report
Report Period                               2017 Q4
Health Service Region                       All




                                                                                    THSteps Letter Crosswalk Legend
              New Letter Name               New Letter           Former Letter Name               Former Letter   New Letter Name New Letter            Former Letter Name             Former Letter
                                              Code                                                    Code                          Code                                                  Code
            Newly Certified Letter            H01               Newly Certified Letter               RCERT             Checkup      H11      Dental Checkup Reminder Letter - clients     O1DI
                                                                                                                  Reminder Letter                      less than 2 years old
      Newly Certified Letter - HCO Letter      H02        Newly Certified Letter - HCO Letter      HCOCERT          (7 sub-groups)           Medical Checkup Reminder Letter - clients    O1MT
                                                                                                                                                      ages 3, 4 & 5 years old
           Pregnant Women Letter               H03             Pregnant Women Letter                PREGW                                    Dental Checkup Reminder Letter - clients     O1DT
                                                                                                                                                      ages 3, 4 & 5 years old
            Non-Participant Letter             H04              Non-Participant Letter               NPART                                   Medical Checkup Reminder Letter - clients    O1MC
                                                                                                                                                        ages 6-12 years old
            4-Month Dental Letter              H05              4-Month Dental Letter                DENTL                                   Dental Checkup Reminder Letter - clients     O1DC
                                                                                                                                                        ages 6-12 years old
     Checkup Due Letter (11 sub-groups)        H10        Dental Due Letter - clients 12 to 18        D1DI                                   Medical Checkup Reminder Letter - clients    O1MA
                                                                      months old                                                                       ages 13-20 years old
                                                           Medical Due Letter - clients 1-2           D1MN                                   Dental Checkup Reminder Letter - clients     O1DA
                                                                      months old                                                                       ages 13-20 years old
                                                           Medical Due Letter - clients 6-18          D1MI          DFPS Letter –   H12           DFPS Letter – Leaving DFPS              DFPS
                                                                      months old                                    Leaving DFPS                          Conservatorship
                                                                                                                  Conservatorship
                                                           Medical Due Letter - clients 12            D1MY              Missed      H13             Missed Appointment Letter              MA
                                                                      months old                                     Appointment
                                                                                                                         Letter
                                                         Medical Due Letter - clients 18, 24 &        D1MB          Pregnant Teen   H14                Pregnant Teen Letter              PREGT
                                                                    30 months old                                        Letter
                                                         Medical Due Letter - clients 3, 4 & 5        D1MT         Parenting Teen   H15                Parenting Teen Letter             PARENT
                                                                       years old                                         Letter
                                                          Dental Due Letter - clients 2,3 & 4         D1DT               Case       H16        Case Management Informing Letter            N/A
                                                                       years old                                     Management
                                                                                                                   Informing Letter
                                                           Medical Due Letter - clients 6-13          D1MC            Extra Effort  H17              Extra Effort Referral Letter          N/A
                                                                       years old                                    Referral Letter
                                                         Dental Due Letter - clients 5-12 years       D1DC       Provider Outreach  H18         Provider Outreach Referral Letter          PO
                                                                          old                                       Referral Letter
                                                          Medical Due Letter - clients 14-20          D1MA           Provider List  H19              Provider List Cover Letter            N/A
                                                                       years old                                     Cover Letter
                                                           Dental Due Letter - clients 13-20          D1DA        CPW Follow–Up     H20               CPW Follow–Up Letter                CPWF
                                                                       years old                                         Letter




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                                                                       121841
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                Agency/Provider                               Address1                 Address2              City    Zip
   Number                    Ordered Shipped
 1000055048     06-01-2017       500      500 1-182              HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       100      100 EPSDT-04           HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       500      500 EPSDT-05           HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       500      500 EPSDT-08           HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       500      500 EPSDT-16           HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       500      500 MTP-110            HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055048     06-01-2017       100      100 MTP-510_0812       HHSC                                    6500 Northwest Drive        Ste. 300                      Mesquite     75150
 1000055049     06-01-2017       800      800 1-182              HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       200      200 EPSDT-04           HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       800      800 EPSDT-05           HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       800      800 EPSDT-08           HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       800      800 EPSDT-16           HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       800      800 MTP-110            HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055049     06-01-2017       200      200 MTP-510_0812       HHSC                                    2020 N. Masters             MC 228-1                      Dallas       75217
 1000055050     06-01-2017       500      500 1-182              HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       100      100 EPSDT-04           HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       500      500 EPSDT-05           HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       500      500 EPSDT-08           HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       500      500 EPSDT-16           HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       500      500 MTP-110            HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055050     06-01-2017       100      100 MTP-510_0812       HHSC                                    12100 Ford Road             4th Floor; Ste. B400          Dallas       75220
 1000055091     06-02-2017       100      100 1-182              American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 DENTAL-8-17        American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          1       1 DENTAL-8-20        American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          1       1 DENTAL-8-20S       American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017         30      30 E03-13634          American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017         10      10 E03-14572          American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017         20      20 EPSDT-04           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 EPSDT-05           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 EPSDT-05T          American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          5       5 EPSDT-10           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          5       5 EPSDT-12           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          5       5 EPSDT-13           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          5       5 EPSDT-15           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 EPSDT-16           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 EPSDT-16T          American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 EPSDT-26           American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 MTP-110            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 MTP-210            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          5       5 MTP-310            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017       100      100 MTP-410            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017         10      10 MTP-510            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055091     06-02-2017          1       1 MTP-610            American Legion Post 578                7811 Greens Road                                          Humble       77396
 1000055099     06-02-2017      2000     2000 1-325              ST. JOSEPH'S WOMEN'S CENTER             C/O Ears and Hearing        1819 Crawford St, 1st Floor   Houston      77002
 1000055135     06-02-2017          1       1 08-13373           Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017         25      25 1-322              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017         25      25 1-323_0312         Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017         25      25 1-326              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          6       6 1-335              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          1       1 1-337              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          1       1 1-338              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017         25      25 1-342              Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017         25      25 DENTAL-8-17        Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          6       6 DENTAL-8-20        Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          1       1 E03-13591          Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          1       1 E03-13592          Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          6       6 E08-12876          Complete Health Care                    315 W Houston                                             Jasper       75951
 1000055135     06-02-2017          6       6 EPSDT-04           Complete Health Care                    315 W Houston                                             Jasper       75951

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Report Period                2017 Q4
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                Ship Date                               Item                    Agency/Provider                              Address1                   Address2                   City        Zip
   Number                    Ordered Shipped
 1000055135     06-02-2017         25      25 EPSDT-05           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-05T          Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-08           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017          1       1 EPSDT-10           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017          1       1 EPSDT-12           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017          1       1 EPSDT-13           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017          1       1 EPSDT-13S          Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-16           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-16T          Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-25           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 EPSDT-26           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 MTP-110            Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 MTP-210            Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017         25      25 MTP-210S           Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055135     06-02-2017          2       2 MTP-510            Complete Health Care                       315 W Houston                                                    Jasper           75951
 1000055161     06-06-2017       214      214 1-323_0312         Good Shepherd Medical Center               Attn: Childbirth Education     700 E Marshall Ave                Longview         75601
 1000055161     06-06-2017       786      786 1-323_0312         Good Shepherd Medical Center               Attn: Childbirth Education     700 E Marshall Ave                Longview         75601
 1000055162     06-06-2017       100      100 1-323_0312         TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055162     06-06-2017       100      100 E03-14572          TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055162     06-06-2017       100      100 E08-12877          TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055162     06-06-2017       100      100 EPSDT-05           TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055162     06-06-2017       100      100 EPSDT-08           TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055162     06-06-2017       100      100 MTP-410            TruLight127 Ministries                     242 Country Lane                                                 Cibolo           78108
 1000055167     06-06-2017         25      25 MTP-210            Texas Childrens Pediatrics NW              13018 Woodforest Blvd          Ste A                             Houston          77015
 1000055167     06-06-2017         25      25 MTP-210S           Texas Childrens Pediatrics NW              13018 Woodforest Blvd          Ste A                             Houston          77015
 1000055167     06-06-2017          1       1 MTP-310            Texas Childrens Pediatrics NW              13018 Woodforest Blvd          Ste A                             Houston          77015
 1000055167     06-06-2017          1       1 MTP-610            Texas Childrens Pediatrics NW              13018 Woodforest Blvd          Ste A                             Houston          77015
 1000055167     06-06-2017          1       1 MTP-610S           Texas Childrens Pediatrics NW              13018 Woodforest Blvd          Ste A                             Houston          77015
 1000055171     06-06-2017       100      100 1-322              C/O Ears and Hearing                       107 W. Foster Dr.                                                Robinson         76706
 1000055199     06-06-2017      1000     1000 1-325              Rio Grande Regional Hospital               101 E. RIDGE RD                                                  MCALLEN          78503
 1000055229     06-07-2017         10      10 DENTAL-8-20        La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 DENTAL-8-20S       La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 E03-13591          La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 E03-13592          La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 E03-13593          La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         50      50 E08-12877          La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 EPSDT-10           La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055229     06-07-2017         10      10 EPSDT-10S          La Costa Dental of Port Arthur             8035 Memorial Drive                                              Port Arthur      77640
 1000055230     06-07-2017         10      10 DENTAL-8-20        La Costa Dental                            4506 Kostoryz Road                                               Corpus Christi   78415
 1000055230     06-07-2017         10      10 DENTAL-8-20S       La Costa Dental                            4506 Kostoryz Road                                               Corpus Christi   78415
 1000055230     06-07-2017       200      200 E08-12877          La Costa Dental                            4506 Kostoryz Road                                               Corpus Christi   78415
 1000055346     06-07-2017       500      500 1-323              Hearing Screening Assoc                    8118 Spring Bluebonnet Drive                                     Sugar Land       77479
 1000055346     06-07-2017       300      300 1-325              Hearing Screening Assoc                    8118 Spring Bluebonnet Drive                                     Sugar Land       77479
 1000055349     06-07-2017         20      20 E03-13634          TTU                                        800 W 4th Street                                                 Odessa           79761
 1000055349     06-07-2017         20      20 E03-14572          TTU                                        800 W 4th Street                                                 Odessa           79761
 1000055352     06-07-2017          5       5 E03-13634          Valdez Childrens Clinic                    605 N Main                     Ste B                             Donna            78537
 1000055448     06-09-2017       500      500 1-325              Pediatrix Medical Group                    1310 McCullough Ave            Metropolitan Methodist Hospital   San Antonio      78212
 1000055512     06-09-2017          1       1 05-13572           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017          1       1 05-13598           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017          1       1 05-13599           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017          1       1 05-13684           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017          1       1 05-13916           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017          1       1 05-14010           Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-182              Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-220              Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-221              Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-323              Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-323_0312         Pediatrics                                 46135 Staples St               Ste C & D                         Corpus Christi   78411


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Report ID                    EB 513
                                                                       121843
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                                   Address1                      Address2                   City        Zip
   Number                    Ordered Shipped
 1000055512     06-09-2017         25      25 1-326              Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017          1       1 1-335              Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017          1       1 1-337              Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017          1       1 1-338              Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017          1       1 1-338A             Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         25      25 DENTAL-8-17        Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         10      10 DENTAL-8-20        Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         10      10 DENTAL-8-20S       Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         10      10 E08-12876          Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         10      10 E08-12876A         Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         25      25 E08-12877          Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017          5       5 EPSDT-04           Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017       125      125 EPSDT-05           Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         50      50 MTP-110            Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         50      50 MTP-210            Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         50      50 MTP-210S           Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         50      50 MTP-410            Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055512     06-09-2017         10      10 MTP-510            Pediatrics                                       46135 Staples St               Ste C & D                           Corpus Christi   78411
 1000055513     06-09-2017      4000     4000 EPSDT-16           Maximus Region 2                                 4601 South 1st St              Suite A                             Abilene          79605
 1000055522     06-13-2017      2000     2000 1-325              Pediatrix Medical Group                          1139 E Sonterra Blvd           2nd Floor Nursery/ Hearing Screen   San Antonio      78258
 1000055580     06-13-2017      1200     1200 1-325              Pediatrix Medical Group                          2ND FLOOR NURSERY              1201 W 38TH ST                      Austin           78705
 1000055581     06-13-2017       600      600 1-325              Pediatrix Medical Group                          1401 MEDICAL PARKWAY                                               CEDAR PARK       78613
 1000055583     06-12-2017       200      200 DENTAL-8-17        Children 1St Dental & Surg Ctr                   Ste 400                        3055 W Bardin Rd                    Grand Prairie    75052
 1000055583     06-12-2017       200      200 E08-12877          Children 1St Dental & Surg Ctr                   Ste 400                        3055 W Bardin Rd                    Grand Prairie    75052
 1000055591     06-12-2017       300      300 1-325              Pediatrics                                       2701 Hospital Drive            2nd Floor Nursery                   Victoria         77901
 1000055596     06-12-2017       350      350 DENTAL-8-17        WBCO                                             604 High Tech Dr                                                   Georgetown       78626
 1000055596     06-12-2017       350      350 EPSDT-05           WBCO                                             604 High Tech Dr                                                   Georgetown       78626
 1000055596     06-12-2017       350      350 EPSDT-08           WBCO                                             604 High Tech Dr                                                   Georgetown       78626
 1000055596     06-12-2017       500      500 MTP-410            WBCO                                             604 High Tech Dr                                                   Georgetown       78626
 1000055623     06-13-2017         25      25 1-182              A World for Children                             1828 E SE Loop                 Ste #107                            Tyler            75701
 1000055623     06-13-2017         25      25 EPSDT-05           A World for Children                             1828 E SE Loop                 Ste #107                            Tyler            75701
 1000055623     06-13-2017         25      25 EPSDT-08           A World for Children                             1828 E SE Loop                 Ste #107                            Tyler            75701
 1000055623     06-13-2017         25      25 EPSDT-16           A World for Children                             1828 E SE Loop                 Ste #107                            Tyler            75701
 1000055623     06-13-2017         25      25 MTP-110            A World for Children                             1828 E SE Loop                 Ste #107                            Tyler            75701
 1000055624     06-14-2017       300      300 1-322              Baylor College of Medicine                       1977 Butler Blvd               Suite E5.100                        Houston          77030
 1000055624     06-14-2017       500      500 1-323              Baylor College of Medicine                       1977 Butler Blvd               Suite E5.100                        Houston          77030
 1000055625     06-15-2017      4000     4000 EPSDT-26           Hector Lopex DDS                                 4151 Jaime Zapata Mem Hwy      Ste 210                             Laredo           78043
 1000055628     06-14-2017       200      200 DENTAL-8-17        Children 1st Dental & Surgery Center             2690 North Galloway Avenue                                         Mesquite         75150
 1000055628     06-14-2017       200      200 E08-12877          Children 1st Dental & Surgery Center             2690 North Galloway Avenue                                         Mesquite         75150
 1000055630     06-14-2017       200      200 DENTAL-8-17        Children 1st Dental & Surgery Center             8545 Gulf Freeway                                                  Houston          77017
 1000055630     06-14-2017       200      200 E08-12877          Children 1st Dental & Surgery Center             8545 Gulf Freeway                                                  Houston          77017
 1000055631     06-14-2017       200      200 DENTAL-8-17        Children 1st Dental & Surgery Center             8700 South Gessner Road #200                                       Houston          77074
 1000055631     06-14-2017       200      200 E08-12877          Children 1st Dental & Surgery Center             8700 South Gessner Road #200                                       Houston          77074
 1000055641     06-14-2017         51      51 E03-13634          University Health System                         903 W. Martin                  1st floor MS-30-2                   San Antonio      78207
 1000055641     06-14-2017         51      51 E03-14572          University Health System                         903 W. Martin                  1st floor MS-30-2                   San Antonio      78207
 1000055646     06-14-2017         10      10 08-13373           Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017       200      200 DENTAL-8-17        Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017         10      10 DENTAL-8-20        Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017         10      10 DENTAL-8-20S       Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017         10      10 E08-12876          Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017         10      10 E08-12876A         Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017       100      100 E08-12877          Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055646     06-14-2017       200      200 EPSDT-26           Family Dentist                                   8109 Cullen Blvd               Suite D                             Houston          77051
 1000055651     06-14-2017         10      10 DENTAL-8-20        Sweet Family Dentistry                           8301 Lakeview Pkwy             Suite 210                           Rowlett          75088
 1000055651     06-14-2017         10      10 DENTAL-8-20S       Sweet Family Dentistry                           8301 Lakeview Pkwy             Suite 210                           Rowlett          75088
 1000055651     06-14-2017          3       3 E03-13592          Sweet Family Dentistry                           8301 Lakeview Pkwy             Suite 210                           Rowlett          75088
 1000055651     06-14-2017         10      10 E08-12876          Sweet Family Dentistry                           8301 Lakeview Pkwy             Suite 210                           Rowlett          75088
 1000055651     06-14-2017         10      10 E08-12876A         Sweet Family Dentistry                           8301 Lakeview Pkwy             Suite 210                           Rowlett          75088


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Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                             Address1                    Address2                City         Zip
   Number                    Ordered Shipped
 1000055651     06-14-2017       100      100 E08-12877          Sweet Family Dentistry                     8301 Lakeview Pkwy            Suite 210                       Rowlett           75088
 1000055789     06-14-2017       200      200 1-182A             Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-322              Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-322A             Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-323_0312         Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-323A             Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-326              Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-327              Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       100      100 1-328              Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017         20      20 EPSDT-04           Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       200      200 EPSDT-05           Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       300      300 MTP-110            Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       300      300 MTP-210            Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       300      300 MTP-210S           Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       300      300 MTP-410            Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017       200      200 MTP-410            Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017          3       3 MTP-610            Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055789     06-14-2017          3       3 MTP-610S           Childrens Medical Center                   1320 Greenway Drive           Suite #1000                     Irving            75038
 1000055798     06-14-2017       100      100 DENTAL-8-17        Nelly Pelayo                               1023 South Main St                                            Duncanville       75137
 1000055798     06-14-2017          6       6 DENTAL-8-20        Nelly Pelayo                               1023 South Main St                                            Duncanville       75137
 1000055798     06-14-2017          6       6 DENTAL-8-20S       Nelly Pelayo                               1023 South Main St                                            Duncanville       75137
 1000055798     06-14-2017          6       6 EPSDT-10S          Nelly Pelayo                               1023 South Main St                                            Duncanville       75137
 1000055798     06-14-2017       100      100 EPSDT-26           Nelly Pelayo                               1023 South Main St                                            Duncanville       75137
 1000054785     06-22-2017       500      500 EPSDT-08           DFPS CPS                                   8700 North Stemmons Freeway   Suite 104                       Dallas            75247
 1000055046     06-22-2017         25      25 1-182              HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055046     06-22-2017         10      10 EPSDT-04           HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055046     06-22-2017         25      25 EPSDT-05           HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055046     06-22-2017         25      25 EPSDT-08           HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055046     06-22-2017         25      25 EPSDT-16           HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055046     06-22-2017         25      25 MTP-110            HHSC - Region 2/9                          035-1                         501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055067     06-26-2017       500      500 1-182              HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 DENTAL-8-17        HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017          7       7 EPSDT-04           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 EPSDT-05           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 EPSDT-05T          HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 EPSDT-08           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017          4       4 EPSDT-12           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017          4       4 EPSDT-12S          HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 EPSDT-16           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 EPSDT-26           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 MTP-110            HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017      1000     1000 MTP-210            HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017      1000     1000 MTP-210S           HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017       500      500 MTP-410            HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055067     06-26-2017          7       7 MTP-510            HHSC - Region 7                            234-1                         939 Industrial Blvd             Mexia             76667
 1000055070     06-22-2017      1000     1000 EPSDT-08           Aetna Better Health - Bexar                U-Haul Storage Unit           5420 Grissom Rd.                San Antonio       78238
 1000055083     06-22-2017       500      500 EPSDT-08           DFPS                                       3610 Vine Street              Region 2 & 9                    Abilene           79602
 1000055083     06-22-2017       300      300 MTP-210            DFPS                                       3610 Vine Street              Region 2 & 9                    Abilene           79602
 1000055086     06-22-2017         50      50 1-182              HHSC-Region 4                              305-3                         1400 College Street Suite 111   Sulphur Springs   75482
 1000055086     06-22-2017         50      50 DENTAL-8-17        HHSC-Region 4                              305-3                         1400 College Street Suite 111   Sulphur Springs   75482
 1000055086     06-22-2017         50      50 DENTAL-8-17        HHSC-Region 4                              305-3                         1400 College Street Suite 111   Sulphur Springs   75482
 1000055086     06-22-2017         50      50 EPSDT-05           HHSC-Region 4                              305-3                         1400 College Street Suite 111   Sulphur Springs   75482
 1000055086     06-22-2017         50      50 EPSDT-08           HHSC-Region 4                              305-3                         1400 College Street Suite 111   Sulphur Springs   75482
 1000055087     06-22-2017         10      10 05-14010           DFPS                                       801 North 13th Street         Suite 23                        Harlingen         78550
 1000055087     06-22-2017      3000     3000 EPSDT-08           DFPS                                       801 North 13th Street         Suite 23                        Harlingen         78550
 1000055088     06-22-2017       200      200 EPSDT-05           HHSC - Region 7                            MC 159-1                      103 Parkhill Dr                 Hamilton          76531
 1000055088     06-22-2017       200      200 EPSDT-08           HHSC - Region 7                            MC 159-1                      103 Parkhill Dr                 Hamilton          76531
 1000055088     06-22-2017       200      200 EPSDT-16           HHSC - Region 7                            MC 159-1                      103 Parkhill Dr                 Hamilton          76531


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                                                                       121845
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                  Agency/Provider                            Address1               Address2         City      Zip
   Number                    Ordered Shipped
 1000055088     06-22-2017       200      200 MTP-210            HHSC - Region 7                          MC 159-1                  103 Parkhill Dr        Hamilton       76531
 1000055088     06-22-2017       200      200 MTP-410            HHSC - Region 7                          MC 159-1                  103 Parkhill Dr        Hamilton       76531
 1000055092     06-22-2017       400      400 DENTAL-8-17        HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055092     06-22-2017       250      250 EPSDT-05           HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055092     06-22-2017         50      50 EPSDT-08           HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055092     06-22-2017       250      250 EPSDT-16           HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055092     06-22-2017       400      400 MTP-210            HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055092     06-22-2017       300      300 MTP-410            HHSC - Region 4                          185-1                     502 E. Pine St.        Jacksonville   75766
 1000055098     06-26-2017      1500     1500 1-182              HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       300      300 1-182A             HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       200      200 1-220              HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       200      200 1-221              HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017         50      50 1-338              HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017         50      50 1-338A             HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       500      500 DENTAL-8-17        HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      1500     1500 EPSDT-05           HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       300      300 EPSDT-05A          HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      1500     1500 EPSDT-05T          HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      1500     1500 EPSDT-08           HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       300      300 EPSDT-08A          HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      1500     1500 EPSDT-16           HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       300      300 EPSDT-16A          HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       500      500 EPSDT-16T          HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      3000     3000 MTP-110            HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017      1500     1500 MTP-210            HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       800      800 MTP-210S           HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055098     06-26-2017       500      500 MTP-410            HHSC - Region 6                          MC 174-3                  10060 Fuqua            Houston        77089
 1000055102     06-26-2017         25      25 05-12258           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       100      100 05-13572           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       100      100 05-13581           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 05-13598           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 05-13599           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         50      50 05-13684           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         10      10 05-13916           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         10      10 05-14010           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 1-323              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 1-323A             DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 1-326              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         50      50 1-327              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         20      20 1-334              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         50      50 1-335              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         50      50 1-336              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       100      100 1-337              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       200      200 1-342              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       200      200 1-343              DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         50      50 DENTAL-8-17        DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         10      10 DENTAL-8-20        DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         10      10 DENTAL-8-20S       DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         25      25 E08-12876          DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017         25      25 E08-12876A         DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       100      100 E08-12877          DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 EPSDT-04           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 EPSDT-05           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 EPSDT-05T          DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       150      150 EPSDT-16T          DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055102     06-26-2017       175      175 EPSDT-26           DSHS                                     MC 1902                   2408 S 37th            Temple         76504
 1000055130     06-22-2017       200      200 E08-12877          DSHS                                     1301 S Bowen Road         MC 1905 Ste 200        Arlington      76013
 1000055138     06-22-2017          9       9 EPSDT-04           HHSC - Region 10                         MC 053-1                  6621 Doniphan Dr       Canutillo      79835


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                                                                       121846
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                              Item                    Agency/Provider                              Address1                   Address2          City    Zip
   Number                    Ordered Shipped
 1000055138     06-22-2017       500      500 EPSDT-05           HHSC - Region 10                          MC 053-1                        6621 Doniphan Dr       Canutillo     79835
 1000055138     06-22-2017       500      500 EPSDT-08           HHSC - Region 10                          MC 053-1                        6621 Doniphan Dr       Canutillo     79835
 1000055154     06-26-2017       500      500 DENTAL-8-17        HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017          4       4 EPSDT-04           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       500      500 EPSDT-05           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       200      200 EPSDT-05T          HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       500      500 EPSDT-08           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       500      500 EPSDT-16           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       200      200 EPSDT-16T          HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       200      200 EPSDT-25           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       200      200 EPSDT-26           HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055154     06-26-2017       500      500 MTP-110            HHSC - Region 8                           MC 257-1                        1009 N. Oak            Pearsall      78061
 1000055156     06-22-2017       500      500 1-220              HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017       500      500 1-221              HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017         60      60 EPSDT-04           HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017       500      500 EPSDT-05           HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017       500      500 EPSDT-08           HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017       500      500 EPSDT-16           HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017       500      500 MTP-110            HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055156     06-22-2017         60      60 MTP-510            HHSC - Region 3                           MC 103-1                        3612 E McKinney        Denton        76209
 1000055166     06-26-2017         10      10 05-13916           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017         10      10 05-14010           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       100      100 08-13373           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 1-182              DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 1-220              DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 EPSDT-04           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 EPSDT-05           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 EPSDT-05T          DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 EPSDT-08           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017         10      10 EPSDT-10           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017         10      10 EPSDT-10S          DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017         10      10 EPSDT-12           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017         10      10 EPSDT-12S          DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 MTP-110            DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 MTP-210            DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 MTP-210S           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       300      300 MTP-410            DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017       100      100 MTP-510            DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017          3       3 MTP-610            DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055166     06-26-2017          3       3 MTP-610S           DSHS-THSteps                              401 East Franklin Suite 210     Mail Code: 1903        El Paso       79901
 1000055215     06-23-2017         25      25 EPSDT-04           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017       250      250 EPSDT-05           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017       250      250 EPSDT-08           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-10           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-10S          HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-12           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-12S          HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-13           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-13S          HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 EPSDT-15           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017       250      250 EPSDT-16           HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          2       2 MTP-310            HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055215     06-23-2017          8       8 MTP-510            HHSC - Region 5                           757-1                           680 San Antonio Road   Crockett      75835
 1000055265     06-26-2017          5       5 05-12258           BlueCross BlueShield of TX                9442 Capital of Texas Highway   Blding II Suite 500    Austin        78759
 1000055265     06-26-2017          5       5 05-13572           BlueCross BlueShield of TX                9442 Capital of Texas Highway   Blding II Suite 500    Austin        78759
 1000055265     06-26-2017       150      150 05-13599           BlueCross BlueShield of TX                9442 Capital of Texas Highway   Blding II Suite 500    Austin        78759
 1000055265     06-26-2017      3000     3000 1-182              BlueCross BlueShield of TX                9442 Capital of Texas Highway   Blding II Suite 500    Austin        78759
 1000055265     06-26-2017       200      200 1-182A             BlueCross BlueShield of TX                9442 Capital of Texas Highway   Blding II Suite 500    Austin        78759


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                                                                       121847
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Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                              Address1                              Address2         City        Zip
   Number                    Ordered Shipped
 1000055265     06-26-2017       100      100 1-335              BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      4000     4000 DENTAL-8-17        BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017         10      10 EPSDT-04           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      4000     4000 EPSDT-05           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017       200      200 EPSDT-05A          BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      4000     4000 EPSDT-05T          BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017       500      500 EPSDT-08           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017       100      100 EPSDT-08A          BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      4000     4000 EPSDT-16           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017       150      150 EPSDT-16A          BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      5000     5000 EPSDT-16T          BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017       500      500 EPSDT-25           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      5000     5000 EPSDT-26           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      1500     1500 MTP-210            BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      1500     1500 MTP-210S           BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055265     06-26-2017      3000     3000 MTP-410            BlueCross BlueShield of TX                9442 Capital of Texas Highway            Blding II Suite 500      Austin           78759
 1000055336     06-23-2017         10      10 05-13916           DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017         10      10 05-14010           DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       100      100 1-220              DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       100      100 1-221              DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       200      200 E08-12877          DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       200      200 EPSDT-04           DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       400      400 EPSDT-08           DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       400      400 MTP-110            DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       500      500 MTP-210            DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       500      500 MTP-410            DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055336     06-23-2017       200      200 MTP-510            DSHS                                      MC 1899                                  6302 Iola St             Lubbock          79424
 1000055471     06-22-2017      2000     2000 EPSDT-08           DFPS                                      4501 General Bruce Drive                                          Temple           76502
 1000055471     06-22-2017      2000     2000 EPSDT-08A          DFPS                                      4501 General Bruce Drive                                          Temple           76502
 1000055472     06-26-2017       500      500 DENTAL-8-17        HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017         10      10 EPSDT-04           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-05           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-05T          HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-08           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-16           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-16T          HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 EPSDT-26           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 MTP-110            HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 MTP-210            HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       250      250 MTP-210S           HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017       500      500 MTP-410            HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055472     06-26-2017         10      10 MTP-510            HHSC - Region 8                           MC 875-1                                 1607 E Common            New Braunfels    78130
 1000055485     06-22-2017       100      100 1-335              DSHS                                      MC 0734 Ste 427                          5155 Flynn Pkwy          Corpus Christi   78411
 1000055485     06-22-2017       100      100 1-336              DSHS                                      MC 0734 Ste 427                          5155 Flynn Pkwy          Corpus Christi   78411
 1000055485     06-22-2017         10      10 DENTAL-8-20        DSHS                                      MC 0734 Ste 427                          5155 Flynn Pkwy          Corpus Christi   78411
 1000055485     06-22-2017         10      10 DENTAL-8-20S       DSHS                                      MC 0734 Ste 427                          5155 Flynn Pkwy          Corpus Christi   78411
 1000055485     06-22-2017       300      300 EPSDT-16T          DSHS                                      MC 0734 Ste 427                          5155 Flynn Pkwy          Corpus Christi   78411
 1000055523     06-22-2017       500      500 EPSDT-25           Seton Health Plan                         4515 Seton Center Parkway Dr Suite 310                            Austin           78759
 1000055574     06-22-2017       200      200 EPSDT-05           HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055574     06-22-2017       200      200 EPSDT-08           HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055574     06-22-2017       200      200 EPSDT-16           HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055574     06-22-2017       200      200 MTP-210            HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055574     06-22-2017       200      200 MTP-210S           HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055574     06-22-2017       200      200 MTP-410            HHSC - Region 3                           129-4                                    7450 John T. White       Fort Worth       76120
 1000055597     06-22-2017       100      100 1-182              HHSC - Region 4                           3303 Mineola Hwy                                                  Tyler            75702
 1000055597     06-22-2017       100      100 EPSDT-05           HHSC - Region 4                           3303 Mineola Hwy                                                  Tyler            75702
 1000055597     06-22-2017       100      100 EPSDT-08           HHSC - Region 4                           3303 Mineola Hwy                                                  Tyler            75702
 1000055597     06-22-2017       100      100 EPSDT-16           HHSC - Region 4                           3303 Mineola Hwy                                                  Tyler            75702


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                Ship Date                               Item                    Agency/Provider                               Address1                                 Address2              City     Zip
   Number                    Ordered Shipped
 1000055597     06-22-2017       100      100 MTP-110            HHSC - Region 4                            3303 Mineola Hwy                                                           Tyler         75702
 1000055626     06-22-2017          7       7 EPSDT-04           HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017      1500     1500 EPSDT-05           HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017      1500     1500 EPSDT-08           HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017      1500     1500 EPSDT-16           HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017      1500     1500 MTP-210            HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017      1500     1500 MTP-210S           HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055626     06-22-2017          2       2 MTP-310            HHSC - Region 6                            384-1                                        123 Rosenberg 5th floor       Galveston     77550
 1000055647     06-26-2017       100      100 DENTAL-8-17        HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017         50      50 EPSDT-04           HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       300      300 EPSDT-05           HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       300      300 EPSDT-05T          HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       500      500 EPSDT-08           HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       500      500 EPSDT-16           HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       500      500 EPSDT-16T          HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       500      500 MTP-110            HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055647     06-26-2017       100      100 MTP-510            HHSC - Region 11                           160-4                                        801 N. 13th Street Suite 19   Harlingen     78552
 1000055819     06-22-2017         50      50 EPSDT-04           HHSC - Region 11                           MC 108-6                                     2520 N Closner                Edinburg      78541
 1000055819     06-22-2017      1000     1000 EPSDT-08           HHSC - Region 11                           MC 108-6                                     2520 N Closner                Edinburg      78541
 1000055819     06-22-2017      1000     1000 EPSDT-26           HHSC - Region 11                           MC 108-6                                     2520 N Closner                Edinburg      78541
 1000055855     06-27-2017          5       5 05-12258           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017       250      250 05-13598           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      1000     1000 05-13599           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      5000     5000 1-182              Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      4000     4000 1-322              Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      4000     4000 1-322A             Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      4000     4000 1-323              Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      4000     4000 1-323A             Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017       250      250 1-327              Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      8000     8000 DENTAL-8-17        Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      8000     8000 EPSDT-05           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      2000     2000 EPSDT-05A          Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017     12000   12000 EPSDT-05T           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      5000     5000 EPSDT-16           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      1000     1000 EPSDT-16A          Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      8000     8000 EPSDT-16T          Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      2000     2000 MTP-210            Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      2000     2000 MTP-210S           Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055855     06-27-2017      3000     3000 MTP-410            Molina Healthcare of Texas                 1660 N. Westridge Cricle                                                   Irving        75038
 1000055881     06-19-2017          2       2 05-13916           Tyler Family Circle of Care                928 North Glenwood                                                         Tyler         75702
 1000055881     06-19-2017          2       2 05-14010           Tyler Family Circle of Care                928 North Glenwood                                                         Tyler         75702
 1000055881     06-19-2017       100      100 1-182              Tyler Family Circle of Care                928 North Glenwood                                                         Tyler         75702
 1000055881     06-19-2017         25      25 1-182A             Tyler Family Circle of Care                928 North Glenwood                                                         Tyler         75702
 1000055896     06-19-2017       500      500 1-325              Pediatrix Medical Group                    5th Floor- The Family Place Hearing Screen   7600 Beechnut                 Houston       77074
 1000055901     06-22-2017       400      400 EPSDT-08           DFPS                                       MC 362-2                                     2525 Murworth                 Houston       77054
 1000055903     06-19-2017         10      10 08-13373           Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017      1000     1000 DENTAL-8-17        Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017          0       0 E03-13592          Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017         10      10 E03-13592          Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017      1000     1000 EPSDT-26           Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017      1000     1000 MTP-110            Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017      1000     1000 MTP-410            Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017          3       3 MTP-610            Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055903     06-19-2017          3       3 MTP-610S           Avion Dental                               1023 South Main St                                                         Duncanville   75137
 1000055904     06-19-2017       200      200 1-325              Sierra Providence Teen Ctr                 Ste 120                                      8899 Alameda                  El Paso       79907
 1000055904     06-19-2017       200      200 DENTAL-8-17        Sierra Providence Teen Ctr                 Ste 120                                      8899 Alameda                  El Paso       79907
 1000055904     06-19-2017       200      200 EPSDT-05           Sierra Providence Teen Ctr                 Ste 120                                      8899 Alameda                  El Paso       79907
 1000055907     06-22-2017       600      600 EPSDT-05           HHSC - Region 6                            818-5                                        2702 Cherrybrook Lane         Pasadena      77502


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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                              Address1                         Address2         City        Zip
   Number                    Ordered Shipped
 1000055907     06-22-2017       600      600 EPSDT-08           HHSC - Region 6                           818-5                               2702 Cherrybrook Lane    Pasadena         77502
 1000055907     06-22-2017       600      600 EPSDT-16           HHSC - Region 6                           818-5                               2702 Cherrybrook Lane    Pasadena         77502
 1000055911     06-19-2017         10      10 05-12258           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017       300      300 05-13684           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 05-13916           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 05-14010           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017       500      500 1-182              BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 1-182A             BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 E03-13634          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 E03-14572          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 E08-12876          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 E08-12876A         BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 EPSDT-04           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 EPSDT-08           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 EPSDT-08A          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         20      20 EPSDT-13           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         20      20 EPSDT-13S          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 EPSDT-15           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 EPSDT-15A          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 EPSDT-15S          BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         50      50 MTP-110            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         50      50 MTP-210            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 MTP-210S           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         25      25 MTP-310            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         50      50 MTP-410            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017         10      10 MTP-510            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017          3       3 MTP-610            BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055911     06-19-2017          3       3 MTP-610S           BC Collins Home Health Care               2612 Byfield                                                 Cedar Park       78613
 1000055937     06-19-2017      1000     1000 1-323              C/O Ears and Hearing                      6711 9th Street                                              Lubbock          79416
 1000055937     06-19-2017      1000     1000 1-325              C/O Ears and Hearing                      6711 9th Street                                              Lubbock          79416
 1000055938     06-23-2017          5       5 05-12258           Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017          5       5 05-13572           Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       100      100 05-13599           Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       100      100 1-182              Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       250      250 1-182              Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       100      100 1-221              Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       100      100 1-335              Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       500      500 EPSDT-08           Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       500      500 EPSDT-08A          Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017       500      500 EPSDT-25           Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055938     06-23-2017         40      40 MTP-510            Amerigroup Community Care                 Ste 400                             12500 San Pedro Ave      San Antonio      78216
 1000055983     06-22-2017       100      100 1-182              DFPS                                      801 North 13th St                                            Harlingen        78550
 1000055983     06-22-2017      3000     3000 EPSDT-08           DFPS                                      801 North 13th St                                            Harlingen        78550
 1000055983     06-22-2017       100      100 EPSDT-16           DFPS                                      801 North 13th St                                            Harlingen        78550
 1000055984     06-19-2017      1800     1800 1-325              Mednax                                    6200 Parker Rd                      4th floor Nursery        Plano            75093
 1000055986     06-22-2017      2000     2000 DENTAL-8-17        Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017      2000     2000 EPSDT-05           Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017       500      500 EPSDT-08           Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017       500      500 EPSDT-16           Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017      1000     1000 EPSDT-16T          Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017      1000     1000 EPSDT-26           Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055986     06-22-2017      5000     5000 MTP-110            Driscoll Health Plan                      615 N. Upper Broadway, Ste. 200-A                            Corpus Christi   78401
 1000055987     06-22-2017       200      200 1-182              HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051
 1000055987     06-22-2017       200      200 EPSDT-04           HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051
 1000055987     06-22-2017       200      200 EPSDT-05           HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051
 1000055987     06-22-2017       200      200 EPSDT-08           HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051
 1000055987     06-22-2017       200      200 EPSDT-16           HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051
 1000055987     06-22-2017       200      200 MTP-110            HHSC-TDD                                  801 S State Hwy 161                 MC 012-8                 Grand Prairie    75051


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                Ship Date                              Item                     Agency/Provider                               Address1                 Address2            City        Zip
   Number                    Ordered Shipped
 1000055987     06-22-2017       200      200 MTP-210            HHSC-TDD                                    801 S State Hwy 161          MC 012-8                   Grand Prairie    75051
 1000055987     06-22-2017       200      200 MTP-510_0812       HHSC-TDD                                    801 S State Hwy 161          MC 012-8                   Grand Prairie    75051
 1000055990     06-23-2017          5       5 05-12258           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017          5       5 05-13572           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017          5       5 05-13581           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017         50      50 05-13597           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       250      250 05-13598           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 05-13599           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 1-182              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 1-322              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 1-323              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 1-326              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       250      250 1-327              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       100      100 1-334              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       100      100 1-335              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       100      100 1-336              CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 EPSDT-16           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 EPSDT-16T          CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 EPSDT-25           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 EPSDT-26           CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 MTP-110            CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017          5       5 MTP-310            CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017       500      500 MTP-410            CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055990     06-23-2017         40      40 MTP-510            CHRISTUS Health Plan                        5129 Kostoryz Rd Unit C132   Uhaul Moving & Storage     Corpus Christi   78415
 1000055992     06-22-2017       100      100 1-182              HHSC - Region 4                             254-1                        330 E. Spring St Suite D   Palestine        75801
 1000055992     06-22-2017       100      100 EPSDT-05           HHSC - Region 4                             254-1                        330 E. Spring St Suite D   Palestine        75801
 1000055992     06-22-2017       100      100 MTP-110            HHSC - Region 4                             254-1                        330 E. Spring St Suite D   Palestine        75801
 1000055992     06-22-2017       100      100 MTP-410            HHSC - Region 4                             254-1                        330 E. Spring St Suite D   Palestine        75801
 1000056005     06-22-2017         40      40 EPSDT-04           RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056005     06-22-2017      8000     8000 EPSDT-05           RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056005     06-22-2017       500      500 EPSDT-08           RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056005     06-22-2017      8000     8000 MTP-110            RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056005     06-22-2017          5       5 MTP-310            RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056005     06-22-2017         40      40 MTP-510            RightCare -Scott & White Health             MS-A-4-144                   1206 West Campus Drive     Temple           76502
 1000056010     06-20-2017       500      500 1-182              HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       100      100 EPSDT-04           HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       500      500 EPSDT-05           HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       500      500 EPSDT-08           HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       500      500 EPSDT-16           HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       500      500 MTP-110            HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056010     06-20-2017       100      100 MTP-510_0812       HHSC                                        2220 Mall Circle             Mail Code: 128-3           Fort Worth       76116
 1000056011     06-21-2017       500      500 1-182              HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       100      100 EPSDT-04           HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       500      500 EPSDT-05           HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       500      500 EPSDT-08           HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       500      500 EPSDT-16           HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       500      500 MTP-110            HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056011     06-21-2017       100      100 MTP-510_0812       HHSC                                        4733 E. Lancaster Avenue     Mail Code: 128-5           Fort Worth       76103
 1000056012     06-23-2017       500      500 1-182              Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017      4000     4000 DENTAL-8-17        Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017      4000     4000 EPSDT-05           Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017       500      500 EPSDT-08           Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017       500      500 EPSDT-16           Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017       500      500 EPSDT-16T          Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017       500      500 EPSDT-25           Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017      8000     8000 MTP-110            Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017      3000     3000 MTP-210            Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741
 1000056012     06-23-2017       300      300 MTP-210S           Superior HealthPlan                         5900 East Ben White Blvd.                               Austin           78741


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Report Period                2017 Q4
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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                               Address1                 Address2             City        Zip
   Number                    Ordered Shipped
 1000056012     06-23-2017          5       5 MTP-310            Superior HealthPlan                         5900 East Ben White Blvd.                                Austin           78741
 1000056012     06-23-2017      3000     3000 MTP-410            Superior HealthPlan                         5900 East Ben White Blvd.                                Austin           78741
 1000056020     06-20-2017       100      100 1-323              Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056020     06-20-2017         25      25 1-323A             Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056020     06-20-2017         25      25 1-327              Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056020     06-20-2017       200      200 1-338              Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056020     06-20-2017         50      50 1-338A             Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056020     06-20-2017       200      200 DENTAL-8-17        Bonham Public Library                       305 E 5th Street                                         Bonham           75418
 1000056025     06-20-2017       200      200 DENTAL-8-17        CentroMed Southside Dental                  3750 Commercial Avenue                                   San Antonio      78221
 1000056025     06-20-2017          1       1 DENTAL-8-20        CentroMed Southside Dental                  3750 Commercial Avenue                                   San Antonio      78221
 1000056025     06-20-2017          1       1 DENTAL-8-20S       CentroMed Southside Dental                  3750 Commercial Avenue                                   San Antonio      78221
 1000056025     06-20-2017       200      200 E08-12877          CentroMed Southside Dental                  3750 Commercial Avenue                                   San Antonio      78221
 1000056025     06-20-2017       200      200 EPSDT-26           CentroMed Southside Dental                  3750 Commercial Avenue                                   San Antonio      78221
 1000056037     06-20-2017         10      10 05-13916           Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       100      100 1-221              Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       200      200 EPSDT-05T          Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       250      250 EPSDT-08           Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       250      250 EPSDT-08A          Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       200      200 EPSDT-16           Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       200      200 EPSDT-16A          Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056037     06-20-2017       200      200 EPSDT-16T          Childrens Medical Center                    1320 Greenway Drive         Suite #1000                  Irving           75038
 1000056047     06-20-2017       600      600 1-325              C/O Ears and Hearing                        122 Saddlebrook Dr.                                      San Antonio      78245
 1000056064     06-20-2017         75      75 DENTAL-8-17        WBCO                                        604 High Tech Dr                                         Georgetown       78626
 1000056064     06-20-2017         75      75 EPSDT-05           WBCO                                        604 High Tech Dr                                         Georgetown       78626
 1000056064     06-20-2017       100      100 EPSDT-08           WBCO                                        604 High Tech Dr                                         Georgetown       78626
 1000056064     06-20-2017         30      30 MTP-310            WBCO                                        604 High Tech Dr                                         Georgetown       78626
 1000056095     06-20-2017       800      800 1-325              Pediatrix Medical Group                     929 Gessner Rd              2nd Fl Nursery               Houston          77024
 1000056095     06-20-2017       300      300 1-327              Pediatrix Medical Group                     929 Gessner Rd              2nd Fl Nursery               Houston          77024
 1000056095     06-20-2017       300      300 1-328              Pediatrix Medical Group                     929 Gessner Rd              2nd Fl Nursery               Houston          77024
 1000056096     06-20-2017       600      600 1-325              Pediatrix Medical Group                     1635 N Loop W Fwy           4th Floor                    Houston          77008
 1000056096     06-20-2017       150      150 1-327              Pediatrix Medical Group                     1635 N Loop W Fwy           4th Floor                    Houston          77008
 1000056096     06-20-2017       100      100 1-328              Pediatrix Medical Group                     1635 N Loop W Fwy           4th Floor                    Houston          77008
 1000056096     06-20-2017       150      150 MTP-210            Pediatrix Medical Group                     1635 N Loop W Fwy           4th Floor                    Houston          77008
 1000056096     06-20-2017       150      150 MTP-210S           Pediatrix Medical Group                     1635 N Loop W Fwy           4th Floor                    Houston          77008
 1000056098     06-20-2017       400      400 1-325              Pediatrix Medical Group                     27800 Northwest Freeway     South Tower 5th Fl Nursery   Cypress          77433
 1000056098     06-20-2017       100      100 1-327              Pediatrix Medical Group                     27800 Northwest Freeway     South Tower 5th Fl Nursery   Cypress          77433
 1000056098     06-20-2017       100      100 1-328              Pediatrix Medical Group                     27800 Northwest Freeway     South Tower 5th Fl Nursery   Cypress          77433
 1000056098     06-20-2017       100      100 MTP-210            Pediatrix Medical Group                     27800 Northwest Freeway     South Tower 5th Fl Nursery   Cypress          77433
 1000056098     06-20-2017       100      100 MTP-210S           Pediatrix Medical Group                     27800 Northwest Freeway     South Tower 5th Fl Nursery   Cypress          77433
 1000056106     06-20-2017       100      100 1-182              Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017       100      100 DENTAL-8-17        Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017       100      100 EPSDT-05           Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017         10      10 EPSDT-05T          Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017       100      100 EPSDT-08           Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017       100      100 EPSDT-16           Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017         10      10 EPSDT-16T          Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017         10      10 EPSDT-26           Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056106     06-20-2017       120      120 MTP-110            Arrow Child & Family Ministries             524 E Lamar Blvd.           Ste. 320                     Arlington        76011
 1000056115     06-26-2017       100      100 1-182              HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       500      500 1-182A             HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017      1000     1000 1-220              HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       200      200 1-338              HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       200      200 1-338A             HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       200      200 DENTAL-8-17        HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017         50      50 EPSDT-04           HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       100      100 EPSDT-05A          HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       100      100 EPSDT-05T          HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415
 1000056115     06-26-2017       100      100 EPSDT-08           HHSC - Region 11                            073-5                       4410 Dillion Ln Suite 28     Corpus Christi   78415


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                                                                       121852
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Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                              Item                   Agency/Provider                                Address1                 Address2           City        Zip
   Number                    Ordered Shipped
 1000056115     06-26-2017       100      100 EPSDT-08A          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-10           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-10S          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-12           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-12S          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-13           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-13S          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-15           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-15A          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 EPSDT-15S          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017       500      500 EPSDT-16           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017      2000     2000 EPSDT-16A          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017       500      500 EPSDT-16T          HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017       500      500 EPSDT-25           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017      1000     1000 EPSDT-26           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017      3000     3000 MTP-110            HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017      3000     3000 MTP-210            HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017      3000     3000 MTP-210S           HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017          4       4 MTP-310            HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017       500      500 MTP-410            HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056115     06-26-2017         50      50 MTP-510            HHSC - Region 11                         073-5                         4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056118     06-20-2017         10      10 05-13916           Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017         10      10 05-14010           Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017       100      100 1-182              Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017       100      100 1-220              Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017       100      100 1-221              Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017         10      10 EPSDT-15           Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017         10      10 EPSDT-15A          Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056118     06-20-2017         10      10 EPSDT-15S          Exserted Service LLC                     6347 Austinville                                         Katy             77449
 1000056170     06-22-2017       250      250 1-182              HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017         50      50 EPSDT-04           HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017       250      250 EPSDT-05           HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017       250      250 EPSDT-08           HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017       250      250 EPSDT-16           HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017       250      250 MTP-110            HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056170     06-22-2017         10      10 MTP-510            HHSC - Region 5                          877-1                         2222 Gloria Dr.            Orange           77630
 1000056194     06-22-2017       100      100 EPSDT-05           Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       100      100 EPSDT-05T          Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       500      500 EPSDT-08           Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       100      100 EPSDT-16           Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       100      100 EPSDT-16T          Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       400      400 EPSDT-25           Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       500      500 MTP-110            Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       500      500 MTP-210            Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056194     06-22-2017       500      500 MTP-210S           Community Health Choice                  Ste 800                       2636 South Loop West       Houston          77054
 1000056346     06-26-2017       100      100 1-182              HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       500      500 1-182A             HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017      1000     1000 1-220              HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       200      200 1-338              HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       200      200 1-338A             HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       200      200 DENTAL-8-17        HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017         50      50 EPSDT-04           HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       100      100 EPSDT-05A          HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       100      100 EPSDT-05T          HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       100      100 EPSDT-08           HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017       100      100 EPSDT-08A          HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-10           HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-10S          HHSC - Region 11                         073-4                         5155 Flynn Parkway         Corpus Christi   78411


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Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                             Address1                 Address2         City        Zip
   Number                    Ordered Shipped
 1000056346     06-26-2017          4       4 EPSDT-12           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-12S          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-13           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-13S          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-15           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-15A          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 EPSDT-15S          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017       500      500 EPSDT-16           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017      2000     2000 EPSDT-16A          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017       500      500 EPSDT-16T          HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017       500      500 EPSDT-25           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017      1000     1000 EPSDT-26           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017      3000     3000 MTP-110            HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017      3000     3000 MTP-210            HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017      3000     3000 MTP-210S           HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017          4       4 MTP-310            HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017       500      500 MTP-410            HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056346     06-26-2017         50      50 MTP-510            HHSC - Region 11                          073-4                      5155 Flynn Parkway       Corpus Christi   78411
 1000056417     06-23-2017       400      400 1-325              Pediatrix Medical Group                   901 W Ben White Blvd       2nd floor Nursery        Austin           78704
 1000056469     06-23-2017         20      20 E03-13634          TTU                                       800 W 4th Street                                    Odessa           79761
 1000056469     06-23-2017         20      20 E03-14572          TTU                                       800 W 4th Street                                    Odessa           79761
 1000056506     06-23-2017      2100     2100 1-182              MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017       300      300 1-220              MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017       300      300 1-221              MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017      2100     2100 DENTAL-8-17        MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017      2100     2100 EPSDT-05           MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017      2100     2100 EPSDT-08           MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017      2100     2100 EPSDT-16           MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056506     06-23-2017      2100     2100 MTP-410            MAXIMUS Region 2                          4617 Hummingbird Cir                                Abilene          79606
 1000056507     06-26-2017       100      100 E03-13634          Childrens Medical Center                  1320 Greenway Drive        Suite #1000              Irving           75038
 1000056507     06-26-2017         50      50 E03-14572          Childrens Medical Center                  1320 Greenway Drive        Suite #1000              Irving           75038
 1000056507     06-26-2017       100      100 EPSDT-25           Childrens Medical Center                  1320 Greenway Drive        Suite #1000              Irving           75038
 1000056507     06-26-2017       100      100 MTP-210            Childrens Medical Center                  1320 Greenway Drive        Suite #1000              Irving           75038
 1000056507     06-26-2017       100      100 MTP-210S           Childrens Medical Center                  1320 Greenway Drive        Suite #1000              Irving           75038
 1000056729     06-26-2017       100      100 1-322              Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056729     06-26-2017         50      50 1-322A             Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056729     06-26-2017         25      25 1-323_0312         Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056729     06-26-2017         75      75 1-323_0312         Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056729     06-26-2017         50      50 1-323A             Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056729     06-26-2017       100      100 1-325              Hearing Screening Associates              13106Chimney Sweep Drive                            Houston          77041
 1000056730     06-26-2017       200      200 1-325              Mednax                                    411 N Belknap St           Nursery                  Stephenville     76401
 1000056730     06-26-2017         25      25 1-342              Mednax                                    411 N Belknap St           Nursery                  Stephenville     76401
 1000056731     06-26-2017       200      200 DENTAL-8-17        LSCC                                      2411 Williams Dr           Ste 111                  Georgetown       78628
 1000056731     06-26-2017       200      200 E08-12877          LSCC                                      2411 Williams Dr           Ste 111                  Georgetown       78628
 1000056767     06-26-2017         10      10 08-13373           Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017       200      200 DENTAL-8-17        Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 DENTAL-8-20        Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 DENTAL-8-20S       Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 E03-13591          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 E03-13592          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 E03-13593          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017          5       5 E03-13634          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 E08-12876          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 E08-12876A         Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017       200      200 E08-12877          Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 EPSDT-04           Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017       100      100 EPSDT-05           Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577
 1000056767     06-26-2017         10      10 EPSDT-10           Arcade Dental                             8001 South Jackson Rd      Suite 4                  Pharr            78577


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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                                     Address1                       Address2                    City        Zip
   Number                    Ordered Shipped
 1000056767     06-26-2017         10      10 EPSDT-10S          Arcade Dental                                     8001 South Jackson Rd              Suite 4                            Pharr            78577
 1000056767     06-26-2017       100      100 MTP-210            Arcade Dental                                     8001 South Jackson Rd              Suite 4                            Pharr            78577
 1000056767     06-26-2017       100      100 MTP-210S           Arcade Dental                                     8001 South Jackson Rd              Suite 4                            Pharr            78577
 1000056767     06-26-2017         20      20 MTP-310            Arcade Dental                                     8001 South Jackson Rd              Suite 4                            Pharr            78577
 1000056767     06-26-2017         10      10 MTP-510            Arcade Dental                                     8001 South Jackson Rd              Suite 4                            Pharr            78577
 1000056770     06-26-2017       500      500 1-182              HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017         10      10 EPSDT-04           HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017       500      500 EPSDT-05           HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017       500      500 EPSDT-08           HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017       500      500 EPSDT-16           HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017       500      500 MTP-110            HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056770     06-26-2017         10      10 MTP-510            HHSC                                              214 N Travis St                                                       Granbury         76048
 1000056977     06-29-2017         10      10 05-13572           Unique Kare Children Services                     1236 Rocky Road                                                       Uhland           78640
 1000056977     06-29-2017         75      75 1-182              Unique Kare Children Services                     1236 Rocky Road                                                       Uhland           78640
 1000056977     06-29-2017         25      25 1-323A             Unique Kare Children Services                     1236 Rocky Road                                                       Uhland           78640
 1000057023     06-29-2017       200      200 1-325              Pediatrix Medical Group                           3333 North Foster Maldonado Blvd                                      Eagle Pass       78852
 1000057025     06-29-2017       500      500 1-325              Pediatrix Med Group/Nursery                       100-A Alton Gloor Blvd             Attn Karen Rhodes/Hearing Screen   Brownsville      78526
 1000057043     06-29-2017       500      500 1-325              Pediatrix Med Grp/Post Partum                     1600 11th St                                                          Wichita Fals     76301
 1000057047     06-29-2017      1000     1000 1-323              C/O Ears and Hearing                              122 Saddlebrook Dr.                                                   San Antonio      78245
 1000057062     06-29-2017       200      200 DENTAL-8-17        Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          5       5 E03-13591          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          5       5 E03-13592          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          5       5 E03-13593          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          1       1 E08-12876          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          1       1 E08-12876A         Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017       200      200 E08-12877          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          2       2 EPSDT-10           Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          2       2 EPSDT-10S          Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017       200      200 EPSDT-26           Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017          2       2 MTP-310            Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057062     06-29-2017       200      200 MTP-410            Rio Grande Valley Childrens Dentistry             413 West Sam Houston                                                  Pharr            78577
 1000057150     07-03-2017       600      600 1-325_0317         C/O Ears and Hearing                              107 W. Foster Dr.                                                     Robinson         76706
 1000057153     07-03-2017      1000     1000 1-325_0317         PediatrixMedicalGroup                             7600 Fannin 4th Fl. E Nursery                                         Houston          77054
 1000057200     07-03-2017       600      600 1-325_0317         Pediatrix Medical Group                           919 E. 32nd ST                     3rd Floor Nursery-Hearing Screen   Austin           78705
 1000057214     07-10-2017       300      300 1-325_0317         Pediatrix Medical Group                           11212 State Highway 151            1st Floor Mother Baby Unit         San Antonio      78251
 1000057218     07-10-2017       200      200 1-325_0317         TRMC                                              2001 N Jefferson St                                                   Mt Pleasant      75455
 1000057220     07-10-2017      3000     3000 1-325_0317         Memorial Herman Hospital                          6411 Fannin                        H696                               Houston          77030
 1000057221     07-10-2017       300      300 1-325_0317         Edinburg Regional Medical Hosp                    1102 W Trenton Rd                                                     Edinburg         78539
 1000057273     07-10-2017      1000     1000 1-325_0317         Pediatrix Newborn Hearing                         5252 W University Drive            Suite 2.134                        Mckinney         75070
 1000057529     07-11-2017       400      400 1-325_0317         SPOHN South Hospital                              5950 Saratoga Blvd                 Newborn Nursery                    Corpus Christi   78414
 1000057530     07-11-2017       300      300 1-325_0317         Methodist Charton                                 3500 W Wheatland Rd                                                   Dallas           75237
 1000056776     07-03-2017       100      100 EPSDT-05           HHSC - Region 5                                   186-1                              928 Marvin Hancock Dr. Suite A     Jasper           75951
 1000056776     07-03-2017       100      100 EPSDT-08           HHSC - Region 5                                   186-1                              928 Marvin Hancock Dr. Suite A     Jasper           75951
 1000056776     07-03-2017       100      100 EPSDT-16           HHSC - Region 5                                   186-1                              928 Marvin Hancock Dr. Suite A     Jasper           75951
 1000056776     07-03-2017       100      100 MTP-110            HHSC - Region 5                                   186-1                              928 Marvin Hancock Dr. Suite A     Jasper           75951
 1000056950     07-03-2017       500      500 EPSDT-05           DFPS                                              MC 278-5                           3635 S E Military Dr               San Antonio      78223
 1000056950     07-03-2017       500      500 EPSDT-08           DFPS                                              MC 278-5                           3635 S E Military Dr               San Antonio      78223
 1000056950     07-03-2017          1       1 EPSDT-12           DFPS                                              MC 278-5                           3635 S E Military Dr               San Antonio      78223
 1000057070     07-03-2017         25      25 1-182              A World For Children                              5151 Flynn Parkway                 Ste.0511                           Corpus Christi   78405
 1000057070     07-03-2017         25      25 EPSDT-05           A World For Children                              5151 Flynn Parkway                 Ste.0511                           Corpus Christi   78405
 1000057070     07-03-2017         25      25 EPSDT-08           A World For Children                              5151 Flynn Parkway                 Ste.0511                           Corpus Christi   78405
 1000057070     07-03-2017         25      25 EPSDT-16           A World For Children                              5151 Flynn Parkway                 Ste.0511                           Corpus Christi   78405
 1000057070     07-03-2017         25      25 MTP-110            A World For Children                              5151 Flynn Parkway                 Ste.0511                           Corpus Christi   78405
 1000057101     07-05-2017          2       2 DENTAL-8-20        GLEN R GINTER INC                                 21830 KINGSLAND BLVD               SUITE #104                         KATY             77450
 1000057101     07-05-2017          2       2 DENTAL-8-20S       GLEN R GINTER INC                                 21830 KINGSLAND BLVD               SUITE #104                         KATY             77450
 1000057101     07-05-2017          1       1 E03-13592          GLEN R GINTER INC                                 21830 KINGSLAND BLVD               SUITE #104                         KATY             77450
 1000057101     07-05-2017         50      50 MTP-210            GLEN R GINTER INC                                 21830 KINGSLAND BLVD               SUITE #104                         KATY             77450
 1000057101     07-05-2017         50      50 MTP-210S           GLEN R GINTER INC                                 21830 KINGSLAND BLVD               SUITE #104                         KATY             77450


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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                                 Address1                       Address2          City        Zip
   Number                    Ordered Shipped
 1000057101     07-05-2017          1       1 MTP-610            GLEN R GINTER INC                             21830 KINGSLAND BLVD             SUITE #104                KATY             77450
 1000057101     07-05-2017          1       1 MTP-610S           GLEN R GINTER INC                             21830 KINGSLAND BLVD             SUITE #104                KATY             77450
 1000057106     07-03-2017       500      500 EPSDT-08           DFPS                                          MC 0138                          1200 East Copeland Road   Arlington        76011
 1000057109     07-03-2017       300      300 1-182              HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017          6       6 EPSDT-04           HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017       300      300 EPSDT-05           HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017       300      300 EPSDT-08           HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017       300      300 EPSDT-16           HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017       300      300 MTP-110            HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017       300      300 MTP-210            HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057109     07-03-2017          6       6 MTP-510            HHSC - Region 5                               834-1                            1215 Hwy 327 East         Silsbee          77656
 1000057110     07-03-2017         50      50 MTP-210            Pediatrix Medical Group                       Hearing Screening Room-Nursery   10655 Steepletop Dr       Houston          77065
 1000057110     07-03-2017         50      50 MTP-210S           Pediatrix Medical Group                       Hearing Screening Room-Nursery   10655 Steepletop Dr       Houston          77065
 1000057126     07-03-2017       200      200 E08-12877          Imagine Dental                                3507 Jaime Zapata Memorial Hwy   Suite 3                   Laredo           78043
 1000057149     07-03-2017       100      100 1-182              HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057149     07-03-2017       100      100 EPSDT-05           HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057149     07-03-2017       100      100 EPSDT-08           HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057149     07-03-2017       100      100 EPSDT-16           HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057149     07-03-2017       100      100 MTP-110            HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057149     07-03-2017       100      100 MTP-210            HHSC - Region 5                               930 N. Magnolia                                            Woodville        75951
 1000057220     07-10-2017         50      50 1-343              Memorial Herman Hospital                      6411 Fannin                      H696                      Houston          77030
 1000057222     07-10-2017          5       5 E08-12876          Pecan Dental                                  710 S Cage                       Suite A                   Pharr            78577
 1000057222     07-10-2017          5       5 E08-12876A         Pecan Dental                                  710 S Cage                       Suite A                   Pharr            78577
 1000057273     07-10-2017      1000     1000 1-323              Pediatrix Newborn Hearing                     5252 W University Drive          Suite 2.134               Mckinney         75070
 1000057273     07-10-2017         25      25 1-327              Pediatrix Newborn Hearing                     5252 W University Drive          Suite 2.134               Mckinney         75070
 1000057273     07-10-2017          1       1 1-336              Pediatrix Newborn Hearing                     5252 W University Drive          Suite 2.134               Mckinney         75070
 1000057273     07-10-2017          5       5 1-337              Pediatrix Newborn Hearing                     5252 W University Drive          Suite 2.134               Mckinney         75070
 1000057289     07-11-2017       800      800 EPSDT-05           DFPS                                          801 North 13th Street, Ste. 23                             Harlingen        78550
 1000057289     07-11-2017       500      500 EPSDT-08           DFPS                                          801 North 13th Street, Ste. 23                             Harlingen        78550
 1000057290     07-11-2017       800      800 EPSDT-05           DFPS                                          1060 MacIntosh                                             Brownsville      78520
 1000057290     07-11-2017       500      500 EPSDT-08           DFPS                                          1060 MacIntosh                                             Brownsville      78520
 1000057310     07-10-2017       200      200 DENTAL-8-17        Los Barrios Unidos Community Clnc             809 Singleton Blvd                                         Dallas           75212
 1000057310     07-10-2017       300      300 EPSDT-26           Los Barrios Unidos Community Clnc             809 Singleton Blvd                                         Dallas           75212
 1000057342     07-10-2017       100      100 1-182              American Legion Post 578                      7811 Greens Road                                           Humble           77396
 1000057342     07-10-2017         10      10 E03-13634          American Legion Post 578                      7811 Greens Road                                           Humble           77396
 1000057342     07-10-2017         10      10 E03-14572          American Legion Post 578                      7811 Greens Road                                           Humble           77396
 1000057342     07-10-2017         10      10 MTP-510            American Legion Post 578                      7811 Greens Road                                           Humble           77396
 1000057400     07-10-2017         10      10 05-13572           Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 1-182              Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 1-220              Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017       100      100 1-328              Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 DENTAL-8-17        Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         10      10 DENTAL-8-20        Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         10      10 DENTAL-8-20S       Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 EPSDT-05           Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 EPSDT-08           Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 MTP-110            Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 MTP-210            Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         75      75 MTP-210S           Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017         10      10 MTP-510            Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017          1       1 MTP-610            Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057400     07-10-2017          1       1 MTP-610S           Brazos Valley Community                       1604 Stacey St                                             Navasota         77868
 1000057529     07-11-2017       300      300 1-323              SPOHN South Hospital                          5950 Saratoga Blvd               Newborn Nursery           Corpus Christi   78414
 1000057529     07-11-2017       400      400 1-326              SPOHN South Hospital                          5950 Saratoga Blvd               Newborn Nursery           Corpus Christi   78414
 1000057529     07-11-2017       400      400 1-327              SPOHN South Hospital                          5950 Saratoga Blvd               Newborn Nursery           Corpus Christi   78414
 1000057530     07-11-2017       300      300 1-323              Methodist Charton                             3500 W Wheatland Rd                                        Dallas           75237
 1000057607     07-11-2017       500      500 1-182              DSHS Region 8 Tx Health                       7430 Louis Pasteur Drive                                   San Antonio      78229
 1000057607     07-11-2017       500      500 1-220              DSHS Region 8 Tx Health                       7430 Louis Pasteur Drive                                   San Antonio      78229


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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                                Address1                            Address2                      City       Zip
   Number                    Ordered Shipped
 1000057607     07-11-2017       500      500 1-221              DSHS Region 8 Tx Health                      7430 Louis Pasteur Drive                                                    San Antonio      78229
 1000057607     07-11-2017       200      200 MTP-110            DSHS Region 8 Tx Health                      7430 Louis Pasteur Drive                                                    San Antonio      78229
 1000057607     07-11-2017         50      50 MTP-510            DSHS Region 8 Tx Health                      7430 Louis Pasteur Drive                                                    San Antonio      78229
 1000057629     07-11-2017      1000     1000 1-325_0317         MAXIMUS                                      4000 S IH 35                                                                Austin           78704
 1000057676     07-14-2017         10      10 E03-14572          San Antonio Pediatric Assoc                  315 N San Saba #1075                                                        San Antonio      78207
 1000057692     07-14-2017         10      10 DENTAL-8-20        South Texas Dental                           6300 West Loop South                    Suite 650                           Bellaire         77401
 1000057692     07-14-2017         10      10 DENTAL-8-20S       South Texas Dental                           6300 West Loop South                    Suite 650                           Bellaire         77401
 1000057692     07-14-2017         10      10 E03-13591          South Texas Dental                           6300 West Loop South                    Suite 650                           Bellaire         77401
 1000057692     07-14-2017         10      10 E03-13592          South Texas Dental                           6300 West Loop South                    Suite 650                           Bellaire         77401
 1000057692     07-14-2017         10      10 E03-13593          South Texas Dental                           6300 West Loop South                    Suite 650                           Bellaire         77401
 1000057695     07-14-2017       400      400 1-325_0317         Pediatrix Med Group Newborn                  800 W Randoll Mill Road                 1st Floor                           Arlington        76012
 1000057711     07-14-2017         20      20 EPSDT-04           HHSC                                         1421 Little York                                                            Houston          77093
 1000057711     07-14-2017         25      25 EPSDT-05           HHSC                                         1421 Little York                                                            Houston          77093
 1000057711     07-14-2017         25      25 EPSDT-08           HHSC                                         1421 Little York                                                            Houston          77093
 1000057711     07-14-2017         25      25 EPSDT-16           HHSC                                         1421 Little York                                                            Houston          77093
 1000057711     07-14-2017         25      25 MTP-110            HHSC                                         1421 Little York                                                            Houston          77093
 1000057712     07-14-2017       200      200 MTP-110            Case MAnagement                              3000 N I35                                                                  Denton           76201
 1000057712     07-14-2017       200      200 MTP-210            Case MAnagement                              3000 N I35                                                                  Denton           76201
 1000057712     07-14-2017       200      200 MTP-210S           Case MAnagement                              3000 N I35                                                                  Denton           76201
 1000057713     07-14-2017       100      100 1-182              Circle of Care                               5333 Everhart Rd                        Ste 150-B                           Corpus Christi   78411
 1000057713     07-14-2017       100      100 EPSDT-08           Circle of Care                               5333 Everhart Rd                        Ste 150-B                           Corpus Christi   78411
 1000057713     07-14-2017         10      10 EPSDT-12           Circle of Care                               5333 Everhart Rd                        Ste 150-B                           Corpus Christi   78411
 1000057713     07-14-2017         10      10 EPSDT-13           Circle of Care                               5333 Everhart Rd                        Ste 150-B                           Corpus Christi   78411
 1000057715     07-14-2017         25      25 DENTAL-8-17        Accesshealth                                 10435 Greenbough Drive                  #300                                Stafford         77477
 1000057715     07-14-2017         25      25 E08-12877          Accesshealth                                 10435 Greenbough Drive                  #300                                Stafford         77477
 1000057715     07-14-2017         25      25 EPSDT-26           Accesshealth                                 10435 Greenbough Drive                  #300                                Stafford         77477
 1000057734     07-14-2017       500      500 1-325_0317         Pediatrix Hearing Screen Dept                2831 E. President George Bush Highway   Suite PostPartum/Hearing Screen     Richardson       75082
 1000057735     07-14-2017       500      500 1-325_0317         PediatrixHearingScreen                       6800 Scenic Dr                          Suite 2ndFL Maternity/HearingScreen Rowlett          75088
 1000057736     07-14-2017       500      500 1-325_0317         Pediatrix Hearing Screen                     9440 Poppy Dr                           5th Floor; PostPartum/HearingScreen Dallas           75218
 1000057738     07-14-2017       600      600 1-325_0317         C/O Ears and Hearing                         1916 Country Brook                                                          Weatherford      76086
 1000057740     07-17-2017      1000     1000 1-182              HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057740     07-17-2017         50      50 EPSDT-04           HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057740     07-17-2017      1000     1000 EPSDT-05           HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057740     07-17-2017      1000     1000 EPSDT-08           HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057740     07-17-2017      1000     1000 EPSDT-16           HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057740     07-17-2017       100      100 MTP-510            HHSC-Region 2/9                              250-3                                   3016 Kermit Hwy                     Odessa           79764
 1000057790     07-17-2017         20      20 E03-13634          TTU                                          800 W 4th Street                                                            Odessa           79761
 1000057790     07-17-2017         20      20 E03-14572          TTU                                          800 W 4th Street                                                            Odessa           79761
 1000057830     07-19-2017         20      20 E03-13634          Upbring Foster In Texas                      6300 Ridglea Place                      Suite 100                           Fort Worth       76116
 1000057856     07-19-2017       100      100 1-323              Lbj General Hospital                         5656 Kelly St                                                               Houston          77026
 1000057856     07-19-2017       100      100 1-323A             Lbj General Hospital                         5656 Kelly St                                                               Houston          77026
 1000057856     07-19-2017       200      200 1-325_0317         Lbj General Hospital                         5656 Kelly St                                                               Houston          77026
 1000057868     07-19-2017          2       2 E03-13591          Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017          2       2 E03-13592          Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017          2       2 E03-13593          Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 E08-12877          Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 EPSDT-08           Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 EPSDT-08A          Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 MTP-110            Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 MTP-210            Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 MTP-210S           Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017          3       3 MTP-310            Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017         25      25 MTP-410            Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017          1       1 MTP-610            Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057868     07-19-2017          1       1 MTP-610S           Galveston County Health District             9850 C Emmett F Lowry Expy              St C103                             Texas City       77591
 1000057869     07-19-2017       200      200 DENTAL-8-17        Medico M.D.                                  1200 W. Walnut Hill Lane                Suite 3950                          Irving           75038
 1000057869     07-19-2017         10      10 DENTAL-8-20        Medico M.D.                                  1200 W. Walnut Hill Lane                Suite 3950                          Irving           75038
 1000057869     07-19-2017         10      10 DENTAL-8-20S       Medico M.D.                                  1200 W. Walnut Hill Lane                Suite 3950                          Irving           75038


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Report ID                    EB 513
                                                                       121857
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                                   Address1                 Address2         City          Zip
   Number                    Ordered Shipped
 1000057869     07-19-2017         10      10 E03-13591          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 E03-13592          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 E03-13593          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017       200      200 E08-12877          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017       200      200 EPSDT-05           Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 EPSDT-10           Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 EPSDT-10S          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 EPSDT-13           Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057869     07-19-2017         10      10 EPSDT-13S          Medico M.D.                                   1200 W. Walnut Hill Lane     Suite 3950               Irving             75038
 1000057875     07-19-2017       800      800 1-325_0317         Med Ctr Arlington                             Nursery 3rd Floor            3301 Matlock Rd          Arlington          76015
 1000057876     07-19-2017       300      300 1-325_0317         Medical City las Colinas                      6800 N. Macarthur Blvd       3rd floor nursery        Irving             75039
 1000057883     07-19-2017       250      250 1-182              DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057883     07-19-2017       250      250 1-220              DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057883     07-19-2017       250      250 1-221              DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057883     07-19-2017       200      200 MTP-210            DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057883     07-19-2017         50      50 MTP-210S           DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057883     07-19-2017       250      250 MTP-410            DSHS                                          324 Yapaco                                            Gilmer             75644
 1000057948     07-20-2017      1000     1000 1-325_0317         BSA Hospital                                  1600 Wallace Blvd                                     Amarillo           79106
 1000057948     07-20-2017      1000     1000 1-327              BSA Hospital                                  1600 Wallace Blvd                                     Amarillo           79106
 1000057950     07-20-2017         75      75 1-182              Benchmark Family Services                     4506 Corona Drive                                     Corpus Christi     78411
 1000057950     07-20-2017         75      75 EPSDT-05           Benchmark Family Services                     4506 Corona Drive                                     Corpus Christi     78411
 1000057950     07-20-2017         75      75 EPSDT-05T          Benchmark Family Services                     4506 Corona Drive                                     Corpus Christi     78411
 1000057950     07-20-2017         75      75 EPSDT-16           Benchmark Family Services                     4506 Corona Drive                                     Corpus Christi     78411
 1000057952     07-20-2017         25      25 05-13597           HeartStrings Midwifery                        2239 Whistler Creek Drive    #1030                    Fort Worth         76177
 1000057952     07-20-2017         25      25 1-323              HeartStrings Midwifery                        2239 Whistler Creek Drive    #1030                    Fort Worth         76177
 1000057952     07-20-2017         25      25 1-325_0317         HeartStrings Midwifery                        2239 Whistler Creek Drive    #1030                    Fort Worth         76177
 1000057953     07-20-2017       400      400 1-323A             Guadalupe Regional Medical Center             Women's Services             1215 E. Court St.        Seguin             78155
 1000057953     07-20-2017       400      400 1-325_0317         Guadalupe Regional Medical Center             Women's Services             1215 E. Court St.        Seguin             78155
 1000057990     07-20-2017       300      300 1-325_0317         Edinburg Regional Med Hosp                    1102 West Trenton Rd         Newborn Nursery          Edinburg           78539
 1000058011     07-20-2017      1000     1000 1-325_0317         Pediatrix Medical Group                       22999 Highway 59North                                 Kingwood           77339
 1000058027     07-20-2017       500      500 1-323              Univ of Texas Medical Branch                  301 Univ Blvd                                         Galveston        77555-0523
 1000058102     07-20-2017       100      100 EPSDT-08           HHSC                                          2306 Leary Lane                                       Victoria           77901
 1000058102     07-20-2017       100      100 EPSDT-16           HHSC                                          2306 Leary Lane                                       Victoria           77901
 1000058141     07-24-2017         50      50 1-182              DSHS                                          4601 South 1st St            Suite L                  Abilene            79605
 1000058141     07-24-2017       100      100 1-220              DSHS                                          4601 South 1st St            Suite L                  Abilene            79605
 1000058141     07-24-2017       100      100 1-221              DSHS                                          4601 South 1st St            Suite L                  Abilene            79605
 1000058141     07-24-2017         50      50 MTP-110            DSHS                                          4601 South 1st St            Suite L                  Abilene            79605
 1000058141     07-24-2017          1       1 MTP-610            DSHS                                          4601 South 1st St            Suite L                  Abilene            79605
 1000058143     07-24-2017         50      50 1-182              High Sky Childrens Ranch                      3136 Executive Dr                                     San Angelo         76904
 1000058143     07-24-2017         50      50 EPSDT-05           High Sky Childrens Ranch                      3136 Executive Dr                                     San Angelo         76904
 1000058143     07-24-2017         50      50 EPSDT-08           High Sky Childrens Ranch                      3136 Executive Dr                                     San Angelo         76904
 1000058143     07-24-2017         50      50 MTP-110            High Sky Childrens Ranch                      3136 Executive Dr                                     San Angelo         76904
 1000058157     07-24-2017       100      100 1-182              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017       100      100 1-220              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017       100      100 1-221              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-322              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-322A             DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-323              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-323A             DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-325_0317         DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 1-326              DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058157     07-24-2017         25      25 E08-12877          DSHS                                          1014 N. Jefferson                                     Mount Pleasant     75455
 1000058158     07-21-2017      1000     1000 MTP-110            HHSC Region 2/9                               3016 Kermit Hwy                                       Odessa             79763
 1000058165     07-24-2017       500      500 1-182              DSHS                                          2521 West Front Street                                Tyler              75702
 1000058253     07-24-2017         10      10 08-13373           Community Pediatric Group                     2001 9th Ave                 Ste 102                  Port Arthur        77642
 1000058253     07-24-2017          2       2 E03-13591          Community Pediatric Group                     2001 9th Ave                 Ste 102                  Port Arthur        77642
 1000058253     07-24-2017          2       2 E03-13592          Community Pediatric Group                     2001 9th Ave                 Ste 102                  Port Arthur        77642
 1000058253     07-24-2017          2       2 E03-13593          Community Pediatric Group                     2001 9th Ave                 Ste 102                  Port Arthur        77642


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Report ID                    EB 513
                                                                       121858
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                   Agency/Provider                               Address1                Address2                 City     Zip
   Number                    Ordered Shipped
 1000058253     07-24-2017         10      10 E08-12876          Community Pediatric Group                 2001 9th Ave                 Ste 102                         Port Arthur   77642
 1000058253     07-24-2017         10      10 E08-12876A         Community Pediatric Group                 2001 9th Ave                 Ste 102                         Port Arthur   77642
 1000058253     07-24-2017       200      200 E08-12877          Community Pediatric Group                 2001 9th Ave                 Ste 102                         Port Arthur   77642
 1000058255     07-24-2017       400      400 DENTAL-8-17        Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017       200      200 E08-12877          Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017       400      400 EPSDT-16           Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017       400      400 EPSDT-16T          Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017       400      400 EPSDT-26           Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017          1       1 MTP-610            Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058255     07-24-2017          1       1 MTP-610S           Angel Magic Smiles                        2520 E Main St               Ste 204                         Alice         78332
 1000058256     07-21-2017       500      500 EPSDT-08           Community First Health Plans              12238 Silicon Dr             Suite 100                       San Antonio   78249
 1000058256     07-21-2017      8000     8000 MTP-110            Community First Health Plans              12238 Silicon Dr             Suite 100                       San Antonio   78249
 1000058256     07-21-2017      1000     1000 MTP-210            Community First Health Plans              12238 Silicon Dr             Suite 100                       San Antonio   78249
 1000058256     07-21-2017      1000     1000 MTP-210S           Community First Health Plans              12238 Silicon Dr             Suite 100                       San Antonio   78249
 1000058257     07-24-2017          4       4 05-12258           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          4       4 05-13572           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 05-13598           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 05-13599           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 1-328_0312         Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          4       4 1-335              Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          6       6 EPSDT-04           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 EPSDT-05           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 EPSDT-08           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          2       2 EPSDT-12           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          2       2 EPSDT-12S          Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          2       2 EPSDT-13           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017          2       2 EPSDT-13S          Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058257     07-24-2017         25      25 EPSDT-16           Family Medicine Center                    801 McClintic Dr                                             Groesbeck     76642
 1000058261     07-24-2017          5       5 08-13373           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         25      25 DENTAL-8-17        Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          4       4 DENTAL-8-20        Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          4       4 DENTAL-8-20S       Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          5       5 E03-13591          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         10      10 E03-13592          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         10      10 E03-13593          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          5       5 E08-12876A         Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017       200      200 E08-12877          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         25      25 EPSDT-05           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017      1000     1000 EPSDT-05T          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         25      25 EPSDT-08           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          5       5 EPSDT-10           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017          5       5 EPSDT-10S          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         10      10 EPSDT-12           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         10      10 EPSDT-12S          Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         25      25 EPSDT-16           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017       500      500 EPSDT-26           Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017         20      20 MTP-310            Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058261     07-24-2017      1000     1000 MTP-410            Sea SmilesDental                          10936 North Freeway          Suite A                         Houston       77037
 1000058460     07-24-2017       500      500 1-325_0317         Christus St Michael Hospital              2600 St Michael Drive        2nd Floor, Labor and Delivery   Texarkana     75503
 1000058461     07-24-2017       600      600 1-323              C/O Ears and Hearing                      2100 S. Mayhill Rd.                                          Denton        75028
 1000058466     07-24-2017       100      100 MTP-510_0812       HHSC                                      3016 Kermit Hwy.             Mail Code: 250-3                Odessa        79764
 1000058467     07-24-2017       600      600 1-182              HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017         80      80 EPSDT-04           HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017       600      600 EPSDT-05           HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017       600      600 EPSDT-08           HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017       600      600 EPSDT-16           HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017       600      600 MTP-110            HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664
 1000058467     07-24-2017         80      80 MTP-510_0812       HHSC                                      1101 E. Old Settlers Blvd    Mail Code: 367-5                Round Rock    78664


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Report ID                    EB 513
                                                                       121859
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      THSteps




MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                  Agency/Provider                                Address1                 Address2         City        Zip
   Number                    Ordered Shipped
 1000058468     07-24-2017       600      600 1-182              HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       100      100 EPSDT-04           HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       600      600 EPSDT-05           HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       600      600 EPSDT-08           HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       600      600 EPSDT-16           HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       600      600 MTP-110            HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058468     07-24-2017       100      100 MTP-510_0812       HHSC                                      801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie   75051
 1000058469     07-24-2017       500      500 1-182              HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017         60      60 EPSDT-04           HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017       500      500 EPSDT-05           HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017       500      500 EPSDT-08           HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017       500      500 EPSDT-16           HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017       500      500 MTP-110            HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058469     07-24-2017         60      60 MTP-510_0812       HHSC                                      801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie   75051
 1000058502     07-25-2017      2000     2000 1-325_0317         HENDRICK MEDICAL CENTER                   1900 PINE ST                                           ABILENE         79601
 1000058504     07-25-2017         50      50 DENTAL-8-17        SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         50      50 E08-12877          SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         10      10 EPSDT-04           SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         50      50 EPSDT-05           SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         25      25 EPSDT-05T          SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         50      50 EPSDT-08           SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         50      50 EPSDT-16           SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058504     07-25-2017         50      50 MTP-110            SAN ANTONIO FOSTER CARE                   3201 CHERRY RIDGE ST         BLDG A                    SAN ANTONIO     78230
 1000058524     07-27-2017       200      200 05-12258           McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017          2       2 05-13572           McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       200      200 1-322              McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       200      200 1-322A             McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       500      500 1-323              McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       500      500 1-323A             McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       500      500 1-325_0317         McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       104      104 1-328_0312         McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       396      396 1-328_0312         McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017          2       2 1-336              McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       200      200 1-342              McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058524     07-27-2017       200      200 MTP-410            McAllen Medical Center                    301 W. Expressway 83         C/O Newborn Nursery       McAllen         78503
 1000058531     07-27-2017       100      100 1-323              Hearing Screening Assoc                   29502 Legends Bluff Drive                              Spring          77386
 1000058531     07-27-2017         50      50 1-323A             Hearing Screening Assoc                   29502 Legends Bluff Drive                              Spring          77386
 1000058531     07-27-2017       100      100 1-325_0317         Hearing Screening Assoc                   29502 Legends Bluff Drive                              Spring          77386
 1000058532     07-27-2017      1000     1000 1-325_0317         Pediatrix Medical Group                   111 Dallas St                3rd floor Nursery         San Antonio     78205
 1000058534     07-27-2017       100      100 1-323              E Caceres MD                              4236 North Mccoll            Ste B                     McAllen         78504
 1000058534     07-27-2017       100      100 1-323A             E Caceres MD                              4236 North Mccoll            Ste B                     McAllen         78504
 1000058535     07-27-2017         25      25 DENTAL-8-17        JPS Health                                2807 Layton Ave                                        Fort Worth      76117
 1000058535     07-27-2017         10      10 E03-13634          JPS Health                                2807 Layton Ave                                        Fort Worth      76117
 1000058561     07-26-2017      1500     1500 1-325_0317         C/O Ears and Hearing                      14510 Dawn LN                                          Tyler           75709
 1000058562     07-26-2017       200      200 05-13599           TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058562     07-26-2017       100      100 1-327              TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058562     07-26-2017       100      100 1-337              TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058562     07-26-2017         50      50 1-338              TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058562     07-26-2017         50      50 1-338A             TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058562     07-26-2017       100      100 1-343              TX DSHS (TEHDI Program)                   1100 West 49th Street        Moreton Bldg- 2nd Floor   Austin          78701
 1000058602     07-26-2017       200      200 DENTAL-8-17        Allen Gall                                2710 Mangum                                            Houston         77092
 1000058602     07-26-2017       200      200 EPSDT-26           Allen Gall                                2710 Mangum                                            Houston         77092
 1000058610     07-26-2017       700      700 1-325_0317         HEARING SCREEN NURSERY                    10864 TEXAS HEALTH TRAIL                               FORT WORTH      76244
 1000058611     07-26-2017      1000     1000 1-325_0317         PEDIATRIX HEARING SCREEN NURSERY          1650 WEST COLLEGE STREET                               GRAPEVINE       76051
 1000058613     07-26-2017      1000     1000 1-325_0317         PEDIATRIX HEARING SCREEN WOMENS           3000 I-35 N                                            DENTON          76209
                                                                 CENTER
  1000058630    07-26-2017        500     500 1-322A             Houston Methodist Hospital San Jacinto    4401 Garth Road              Nursey                    Baytown         77521
  1000058630    07-26-2017        500     500 1-323              Houston Methodist Hospital San Jacinto    4401 Garth Road              Nursey                    Baytown         77521


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MAXIMUS Order                  Qty.    Qty.
                Ship Date                               Item                  Agency/Provider                              Address1                       Address2         City      Zip
   Number                    Ordered Shipped
 1000058630     07-26-2017       500      500 1-325_0317         Houston Methodist Hospital San Jacinto    4401 Garth Road                  Nursey                   Baytown        77521
 1000058632     07-26-2017       500      500 1-323              C/O Ears and Hearing                      2000 S. Palestine St.            2nd Fl OB Unit           Athens         75751
 1000058635     07-26-2017       100      100 E03-13634          Texas Tech Physicians                     3601 4th St                      Stop 9901                Lubbock        79430
 1000058635     07-26-2017       100      100 E03-14572          Texas Tech Physicians                     3601 4th St                      Stop 9901                Lubbock        79430
 1000058660     07-27-2017         25      25 05-12258           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         10      10 05-13916           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         10      10 05-14010           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 1-182              EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 1-322              EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 1-325_0317         EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 1-335              EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 1-336              EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         10      10 DENTAL-8-17        EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         25      25 E03-13634          EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 EPSDT-05           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         40      40 EPSDT-10           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 EPSDT-16           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         25      25 EPSDT-26           EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058660     07-27-2017         50      50 MTP-110            EmberHope Inc                             3201 Cherry Ridge                C-304                    San Antonio    78230
 1000058810     07-27-2017      1500     1500 1-182              DSHS                                      2521 West Front Street                                    Tyler          75702
 1000058851     07-27-2017       500      500 MTP-210            DSHS                                      2521 West Front Street                                    Tyler          75702
 1000058851     07-27-2017       200      200 MTP-210S           DSHS                                      2521 West Front Street                                    Tyler          75702
 1000058851     07-27-2017      1000     1000 MTP-410            DSHS                                      2521 West Front Street                                    Tyler          75702
 1000058854     07-28-2017         50      50 DENTAL-8-17        CARINGHANDS PEDIATRICS                    8777B SOUTH GESSNER DRIVE                                 HOUSTON        77074
 1000058854     07-28-2017         50      50 E08-12877          CARINGHANDS PEDIATRICS                    8777B SOUTH GESSNER DRIVE                                 HOUSTON        77074
 1000058869     07-28-2017         50      50 1-342              Hewitt Public Library                     200 Patriot Court B                                       Hewitt         76643
 1000058869     07-28-2017         50      50 DENTAL-8-17        Hewitt Public Library                     200 Patriot Court B                                       Hewitt         76643
 1000058869     07-28-2017         50      50 MTP-110            Hewitt Public Library                     200 Patriot Court B                                       Hewitt         76643
 1000058931     07-31-2017          5       5 05-12258           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 05-13572           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 05-13581           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 08-13373           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017         50      50 1-323              CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017         50      50 1-323A             CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017         50      50 1-325_0317         CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 DENTAL-8-20        CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 DENTAL-8-20S       CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 E03-13634          CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 E08-12876          CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 E08-12876A         CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 EPSDT-08           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 EPSDT-08A          CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 EPSDT-10           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          5       5 EPSDT-10S          CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          1       1 MTP-610            CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058931     07-31-2017          1       1 MTP-610S           CLINICA FAMILIAR SAN JOSE                 8030 N FM 1015                   SUITE B                  MERCEDES       78570
 1000058932     07-31-2017         25      25 1-323              Upbring Foster in Texas                   3606 N Navarro Street            Suite D                  Victoria       77901
 1000058932     07-31-2017         25      25 1-327              Upbring Foster in Texas                   3606 N Navarro Street            Suite D                  Victoria       77901
 1000058932     07-31-2017         25      25 E03-13634          Upbring Foster in Texas                   3606 N Navarro Street            Suite D                  Victoria       77901
 1000058932     07-31-2017         25      25 E03-14572          Upbring Foster in Texas                   3606 N Navarro Street            Suite D                  Victoria       77901
 1000058937     07-31-2017       200      200 E08-12877          Imagine Dental                            3507 Jaime Zapata Memorial Hwy   Suite 3                  Laredo         78043
 1000058959     07-31-2017       100      100 1-325_0317         ST. MARKS MEDICAL CENTER                  1 ST. MARKS PLACE                                         LA GRANGE      78945
 1000058985      8/1/2017        500      500 1-325              C/O Ears and Hearing                      5528 Evening Star Ct                                      Tolar          76476
 1000058992      8/1/2017       1200     1200 1-325              C/O Ears and Hearing                      3008 Moving Water LN                                      Pflugerville   78660
 1000059115      8/3/2017       1500     1500 1-325              Pediatrix Medical Group/Hearing Screen    7600 Fannin                      4th Fl. East Nursery     Houston        77054
 1000059123      8/3/2017       1000     1000 1-325              C/O Ears and Hearing                      12 N. Schroeder Ave                                       San Angelo     76905
 1000059162      8/3/2017        500      500 1-325              PEDIATRIX HEARING SCREEN NURSERY          1105 CENTRAL EXPWY N                                      ALLEN          75013
 1000059164      8/3/2017        700      700 1-325              PEDIATRIX HEARING SCREEN NURSERY          5601 WARREN PKWY                                          FRISCO         75034


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MAXIMUS Order                 Qty.    Qty.
                Ship Date                              Item                   Agency/Provider                              Address1                Address2         City       Zip
   Number                   Ordered Shipped
 1000058985      8/1/2017       500      500 1-323              C/O Ears and Hearing                       5528 Evening Star Ct                               Tolar           76476
 1000058986      8/1/2017       600      600 1-323              C/O Ears and Hearing                       107 W. Foster Dr.                                  Robinson        76706
 1000058992      8/1/2017       200      200 1-322              C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000058992      8/1/2017       200      200 1-322A             C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000058992      8/1/2017       700      700 1-323              C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000058992      8/1/2017       500      500 1-323A             C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000058992      8/1/2017          1       1 MTP-610            C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000058992      8/1/2017          1       1 MTP-610S           C/O Ears and Hearing                       3008 Moving Water LN                               Pflugerville    78660
 1000059123      8/3/2017      1000     1000 1-323              C/O Ears and Hearing                       12 N. Schroeder Ave                                San Angelo      76905
 1000059151      8/3/2017       150      150 1-182              Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 DENTAL-8-17        Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       200      200 E03-13634          Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 EPSDT-05           Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 EPSDT-08           Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 EPSDT-16           Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 MTP-110            Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 MTP-210            Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059151      8/3/2017       150      150 MTP-210S           Lori Allen                                 629 Farley St                                      Waxahachie      75165
 1000059223      8/4/2017       200      200 E03-13634          DSHS                                       6302 Iola Ave                                      Lubbock         79424
 1000059223      8/4/2017       200      200 E03-14572          DSHS                                       6302 Iola Ave                                      Lubbock         79424
 1000059225      8/4/2017       400      400 1-323A             Bayshore Medical Center                    4000 Spencer Hwy           2nd Floor               Pasadena        77504
 1000059225      8/4/2017       400      400 1-325              Bayshore Medical Center                    4000 Spencer Hwy           2nd Floor               Pasadena        77504
 1000059225     8/15/2017       200      200 1-323              Bayshore Medical Center                    4000 Spencer Hwy           2nd Floor               Pasadena        77504
 1000059252      8/4/2017       700      700 1-182              HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       100      100 EPSDT-04           HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       700      700 EPSDT-05           HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       700      700 EPSDT-08           HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       700      700 EPSDT-16           HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       700      700 MTP-110            HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059252      8/4/2017       100      100 MTP-510_0812       HHSC                                       440 South Nursery Rd       Ste 200                 Irving          75060
 1000059253      8/4/2017       850      850 1-182              HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       150      150 EPSDT-04           HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       850      850 EPSDT-05           HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       850      850 EPSDT-08           HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       850      850 EPSDT-16           HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       850      850 MTP-110            HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059253      8/4/2017       150      150 MTP-510_0812       HHSC                                       1540 New York Avenue       Mail Code: 012-6        Arlington       76010
 1000059254      8/4/2017       250      250 1-182              HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017         40      40 EPSDT-04           HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017       250      250 EPSDT-05           HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017       250      250 EPSDT-08           HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017       250      250 EPSDT-16           HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017       250      250 MTP-110            HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059254      8/4/2017         40      40 MTP-510_0812       HHSC                                       3910 Gaston Avenue         Ste 200                 Dallas          75246
 1000059314      8/8/2017         50      50 1-327              Pediatrix Hearing Screen                   7600 Fannin                4th FL; E Nursery       Houston         77054
 1000059314      8/8/2017         50      50 1-328              Pediatrix Hearing Screen                   7600 Fannin                4th FL; E Nursery       Houston         77054
 1000059314      8/8/2017         50      50 1-342              Pediatrix Hearing Screen                   7600 Fannin                4th FL; E Nursery       Houston         77054
 1000059314     8/15/2017         50      50 1-323              Pediatrix Hearing Screen                   7600 Fannin                4th FL; E Nursery       Houston         77054
 1000059349      8/8/2017       100      100 1-182              Safe Haven Community Services              14405 Walters Road         Ste 950                 Houston         77014
 1000059349      8/8/2017       100      100 EPSDT-05           Safe Haven Community Services              14405 Walters Road         Ste 950                 Houston         77014
 1000059349      8/8/2017       100      100 EPSDT-08           Safe Haven Community Services              14405 Walters Road         Ste 950                 Houston         77014
 1000059349      8/8/2017       100      100 EPSDT-16           Safe Haven Community Services              14405 Walters Road         Ste 950                 Houston         77014
 1000059349      8/8/2017       100      100 MTP-410            Safe Haven Community Services              14405 Walters Road         Ste 950                 Houston         77014
 1000059361      8/8/2017       200      200 DENTAL-8-17        Children 1St Dental & Surg Ctr             Ste 400                    3055 W Bardin Rd        Grand Prairie   75052
 1000059361      8/8/2017       200      200 E08-12877          Children 1St Dental & Surg Ctr             Ste 400                    3055 W Bardin Rd        Grand Prairie   75052
 1000059362      8/8/2017       200      200 DENTAL-8-17        Childen !st Dental & Surg Ctr              2690 North Galloway                                Mesquite        75150
 1000059362      8/8/2017       200      200 E08-12877          Childen !st Dental & Surg Ctr              2690 North Galloway                                Mesquite        75150
 1000059415      8/8/2017       300      300 1-325              Lbj General Hospital                       5656 Kelly St                                      Houston         77026


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MAXIMUS Order                 Qty.    Qty.
                Ship Date                              Item                    Agency/Provider                                Address1                          Address2               City     Zip
   Number                   Ordered Shipped
 1000059621     8/10/2017         50      50 1-325              Medical Center Hospital                     500 W. 4th Street, 4h Floor Nursery   Hearing Screeners in Women &   Odessa        79761
                                                                                                                                                  Infants Newborn Nursery
  1000059662    8/10/2017        300     300   1-325            C/O Ears and Hearing                        1901 Durham Ave                                                      Brownwood     76801
  1000059662    8/15/2017        300     300   1-323            C/O Ears and Hearing                        1901 Durham Ave                                                      Brownwood     76801
  1000059814    8/15/2017        500     500   1-325            MEDNAX                                      1600 Hospital Pkwy                    Nursery                        Bedford       76022
  1000059844    8/15/2017        401     401   05-13684         DSHS                                        5425 Polk St                          Suite 460 J                    Houston       77023
  1000059844    8/15/2017         10      10   05-13916         DSHS                                        5425 Polk St                          Suite 460 J                    Houston       77023
  1000059844    8/15/2017        300     300   1-182            DSHS                                        5425 Polk St                          Suite 460 J                    Houston       77023
  1000060031    8/15/2017         75      75   1-182            Circle of Living Hope                       4560 Cypress Creek Parkway            #104                           Houston       77069
  1000060031    8/15/2017         75      75   EPSDT-05         Circle of Living Hope                       4560 Cypress Creek Parkway            #104                           Houston       77069
  1000060031    8/15/2017         75      75   EPSDT-08         Circle of Living Hope                       4560 Cypress Creek Parkway            #104                           Houston       77069
  1000060031    8/15/2017         75      75   EPSDT-16         Circle of Living Hope                       4560 Cypress Creek Parkway            #104                           Houston       77069
  1000060045    8/15/2017          5       5   05-13916         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017         25      25   EPSDT-05         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017         25      25   EPSDT-05A        Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017        100     100   EPSDT-08         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          1       1   EPSDT-10         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          1       1   EPSDT-10S        Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          1       1   EPSDT-12         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          1       1   EPSDT-12S        Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017        100     100   MTP-110          Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          2       2   MTP-310          Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000060045    8/15/2017          1       1   MTP-610S         Antonio Figueroa MD                         1740 Boca Chica Blvd                  Suite 100                      Brownsville   78521
  1000058408    8/17/2017        500     500   EPSDT-08         Community First                             12238 Silicon Drive                   Suite 100                      San Antonio   78249
  1000058808    8/17/2017         50      50   1-182            Maximus Region 10                           8734 Plains Drive                                                    El Paso       79907
  1000058808    8/17/2017         50      50   EPSDT-05         Maximus Region 10                           8734 Plains Drive                                                    El Paso       79907
  1000058808    8/17/2017         50      50   EPSDT-05T        Maximus Region 10                           8734 Plains Drive                                                    El Paso       79907
  1000058808    8/17/2017        100     100   MTP-110          Maximus Region 10                           8734 Plains Drive                                                    El Paso       79907
  1000058808    8/17/2017         50      50   MTP-410          Maximus Region 10                           8734 Plains Drive                                                    El Paso       79907
  1000058812    8/17/2017        200     200   EPSDT-05         HHSC                                        11307 Roszell                         STE 1300                       San Antonio   78217
  1000058812    8/17/2017        200     200   EPSDT-08         HHSC                                        11307 Roszell                         STE 1300                       San Antonio   78217
  1000058812    8/17/2017        200     200   EPSDT-16         HHSC                                        11307 Roszell                         STE 1300                       San Antonio   78217
  1000058849    8/17/2017         75      75   1-182            Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   DENTAL-8-17      Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   EPSDT-05         Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   EPSDT-05T        Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   EPSDT-08         Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   EPSDT-16         Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         75      75   EPSDT-16T        Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058849    8/17/2017         50      50   MTP-110          Maximus Reg 11                              208 San Saba                                                         Portland      78374
  1000058956    8/21/2017       5000    5000   1-182            Maximus Region 7                            4000 South IH 35                                                     Austin        78704
  1000058956    8/21/2017          6       6   DENTAL-8-20      Maximus Region 7                            4000 South IH 35                                                     Austin        78704
  1000058956    8/21/2017       5000    5000   EPSDT-05         Maximus Region 7                            4000 South IH 35                                                     Austin        78704
  1000058956    8/21/2017       5000    5000   EPSDT-08         Maximus Region 7                            4000 South IH 35                                                     Austin        78704
  1000058956    8/21/2017       5000    5000   MTP-410          Maximus Region 7                            4000 South IH 35                                                     Austin        78704
  1000058978    8/18/2017        500     500   1-182            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        500     500   1-220            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        500     500   1-221            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017         25      25   1-334            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017         25      25   1-335            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017         25      25   1-336            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        100     100   1-337            DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        500     500   EPSDT-08         DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        500     500   MTP-110          DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017          0       0   MTP-110          DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017        500     500   MTP-210          DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017          0       0   MTP-210          DSHS                                        1750 N Eastman RD                                                    Longview      75601
  1000058978    8/18/2017          0       0   MTP-210S         DSHS                                        1750 N Eastman RD                                                    Longview      75601


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                                                                      121863
Report Name                 THSteps Materials Shipment Report
Report Period               2017 Q4
Program                     THSteps




MAXIMUS Order                 Qty.    Qty.
                Ship Date                             Item                   Agency/Provider                             Address1                 Address2           City       Zip
   Number                   Ordered Shipped
 1000058978     8/18/2017       500     500 MTP-210S            DSHS                                     1750 N Eastman RD                                     Longview        75601
 1000058978     8/18/2017         50      50 MTP-510            DSHS                                     1750 N Eastman RD                                     Longview        75601
 1000058978     8/18/2017          0       0 MTP-510            DSHS                                     1750 N Eastman RD                                     Longview        75601
 1000059072     8/17/2017         20      20 MTP-310            Maximus Reg 9                            518 S Sage                                            Odessa          79766
 1000059088     8/22/2017       100     100 1-182               HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 1-220               HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 1-221               HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 1-338               HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 1-338A              HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 DENTAL-8-17         HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-04            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-05            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-05T           HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-08            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-16            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-16T           HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 EPSDT-26            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       500     500 MTP-110             HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 MTP-210             HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       100     100 MTP-210S            HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059088     8/22/2017       500     500 MTP-410             HHSC - Region 6                          270-7                       117 Lane Drive Suite 50   Rosenberg       77471
 1000059121     8/17/2017       100     100 1-182               Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017         50      50 1-220              Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017         50      50 1-221              Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 DENTAL-8-17         Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 EPSDT-05            Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 EPSDT-05T           Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 EPSDT-16            Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 EPSDT-16T           Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059121     8/17/2017       100     100 EPSDT-26            Maximus Region 1                         2107 76th St                                          Lubbock         79423
 1000059163     8/17/2017       150     150 1-182               HHSC - Region 8                          MC 084-1                    1616 Veterans Ave         Crystal City    78839
 1000059163     8/17/2017         25      25 EPSDT-04           HHSC - Region 8                          MC 084-1                    1616 Veterans Ave         Crystal City    78839
 1000059163     8/17/2017       150     150 EPSDT-08            HHSC - Region 8                          MC 084-1                    1616 Veterans Ave         Crystal City    78839
 1000059163     8/17/2017       100     100 EPSDT-16            HHSC - Region 8                          MC 084-1                    1616 Veterans Ave         Crystal City    78839
 1000059163     8/17/2017         25      25 MTP-510            HHSC - Region 8                          MC 084-1                    1616 Veterans Ave         Crystal City    78839
 1000059206     8/17/2017       200     200 1-182               DSHS                                     1460 NW 19 Street                                     Paris           75460
 1000059206     8/17/2017       100     100 1-220               DSHS                                     1460 NW 19 Street                                     Paris           75460
 1000059206     8/17/2017       100     100 1-221               DSHS                                     1460 NW 19 Street                                     Paris           75460
 1000059214     8/17/2017          3       3 DENTAL-8-20        Maximus Region 3                         5628-A SW Green Oaks Blvd                             Arlington       76017
 1000059214     8/17/2017          3       3 DENTAL-8-20S       Maximus Region 3                         5628-A SW Green Oaks Blvd                             Arlington       76017
 1000059215     8/17/2017       500     500 1-182               HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059215     8/17/2017       500     500 DENTAL-8-17         HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059215     8/17/2017       500     500 EPSDT-05            HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059215     8/17/2017       500     500 EPSDT-08            HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059215     8/17/2017       500     500 EPSDT-16            HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059215     8/17/2017       500     500 MTP-110             HHSC - Region 8                          MC 875-1                    1607 E Common             New Braunfels   78130
 1000059255     8/17/2017       200     200 1-182               Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 1-220              Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 1-221              Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017       100     100 EPSDT-05            Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017       100     100 EPSDT-05T           Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017       100     100 EPSDT-16            Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 EPSDT-16T          Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 EPSDT-26           Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 MTP-110            Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059255     8/17/2017         50      50 MTP-410            Maximus Region 2                         134 Sherwood Lane                                     Clyde           79510
 1000059276     8/18/2017       150     150 1-182               Maximus Region 2                         4401 Hatchery Road                                    San Angelo      76903
 1000059276     8/18/2017       150     150 1-220               Maximus Region 2                         4401 Hatchery Road                                    San Angelo      76903


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Report Name                 THSteps Materials Shipment Report
Report Period               2017 Q4
Program                     THSteps




MAXIMUS Order                 Qty.    Qty.
                Ship Date                              Item                  Agency/Provider                             Address1               Address2         City    Zip
   Number                   Ordered Shipped
 1000059276     8/18/2017       150      150 1-221              Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         50      50 DENTAL-8-17        Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017          1       1 DENTAL-8-20        Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017          1       1 DENTAL-8-20S       Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 EPSDT-05           Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 EPSDT-05T          Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 EPSDT-08           Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         10      10 EPSDT-10S          Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         10      10 EPSDT-12           Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         15      15 EPSDT-15S          Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 EPSDT-16           Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 EPSDT-16T          Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         15      15 MTP-110            Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 MTP-210            Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017         15      15 MTP-310            Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059276     8/18/2017       150      150 MTP-410            Maximus Region 2                         4401 Hatchery Road                                San Angelo   76903
 1000059307     8/17/2017       100      100 EPSDT-16           HHSC - Region 8                          MC 294-1                   314 S. Saunders        Seguin       78155
 1000059417     8/17/2017         50      50 1-182              Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 DENTAL-8-17        Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017          1       1 DENTAL-8-20        Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 EPSDT-05           Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 EPSDT-05T          Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 EPSDT-16           Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 EPSDT-16T          Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 MTP-110            Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059417     8/17/2017         50      50 MTP-410            Maximus Reg 6                            857 County Road 4495                              Hillister    77624
 1000059606     8/21/2017          1       1 05-13916           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          1       1 05-14010           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 1-182              Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 1-220              Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 1-221              Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 DENTAL-8-17        Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 DENTAL-8-20        Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 DENTAL-8-20S       Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 E03-13591          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 E03-13592          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 E03-13593          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 E08-12876          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          2       2 E08-12876A         Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-10           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-10S          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-12           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-12S          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-13           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-13S          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-15           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-15S          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-16           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017          5       5 EPSDT-16A          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 EPSDT-16T          Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017       100      100 EPSDT-26           Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059606     8/21/2017         50      50 MTP-410            Maximus Region 1                         906 S Birmingham                                  Amarillo     79104
 1000059608     8/18/2017          5       5 05-13916           Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605
 1000059608     8/18/2017         10      10 05-14010           Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605
 1000059608     8/18/2017      5000     5000 1-182              Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605
 1000059608     8/18/2017       500      500 1-220              Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605
 1000059608     8/18/2017       500      500 1-221              Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605
 1000059608     8/18/2017      5000     5000 DENTAL-8-17        Maximus Region 2                         4601 South 1st St          Suite A                Abilene      79605


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Report Period               2017 Q4
Program                     THSteps




MAXIMUS Order                 Qty.    Qty.
                Ship Date                              Item                  Agency/Provider                             Address1               Address2        City    Zip
   Number                   Ordered Shipped
 1000059608     8/18/2017         20      20 DENTAL-8-20        Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         20      20 DENTAL-8-20S       Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 E08-12877          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017      5000     5000 EPSDT-05           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017       500      500 EPSDT-05T          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017      5000     5000 EPSDT-08           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-10           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-10S          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-12           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-12S          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-13           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-13S          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-15           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 EPSDT-15S          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017      5000     5000 EPSDT-16           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017       500      500 EPSDT-16T          Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017       500      500 EPSDT-25           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017       500      500 EPSDT-26           Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 MTP-310            Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017      5000     5000 MTP-410            Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059608     8/18/2017         10      10 MTP-510            Maximus Region 2                         4601 South 1st St          Suite A                Abilene     79605
 1000059619     8/17/2017         50      50 MTP-110            Maximus Region 6                         165 CR 2094                                       Liberty     77575
 1000059620     8/17/2017       100      100 1-182              MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 DENTAL-8-17        MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 E08-12877          MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 EPSDT-05           MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 EPSDT-08           MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 EPSDT-16           MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059620     8/17/2017       100      100 MTP-110            MAXIMUS                                  502 BAXTER STREET                                 GARWOOD     77442
 1000059679     8/17/2017       500      500 1-182              Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059679     8/17/2017       500      500 1-220              Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059679     8/17/2017       500      500 1-221              Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059679     8/17/2017       500      500 EPSDT-08           Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059679     8/17/2017       200      200 EPSDT-16T          Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059679     8/17/2017       500      500 MTP-410            Maximus Reg 1                            1914 South 5th Street                             Tahoka      79373
 1000059778     8/18/2017          1       1 05-13916           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 08-13373           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       200      200 1-182              Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       200      200 DENTAL-8-17        Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          5       5 DENTAL-8-20        Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017         10      10 E08-12877          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          5       5 EPSDT-04           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       200      200 EPSDT-08           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-10           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-10S          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-12           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-12S          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-13           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-13S          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-15           Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          2       2 EPSDT-15S          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       200      200 EPSDT-16T          Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       200      200 MTP-110            Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017       100      100 MTP-210            Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059778     8/18/2017          6       6 MTP-310            Maximus Reg 2                            7667 FM 2606                                      Henrietta   76365
 1000059783     8/17/2017         25      25 EPSDT-05T          HHSC - Region 11                         239-3                      4015 North Conway      Mission     78574
 1000059783     8/17/2017         25      25 MTP-410            HHSC - Region 11                         239-3                      4015 North Conway      Mission     78574
 1000059815     8/22/2017      7800     7800 1-182              Maximus Region 6                         650 N Sam Houston Pkwy E                          Houston     77060


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                Ship Date                             Item                   Agency/Provider                              Address1     Address2         City      Zip
   Number                   Ordered Shipped
 1000059815     8/22/2017         21      21 DENTAL-8-20        Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         10      10 DENTAL-8-20S       Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017      1750     1750 EPSDT-05T          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017      7500     7500 EPSDT-08           Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         42      42 EPSDT-10           Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017          4       4 EPSDT-10S          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         30      30 EPSDT-12           Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017          4       4 EPSDT-12S          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         41      41 EPSDT-13           Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017          4       4 EPSDT-13S          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         36      36 EPSDT-15           Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017          4       4 EPSDT-15S          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017      1750     1750 EPSDT-16T          Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017     12250   12250 MTP-110             Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059815     8/22/2017         47      47 MTP-310            Maximus Region 6                         650 N Sam Houston Pkwy E                 Houston        77060
 1000059818     8/17/2017       200      200 1-182              Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       200      200 DENTAL-8-17        Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       100      100 EPSDT-04           Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       500      500 EPSDT-05T          Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       200      200 EPSDT-08           Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       200      200 EPSDT-16           Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       200      200 EPSDT-16T          Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017      1000     1000 EPSDT-26           Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       200      200 MTP-210            Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059818     8/17/2017       100      100 MTP-410            Maximus Region 11                        1925 E Iowa Road                         Edinburg       78542
 1000059819     8/17/2017       200      200 1-182              Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 DENTAL-8-17        Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-05           Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-05T          Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-08           Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-16           Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-16T          Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 EPSDT-26           Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059819     8/17/2017       200      200 MTP-410            Maximus Region 8                         690 Musquiz Road                         Crystal City   78839
 1000059820     8/18/2017       100      100 1-182              Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 DENTAL-8-17        Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017          1       1 DENTAL-8-20        Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017          1       1 DENTAL-8-20S       Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-05           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-05T          Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-08           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-16           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-16T          Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 EPSDT-26           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 MTP-210            Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017       100      100 MTP-210S           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017          1       1 MTP-610            Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059820     8/18/2017          1       1 MTP-610S           Maximus Reg 8                            2927 Tehuacan Drive                      Eagle Pass     78852
 1000059835     8/17/2017       150      150 MTP-410            Maximus Reg 8                            402 Strawberry Blonde Drive              Buda           78610
 1000059836     8/18/2017      1000     1000 EPSDT-08           Maximus Region 8                         11711 IH-N 35 Suite 160                  San Antonio    78233
 1000059836     8/18/2017         30      30 MTP-310            Maximus Region 8                         11711 IH-N 35 Suite 160                  San Antonio    78233
 1000059836     8/18/2017      2000     2000 MTP-410            Maximus Region 8                         11711 IH-N 35 Suite 160                  San Antonio    78233
 1000059837     8/18/2017         50      50 1-182              Maximus Reg 8                            315 Trainer Street                       Blanco         78606
 1000059837     8/18/2017         50      50 DENTAL-8-17        Maximus Reg 8                            315 Trainer Street                       Blanco         78606
 1000059837     8/18/2017         50      50 DENTAL-8-17        Maximus Reg 8                            315 Trainer Street                       Blanco         78606
 1000059837     8/18/2017         50      50 EPSDT-05           Maximus Reg 8                            315 Trainer Street                       Blanco         78606
 1000059837     8/18/2017         50      50 EPSDT-05           Maximus Reg 8                            315 Trainer Street                       Blanco         78606
 1000059837     8/18/2017         50      50 EPSDT-05T          Maximus Reg 8                            315 Trainer Street                       Blanco         78606


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                Ship Date                              Item                   Agency/Provider                               Address1                Address2         City     Zip
   Number                   Ordered Shipped
 1000059837     8/18/2017         50      50 EPSDT-05T          Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059837     8/18/2017         50      50 EPSDT-08           Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059837     8/18/2017         50      50 EPSDT-16           Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059837     8/18/2017         50      50 EPSDT-16T          Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059837     8/18/2017         50      50 EPSDT-26           Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059837     8/18/2017         50      50 MTP-110            Maximus Reg 8                             315 Trainer Street                                   Blanco        78606
 1000059844     8/21/2017         99      99 05-13684           DSHS                                      5425 Polk St                 Suite 460 J             Houston       77023
 1000059870     8/16/2017      1056     1056 1-325              Pediatrix Medical Group                   7700 floyd curl              2nd floor mother/baby   san antonio   78229
 1000059870     8/16/2017      1444     1444 1-325              Pediatrix Medical Group                   7700 floyd curl              2nd floor mother/baby   san antonio   78229
 1000059873     8/17/2017       100      100 1-182              Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017         50      50 1-220              Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017         50      50 1-221              Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017       100      100 DENTAL-8-17        Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017       200      200 EPSDT-05           Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017       200      200 EPSDT-05T          Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017       200      200 EPSDT-08           Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017       100      100 EPSDT-16           Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059873     8/17/2017         50      50 MTP-110            Maximus Region 1                          110 Vernon                                           Lubbock       79415
 1000059887     8/17/2017       300      300 1-182              Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 DENTAL-8-17        Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-05           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-05T          Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-08           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017          0       0 EPSDT-15           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017          2       2 EPSDT-15           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-16           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-16T          Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 EPSDT-26           Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059887     8/17/2017       250      250 MTP-410            Maximus Reg 8                             188 Dandelion Trail                                  San Marcos    78666
 1000059888     8/16/2017       500      500 1-325              Pediatrix Medical Group                   1600 Wallace Blvd            NICU 3rd floor          Amarillo      79106
 1000059890     8/16/2017       600      600 1-325              C/O Ears and Hearing                      4631 Procter Street                                  Port Arthur   77642
 1000060002     8/17/2017         50      50 1-220              Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017         50      50 1-221              Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017         50      50 1-338              Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017         50      50 DENTAL-8-17        Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017         50      50 EPSDT-05           Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017          5       5 EPSDT-15           Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017          5       5 EPSDT-15S          Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017       100      100 MTP-210            Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060002     8/17/2017       100      100 MTP-410            Maximus Reg 9                             4325 Hatchery Road                                   San Angelo    76903
 1000060210     8/16/2017       200      200 1-182              DSHS                                      6302 Iola                                            Lubbock       79424
 1000060231     8/17/2017       300      300 1-322              Edinburg Regional Med Hosp                1102 West Trenton Rd                                 Edinburg      78539
 1000060231     8/17/2017       300      300 1-322A             Edinburg Regional Med Hosp                1102 West Trenton Rd                                 Edinburg      78539
 1000060233     8/22/2017      1000     1000 1-325              Medical City Dallas                       Pediatrix Medical Group      7777 Forest Lane        Dallas        75230
 1000060252     8/17/2017         50      50 E03-13634          Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060252     8/17/2017       100      100 EPSDT-16           Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060252     8/17/2017       100      100 EPSDT-25           Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060252     8/17/2017         25      25 MTP-310            Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060252     8/17/2017       200      200 MTP-410            Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060252     8/17/2017         10      10 MTP-510            Childrens Medical Center                  1320 Greenway Drive          Suite #1000             Irving        75038
 1000060257     8/18/2017         32      32 DENTAL-8-20        Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         32      32 DENTAL-8-20S       Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-10           Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-10S          Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-12           Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-12S          Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-13           Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542
 1000060257     8/18/2017         40      40 EPSDT-13S          Maximus Region 11                         1925 E Iowa Road                                     Edinburg      78542


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                Ship Date                              Item                   Agency/Provider                              Address1                Address2           City     Zip
   Number                   Ordered Shipped
 1000060257     8/18/2017         20      20 EPSDT-15           Maximus Region 11                         1925 E Iowa Road                                      Edinburg      78542
 1000060257     8/18/2017         20      20 EPSDT-15S          Maximus Region 11                         1925 E Iowa Road                                      Edinburg      78542
 1000060257     8/18/2017         20      20 MTP-310            Maximus Region 11                         1925 E Iowa Road                                      Edinburg      78542
 1000060270     8/17/2017       144      144 1-325              Pediatrix Medical Group                   1901 N MacArthur Blvd       2nd floor Mom Baby Unit   Irving        75061
 1000060270     8/22/2017       256      256 1-325              Pediatrix Medical Group                   1901 N MacArthur Blvd       2nd floor Mom Baby Unit   Irving        75061
 1000060274     8/17/2017          5       5 05-13916           Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060274     8/17/2017          5       5 05-14010           Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060274     8/17/2017         25      25 1-328              Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060274     8/17/2017         10      10 DENTAL-8-20        Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060274     8/17/2017         25      25 MTP-110            Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060274     8/17/2017         25      25 MTP-210            Upbring Foster in Texas                   3606 N Navarro Street       Suite D                   Victoria      77901
 1000060390     8/18/2017      1000     1000 DENTAL-8-17        Houston Health Department                 8000 North Stadium Drive                              Houston       77054
 1000060390     8/18/2017       700      700 EPSDT-16           Houston Health Department                 8000 North Stadium Drive                              Houston       77054
 1000060390     8/18/2017      1000     1000 EPSDT-26           Houston Health Department                 8000 North Stadium Drive                              Houston       77054
 1000060411     8/21/2017       300      300 1-342              Pediatrix Medical Group                   2201 S Clear Creek Road     Hearing Screen Program    Killeen       76549
 1000060411     8/22/2017       300      300 1-325              Pediatrix Medical Group                   2201 S Clear Creek Road     Hearing Screen Program    Killeen       76549
 1000060413     8/18/2017         10      10 05-13572           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017         10      10 05-13916           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 1-182              DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       200      200 1-220              DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 1-337              DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 DENTAL-8-17        DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017         10      10 DENTAL-8-20        DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017         10      10 DENTAL-8-20S       DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       200      200 E03-13634          DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-05           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-05T          DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-08           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-16           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-16T          DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       100      100 EPSDT-26           DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       200      200 MTP-110            DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060413     8/18/2017       200      200 MTP-510            DSHS Region 8 Tx Health                   7430 Louis Pasteur Drive                              San Antonio   78229
 1000060475     8/22/2017      1000     1000 1-325              Pediatrix Medical Group                   10301 Gateway West                                    El Paso       79925
 1000060476     8/21/2017         25      25 DENTAL-8-17        Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 DENTAL-8-20        Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 DENTAL-8-20S       Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 E03-13592          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 E03-13593          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 E08-12876          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 E08-12876A         Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017         25      25 E08-12877          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 EPSDT-04           Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 EPSDT-10           Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 EPSDT-10S          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 EPSDT-13           Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017          6       6 EPSDT-13S          Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017         25      25 MTP-110            Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017         25      25 MTP-210            Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060476     8/21/2017         25      25 MTP-210S           Omni Dental Group                         12335 Hymeadow              Ste 250                   Austin        78750
 1000060479     8/21/2017         10      10 1-182              Region One ESC ECI                        1900 W Schunior Street                                EDINBURG      78541
 1000060479     8/21/2017         25      25 MTP-110            Region One ESC ECI                        1900 W Schunior Street                                EDINBURG      78541
 1000060479     8/21/2017         10      10 MTP-210            Region One ESC ECI                        1900 W Schunior Street                                EDINBURG      78541
 1000060479     8/21/2017         10      10 MTP-210S           Region One ESC ECI                        1900 W Schunior Street                                EDINBURG      78541
 1000060479     8/21/2017         25      25 MTP-410            Region One ESC ECI                        1900 W Schunior Street                                EDINBURG      78541
 1000060489     8/21/2017         10      10 05-13572           Holistic Birth Center                     4705 Sanford Rd                                       Houston       77035
 1000060489     8/21/2017       200      200 1-328              Holistic Birth Center                     4705 Sanford Rd                                       Houston       77035
 1000060491     8/22/2017       800      800 1-325              Med Ctr Arlington                         Nursery 3rd Floor           3301 Matlock Rd           Arlington     76015


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                Ship Date                              Item                    Agency/Provider                                    Address1                               Address2       City        Zip
   Number                   Ordered Shipped
 1000060533     8/21/2017      1000     1000 1-182              MAXIMUS                                         4000 S IH 35                                                        Austin         78704
 1000060533     8/21/2017      1000     1000 EPSDT-16           MAXIMUS                                         4000 S IH 35                                                        Austin         78704
 1000060775     8/22/2017       600      600 1-182              HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/22/2017         75      75 EPSDT-04           HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/22/2017       600      600 EPSDT-05           HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/22/2017       600      600 EPSDT-08           HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/22/2017       600      600 EPSDT-16           HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/22/2017       600      600 MTP-110            HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060775     8/23/2017         75      75 MTP-510_0812       HHSC                                            204 Kimberly Drive                           Mail Code: 063-3       Cleburne       76031
 1000060777     8/22/2017       600      600 1-182              HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/22/2017         75      75 EPSDT-04           HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/22/2017       600      600 EPSDT-05           HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/22/2017       600      600 EPSDT-08           HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/22/2017       600      600 EPSDT-16           HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/22/2017       600      600 MTP-110            HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060777     8/23/2017         75      75 MTP-510_0812       HHSC                                            800 N. Main                                  Ste. J                 Corsicana      75110
 1000060778     8/22/2017       900      900 1-182              HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/22/2017       150      150 EPSDT-04           HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/22/2017       900      900 EPSDT-05           HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/22/2017       900      900 EPSDT-08           HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/22/2017       900      900 EPSDT-16           HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/22/2017       900      900 MTP-110            HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060778     8/23/2017       150      150 MTP-510_0812       HHSC                                            5455 Blair Road                              Mail Code: 088-2       Dallas         75231
 1000060779     8/22/2017       700      700 1-182              HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/22/2017       100      100 EPSDT-04           HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/22/2017       700      700 EPSDT-05           HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/22/2017       700      700 EPSDT-08           HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/22/2017       700      700 EPSDT-16           HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/22/2017       700      700 MTP-110            HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060779     8/23/2017       100      100 MTP-510_0812       HHSC                                            2525 East Highway 175                        Ste. B                 Kaufman        75142
 1000060807     8/24/2017       350      350 1-325              Medical City Alliance                           3101 N. tarrant Pkwy                         2nd Floor NURSERY      Fort Worth     76177
 1000060837     8/24/2017         25      25 E03-13634          Trinity Clinic - Kilgore                        1718 S Henderson Blvd                                               Kilgore        75662
 1000060837     8/24/2017         25      25 E03-14572          Trinity Clinic - Kilgore                        1718 S Henderson Blvd                                               Kilgore        75662
 1000060837     8/24/2017         15      15 MTP-510            Trinity Clinic - Kilgore                        1718 S Henderson Blvd                                               Kilgore        75662
 1000061016     8/24/2017       500      500 1-325              Pediatrix Med Group Newborn                     800 W Randoll Mill Road                      1st Floor              Arlington      76012
 1000061042     8/24/2017       250      250 1-325              Rawling Plains Memorial Hospital                200 E Arizona                                                       Sweetwater     79556
 1000061045     8/24/2017       100      100 1-325              Origins Birth & Wellness Collective             10345 Alta Vista Rd                                                 FORT WORTH     76244
 1000061066     8/24/2017       500      500 1-325              Pediatrix Medical Group                         5th Floor- The Family Place Hearing Screen   7600 Beechnut          Houston        77074
 1000061072     8/24/2017       500      500 1-325              Hendrick Medical Center                         1900 Pine Street                             Room 4531              Abilene        79601
 1000061087     8/24/2017         25      25 05-13916           HHSC                                            MC 1938 Case Management                      1100 W 49th St         Austin         78714
 1000061087     8/24/2017       150      150 05-14010           HHSC                                            MC 1938 Case Management                      1100 W 49th St         Austin         78714
 1000061087     8/24/2017       500      500 1-182              HHSC                                            MC 1938 Case Management                      1100 W 49th St         Austin         78714
 1000061143     8/28/2017       500      500 1-325              Univ of Texas Medical Branch                    301 University Blvd                                                 Galveston    77555-0523
 1000061144     8/28/2017       136      136 E03-13634          DSHS                                            2521 West Front Street                                              Tyler          75702
 1000061144     8/28/2017       200      200 E03-14572          DSHS                                            2521 West Front Street                                              Tyler          75702
 1000061159     8/28/2017      2000     2000 1-182              Advancing Together                              341 Hollywood                                                       Edinburg       78539
 1000061161     8/28/2017       100      100 1-322              Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061161     8/28/2017         50      50 1-323              Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061161     8/28/2017         50      50 1-325              Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061161     8/28/2017         50      50 1-326              Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061161     8/28/2017         50      50 1-328              Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061161     8/28/2017         50      50 MTP-110            Coastal Health Wellness                         9850 Emmett Lowry Expy                                              Texas City     77591
 1000061162     8/28/2017       500      500 DENTAL-8-17        Super Smiles Dental Centers                     6801 S IH35                                  St 1D                  AUSTIN         78744
 1000061162     8/28/2017       200      200 E08-12877          Super Smiles Dental Centers                     6801 S IH35                                  St 1D                  AUSTIN         78744
 1000061162     8/28/2017       500      500 EPSDT-26           Super Smiles Dental Centers                     6801 S IH35                                  St 1D                  AUSTIN         78744
 1000061163     8/28/2017         10      10 08-13373           Humble ISD                                      4810 Magnolia Cove                                                  Kingwood       77345
 1000061163     8/28/2017       100      100 1-326              Humble ISD                                      4810 Magnolia Cove                                                  Kingwood       77345
 1000061163     8/28/2017       100      100 1-328              Humble ISD                                      4810 Magnolia Cove                                                  Kingwood       77345


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Report ID                   EB 513
                                                                      121870
Report Name                 THSteps Materials Shipment Report
Report Period               2017 Q4
Program                     THSteps




MAXIMUS Order                 Qty.    Qty.
                Ship Date                              Item                    Agency/Provider                                    Address1                       Address2         City         Zip
   Number                   Ordered Shipped
 1000061163     8/28/2017         10      10 DENTAL-8-20        Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         10      10 DENTAL-8-20S       Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         10      10 E03-13591          Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         10      10 E03-13592          Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         10      10 E03-13593          Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         20      20 EPSDT-04           Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         20      20 EPSDT-13           Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017         20      20 EPSDT-13S          Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061163     8/28/2017       100     100 EPSDT-16            Humble ISD                                       4810 Magnolia Cove                                         Kingwood          77345
 1000061192     8/28/2017       100     100 E03-14572           DSHS Region 9/10                                 401 E Franklin                     Suite 210               El Paso           79901
 1000061200     8/28/2017       400     400 1-342               Rio Grande Regional Hospital                     Hearing Screen 3rd floor Nursery   101 E. Ridge Rd         Mcallen           78503
 1000061226     8/30/2017          4       4 EPSDT-15           Department of State Health Services              1400 College                       Suite 167               Sulphur Springs   75482
 1000061226     8/30/2017          4       4 EPSDT-15S          Department of State Health Services              1400 College                       Suite 167               Sulphur Springs   75482
 1000061226     8/30/2017       100     100 MTP-110             Department of State Health Services              1400 College                       Suite 167               Sulphur Springs   75482
 1000061226     8/30/2017         50      50 MTP-410            Department of State Health Services              1400 College                       Suite 167               Sulphur Springs   75482
 1000061226     8/30/2017          1       1 MTP-510            Department of State Health Services              1400 College                       Suite 167               Sulphur Springs   75482
 1000061227     8/28/2017          1       1 05-12258           University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         25      25 05-13597           University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         50      50 1-325              University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         50      50 1-327              University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         50      50 EPSDT-08           University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         50      50 EPSDT-16T          University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061227     8/28/2017         50      50 EPSDT-25           University Medical Center of El Paso             4815 Alameda Ave.                                          El Paso           79905
 1000061244     8/30/2017       300     300 1-325               Pediatrix Medical Group                          901 W Ben White Blvd               2nd Floor Nursery       Austin            78704
 1000061358     8/30/2017         10      10 DENTAL-8-20        Martha Padilla                                   5150 Montana Ave                                           EL PASO           79903
 1000061358     8/30/2017         10      10 DENTAL-8-20S       Martha Padilla                                   5150 Montana Ave                                           EL PASO           79903
 1000061361     8/30/2017       200     200 E08-12877           Imagine Dental                                   3507 Jaime Zapata Memorial Hwy     Suite 3                 Laredo            78043
 1000061362     8/30/2017       200     200 DENTAL-8-17         W. David Egger, DDS, PA                          1609 N. Conway Ave.                                        Mission           78572
 1000061362     8/30/2017       200     200 E08-12877           W. David Egger, DDS, PA                          1609 N. Conway Ave.                                        Mission           78572
 1000061362     8/30/2017       200     200 EPSDT-26            W. David Egger, DDS, PA                          1609 N. Conway Ave.                                        Mission           78572
 1000061368     8/30/2017       200     200 E08-12877           W. David Egger, DDS, PA                          123 W. 3 Mile Line                 Suite A-102             Palmhurst         78573
 1000061402     8/30/2017       350     350 1-325               Medical City McKinney                            4500 Medical Center Dr.            2nd Floor Nursery       McKinney          75069
 1000061411     8/30/2017       250     250 05-13684            HHSC                                             MC 1938 Case Management            1100 W 49th St          Austin            78714
 1000061412     8/31/2017       100     100 1-182               DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 1-220               DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 1-221               DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         50      50 1-325              DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         50      50 1-326              DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         50      50 1-338              DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         50      50 1-338A             DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 1-343               DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 DENTAL-8-17         DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 EPSDT-05            DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 EPSDT-08            DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         10      10 EPSDT-15           DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         10      10 EPSDT-15S          DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 EPSDT-16T           DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017       100     100 MTP-110             DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017          5       5 MTP-310            DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017         10      10 MTP-510            DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017          1       1 MTP-610            DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061412     8/31/2017          1       1 MTP-610S           DSHS                                             1400 College St                    Suite 167 rm 195        Sulphur Springs   75482
 1000061443     8/31/2017          4       4 DENTAL-8-20        Plano WIC                                        900 E Park Blvd                    #165                    Plano             75074
 1000061443     8/31/2017          4       4 DENTAL-8-20S       Plano WIC                                        900 E Park Blvd                    #165                    Plano             75074
 1000061443     8/31/2017       700     700 EPSDT-05            Plano WIC                                        900 E Park Blvd                    #165                    Plano             75074
 1000061443     8/31/2017       700     700 EPSDT-08            Plano WIC                                        900 E Park Blvd                    #165                    Plano             75074
 1000061443     8/31/2017       700     700 EPSDT-16            Plano WIC                                        900 E Park Blvd                    #165                    Plano             75074
 1000061444     8/31/2017       300     300 1-323               Charleston Methodist                             3500 W Wheatland Rd                                        Dallas            75237


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Report ID                       EB 513
                                                                           121871
Report Name                     THSteps Materials Shipment Report
Report Period                   2017 Q4
Program                         THSteps




MAXIMUS Order                     Qty.    Qty.
                    Ship Date                                  Item                           Agency/Provider                               Address1   Address2            City    Zip
   Number                       Ordered Shipped
 1000061444         8/31/2017       300     300 1-325                          Charleston Methodist                          3500 W Wheatland Rd                  Dallas          75237

 # of Shipments       1,739                648,428 Total # of Items Shipped

Report Label                    Description
MAXIMUS Order Number            Naming convention that identifies the specific shipment to an Agency or Provider
Ship Date                       Date the shipment was sent to Agency or Provider
Qty. Ordered                    Request amount for specific material from Agency or Provider
Qty. Shipped                    Shipped amount for specific material based on request from Agency or Provider
Item                            Specific material inventory number requested
Type Agency                     Type of of requestor: CBO, PROV, Agency Acronym
Agency/Provider                 Name of requesting State Agency, Community Based Origanization or Provider
Address1                        Mailing Address, Line 1
Address2                        Mailing Address, Line 1 (if needed, otherwise blank)
City                            City Name (for Mail Address)
Zip                             Zip Code (for Mail Address)
# of Shipments                  Count of shipments sent for the Report Period
                                Calculation =COUNTA(all shipments detailed in MAXIMUS Order Number Column)
Total # of Items Shipped        Total Count of Material Items within shipments for the Report Period
                                Calculation =SUM(All items in Qty. Shipped Column)




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Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Case Management




MAXIMUS Order                  Qty.    Qty.
                Ship Date                              Item                 Agency/Provider                          Address1                        Address2                   City         Zip
   Number                    Ordered Shipped
 1000055512     06-09-2017          1       1 05-13684           Pediatrics                               46135 Staples St                Ste C & D                       Corpus Christi    78411
 1000055102     06-26-2017         50      50 05-13684           DSHS                                     MC 1902                         2408 S 37th                     Temple            76504
 1000055911     06-19-2017       300     300 05-13684            BC Collins Home Health Care              2612 Byfield                                                    Cedar Park        78613
 1000055512     06-09-2017          1       1 05-13916           Pediatrics                               46135 Staples St                Ste C & D                       Corpus Christi    78411
 1000055102     06-26-2017         10      10 05-13916           DSHS                                     MC 1902                         2408 S 37th                     Temple            76504
 1000055166     06-26-2017         10      10 05-13916           DSHS-THSteps                             401 East Franklin Suite 210     Mail Code: 1903                 El Paso           79901
 1000055336     06-23-2017         10      10 05-13916           DSHS                                     MC 1899                         6302 Iola St                    Lubbock           79424
 1000055881     06-19-2017          2       2 05-13916           Tyler Family Circle of Care              928 North Glenwood                                              Tyler             75702
 1000055911     06-19-2017         10      10 05-13916           BC Collins Home Health Care              2612 Byfield                                                    Cedar Park        78613
 1000056037     06-20-2017         10      10 05-13916           Childrens Medical Center                 1320 Greenway Drive             Suite #1000                     Irving            75038
 1000056118     06-20-2017         10      10 05-13916           Exserted Service LLC                     6347 Austinville                                                Katy              77449
 1000055512     06-09-2017          1       1 05-14010           Pediatrics                               46135 Staples St                Ste C & D                       Corpus Christi    78411
 1000055087     06-22-2017         10      10 05-14010           DFPS                                     801 North 13th Street           Suite 23                        Harlingen         78550
 1000055102     06-26-2017         10      10 05-14010           DSHS                                     MC 1902                         2408 S 37th                     Temple            76504
 1000055166     06-26-2017         10      10 05-14010           DSHS-THSteps                             401 East Franklin Suite 210     Mail Code: 1903                 El Paso           79901
 1000055336     06-23-2017         10      10 05-14010           DSHS                                     MC 1899                         6302 Iola St                    Lubbock           79424
 1000055881     06-19-2017          2       2 05-14010           Tyler Family Circle of Care              928 North Glenwood                                              Tyler             75702
 1000055911     06-19-2017         10      10 05-14010           BC Collins Home Health Care              2612 Byfield                                                    Cedar Park        78613
 1000056118     06-20-2017         10      10 05-14010           Exserted Service LLC                     6347 Austinville                                                Katy              77449
 1000055048     06-01-2017       500     500 1-182               HHSC                                     6500 Northwest Drive            Ste. 300                        Mesquite          75150
 1000055049     06-01-2017       800     800 1-182               HHSC                                     2020 N. Masters                 MC 228-1                        Dallas            75217
 1000055050     06-01-2017       500     500 1-182               HHSC                                     12100 Ford Road                 4th Floor; Ste. B400            Dallas            75220
 1000055091     06-02-2017       100     100 1-182               American Legion Post 578                 7811 Greens Road                                                Humble            77396
 1000055512     06-09-2017         25      25 1-182              Pediatrics                               46135 Staples St                Ste C & D                       Corpus Christi    78411
 1000055623     06-13-2017         25      25 1-182              A World for Children                     1828 E SE Loop                  Ste #107                        Tyler             75701
 1000055046     06-22-2017         25      25 1-182              HHSC - Region 2/9                        035-1                           501 Birdwell Ln Suite 28E       Big Spring        79720
 1000055067     06-26-2017       500     500 1-182               HHSC - Region 7                          234-1                           939 Industrial Blvd             Mexia             76667
 1000055086     06-22-2017         50      50 1-182              HHSC-Region 4                            305-3                           1400 College Street Suite 111   Sulphur Springs   75482
 1000055098     06-26-2017      1500    1500 1-182               HHSC - Region 6                          MC 174-3                        10060 Fuqua                     Houston           77089
 1000055166     06-26-2017       300     300 1-182               DSHS-THSteps                             401 East Franklin Suite 210     Mail Code: 1903                 El Paso           79901
 1000055265     06-26-2017      3000    3000 1-182               BlueCross BlueShield of TX               9442 Capital of Texas Highway   Blding II Suite 500             Austin            78759
 1000055597     06-22-2017       100     100 1-182               HHSC - Region 4                          3303 Mineola Hwy                                                Tyler             75702
 1000055855     06-27-2017      5000    5000 1-182               Molina Healthcare of Texas               1660 N. Westridge Cricle                                        Irving            75038
 1000055881     06-19-2017       100     100 1-182               Tyler Family Circle of Care              928 North Glenwood                                              Tyler             75702
 1000055911     06-19-2017       500     500 1-182               BC Collins Home Health Care              2612 Byfield                                                    Cedar Park        78613
 1000055938     06-23-2017       100     100 1-182               Amerigroup Community Care                Ste 400                         12500 San Pedro Ave             San Antonio       78216
 1000055938     06-23-2017       250     250 1-182               Amerigroup Community Care                Ste 400                         12500 San Pedro Ave             San Antonio       78216
 1000055983     06-22-2017       100     100 1-182               DFPS                                     801 North 13th St                                               Harlingen         78550
 1000055987     06-22-2017       200     200 1-182               HHSC-TDD                                 801 S State Hwy 161             MC 012-8                        Grand Prairie     75051
 1000055990     06-23-2017       500     500 1-182               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage          Corpus Christi    78415
 1000055992     06-22-2017       100     100 1-182               HHSC - Region 4                          254-1                           330 E. Spring St Suite D        Palestine         75801
 1000056010     06-20-2017       500     500 1-182               HHSC                                     2220 Mall Circle                Mail Code: 128-3                Fort Worth        76116
 1000056011     06-21-2017       500     500 1-182               HHSC                                     4733 E. Lancaster Avenue        Mail Code: 128-5                Fort Worth        76103
 1000056012     06-23-2017       500     500 1-182               Superior HealthPlan                      5900 East Ben White Blvd.                                       Austin            78741
 1000056106     06-20-2017       100     100 1-182               Arrow Child & Family Ministries          524 E Lamar Blvd.               Ste. 320                        Arlington         76011
 1000056115     06-26-2017       100     100 1-182               HHSC - Region 11                         073-5                           4410 Dillion Ln Suite 28        Corpus Christi    78415
 1000056118     06-20-2017       100     100 1-182               Exserted Service LLC                     6347 Austinville                                                Katy              77449
 1000056170     06-22-2017       250     250 1-182               HHSC - Region 5                          877-1                           2222 Gloria Dr.                 Orange            77630
 1000056346     06-26-2017       100     100 1-182               HHSC - Region 11                         073-4                           5155 Flynn Parkway              Corpus Christi    78411
 1000056506     06-23-2017      2100    2100 1-182               MAXIMUS Region 2                         4617 Hummingbird Cir                                            Abilene           79606
 1000056770     06-26-2017       500     500 1-182               HHSC                                     214 N Travis St                                                 Granbury          76048



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Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Case Management




MAXIMUS Order                  Qty.    Qty.
                Ship Date                              Item                Agency/Provider                         Address1                         Address2             City        Zip
   Number                    Ordered Shipped
 1000056977     06-29-2017         75      75 1-182              Unique Kare Children Services          1236 Rocky Road                                            Uhland           78640
 1000055789     06-14-2017       200     200 1-182A              Childrens Medical Center               1320 Greenway Drive             Suite #1000                Irving           75038
 1000055098     06-26-2017       300     300 1-182A              HHSC - Region 6                        MC 174-3                        10060 Fuqua                Houston          77089
 1000055265     06-26-2017       200     200 1-182A              BlueCross BlueShield of TX             9442 Capital of Texas Highway   Blding II Suite 500        Austin           78759
 1000055881     06-19-2017         25      25 1-182A             Tyler Family Circle of Care            928 North Glenwood                                         Tyler            75702
 1000055911     06-19-2017         25      25 1-182A             BC Collins Home Health Care            2612 Byfield                                               Cedar Park       78613
 1000056115     06-26-2017       500     500 1-182A              HHSC - Region 11                       073-5                           4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056346     06-26-2017       500     500 1-182A              HHSC - Region 11                       073-4                           5155 Flynn Parkway         Corpus Christi   78411
 1000055512     06-09-2017         25      25 1-220              Pediatrics                             46135 Staples St                Ste C & D                  Corpus Christi   78411
 1000055098     06-26-2017       200     200 1-220               HHSC - Region 6                        MC 174-3                        10060 Fuqua                Houston          77089
 1000055156     06-22-2017       500     500 1-220               HHSC - Region 3                        MC 103-1                        3612 E McKinney            Denton           76209
 1000055166     06-26-2017       300     300 1-220               DSHS-THSteps                           401 East Franklin Suite 210     Mail Code: 1903            El Paso          79901
 1000055336     06-23-2017       100     100 1-220               DSHS                                   MC 1899                         6302 Iola St               Lubbock          79424
 1000056115     06-26-2017      1000    1000 1-220               HHSC - Region 11                       073-5                           4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056118     06-20-2017       100     100 1-220               Exserted Service LLC                   6347 Austinville                                           Katy             77449
 1000056346     06-26-2017      1000    1000 1-220               HHSC - Region 11                       073-4                           5155 Flynn Parkway         Corpus Christi   78411
 1000056506     06-23-2017       300     300 1-220               MAXIMUS Region 2                       4617 Hummingbird Cir                                       Abilene          79606
 1000055512     06-09-2017         25      25 1-221              Pediatrics                             46135 Staples St                Ste C & D                  Corpus Christi   78411
 1000055098     06-26-2017       200     200 1-221               HHSC - Region 6                        MC 174-3                        10060 Fuqua                Houston          77089
 1000055156     06-22-2017       500     500 1-221               HHSC - Region 3                        MC 103-1                        3612 E McKinney            Denton           76209
 1000055336     06-23-2017       100     100 1-221               DSHS                                   MC 1899                         6302 Iola St               Lubbock          79424
 1000055938     06-23-2017       100     100 1-221               Amerigroup Community Care              Ste 400                         12500 San Pedro Ave        San Antonio      78216
 1000056037     06-20-2017       100     100 1-221               Childrens Medical Center               1320 Greenway Drive             Suite #1000                Irving           75038
 1000056118     06-20-2017       100     100 1-221               Exserted Service LLC                   6347 Austinville                                           Katy             77449
 1000056506     06-23-2017       300     300 1-221               MAXIMUS Region 2                       4617 Hummingbird Cir                                       Abilene          79606
 1000055091     06-02-2017          5       5 EPSDT-15           American Legion Post 578               7811 Greens Road                                           Humble           77396
 1000055215     06-23-2017          2       2 EPSDT-15           HHSC - Region 5                        757-1                           680 San Antonio Road       Crockett         75835
 1000055911     06-19-2017         10      10 EPSDT-15           BC Collins Home Health Care            2612 Byfield                                               Cedar Park       78613
 1000056115     06-26-2017          4       4 EPSDT-15           HHSC - Region 11                       073-5                           4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056118     06-20-2017         10      10 EPSDT-15           Exserted Service LLC                   6347 Austinville                                           Katy             77449
 1000056346     06-26-2017          4       4 EPSDT-15           HHSC - Region 11                       073-4                           5155 Flynn Parkway         Corpus Christi   78411
 1000055911     06-19-2017         10      10 EPSDT-15A          BC Collins Home Health Care            2612 Byfield                                               Cedar Park       78613
 1000056115     06-26-2017          4       4 EPSDT-15A          HHSC - Region 11                       073-5                           4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056118     06-20-2017         10      10 EPSDT-15A          Exserted Service LLC                   6347 Austinville                                           Katy             77449
 1000056346     06-26-2017          4       4 EPSDT-15A          HHSC - Region 11                       073-4                           5155 Flynn Parkway         Corpus Christi   78411
 1000055911     06-19-2017         10      10 EPSDT-15S          BC Collins Home Health Care            2612 Byfield                                               Cedar Park       78613
 1000056115     06-26-2017          4       4 EPSDT-15S          HHSC - Region 11                       073-5                           4410 Dillion Ln Suite 28   Corpus Christi   78415
 1000056118     06-20-2017         10      10 EPSDT-15S          Exserted Service LLC                   6347 Austinville                                           Katy             77449
 1000056346     06-26-2017          4       4 EPSDT-15S          HHSC - Region 11                       073-4                           5155 Flynn Parkway         Corpus Christi   78411
 1000058660     07-27-2017         10      10 05-13916           EmberHope Inc                          3201 Cherry Ridge               C-304                      San Antonio      78230
 1000058660     07-27-2017         10      10 05-14010           EmberHope Inc                          3201 Cherry Ridge               C-304                      San Antonio      78230
 1000057070     07-03-2017         25      25 1-182              A World For Children                   5151 Flynn Parkway              Ste.0511                   Corpus Christi   78405
 1000057109     07-03-2017       300     300 1-182               HHSC - Region 5                        834-1                           1215 Hwy 327 East          Silsbee          77656
 1000057149     07-03-2017       100     100 1-182               HHSC - Region 5                        930 N. Magnolia                                            Woodville        75951
 1000057342     07-10-2017       100     100 1-182               American Legion Post 578               7811 Greens Road                                           Humble           77396
 1000057400     07-10-2017         75      75 1-182              Brazos Valley Community                1604 Stacey St                                             Navasota         77868
 1000057607     07-11-2017       500     500 1-182               DSHS Region 8 Tx Health                7430 Louis Pasteur Drive                                   San Antonio      78229
 1000057713     07-14-2017       100     100 1-182               Circle of Care                         5333 Everhart Rd                Ste 150-B                  Corpus Christi   78411
 1000057740     07-17-2017      1000    1000 1-182               HHSC-Region 2/9                        250-3                           3016 Kermit Hwy            Odessa           79764
 1000057883     07-19-2017       250     250 1-182               DSHS                                   324 Yapaco                                                 Gilmer           75644
 1000057950     07-20-2017         75      75 1-182              Benchmark Family Services              4506 Corona Drive                                          Corpus Christi   78411




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                                                                 121874

Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Case Management




MAXIMUS Order                  Qty.    Qty.
                Ship Date                              Item                Agency/Provider                       Address1                      Address2             City        Zip
   Number                    Ordered Shipped
 1000058141     07-24-2017         50      50 1-182              DSHS                                  4601 South 1st St            Suite L                   Abilene          79605
 1000058143     07-24-2017         50      50 1-182              High Sky Childrens Ranch              3136 Executive Dr                                      San Angelo       76904
 1000058157     07-24-2017       100     100 1-182               DSHS                                  1014 N. Jefferson                                      Mount Pleasant   75455
 1000058165     07-24-2017       500     500 1-182               DSHS                                  2521 West Front Street                                 Tyler            75702
 1000058467     07-24-2017       600     600 1-182               HHSC                                  1101 E. Old Settlers Blvd    Mail Code: 367-5          Round Rock       78664
 1000058468     07-24-2017       600     600 1-182               HHSC                                  801 S. State Highway 161     3rd Floor- Ste. 300       Grand Prairie    75051
 1000058469     07-24-2017       500     500 1-182               HHSC                                  801 S. State Highway 161     8th Floor- Ste. 800       Grand Prairie    75051
 1000058660     07-27-2017         50      50 1-182              EmberHope Inc                         3201 Cherry Ridge            C-304                     San Antonio      78230
 1000058810     07-27-2017      1500    1500 1-182               DSHS                                  2521 West Front Street                                 Tyler            75702
 1000057400     07-10-2017         75      75 1-220              Brazos Valley Community               1604 Stacey St                                         Navasota         77868
 1000057607     07-11-2017       500     500 1-220               DSHS Region 8 Tx Health               7430 Louis Pasteur Drive                               San Antonio      78229
 1000057883     07-19-2017       250     250 1-220               DSHS                                  324 Yapaco                                             Gilmer           75644
 1000058141     07-24-2017       100     100 1-220               DSHS                                  4601 South 1st St            Suite L                   Abilene          79605
 1000058157     07-24-2017       100     100 1-220               DSHS                                  1014 N. Jefferson                                      Mount Pleasant   75455
 1000057607     07-11-2017       500     500 1-221               DSHS Region 8 Tx Health               7430 Louis Pasteur Drive                               San Antonio      78229
 1000057883     07-19-2017       250     250 1-221               DSHS                                  324 Yapaco                                             Gilmer           75644
 1000058141     07-24-2017       100     100 1-221               DSHS                                  4601 South 1st St            Suite L                   Abilene          79605
 1000058157     07-24-2017       100     100 1-221               DSHS                                  1014 N. Jefferson                                      Mount Pleasant   75455
 1000059844      8/15/2017       401     401 05-13684            DSHS                                  5425 Polk St                 Suite 460 J               Houston          77023
 1000059844      8/21/2017         99      99 05-13684           DSHS                                  5425 Polk St                 Suite 460 J               Houston          77023
 1000061411      8/30/2017       250     250 05-13684            HHSC                                  MC 1938 Case Management      1100 W 49th St            Austin           78714
 1000059844      8/15/2017         10      10 05-13916           DSHS                                  5425 Polk St                 Suite 460 J               Houston          77023
 1000060045      8/15/2017          5       5 05-13916           Antonio Figueroa MD                   1740 Boca Chica Blvd         Suite 100                 Brownsville      78521
 1000059606      8/21/2017          1       1 05-13916           Maximus Region 1                      906 S Birmingham                                       Amarillo         79104
 1000059608      8/18/2017          5       5 05-13916           Maximus Region 2                      4601 South 1st St            Suite A                   Abilene          79605
 1000059778      8/18/2017          1       1 05-13916           Maximus Reg 2                         7667 FM 2606                                           Henrietta        76365
 1000060274      8/17/2017          5       5 05-13916           Upbring Foster in Texas               3606 N Navarro Street        Suite D                   Victoria         77901
 1000060413      8/18/2017         10      10 05-13916           DSHS Region 8 Tx Health               7430 Louis Pasteur Drive                               San Antonio      78229
 1000061087      8/24/2017         25      25 05-13916           HHSC                                  MC 1938 Case Management      1100 W 49th St            Austin           78714
 1000059606      8/21/2017          1       1 05-14010           Maximus Region 1                      906 S Birmingham                                       Amarillo         79104
 1000059608      8/18/2017         10      10 05-14010           Maximus Region 2                      4601 South 1st St            Suite A                   Abilene          79605
 1000060274      8/17/2017          5       5 05-14010           Upbring Foster in Texas               3606 N Navarro Street        Suite D                   Victoria         77901
 1000061087      8/24/2017       150     150 05-14010            HHSC                                  MC 1938 Case Management      1100 W 49th St            Austin           78714
 1000059151       8/3/2017       150     150 1-182               Lori Allen                            629 Farley St                                          Waxahachie       75165
 1000059252       8/4/2017       700     700 1-182               HHSC                                  440 South Nursery Rd         Ste 200                   Irving           75060
 1000059253       8/4/2017       850     850 1-182               HHSC                                  1540 New York Avenue         Mail Code: 012-6          Arlington        76010
 1000059254       8/4/2017       250     250 1-182               HHSC                                  3910 Gaston Avenue           Ste 200                   Dallas           75246
 1000059349       8/8/2017       100     100 1-182               Safe Haven Community Services         14405 Walters Road           Ste 950                   Houston          77014
 1000059844      8/15/2017       300     300 1-182               DSHS                                  5425 Polk St                 Suite 460 J               Houston          77023
 1000060031      8/15/2017         75      75 1-182              Circle of Living Hope                 4560 Cypress Creek Parkway   #104                      Houston          77069
 1000058808      8/17/2017         50      50 1-182              Maximus Region 10                     8734 Plains Drive                                      El Paso          79907
 1000058849      8/17/2017         75      75 1-182              Maximus Reg 11                        208 San Saba                                           Portland         78374
 1000058956      8/21/2017      5000    5000 1-182               Maximus Region 7                      4000 South IH 35                                       Austin           78704
 1000058978      8/18/2017       500     500 1-182               DSHS                                  1750 N Eastman RD                                      Longview         75601
 1000059088      8/22/2017       100     100 1-182               HHSC - Region 6                       270-7                        117 Lane Drive Suite 50   Rosenberg        77471
 1000059121      8/17/2017       100     100 1-182               Maximus Region 1                      2107 76th St                                           Lubbock          79423
 1000059163      8/17/2017       150     150 1-182               HHSC - Region 8                       MC 084-1                     1616 Veterans Ave         Crystal City     78839
 1000059206      8/17/2017       200     200 1-182               DSHS                                  1460 NW 19 Street                                      Paris            75460
 1000059215      8/17/2017       500     500 1-182               HHSC - Region 8                       MC 875-1                     1607 E Common             New Braunfels    78130
 1000059255      8/17/2017       200     200 1-182               Maximus Region 2                      134 Sherwood Lane                                      Clyde            79510
 1000059276      8/18/2017       150     150 1-182               Maximus Region 2                      4401 Hatchery Road                                     San Angelo       76903




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                                                                121875

Report ID                   EB 513
Report Name                 THSteps Materials Shipment Report
Report Period               2017 Q4
Program                     Case Management




MAXIMUS Order                 Qty.    Qty.
                Ship Date                             Item                Agency/Provider                       Address1                    Address2             City         Zip
   Number                   Ordered Shipped
 1000059417     8/17/2017         50      50 1-182              Maximus Reg 6                         857 County Road 4495                                 Hillister         77624
 1000059606     8/21/2017       100     100 1-182               Maximus Region 1                      906 S Birmingham                                     Amarillo          79104
 1000059608     8/18/2017      5000    5000 1-182               Maximus Region 2                      4601 South 1st St          Suite A                   Abilene           79605
 1000059620     8/17/2017       100     100 1-182               MAXIMUS                               502 BAXTER STREET                                    GARWOOD           77442
 1000059679     8/17/2017       500     500 1-182               Maximus Reg 1                         1914 South 5th Street                                Tahoka            79373
 1000059778     8/18/2017       200     200 1-182               Maximus Reg 2                         7667 FM 2606                                         Henrietta         76365
 1000059815     8/22/2017      7800    7800 1-182               Maximus Region 6                      650 N Sam Houston Pkwy E                             Houston           77060
 1000059818     8/17/2017       200     200 1-182               Maximus Region 11                     1925 E Iowa Road                                     Edinburg          78542
 1000059819     8/17/2017       200     200 1-182               Maximus Region 8                      690 Musquiz Road                                     Crystal City      78839
 1000059820     8/18/2017       100     100 1-182               Maximus Reg 8                         2927 Tehuacan Drive                                  Eagle Pass        78852
 1000059837     8/18/2017         50      50 1-182              Maximus Reg 8                         315 Trainer Street                                   Blanco            78606
 1000059873     8/17/2017       100     100 1-182               Maximus Region 1                      110 Vernon                                           Lubbock           79415
 1000059887     8/17/2017       300     300 1-182               Maximus Reg 8                         188 Dandelion Trail                                  San Marcos        78666
 1000060210     8/16/2017       200     200 1-182               DSHS                                  6302 Iola                                            Lubbock           79424
 1000060413     8/18/2017       100     100 1-182               DSHS Region 8 Tx Health               7430 Louis Pasteur Drive                             San Antonio       78229
 1000060479     8/21/2017         10      10 1-182              Region One ESC ECI                    1900 W Schunior Street                               EDINBURG          78541
 1000060533     8/21/2017      1000    1000 1-182               MAXIMUS                               4000 S IH 35                                         Austin            78704
 1000060775     8/22/2017       600     600 1-182               HHSC                                  204 Kimberly Drive         Mail Code: 063-3          Cleburne          76031
 1000060777     8/22/2017       600     600 1-182               HHSC                                  800 N. Main                Ste. J                    Corsicana         75110
 1000060778     8/22/2017       900     900 1-182               HHSC                                  5455 Blair Road            Mail Code: 088-2          Dallas            75231
 1000060779     8/22/2017       700     700 1-182               HHSC                                  2525 East Highway 175      Ste. B                    Kaufman           75142
 1000061087     8/24/2017       500     500 1-182               HHSC                                  MC 1938 Case Management    1100 W 49th St            Austin            78714
 1000061159     8/28/2017      2000    2000 1-182               Advancing Together                    341 Hollywood                                        Edinburg          78539
 1000061412     8/31/2017       100     100 1-182               DSHS                                  1400 College St            Suite 167 rm 195          Sulphur Springs   75482
 1000058978     8/18/2017       500     500 1-220               DSHS                                  1750 N Eastman RD                                    Longview          75601
 1000059088     8/22/2017       100     100 1-220               HHSC - Region 6                       270-7                      117 Lane Drive Suite 50   Rosenberg         77471
 1000059121     8/17/2017         50      50 1-220              Maximus Region 1                      2107 76th St                                         Lubbock           79423
 1000059206     8/17/2017       100     100 1-220               DSHS                                  1460 NW 19 Street                                    Paris             75460
 1000059255     8/17/2017         50      50 1-220              Maximus Region 2                      134 Sherwood Lane                                    Clyde             79510
 1000059276     8/18/2017       150     150 1-220               Maximus Region 2                      4401 Hatchery Road                                   San Angelo        76903
 1000059606     8/21/2017       100     100 1-220               Maximus Region 1                      906 S Birmingham                                     Amarillo          79104
 1000059608     8/18/2017       500     500 1-220               Maximus Region 2                      4601 South 1st St          Suite A                   Abilene           79605
 1000059679     8/17/2017       500     500 1-220               Maximus Reg 1                         1914 South 5th Street                                Tahoka            79373
 1000059873     8/17/2017         50      50 1-220              Maximus Region 1                      110 Vernon                                           Lubbock           79415
 1000060002     8/17/2017         50      50 1-220              Maximus Reg 9                         4325 Hatchery Road                                   San Angelo        76903
 1000060413     8/18/2017       200     200 1-220               DSHS Region 8 Tx Health               7430 Louis Pasteur Drive                             San Antonio       78229
 1000061412     8/31/2017       100     100 1-220               DSHS                                  1400 College St            Suite 167 rm 195          Sulphur Springs   75482
 1000058978     8/18/2017       500     500 1-221               DSHS                                  1750 N Eastman RD                                    Longview          75601
 1000059088     8/22/2017       100     100 1-221               HHSC - Region 6                       270-7                      117 Lane Drive Suite 50   Rosenberg         77471
 1000059121     8/17/2017         50      50 1-221              Maximus Region 1                      2107 76th St                                         Lubbock           79423
 1000059206     8/17/2017       100     100 1-221               DSHS                                  1460 NW 19 Street                                    Paris             75460
 1000059255     8/17/2017         50      50 1-221              Maximus Region 2                      134 Sherwood Lane                                    Clyde             79510
 1000059276     8/18/2017       150     150 1-221               Maximus Region 2                      4401 Hatchery Road                                   San Angelo        76903
 1000059606     8/21/2017       100     100 1-221               Maximus Region 1                      906 S Birmingham                                     Amarillo          79104
 1000059608     8/18/2017       500     500 1-221               Maximus Region 2                      4601 South 1st St          Suite A                   Abilene           79605
 1000059679     8/17/2017       500     500 1-221               Maximus Reg 1                         1914 South 5th Street                                Tahoka            79373
 1000059873     8/17/2017         50      50 1-221              Maximus Region 1                      110 Vernon                                           Lubbock           79415
 1000060002     8/17/2017         50      50 1-221              Maximus Reg 9                         4325 Hatchery Road                                   San Angelo        76903
 1000061412     8/31/2017       100     100 1-221               DSHS                                  1400 College St            Suite 167 rm 195          Sulphur Springs   75482
 1000059606     8/21/2017          5       5 EPSDT-15           Maximus Region 1                      906 S Birmingham                                     Amarillo          79104
 1000059608     8/18/2017         10      10 EPSDT-15           Maximus Region 2                      4601 South 1st St          Suite A                   Abilene           79605




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Report ID                       EB 513
Report Name                     THSteps Materials Shipment Report
Report Period                   2017 Q4
Program                         Case Management




MAXIMUS Order                     Qty.    Qty.
                    Ship Date                             Item                               Agency/Provider                         Address1                   Address2         City         Zip
   Number                       Ordered Shipped
 1000059778         8/18/2017          2       2 EPSDT-15                        Maximus Reg 2                             7667 FM 2606                                    Henrietta         76365
 1000059815         8/22/2017         36      36 EPSDT-15                        Maximus Region 6                          650 N Sam Houston Pkwy E                        Houston           77060
 1000059887         8/17/2017          0       0 EPSDT-15                        Maximus Reg 8                             188 Dandelion Trail                             San Marcos        78666
 1000059887         8/17/2017          2       2 EPSDT-15                        Maximus Reg 8                             188 Dandelion Trail                             San Marcos        78666
 1000060002         8/17/2017          5       5 EPSDT-15                        Maximus Reg 9                             4325 Hatchery Road                              San Angelo        76903
 1000060257         8/18/2017         20      20 EPSDT-15                        Maximus Region 11                         1925 E Iowa Road                                Edinburg          78542
 1000061226         8/30/2017          4       4 EPSDT-15                        Department of State Health Services       1400 College               Suite 167            Sulphur Springs   75482
 1000061412         8/31/2017         10      10 EPSDT-15                        DSHS                                      1400 College St            Suite 167 rm 195     Sulphur Springs   75482
 1000059276         8/18/2017         15      15 EPSDT-15S                       Maximus Region 2                          4401 Hatchery Road                              San Angelo        76903
 1000059606         8/21/2017          5       5 EPSDT-15S                       Maximus Region 1                          906 S Birmingham                                Amarillo          79104
 1000059608         8/18/2017         10      10 EPSDT-15S                       Maximus Region 2                          4601 South 1st St          Suite A              Abilene           79605
 1000059778         8/18/2017          2       2 EPSDT-15S                       Maximus Reg 2                             7667 FM 2606                                    Henrietta         76365
 1000059815         8/22/2017          4       4 EPSDT-15S                       Maximus Region 6                          650 N Sam Houston Pkwy E                        Houston           77060
 1000060002         8/17/2017          5       5 EPSDT-15S                       Maximus Reg 9                             4325 Hatchery Road                              San Angelo        76903
 1000060257         8/18/2017         20      20 EPSDT-15S                       Maximus Region 11                         1925 E Iowa Road                                Edinburg          78542
 1000061226         8/30/2017          4       4 EPSDT-15S                       Department of State Health Services       1400 College               Suite 167            Sulphur Springs   75482
 1000061412         8/31/2017         10      10 EPSDT-15S                       DSHS                                      1400 College St            Suite 167 rm 195     Sulphur Springs   75482

 # of Shipments        221                   71,545 Total # of Items Shipped

Report Label                    Description
MAXIMUS Order Number            Naming convention that identifies the specific shipment to an Agency or Provider
Ship Date                       Date the shipment was sent to Agency or Provider
Qty. Ordered                    Request amount for specific material from Agency or Provider
Qty. Shipped                    Shipped amount for specific material based on request from Agency or Provider
Item                            Specific material inventory number requested
Type Agency                     Type of of requestor: CBO, PROV, Agency Acronym
Agency/Provider                 Name of requesting State Agency, Community Based Origanization or Provider
Address1                        Mailing Address, Line 1
Address2                        Mailing Address, Line 1 (if needed, otherwise blank)
City                            City Name (for Mail Address)
Zip                             Zip Code (for Mail Address)
# of Shipments                  Count of shipments sent for the Report Period
Total # of Items Shipped        Total Count of Material Items within shipments for the Report Period




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                                                                       121877
Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Newborn Hearing




  MAXIMUS                      Qty.    Qty.
                Ship Date                              Item                  Agency/Provider                           Address1                      Address2             City        Zip
Order Number                 Ordered Shipped
 1000055102     06-26-2017         25      25 05-12258           DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055265     06-26-2017          5       5 05-12258           BlueCross BlueShield of TX           9442 Capital of Texas Highway   Blding II Suite 500           Austin           78759
 1000055855     06-27-2017          5       5 05-12258           Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000055911     06-19-2017         10      10 05-12258           BC Collins Home Health Care          2612 Byfield                                                  Cedar Park       78613
 1000055938     06-23-2017          5       5 05-12258           Amerigroup Community Care            Ste 400                         12500 San Pedro Ave           San Antonio      78216
 1000055990     06-23-2017          5       5 05-12258           CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000055512     06-09-2017          1       1 05-13572           Pediatrics                           46135 Staples St                Ste C & D                     Corpus Christi   78411
 1000055102     06-26-2017       100     100 05-13572            DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055265     06-26-2017          5       5 05-13572           BlueCross BlueShield of TX           9442 Capital of Texas Highway   Blding II Suite 500           Austin           78759
 1000055938     06-23-2017          5       5 05-13572           Amerigroup Community Care            Ste 400                         12500 San Pedro Ave           San Antonio      78216
 1000055990     06-23-2017          5       5 05-13572           CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000056977     06-29-2017         10      10 05-13572           Unique Kare Children Services        1236 Rocky Road                                               Uhland           78640
 1000055102     06-26-2017       100     100 05-13581            DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055990     06-23-2017          5       5 05-13581           CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000055990     06-23-2017         50      50 05-13597           CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000055512     06-09-2017          1       1 05-13598           Pediatrics                           46135 Staples St                Ste C & D                     Corpus Christi   78411
 1000055102     06-26-2017       150     150 05-13598            DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055855     06-27-2017       250     250 05-13598            Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000055990     06-23-2017       250     250 05-13598            CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000055512     06-09-2017          1       1 05-13599           Pediatrics                           46135 Staples St                Ste C & D                     Corpus Christi   78411
 1000055102     06-26-2017       150     150 05-13599            DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055265     06-26-2017       150     150 05-13599            BlueCross BlueShield of TX           9442 Capital of Texas Highway   Blding II Suite 500           Austin           78759
 1000055855     06-27-2017      1000    1000 05-13599            Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000055938     06-23-2017       100     100 05-13599            Amerigroup Community Care            Ste 400                         12500 San Pedro Ave           San Antonio      78216
 1000055990     06-23-2017       500     500 05-13599            CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000055135     06-02-2017         25      25 1-322              Complete Health Care                 315 W Houston                                                 Jasper           75951
 1000055171     06-06-2017       100     100 1-322               C/O Ears and Hearing                 107 W. Foster Dr.                                             Robinson         76706
 1000055624     06-14-2017       300     300 1-322               Baylor College of Medicine           1977 Butler Blvd                Suite E5.100                  Houston          77030
 1000055789     06-14-2017       100     100 1-322               Childrens Medical Center             1320 Greenway Drive             Suite #1000                   Irving           75038
 1000055855     06-27-2017      4000    4000 1-322               Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000055990     06-23-2017       500     500 1-322               CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000056729     06-26-2017       100     100 1-322               Hearing Screening Associates         13106Chimney Sweep Drive                                      Houston          77041
 1000055789     06-14-2017       100     100 1-322A              Childrens Medical Center             1320 Greenway Drive             Suite #1000                   Irving           75038
 1000055855     06-27-2017      4000    4000 1-322A              Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000056729     06-26-2017         50      50 1-322A             Hearing Screening Associates         13106Chimney Sweep Drive                                      Houston          77041
 1000055346     06-07-2017       500     500 1-323               Hearing Screening Assoc              8118 Spring Bluebonnet Drive                                  Sugar Land       77479
 1000055512     06-09-2017         25      25 1-323              Pediatrics                           46135 Staples St                Ste C & D                     Corpus Christi   78411
 1000055624     06-14-2017       500     500 1-323               Baylor College of Medicine           1977 Butler Blvd                Suite E5.100                  Houston          77030
 1000055102     06-26-2017       150     150 1-323               DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055855     06-27-2017      4000    4000 1-323               Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000055937     06-19-2017      1000    1000 1-323               C/O Ears and Hearing                 6711 9th Street                                               Lubbock          79416
 1000055990     06-23-2017       500     500 1-323               CHRISTUS Health Plan                 5129 Kostoryz Rd Unit C132      Uhaul Moving & Storage        Corpus Christi   78415
 1000056020     06-20-2017       100     100 1-323               Bonham Public Library                305 E 5th Street                                              Bonham           75418
 1000057047     06-29-2017      1000    1000 1-323               C/O Ears and Hearing                 122 Saddlebrook Dr.                                           San Antonio      78245
 1000055135     06-02-2017         25      25 1-323 0312         Complete Health Care                 315 W Houston                                                 Jasper           75951
 1000055161     06-06-2017       214     214 1-323 0312          Good Shepherd Medical Center         Attn: Childbirth Education      700 E Marshall Ave            Longview         75601
 1000055161     06-06-2017       786     786 1-323 0312          Good Shepherd Medical Center         Attn: Childbirth Education      700 E Marshall Ave            Longview         75601
 1000055162     06-06-2017       100     100 1-323 0312          TruLight127 Ministries               242 Country Lane                                              Cibolo           78108
 1000055512     06-09-2017         25      25 1-323 0312         Pediatrics                           46135 Staples St                Ste C & D                     Corpus Christi   78411
 1000055789     06-14-2017       100     100 1-323 0312          Childrens Medical Center             1320 Greenway Drive             Suite #1000                   Irving           75038
 1000056729     06-26-2017         25      25 1-323 0312         Hearing Screening Associates         13106Chimney Sweep Drive                                      Houston          77041
 1000056729     06-26-2017         75      75 1-323 0312         Hearing Screening Associates         13106Chimney Sweep Drive                                      Houston          77041
 1000055789     06-14-2017       100     100 1-323A              Childrens Medical Center             1320 Greenway Drive             Suite #1000                   Irving           75038
 1000055102     06-26-2017       150     150 1-323A              DSHS                                 MC 1902                         2408 S 37th                   Temple           76504
 1000055855     06-27-2017      4000    4000 1-323A              Molina Healthcare of Texas           1660 N. Westridge Cricle                                      Irving           75038
 1000056020     06-20-2017         25      25 1-323A             Bonham Public Library                305 E 5th Street                                              Bonham           75418
 1000056729     06-26-2017         50      50 1-323A             Hearing Screening Associates         13106Chimney Sweep Drive                                      Houston          77041
 1000056977     06-29-2017         25      25 1-323A             Unique Kare Children Services        1236 Rocky Road                                               Uhland           78640
 1000055099     06-02-2017      2000    2000 1-325               ST. JOSEPH'S WOMEN'S CENTER          C/O Ears and Hearing            1819 Crawford St, 1st Floor   Houston          77002




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                                                                       121878
Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Newborn Hearing




  MAXIMUS                      Qty.    Qty.
                Ship Date                               Item                    Agency/Provider                             Address1                                  Address2                   City        Zip
Order Number                 Ordered Shipped
 1000055199     06-06-2017      1000    1000 1-325               Rio Grande Regional Hospital             101 E. RIDGE RD                                                                  MCALLEN          78503
 1000055346     06-07-2017       300     300 1-325               Hearing Screening Assoc                  8118 Spring Bluebonnet Drive                                                     Sugar Land       77479
 1000055448     06-09-2017       500     500 1-325               Pediatrix Medical Group                  1310 McCullough Ave                          Metropolitan Methodist Hospital     San Antonio      78212
 1000055522     06-13-2017      2000    2000 1-325               Pediatrix Medical Group                  1139 E Sonterra Blvd                         2nd Floor Nursery/ Hearing Screen   San Antonio      78258
 1000055580     06-13-2017      1200    1200 1-325               Pediatrix Medical Group                  2ND FLOOR NURSERY                            1201 W 38TH ST                      Austin           78705
 1000055581     06-13-2017       600     600 1-325               Pediatrix Medical Group                  1401 MEDICAL PARKWAY                                                             CEDAR PARK       78613
 1000055591     06-12-2017       300     300 1-325               Pediatrics                               2701 Hospital Drive                          2nd Floor Nursery                   Victoria         77901
 1000055896     06-19-2017       500     500 1-325               Pediatrix Medical Group                  5th Floor- The Family Place Hearing Screen   7600 Beechnut                       Houston          77074
 1000055904     06-19-2017       200     200 1-325               Sierra Providence Teen Ctr               Ste 120                                      8899 Alameda                        El Paso          79907
 1000055937     06-19-2017      1000    1000 1-325               C/O Ears and Hearing                     6711 9th Street                                                                  Lubbock          79416
 1000055984     06-19-2017      1800    1800 1-325               Mednax                                   6200 Parker Rd                               4th floor Nursery                   Plano            75093
 1000056047     06-20-2017       600     600 1-325               C/O Ears and Hearing                     122 Saddlebrook Dr.                                                              San Antonio      78245
 1000056095     06-20-2017       800     800 1-325               Pediatrix Medical Group                  929 Gessner Rd                               2nd Fl Nursery                      Houston          77024
 1000056096     06-20-2017       600     600 1-325               Pediatrix Medical Group                  1635 N Loop W Fwy                            4th Floor                           Houston          77008
 1000056098     06-20-2017       400     400 1-325               Pediatrix Medical Group                  27800 Northwest Freeway                      South Tower 5th Fl Nursery          Cypress          77433
 1000056417     06-23-2017       400     400 1-325               Pediatrix Medical Group                  901 W Ben White Blvd                         2nd floor Nursery                   Austin           78704
 1000056729     06-26-2017       100     100 1-325               Hearing Screening Associates             13106Chimney Sweep Drive                                                         Houston          77041
 1000056730     06-26-2017       200     200 1-325               Mednax                                   411 N Belknap St                             Nursery                             Stephenville     76401
 1000057023     06-29-2017       200     200 1-325               Pediatrix Medical Group                  3333 North Foster Maldonado Blvd                                                 Eagle Pass       78852
 1000057025     06-29-2017       500     500 1-325               Pediatrix Med Group/Nursery              100-A Alton Gloor Blvd                       Attn Karen Rhodes/Hearing Screen    Brownsville      78526
 1000057043     06-29-2017       500     500 1-325               Pediatrix Med Grp/Post Partum            1600 11th St                                                                     Wichita Fals     76301
 1000055135     06-02-2017         25      25 1-326              Complete Health Care                     315 W Houston                                                                    Jasper           75951
 1000055512     06-09-2017         25      25 1-326              Pediatrics                               46135 Staples St                             Ste C & D                           Corpus Christi   78411
 1000055789     06-14-2017       100     100 1-326               Childrens Medical Center                 1320 Greenway Drive                          Suite #1000                         Irving           75038
 1000055102     06-26-2017       150     150 1-326               DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055990     06-23-2017       500     500 1-326               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132                   Uhaul Moving & Storage              Corpus Christi   78415
 1000055789     06-14-2017       100     100 1-327               Childrens Medical Center                 1320 Greenway Drive                          Suite #1000                         Irving           75038
 1000055102     06-26-2017         50      50 1-327              DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055855     06-27-2017       250     250 1-327               Molina Healthcare of Texas               1660 N. Westridge Cricle                                                         Irving           75038
 1000055990     06-23-2017       250     250 1-327               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132                   Uhaul Moving & Storage              Corpus Christi   78415
 1000056020     06-20-2017         25      25 1-327              Bonham Public Library                    305 E 5th Street                                                                 Bonham           75418
 1000056095     06-20-2017       300     300 1-327               Pediatrix Medical Group                  929 Gessner Rd                               2nd Fl Nursery                      Houston          77024
 1000056096     06-20-2017       150     150 1-327               Pediatrix Medical Group                  1635 N Loop W Fwy                            4th Floor                           Houston          77008
 1000056098     06-20-2017       100     100 1-327               Pediatrix Medical Group                  27800 Northwest Freeway                      South Tower 5th Fl Nursery          Cypress          77433
 1000055789     06-14-2017       100     100 1-328               Childrens Medical Center                 1320 Greenway Drive                          Suite #1000                         Irving           75038
 1000056095     06-20-2017       300     300 1-328               Pediatrix Medical Group                  929 Gessner Rd                               2nd Fl Nursery                      Houston          77024
 1000056096     06-20-2017       100     100 1-328               Pediatrix Medical Group                  1635 N Loop W Fwy                            4th Floor                           Houston          77008
 1000056098     06-20-2017       100     100 1-328               Pediatrix Medical Group                  27800 Northwest Freeway                      South Tower 5th Fl Nursery          Cypress          77433
 1000055102     06-26-2017         20      20 1-334              DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055990     06-23-2017       100     100 1-334               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132                   Uhaul Moving & Storage              Corpus Christi   78415
 1000055135     06-02-2017          6       6 1-335              Complete Health Care                     315 W Houston                                                                    Jasper           75951
 1000055512     06-09-2017          1       1 1-335              Pediatrics                               46135 Staples St                             Ste C & D                           Corpus Christi   78411
 1000055102     06-26-2017         50      50 1-335              DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055265     06-26-2017       100     100 1-335               BlueCross BlueShield of TX               9442 Capital of Texas Highway                Blding II Suite 500                 Austin           78759
 1000055485     06-22-2017       100     100 1-335               DSHS                                     MC 0734 Ste 427                              5155 Flynn Pkwy                     Corpus Christi   78411
 1000055938     06-23-2017       100     100 1-335               Amerigroup Community Care                Ste 400                                      12500 San Pedro Ave                 San Antonio      78216
 1000055990     06-23-2017       100     100 1-335               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132                   Uhaul Moving & Storage              Corpus Christi   78415
 1000055102     06-26-2017         50      50 1-336              DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055485     06-22-2017       100     100 1-336               DSHS                                     MC 0734 Ste 427                              5155 Flynn Pkwy                     Corpus Christi   78411
 1000055990     06-23-2017       100     100 1-336               CHRISTUS Health Plan                     5129 Kostoryz Rd Unit C132                   Uhaul Moving & Storage              Corpus Christi   78415
 1000055135     06-02-2017          1       1 1-337              Complete Health Care                     315 W Houston                                                                    Jasper           75951
 1000055512     06-09-2017          1       1 1-337              Pediatrics                               46135 Staples St                             Ste C & D                           Corpus Christi   78411
 1000055102     06-26-2017       100     100 1-337               DSHS                                     MC 1902                                      2408 S 37th                         Temple           76504
 1000055135     06-02-2017          1       1 1-338              Complete Health Care                     315 W Houston                                                                    Jasper           75951
 1000055512     06-09-2017          1       1 1-338              Pediatrics                               46135 Staples St                             Ste C & D                           Corpus Christi   78411
 1000055098     06-26-2017         50      50 1-338              HHSC - Region 6                          MC 174-3                                     10060 Fuqua                         Houston          77089
 1000056020     06-20-2017       200     200 1-338               Bonham Public Library                    305 E 5th Street                                                                 Bonham           75418
 1000056115     06-26-2017       200     200 1-338               HHSC - Region 11                         073-5                                        4410 Dillion Ln Suite 28            Corpus Christi   78415
 1000056346     06-26-2017       200     200 1-338               HHSC - Region 11                         073-4                                        5155 Flynn Parkway                  Corpus Christi   78411
 1000055512     06-09-2017          1       1 1-338A             Pediatrics                               46135 Staples St                             Ste C & D                           Corpus Christi   78411




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                                                                       121879
Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Newborn Hearing




  MAXIMUS                      Qty.    Qty.
                Ship Date                              Item                     Agency/Provider                                 Address1                       Address2                City          Zip
Order Number                 Ordered Shipped
 1000055098     06-26-2017         50      50 1-338A             HHSC - Region 6                              MC 174-3                        10060 Fuqua                        Houston            77089
 1000056020     06-20-2017         50      50 1-338A             Bonham Public Library                        305 E 5th Street                                                   Bonham             75418
 1000056115     06-26-2017       200     200 1-338A              HHSC - Region 11                             073-5                           4410 Dillion Ln Suite 28           Corpus Christi     78415
 1000056346     06-26-2017       200     200 1-338A              HHSC - Region 11                             073-4                           5155 Flynn Parkway                 Corpus Christi     78411
 1000055135     06-02-2017         25      25 1-342              Complete Health Care                         315 W Houston                                                      Jasper             75951
 1000055102     06-26-2017       200     200 1-342               DSHS                                         MC 1902                         2408 S 37th                        Temple             76504
 1000056730     06-26-2017         25      25 1-342              Mednax                                       411 N Belknap St                Nursery                            Stephenville       76401
 1000055102     06-26-2017       200     200 1-343               DSHS                                         MC 1902                         2408 S 37th                        Temple             76504
 1000058257     07-24-2017          4       4 05-12258           Family Medicine Center                       801 McClintic Dr                                                   Groesbeck          76642
 1000058524     07-27-2017       200     200 05-12258            McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058660     07-27-2017         25      25 05-12258           EmberHope Inc                                3201 Cherry Ridge               C-304                              San Antonio        78230
 1000058931     07-31-2017          5       5 05-12258           CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                  SUITE B                            MERCEDES           78570
 1000057400     07-10-2017         10      10 05-13572           Brazos Valley Community                      1604 Stacey St                                                     Navasota           77868
 1000058257     07-24-2017          4       4 05-13572           Family Medicine Center                       801 McClintic Dr                                                   Groesbeck          76642
 1000058524     07-27-2017          2       2 05-13572           McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058931     07-31-2017          5       5 05-13572           CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                  SUITE B                            MERCEDES           78570
 1000058931     07-31-2017          5       5 05-13581           CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                  SUITE B                            MERCEDES           78570
 1000057952     07-20-2017         25      25 05-13597           HeartStrings Midwifery                       2239 Whistler Creek Drive       #1030                              Fort Worth         76177
 1000058257     07-24-2017         25      25 05-13598           Family Medicine Center                       801 McClintic Dr                                                   Groesbeck          76642
 1000058257     07-24-2017         25      25 05-13599           Family Medicine Center                       801 McClintic Dr                                                   Groesbeck          76642
 1000058562     07-26-2017       200     200 05-13599            TX DSHS (TEHDI Program)                      1100 West 49th Street           Moreton Bldg- 2nd Floor            Austin             78701
 1000058157     07-24-2017         25      25 1-322              DSHS                                         1014 N. Jefferson                                                  Mount Pleasant     75455
 1000058524     07-27-2017       200     200 1-322               McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058660     07-27-2017         50      50 1-322              EmberHope Inc                                3201 Cherry Ridge               C-304                              San Antonio        78230
 1000058157     07-24-2017         25      25 1-322A             DSHS                                         1014 N. Jefferson                                                  Mount Pleasant     75455
 1000058524     07-27-2017       200     200 1-322A              McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058630     07-26-2017       500     500 1-322A              Houston Methodist Hospital San Jacinto       4401 Garth Road                 Nursey                             Baytown            77521
 1000057273     07-10-2017      1000    1000 1-323               Pediatrix Newborn Hearing                    5252 W University Drive         Suite 2.134                        Mckinney           75070
 1000057529     07-11-2017       300     300 1-323               SPOHN South Hospital                         5950 Saratoga Blvd              Newborn Nursery                    Corpus Christi     78414
 1000057530     07-11-2017       300     300 1-323               Methodist Charton                            3500 W Wheatland Rd                                                Dallas             75237
 1000057856     07-19-2017       100     100 1-323               Lbj General Hospital                         5656 Kelly St                                                      Houston            77026
 1000057952     07-20-2017         25      25 1-323              HeartStrings Midwifery                       2239 Whistler Creek Drive       #1030                              Fort Worth         76177
 1000058027     07-20-2017       500     500 1-323               Univ of Texas Medical Branch                 301 Univ Blvd                                                      Galveston        77555-0523
 1000058157     07-24-2017         25      25 1-323              DSHS                                         1014 N. Jefferson                                                  Mount Pleasant     75455
 1000058461     07-24-2017       600     600 1-323               C/O Ears and Hearing                         2100 S. Mayhill Rd.                                                Denton             75028
 1000058524     07-27-2017       500     500 1-323               McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058531     07-27-2017       100     100 1-323               Hearing Screening Assoc                      29502 Legends Bluff Drive                                          Spring             77386
 1000058534     07-27-2017       100     100 1-323               E Caceres MD                                 4236 North Mccoll               Ste B                              McAllen            78504
 1000058630     07-26-2017       500     500 1-323               Houston Methodist Hospital San Jacinto       4401 Garth Road                 Nursey                             Baytown            77521
 1000058632     07-26-2017       500     500 1-323               C/O Ears and Hearing                         2000 S. Palestine St.           2nd Fl OB Unit                     Athens             75751
 1000058931     07-31-2017         50      50 1-323              CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                  SUITE B                            MERCEDES           78570
 1000058932     07-31-2017         25      25 1-323              Upbring Foster in Texas                      3606 N Navarro Street           Suite D                            Victoria           77901
 1000057856     07-19-2017       100     100 1-323A              Lbj General Hospital                         5656 Kelly St                                                      Houston            77026
 1000057953     07-20-2017       400     400 1-323A              Guadalupe Regional Medical Center            Women's Services                1215 E. Court St.                  Seguin             78155
 1000058157     07-24-2017         25      25 1-323A             DSHS                                         1014 N. Jefferson                                                  Mount Pleasant     75455
 1000058524     07-27-2017       500     500 1-323A              McAllen Medical Center                       301 W. Expressway 83            C/O Newborn Nursery                McAllen            78503
 1000058531     07-27-2017         50      50 1-323A             Hearing Screening Assoc                      29502 Legends Bluff Drive                                          Spring             77386
 1000058534     07-27-2017       100     100 1-323A              E Caceres MD                                 4236 North Mccoll               Ste B                              McAllen            78504
 1000058931     07-31-2017         50      50 1-323A             CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                  SUITE B                            MERCEDES           78570
 1000057150     07-03-2017       600     600 1-325 0317          C/O Ears and Hearing                         107 W. Foster Dr.                                                  Robinson           76706
 1000057153     07-03-2017      1000    1000 1-325 0317          PediatrixMedicalGroup                        7600 Fannin 4th Fl. E Nursery                                      Houston            77054
 1000057200     07-03-2017       600     600 1-325 0317          Pediatrix Medical Group                      919 E. 32nd ST                  3rd Floor Nursery-Hearing Screen   Austin             78705
 1000057214     07-10-2017       300     300 1-325 0317          Pediatrix Medical Group                      11212 State Highway 151         1st Floor Mother Baby Unit         San Antonio        78251
 1000057218     07-10-2017       200     200 1-325 0317          TRMC                                         2001 N Jefferson St                                                Mt Pleasant        75455
 1000057220     07-10-2017      3000    3000 1-325 0317          Memorial Herman Hospital                     6411 Fannin                     H696                               Houston            77030
 1000057221     07-10-2017       300     300 1-325 0317          Edinburg Regional Medical Hosp               1102 W Trenton Rd                                                  Edinburg           78539
 1000057273     07-10-2017      1000    1000 1-325 0317          Pediatrix Newborn Hearing                    5252 W University Drive         Suite 2.134                        Mckinney           75070
 1000057529     07-11-2017       400     400 1-325 0317          SPOHN South Hospital                         5950 Saratoga Blvd              Newborn Nursery                    Corpus Christi     78414
 1000057530     07-11-2017       300     300 1-325 0317          Methodist Charton                            3500 W Wheatland Rd                                                Dallas             75237
 1000057629     07-11-2017      1000    1000 1-325 0317          MAXIMUS                                      4000 S IH 35                                                       Austin             78704




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                                                                       121880
Report ID                    EB 513
Report Name                  THSteps Materials Shipment Report
Report Period                2017 Q4
Program                      Newborn Hearing




  MAXIMUS                      Qty.    Qty.
                Ship Date                              Item                   Agency/Provider                                  Address1                              Address2                     City        Zip
Order Number                 Ordered Shipped
 1000057695     07-14-2017       400     400 1-325 0317          Pediatrix Med Group Newborn                  800 W Randoll Mill Road                 1st Floor                             Arlington        76012
 1000057734     07-14-2017       500     500 1-325 0317          Pediatrix Hearing Screen Dept                2831 E. President George Bush Highway   Suite PostPartum/Hearing Screen       Richardson       75082
 1000057735     07-14-2017       500     500 1-325 0317          PediatrixHearingScreen                       6800 Scenic Dr                          Suite 2ndFL Maternity/HearingScreen   Rowlett          75088
 1000057736     07-14-2017       500     500 1-325 0317          Pediatrix Hearing Screen                     9440 Poppy Dr                           5th Floor; PostPartum/HearingScreen   Dallas           75218
 1000057738     07-14-2017       600     600 1-325 0317          C/O Ears and Hearing                         1916 Country Brook                                                            Weatherford      76086
 1000057856     07-19-2017       200     200 1-325 0317          Lbj General Hospital                         5656 Kelly St                                                                 Houston          77026
 1000057875     07-19-2017       800     800 1-325 0317          Med Ctr Arlington                            Nursery 3rd Floor                       3301 Matlock Rd                       Arlington        76015
 1000057876     07-19-2017       300     300 1-325 0317          Medical City las Colinas                     6800 N. Macarthur Blvd                  3rd floor nursery                     Irving           75039
 1000057948     07-20-2017      1000    1000 1-325 0317          BSA Hospital                                 1600 Wallace Blvd                                                             Amarillo         79106
 1000057952     07-20-2017         25      25 1-325 0317         HeartStrings Midwifery                       2239 Whistler Creek Drive               #1030                                 Fort Worth       76177
 1000057953     07-20-2017       400     400 1-325 0317          Guadalupe Regional Medical Center            Women's Services                        1215 E. Court St.                     Seguin           78155
 1000057990     07-20-2017       300     300 1-325 0317          Edinburg Regional Med Hosp                   1102 West Trenton Rd                    Newborn Nursery                       Edinburg         78539
 1000058011     07-20-2017      1000    1000 1-325 0317          Pediatrix Medical Group                      22999 Highway 59North                                                         Kingwood         77339
 1000058157     07-24-2017         25      25 1-325 0317         DSHS                                         1014 N. Jefferson                                                             Mount Pleasant   75455
 1000058460     07-24-2017       500     500 1-325 0317          Christus St Michael Hospital                 2600 St Michael Drive                   2nd Floor, Labor and Delivery         Texarkana        75503
 1000058502     07-25-2017      2000    2000 1-325 0317          HENDRICK MEDICAL CENTER                      1900 PINE ST                                                                  ABILENE          79601
 1000058524     07-27-2017       500     500 1-325 0317          McAllen Medical Center                       301 W. Expressway 83                    C/O Newborn Nursery                   McAllen          78503
 1000058531     07-27-2017       100     100 1-325 0317          Hearing Screening Assoc                      29502 Legends Bluff Drive                                                     Spring           77386
 1000058532     07-27-2017      1000    1000 1-325 0317          Pediatrix Medical Group                      111 Dallas St                           3rd floor Nursery                     San Antonio      78205
 1000058561     07-26-2017      1500    1500 1-325 0317          C/O Ears and Hearing                         14510 Dawn LN                                                                 Tyler            75709
 1000058610     07-26-2017       700     700 1-325 0317          HEARING SCREEN NURSERY                       10864 TEXAS HEALTH TRAIL                                                      FORT WORTH       76244
 1000058611     07-26-2017      1000    1000 1-325 0317          PEDIATRIX HEARING SCREEN NURSERY             1650 WEST COLLEGE STREET                                                      GRAPEVINE        76051
 1000058613     07-26-2017      1000    1000 1-325_0317          PEDIATRIX HEARING SCREEN WOMENS              3000 I-35 N                                                                   DENTON           76209
                                                                 CENTER
  1000058630    07-26-2017       500      500   1-325 0317       Houston Methodist Hospital San Jacinto       4401 Garth Road                         Nursey                                Baytown          77521
  1000058660    07-27-2017        50       50   1-325 0317       EmberHope Inc                                3201 Cherry Ridge                       C-304                                 San Antonio      78230
  1000058931    07-31-2017        50       50   1-325 0317       CLINICA FAMILIAR SAN JOSE                    8030 N FM 1015                          SUITE B                               MERCEDES         78570
  1000058959    07-31-2017       100      100   1-325 0317       ST. MARKS MEDICAL CENTER                     1 ST. MARKS PLACE                                                             LA GRANGE        78945
  1000057529    07-11-2017       400      400   1-326            SPOHN South Hospital                         5950 Saratoga Blvd                      Newborn Nursery                       Corpus Christi   78414
  1000058157    07-24-2017        25       25   1-326            DSHS                                         1014 N. Jefferson                                                             Mount Pleasant   75455
  1000057273    07-10-2017        25       25   1-327            Pediatrix Newborn Hearing                    5252 W University Drive                 Suite 2.134                           Mckinney         75070
  1000057529    07-11-2017       400      400   1-327            SPOHN South Hospital                         5950 Saratoga Blvd                      Newborn Nursery                       Corpus Christi   78414
  1000057948    07-20-2017      1000     1000   1-327            BSA Hospital                                 1600 Wallace Blvd                                                             Amarillo         79106
  1000058562    07-26-2017       100      100   1-327            TX DSHS (TEHDI Program)                      1100 West 49th Street                   Moreton Bldg- 2nd Floor               Austin           78701
  1000058932    07-31-2017        25       25   1-327            Upbring Foster in Texas                      3606 N Navarro Street                   Suite D                               Victoria         77901
  1000057400    07-10-2017       100      100   1-328            Brazos Valley Community                      1604 Stacey St                                                                Navasota         77868
  1000058257    07-24-2017        25       25   1-328 0312       Family Medicine Center                       801 McClintic Dr                                                              Groesbeck        76642
  1000058524    07-27-2017       104      104   1-328 0312       McAllen Medical Center                       301 W. Expressway 83                    C/O Newborn Nursery                   McAllen          78503
  1000058524    07-27-2017       396      396   1-328 0312       McAllen Medical Center                       301 W. Expressway 83                    C/O Newborn Nursery                   McAllen          78503
  1000058257    07-24-2017         4        4   1-335            Family Medicine Center                       801 McClintic Dr                                                              Groesbeck        76642
  1000058660    07-27-2017        50       50   1-335            EmberHope Inc                                3201 Cherry Ridge                       C-304                                 San Antonio      78230
  1000057273    07-10-2017         1        1   1-336            Pediatrix Newborn Hearing                    5252 W University Drive                 Suite 2.134                           Mckinney         75070
  1000058524    07-27-2017         2        2   1-336            McAllen Medical Center                       301 W. Expressway 83                    C/O Newborn Nursery                   McAllen          78503
  1000058660    07-27-2017        50       50   1-336            EmberHope Inc                                3201 Cherry Ridge                       C-304                                 San Antonio      78230
  1000057273    07-10-2017         5        5   1-337            Pediatrix Newborn Hearing                    5252 W University Drive                 Suite 2.134                           Mckinney         75070
  1000058562    07-26-2017       100      100   1-337            TX DSHS (TEHDI Program)                      1100 West 49th Street                   Moreton Bldg- 2nd Floor               Austin           78701
  1000058562    07-26-2017        50       50   1-338            TX DSHS (TEHDI Program)                      1100 West 49th Street                   Moreton Bldg- 2nd Floor               Austin           78701
  1000058562    07-26-2017        50       50   1-338A           TX DSHS (TEHDI Program)                      1100 West 49th Street                   Moreton Bldg- 2nd Floor               Austin           78701
  1000058524    07-27-2017       200      200   1-342            McAllen Medical Center                       301 W. Expressway 83                    C/O Newborn Nursery                   McAllen          78503
  1000058869    07-28-2017        50       50   1-342            Hewitt Public Library                        200 Patriot Court B                                                           Hewitt           76643
  1000057220    07-10-2017        50       50   1-343            Memorial Herman Hospital                     6411 Fannin                             H696                                  Houston          77030
  1000058562    07-26-2017       100      100   1-343            TX DSHS (TEHDI Program)                      1100 West 49th Street                   Moreton Bldg- 2nd Floor               Austin           78701
  1000061227     8/28/2017         1        1   05-12258         University Medical Center of El Paso         4815 Alameda Ave.                                                             El Paso          79905
  1000060413     8/18/2017        10       10   05-13572         DSHS Region 8 Tx Health                      7430 Louis Pasteur Drive                                                      San Antonio      78229
  1000060489     8/21/2017        10       10   05-13572         Holistic Birth Center                        4705 Sanford Rd                                                               Houston          77035
  1000061227     8/28/2017        25       25   05-13597         University Medical Center of El Paso         4815 Alameda Ave.                                                             El Paso          79905
  1000058992      8/1/2017       200      200   1-322            C/O Ears and Hearing                         3008 Moving Water LN                                                          Pflugerville     78660
  1000060231     8/17/2017       300      300   1-322            Edinburg Regional Med Hosp                   1102 West Trenton Rd                                                          Edinburg         78539
  1000061161     8/28/2017       100      100   1-322            Coastal Health Wellness                      9850 Emmett Lowry Expy                                                        Texas City       77591
  1000058992      8/1/2017       200      200   1-322A           C/O Ears and Hearing                         3008 Moving Water LN                                                          Pflugerville     78660




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                                                                      121881
Report ID                   EB 513
Report Name                 THSteps Materials Shipment Report
Report Period               2017 Q4
Program                     Newborn Hearing




  MAXIMUS                     Qty.    Qty.
                Ship Date                              Item                    Agency/Provider                                 Address1                                Address2                      City           Zip
Order Number                Ordered Shipped
 1000060231     8/17/2017       300     300 1-322A              Edinburg Regional Med Hosp                   1102 West Trenton Rd                                                              Edinburg            78539
 1000058985      8/1/2017       500     500 1-323               C/O Ears and Hearing                         5528 Evening Star Ct                                                              Tolar               76476
 1000058986      8/1/2017       600     600 1-323               C/O Ears and Hearing                         107 W. Foster Dr.                                                                 Robinson            76706
 1000058992      8/1/2017       700     700 1-323               C/O Ears and Hearing                         3008 Moving Water LN                                                              Pflugerville        78660
 1000059123      8/3/2017      1000    1000 1-323               C/O Ears and Hearing                         12 N. Schroeder Ave                                                               San Angelo          76905
 1000059225     8/15/2017       200     200 1-323               Bayshore Medical Center                      4000 Spencer Hwy                             2nd Floor                            Pasadena            77504
 1000059314     8/15/2017         50      50 1-323              Pediatrix Hearing Screen                     7600 Fannin                                  4th FL; E Nursery                    Houston             77054
 1000059662     8/15/2017       300     300 1-323               C/O Ears and Hearing                         1901 Durham Ave                                                                   Brownwood           76801
 1000061161     8/28/2017         50      50 1-323              Coastal Health Wellness                      9850 Emmett Lowry Expy                                                            Texas City          77591
 1000061444     8/31/2017       300     300 1-323               Charleston Methodist                         3500 W Wheatland Rd                                                               Dallas              75237
 1000058992      8/1/2017       500     500 1-323A              C/O Ears and Hearing                         3008 Moving Water LN                                                              Pflugerville        78660
 1000059225      8/4/2017       400     400 1-323A              Bayshore Medical Center                      4000 Spencer Hwy                             2nd Floor                            Pasadena            77504
 1000058985      8/1/2017       500     500 1-325               C/O Ears and Hearing                         5528 Evening Star Ct                                                              Tolar               76476
 1000058992      8/1/2017      1200    1200 1-325               C/O Ears and Hearing                         3008 Moving Water LN                                                              Pflugerville        78660
 1000059115      8/3/2017      1500    1500 1-325               Pediatrix Medical Group/Hearing Screen       7600 Fannin                                  4th Fl. East Nursery                 Houston             77054
 1000059123      8/3/2017      1000    1000 1-325               C/O Ears and Hearing                         12 N. Schroeder Ave                                                               San Angelo          76905
 1000059162      8/3/2017       500     500 1-325               PEDIATRIX HEARING SCREEN NURSERY             1105 CENTRAL EXPWY N                                                              ALLEN               75013
 1000059164      8/3/2017       700     700 1-325               PEDIATRIX HEARING SCREEN NURSERY             5601 WARREN PKWY                                                                  FRISCO              75034
 1000059225      8/4/2017       400     400 1-325               Bayshore Medical Center                      4000 Spencer Hwy                             2nd Floor                            Pasadena            77504
 1000059415      8/8/2017       300     300 1-325               Lbj General Hospital                         5656 Kelly St                                                                     Houston             77026
 1000059621     8/10/2017         50     50 1-325               Medical Center Hospital                      500 W. 4th Street, 4h Floor Nursery          Hearing Screeners in Women & Infants Odessa              79761
                                                                                                                                                          Newborn Nursery
  1000059662    8/10/2017       300      300   1-325            C/O Ears and Hearing                         1901 Durham Ave                                                                   Brownwood           76801
  1000059814    8/15/2017       500      500   1-325            MEDNAX                                       1600 Hospital Pkwy                           Nursery                              Bedford             76022
  1000059870    8/16/2017      1056     1056   1-325            Pediatrix Medical Group                      7700 floyd curl                              2nd floor mother/baby                san antonio         78229
  1000059870    8/16/2017      1444     1444   1-325            Pediatrix Medical Group                      7700 floyd curl                              2nd floor mother/baby                san antonio         78229
  1000059888    8/16/2017       500      500   1-325            Pediatrix Medical Group                      1600 Wallace Blvd                            NICU 3rd floor                       Amarillo            79106
  1000059890    8/16/2017       600      600   1-325            C/O Ears and Hearing                         4631 Procter Street                                                               Port Arthur         77642
  1000060233    8/22/2017      1000     1000   1-325            Medical City Dallas                          Pediatrix Medical Group                      7777 Forest Lane                     Dallas              75230
  1000060270    8/17/2017       144      144   1-325            Pediatrix Medical Group                      1901 N MacArthur Blvd                        2nd floor Mom Baby Unit              Irving              75061
  1000060270    8/22/2017       256      256   1-325            Pediatrix Medical Group                      1901 N MacArthur Blvd                        2nd floor Mom Baby Unit              Irving              75061
  1000060411    8/22/2017       300      300   1-325            Pediatrix Medical Group                      2201 S Clear Creek Road                      Hearing Screen Program               Killeen             76549
  1000060475    8/22/2017      1000     1000   1-325            Pediatrix Medical Group                      10301 Gateway West                                                                El Paso             79925
  1000060491    8/22/2017       800      800   1-325            Med Ctr Arlington                            Nursery 3rd Floor                            3301 Matlock Rd                      Arlington           76015
  1000060807    8/24/2017       350      350   1-325            Medical City Alliance                        3101 N. tarrant Pkwy                         2nd Floor NURSERY                    Fort Worth          76177
  1000061016    8/24/2017       500      500   1-325            Pediatrix Med Group Newborn                  800 W Randoll Mill Road                      1st Floor                            Arlington           76012
  1000061042    8/24/2017       250      250   1-325            Rawling Plains Memorial Hospital             200 E Arizona                                                                     Sweetwater          79556
  1000061045    8/24/2017       100      100   1-325            Origins Birth & Wellness Collective          10345 Alta Vista Rd                                                               FORT WORTH          76244
  1000061066    8/24/2017       500      500   1-325            Pediatrix Medical Group                      5th Floor- The Family Place Hearing Screen   7600 Beechnut                        Houston             77074
  1000061072    8/24/2017       500      500   1-325            Hendrick Medical Center                      1900 Pine Street                             Room 4531                            Abilene             79601
  1000061143    8/28/2017       500      500   1-325            Univ of Texas Medical Branch                 301 University Blvd                                                               Galveston         77555-0523
  1000061161    8/28/2017        50       50   1-325            Coastal Health Wellness                      9850 Emmett Lowry Expy                                                            Texas City          77591
  1000061227    8/28/2017        50       50   1-325            University Medical Center of El Paso         4815 Alameda Ave.                                                                 El Paso             79905
  1000061244    8/30/2017       300      300   1-325            Pediatrix Medical Group                      901 W Ben White Blvd                         2nd Floor Nursery                    Austin              78704
  1000061402    8/30/2017       350      350   1-325            Medical City McKinney                        4500 Medical Center Dr.                      2nd Floor Nursery                    McKinney            75069
  1000061412    8/31/2017        50       50   1-325            DSHS                                         1400 College St                              Suite 167 rm 195                     Sulphur Springs     75482
  1000061444    8/31/2017       300      300   1-325            Charleston Methodist                         3500 W Wheatland Rd                                                               Dallas              75237
  1000061161    8/28/2017        50       50   1-326            Coastal Health Wellness                      9850 Emmett Lowry Expy                                                            Texas City          77591
  1000061163    8/28/2017       100      100   1-326            Humble ISD                                   4810 Magnolia Cove                                                                Kingwood            77345
  1000061412    8/31/2017        50       50   1-326            DSHS                                         1400 College St                              Suite 167 rm 195                     Sulphur Springs     75482
  1000059314     8/8/2017        50       50   1-327            Pediatrix Hearing Screen                     7600 Fannin                                  4th FL; E Nursery                    Houston             77054
  1000061227    8/28/2017        50       50   1-327            University Medical Center of El Paso         4815 Alameda Ave.                                                                 El Paso             79905
  1000059314     8/8/2017        50       50   1-328            Pediatrix Hearing Screen                     7600 Fannin                                  4th FL; E Nursery                    Houston             77054
  1000060274    8/17/2017        25       25   1-328            Upbring Foster in Texas                      3606 N Navarro Street                        Suite D                              Victoria            77901
  1000060489    8/21/2017       200      200   1-328            Holistic Birth Center                        4705 Sanford Rd                                                                   Houston             77035
  1000061161    8/28/2017        50       50   1-328            Coastal Health Wellness                      9850 Emmett Lowry Expy                                                            Texas City          77591
  1000061163    8/28/2017       100      100   1-328            Humble ISD                                   4810 Magnolia Cove                                                                Kingwood            77345
  1000058978    8/18/2017        25       25   1-334            DSHS                                         1750 N Eastman RD                                                                 Longview            75601
  1000058978    8/18/2017        25       25   1-335            DSHS                                         1750 N Eastman RD                                                                 Longview            75601
  1000058978    8/18/2017        25       25   1-336            DSHS                                         1750 N Eastman RD                                                                 Longview            75601




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                                       Case 3:93-cv-00065-RC Document 1588-3 Filed 10/31/17 Page 184 of 184 PageID #:
                                                                          121882
Report ID                      EB 513
Report Name                    THSteps Materials Shipment Report
Report Period                  2017 Q4
Program                        Newborn Hearing




   MAXIMUS                       Qty.    Qty.
                   Ship Date                                 Item                            Agency/Provider                                Address1                       Address2          City         Zip
 Order Number                  Ordered Shipped
  1000058978       8/18/2017       100     100 1-337                          DSHS                                        1750 N Eastman RD                                            Longview          75601
  1000060413       8/18/2017       100     100 1-337                          DSHS Region 8 Tx Health                     7430 Louis Pasteur Drive                                     San Antonio       78229
  1000059088       8/22/2017       100     100 1-338                          HHSC - Region 6                             270-7                              117 Lane Drive Suite 50   Rosenberg         77471
  1000060002       8/17/2017         50      50 1-338                         Maximus Reg 9                               4325 Hatchery Road                                           San Angelo        76903
  1000061412       8/31/2017         50      50 1-338                         DSHS                                        1400 College St                    Suite 167 rm 195          Sulphur Springs   75482
  1000059088       8/22/2017       100     100 1-338A                         HHSC - Region 6                             270-7                              117 Lane Drive Suite 50   Rosenberg         77471
  1000061412       8/31/2017         50      50 1-338A                        DSHS                                        1400 College St                    Suite 167 rm 195          Sulphur Springs   75482
  1000059314        8/8/2017         50      50 1-342                         Pediatrix Hearing Screen                    7600 Fannin                        4th FL; E Nursery         Houston           77054
  1000060411       8/21/2017       300     300 1-342                          Pediatrix Medical Group                     2201 S Clear Creek Road            Hearing Screen Program    Killeen           76549
  1000061200       8/28/2017       400     400 1-342                          Rio Grande Regional Hospital                Hearing Screen 3rd floor Nursery   101 E. Ridge Rd           Mcallen           78503
  1000061412       8/31/2017       100     100 1-343                          DSHS                                        1400 College St                    Suite 167 rm 195          Sulphur Springs   75482

# of Shipments        308                 107,238 Total # of Items Shipped

Report Label                   Description
MAXIMUS Order Number           Naming convention that identifies the specific shipment to an Agency or Provider
Ship Date                      Date the shipment was sent to Agency or Provider
Qty. Ordered                   Request amount for specific material from Agency or Provider
Qty. Shipped                   Shipped amount for specific material based on request from Agency or Provider
Item                           Specific material inventory number requested
Type Agency                    Type of of requestor: CBO, PROV, Agency Acronym
Agency/Provider                Name of requesting State Agency, Community Based Origanization or Provider
Address1                       Mailing Address, Line 1
Address2                       Mailing Address, Line 1 (if needed, otherwise blank)
City                           City Name (for Mail Address)
Zip                            Zip Code (for Mail Address)
# of Shipments                 Count of shipments sent for the Report Period
                               Calculation =COUNTA(all shipments detailed in MAXIMUS Order Number Column)
Total # of Items Shipped       Total Count of Material Items within shipments for the Report Period
                               Calculation =SUM(All items in Qty. Shipped Column)




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                                                                                                             Exhibit 1 - Page 184 of 184
